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                 EXHIBIT 3
Case 3:18-cv-00426-M Document 1-3 Filed 02/20/18                           Page 2 of 369 PageID 35
                                                                         Service of Process
                                                                         Transmittal
                                                                         01/29/2018
                                                                         CT Log Number 532702069
 TO:     Elizabeth Campbell, Associate General Counsel
         AmerisourceBergen Corporation
         227 Washington Street
         Conshohocken, PA 19428

 RE:     Process Served in Delaware

 FOR:    AmerisourceBergen Corporation (Domestic State: DE)




 ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

 TITLE OF ACTION:                 COUNTY OF DALLAS, Pltf. vs. PURDUE PHARMA L.P., et al., Dfts. // To:
                                  AmerisourceBergen Corporation
 DOCUMENT(S) SERVED:              Citation, Return, Petition, Frist Request(s), Frist Set of Interrogatories,
                                  Attachment(s)
 COURT/AGENCY:                    116th District Court, TX
                                  Case # DC1800290
 NATURE OF ACTION:                Product Liability Litigation - Manufacturing Defect - AAPM's website
 ON WHOM PROCESS WAS SERVED:      The Corporation Trust Company, Wilmington, DE
 DATE AND HOUR OF SERVICE:        By Process Server on 01/29/2018 at 11:20
 JURISDICTION SERVED :            Delaware
 APPEARANCE OR ANSWER DUE:        By 10 o'clock a.m. of the Monday next following the expiration of twenty days after
                                  service (Document(s) may contain additional answer dates)
 ATTORNEY(S) / SENDER(S):         W. Mark Lanier
                                  THE LANIER LAW FIRM
                                  6810 FM 1960 West
                                  Houston, TX 77069
                                  713-659-5200
 ACTION ITEMS:                    CT has retained the current log, Retain Date: 01/30/2018, Expected Purge Date:
                                  02/04/2018

                                  Image SOP

                                  Email Notification, John Chou jchou@amerisourcebergen.com

                                  Email Notification, Susan Coldren scoldren@amerisourcebergen.com

                                  Email Notification, Elizabeth Campbell ECampbell@amerisourcebergen.com

                                  Email Notification, Michele F. Conte MConte@amerisourcebergen.com

                                  Email Notification, Patricia Pellegrini PPellegrini@amerisourcebergen.com

                                  Email Notification, Christopher Casalenuovo
                                   CCasalenuovo@amerisourcebergen.com




                                                                         Page 1 of 2 / KH
                                                                         Information displayed on this transmittal is for CT
                                                                         Corporation's record keeping purposes only and is provided to
                                                                         the recipient for quick reference. This information does not
                                                                         constitute a legal opinion as to the nature of action, the
                                                                         amount of damages, the answer date, or any information
                                                                         contained in the documents themselves. Recipient is
                                                                         responsible for interpreting said documents and for taking
                                                                         appropriate action. Signatures on certified mail receipts
                                                                         confirm receipt of package only, not contents.
Case 3:18-cv-00426-M Document 1-3 Filed 02/20/18                       Page 3 of 369 PageID 36
                                                                     Service of Process
                                                                     Transmittal
                                                                     01/29/2018
                                                                     CT Log Number 532702069
 TO:    Elizabeth Campbell, Associate General Counsel
        AmerisourceBergen Corporation
        227 Washington Street
        Conshohocken, PA 19428

 RE:    Process Served in Delaware

 FOR:   AmerisourceBergen Corporation (Domestic State: DE)




                                 Email Notification, Brian Kabosius bkabosius@AmerisourceBergen.com

                                 Email Notification, Carolyn Ellis cellis@AmerisourceBergen.com

                                 Email Notification, Andrew Schinzel aschinzel@amerisourcebergen.com

 SIGNED:                         The Corporation Trust Company
 ADDRESS:                        1209 N Orange St
                                 Wilmington, DE 19801-1120
 TELEPHONE:                      302-658-7581




                                                                     Page 2 of 2 / KH
                                                                     Information displayed on this transmittal is for CT
                                                                     Corporation's record keeping purposes only and is provided to
                                                                     the recipient for quick reference. This information does not
                                                                     constitute a legal opinion as to the nature of action, the
                                                                     amount of damages, the answer date, or any information
                                                                     contained in the documents themselves. Recipient is
                                                                     responsible for interpreting said documents and for taking
                                                                     appropriate action. Signatures on certified mail receipts
                                                                     confirm receipt of package only, not contents.
                    Case 3:18-cv-00426-M Document 1-3 Filed 02/20/18                              Page 4 of 369 PageID 37




 FORM NO. 353-3 - CITATION                                                                                                           ESERVE
 THE STATE OF TEXAS
                                                                                                                                  CITATION
 To:
         AMERISOURCEBERGEN CORPORATION
         C7ITTHECORPORATION TRUST COMPANY                                                                                        DC-18-00290
         CORPORATION TRUST CENTER
         1209 ORANGE STREET
         WILMINGTON, DE 19801                                                                                                    County of Dallas
                                                                                                                                       vs.
GREETINGS:                                                                                                                   Purdue Pharma L.P., et al
You have been sued. You may employ an attorney. If you or your attorney do not file
                                                                                         a written
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next
                                                                                        following the
expiration of twenty days after you were served this citation and petition, a default                                             ISSUED THIS
                                                                                      judgment may be
taken against you. Your answer should be addressed to the clerk of the 116th District                                       11th day of January, 2018
                                                                                         Court at 600
Commerce Street, Ste. 101, Dallas, Texas 75202.
                                                                                                                               FELICIA PITRE
Said Plaintiff being COUNTY OF DALLAS                                                                                        Clerk District Courts,
                                                                                                                             Dallas County, Texas
Filed in said Court 8th day of January, 2018 against

AMERISOURCEBERGEN CORPORATION                                                                                           By: ARIEANA BAHENA, Deputy

For Suit, said suit being numbered DC-18-00290 the nature of which demand is as follows:
Suit on OTHER (CIVIL) etc. as shown on said petition Requests for production and                                             Attorney for Plaintiff
                                                                                            interrogatories, a
copy of which accompanies this citation. If this citation is not served, it shall be returned                                  W MARK LANIER
                                                                                              unexecuted.
                                                                                                                            THE LANIER LAW FIRM
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                                 6810 FM 1960 WEST
Given under my hand and the Seal of said Court at office this 11th day of January, 2018.                                     HOUSTON, TX 77069
                                                                                                                                  713-659-5200
ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas                                                wm1(&,lanierlawfirm.com
                        /s/ Arieana Bahena
                   By                                            , Deputy                 •`‘o igii4 ' /
                        ARIEANA BAHENA                                                      \ ....
                                                                                        :::::         .e. ... 1   ..•
                                                                                                  1147::7  -:  —:: ::
                                                                                     ... .- . 1,7          ...    _          DALLAS COUNTY
                                                                                          .f  . . .1. .1
                                                                                              .             .....,
                                                                                         < .. ./.%
                                                                                                . ,k,)                        SERVICE FEES
                                                                                              * • ‘‘.
                                                                                             Iiiiiiiiiiit%0                     NOT PAID
                          Case 3:18-cv-00426-M Document 1-3 Filed 02/20/18                                             Page 5 of 369 PageID 38




                                                                           OFFICER'S RETURN
 Case No. : DC-18-00290

 Court No.116th District Court

 Style: County of Dallas

  vs.

 Purdue Phartna L.P., et al

 Came to hand on the                          day of                      ,20            , at                o'clock        .M. Executed at
 within the County of                                     at                o'clock             .M. on the                   day of
 20                     , by delivering to the within named




each, in person, a true copy of this Citation together with the accompanying copy
                                                                                      of this pleading, having first endorsed on same date of delivery. The distance actually
                                                                                                                                                                                traveled by
me in serving such process was                 miles and my fees are as follows: To certify which witness my hand.



                                For serving Citation

                                 For mileage                                                    of                     County,
                                 For Notary                                                     By                                               Deputy
                                                                 (Must be verified if served outside the State of Texas.)
Signed and sworn to by the said                                   before me this          day of                            , 20
to certify which witness my hand and seal of office.




                                                                                            Notary Public                          County
                                                                                                        FILED
19 CU ES                                                                                    DALLAS COUNTY
           Case 3:18-cv-00426-M Document 1-3 Filed 02/20/18       Page 6 of 369 PageID 39    1/8/2018 4:26 PM
                                                                                               FELICIA PITRE
                                                                                            DISTRICT CLERK


                                                   DC-18-00290                        Angie Avina
                                    CAUSE NO.


           COUNTY OF DALLAS,                              IN THE DISTRICT COURT

                 Plaintiff,

           VS.                                                   JUDICIAL DISTRICT

           PURDUE PHARMA L.P.;
           PURDUE PHARMA INC.;
           THE PURDUE FREDERICK COMPANY;
           JOHNSON & JOHNSON;                             DALLAS COUNTY, TEXAS
           JANSSEN PHARMACEUTICALS, INC.;
           ORTHO-MCNEIL-JANSSEN
           PHARMACEUTICALS, INC. n/k/a
           JANSSEN PHARMACEUTICALS, INC.;
           JANSSEN PHAR1VIACEUTICA, INC. n/k/a
           JANSSEN PHARMACEUTICALS, INC.;
           ENDO HEALTH SOLUTIONS INC.;
           ENDO PHARMACEUTICALS, INC.;
           ABB VIE INC.;
           KNOLL PHARMACEUTICAL
           COMPANY, a wholly-owned subsidiary of
           ABBVIE INC.;
           ALLERGAN PLC f/k/a ACTAVIS PLC;
           ALLERGAN FINANCE LLC f/k/a
           ACTAVIS, INC. f/k/a WATSON
           PHARMACEUTICALS, INC.;
           WATSON LABORATORIES, INC.;
           ACTAVIS LLC;
           ACTAVIS PHARMA, INC. f/k/a WATSON
           PHARMA, INC.;
           MCICESSON CORPORATION;
           CARDINAL HEALTH, INC.;
           AMERISOURCEBERGEN
           CORPORATION;
           DR. RICHARD ANDREWS;
           DR. THEODORE OKECHUKU;
           DR. NICOLAS PADRON; and
           DOES 1 — 100, INCLUSIVE,

                  Defendants.




           PLAINTIFF'S ORIGINAL PETITION WITH DISCOVERY                                 1
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    PLAINTIFF'S ORIGINAL PETITION AND JURY DEMAND WITH DISCOVERY

TO THE HONORABLE JUDGE OF SAID COURT:

         Plaintiff, the County of Dallas, Texas, by and through the undersigned attorneys,

(hereinafter "Dallas County" or "County") against Defendants Purdue Pharma L.P., Purdue

Pharma Inc., The Purdue Frederick Company, Johnson & Johnson, Janssen Pharmaceuticals, Inc.,

Janssen Pharmaceutica, Inc. n/k/a Janssen Pharmaceuticals, Inc., Ortho-McNeil-Janssen

Pharmaceuticals, Inc. n/k/a Janssen Pharmaceuticals, Inc., Endo Health Solutions Inc., Endo

Pharmaceuticals, Inc., Abbvie Inc., Knoll Pharmaceutical Company, a wholly-owned subsidiary

of Abbvie Inc., Allergan PLC f/k/a Actavis PLC, Allergan Finance, LLC f/k/a Actavis, Inc. f/k/a

Watson Pharmaceuticals, Inc., Watson Laboratories, Inc., Actavis LLC, Actavis Pharma, Inc. f/k/a

Watson Pharma, Inc., McKesson Corporation, Cardinal Health, Inc., AmerisourceBergen

Corporation, Dr. Richard Andrews, Dr. Theodore Okechuku, and Dr. Nicolas Padron, and Does 1

— 100, alleges as follows:

                                        I.       INTRODUCTION

                 The United States is in the midst of an opioid epidemic caused by Defendants'

fraudulent marketing and sales of prescription opioids ("opioids") that has resulted in addiction,

criminal activity, and loss of life. The opioid crisis has been described as "the AIDS epidemic of

our generation, but even worse." On October 26, 2017, President Donald Trump "declared a

nationwide public health emergency to combat the opioid crisis."2

                 In 2016 alone, health care providers wrote more than 289 million prescriptions for




  David Wright, "Christie on Opioids: "This is the AIDS Epidemic of Our Generation, but even Worse," (Oct. 27,
2017), http://www.cnn.com/2017/10/27/politics/chris-christie-opioid-commission-aids-cnntv/index.html.
2 Dan Merica, "What Trump's Opioid Announcement Means — and Doesn't Mean," (Oct. 26,2017),

http://www.cnn.cotn/2017/10/26/pol iti cs/n ati onal-health-emergency-national-d isaster/i ndex.httn I.



PLAINTIFF'S ORIGINAL PETITION WITH DISCOVERY                                                                     2
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opioids, enough for every adult in the United States to have more than one bottle of pills.3

Americans "consume 85% of all the opioids in the world" and are "the most medicated country in

the world .       ."4

                   Unfortunately, using opioids too often leads to addiction and overdose from

opioids. In 2014, almost 2 million Americans were addicted to opioids.5 That same year, more

people died from drug overdoses than in any other year, and most overdose deaths involved an

opioid. The Texas Legislature has found "that deaths resulting from the use of opioids and other

controlled substances constitute a public health crisis."6 In 2015, Texas "had the second highest

total healthcare costs from opioid abuse in the nation ($1.96 billion) .             ."7

                   In fact, accidental drug overdose deaths, of which reportedly at least two-thirds are

opioid overdoses, are the leading cause of death for Americans under the age of 50. Accidental

drug overdose deaths, predominantly from opioids, exceed the number of deaths caused by cars or

guns.

                   The economic burden caused by opioid abuse in the United States is at least $78.5

billion,8 including lost productivity and increased social services, health insurance costs, increased

criminal justice presence and strain on judicial resources, and substance abuse treatment and

rehabilitation.

                   This epidemic did not occur by chance. Defendants manufacture, market, distribute,



3   Prevalence of Opioid Misuse, BupPractice (Sept. 7,2017), https://www.buppractice.com/node/15576.
  David Wright, "Christie on Opioids: "This is the AIDS Epidemic of Our Generation, but even Worse," (Oct. 27,
2017), http://www.cnn.com/2017/10/27/pol itics/chris-christie-opioid-commission-aids-cnntv/index.htm I.
5 Substance Abuse and Mental Health Services Administration, National Survey on Drug Use and Health, 2014.
6 Opinion of the Attorney General of Texas, KP-0168 (Oct. 4,2017), citing Act of May 26, 2017, 85th Leg., R.S., ch.

534, §3, 2017 Tex. Sess. Law Serv. 1467, 1468.
'Kerry Craig, "Opioid Addiction Results in one Woman's Daily Struggle," Oct. 7, 2017,
https://www.ssnewstelegram.com/news/opioid-addiction-results-in-one-woman-s-daily-struggle/article_bded4eoa-
ab80-11e7-a252-d31304e26628.html.
  See CDC Foundation's New Business Pulse Focuses on Opioid Overdose Epidemic, Centers for Disease Control
and Prevention (Mar. 15, 2017), https://www.cdc.gov/media/releases/2017/a0315-business-pulse-opioids.html.



PLAINTIFF'S ORIGINAL PETITION WITH DISCOVERY                                                                     3
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and sell prescription opioids, including, but not limited to, brand-name drugs like OxyContin,

Vicodin, Opana, Percocet, Percodan, Duragesic, Ultram, Ultracet, and generics like oxycodone,

oxymorphone, hydromorphone, hydrocodone, fentanyl, and tramadol, which are powerful

narcotics.

                    Historically, opioids were considered too addictive and debilitating for treating non-

cancer chronic pain,9 such as back pain, migraines, and arthritis, and were used only to treat short-

term acute pain or for palliative or end-of-life care.

                    By the late 1990s or early 2000s, however, each Manufacturing Defendant began a

marketing scheme to persuade doctors and patients that opioids can and should be used

ubiquitously and perpetually to treat moderate, non-cancer chronic pain. Each Manufacturing

Defendant spent large sums of money to promote the benefits of opioids for non-cancer moderate

pain while trivializing, or even denying, their risks. The Manufacturing Defendants' promotional

messages deviated substantially from any approved labeling of the drugs and caused prescribing

physicians and consuming patients to underappreciate the health risks, and to overestimate the

benefits, of opioids.

                    Contrary to the language of their drugs' labels, Defendants falsely and misleadingly,

in their marketing: (1) downplayed the serious risk of addiction; (2) promoted and exaggerated the

concept of "pseudoaddiction" thereby advocating that the signs of addiction should be treated with

more opioids; (3) exaggerated the effectiveness of screening tools in preventing addiction; (4)

claimed that opioid dependence and withdrawal are easily managed; (5) denied the risks of higher

opioid dosages; and (6) exaggerated the effectiveness of "abuse-deterrent" opioid formulations to

prevent abuse and addiction.



9   "Chronic pain" means non-cancer pain lasting three months or longer.


PLAINTIFF'S ORIGINAL PETITION WITH DISCOVERY                                                            4
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                                              •




               Defendants disseminated these falsehoods through ads and/or their sales

representatives and physicians who supported Defendants' message. Sales representatives,

working at Defendants' behest, promoted highly addictive opioids through souvenirs and toys

including, but not limited to, opioid brand-bearing stuffed plush toys, dolls, coffee cups, fanny

packs, water bottles, notepads, pens, refrigerator magnets, clocks, letter openers, rulers, daytime

planners, bags, puzzles, posters, hand-held calculators, clipboards, highlighters, flashlights, key

chains, clothing, reflex mallets, and mock-ups of the United States Constitution.

               Defendants also used third parties they controlled by: (a) funding, assisting,

encouraging, and directing doctors, known as "key opinion leaders" ("KOLs") and (b) funding,

assisting, directing, and encouraging seemingly neutral and credible professional societies and

patient advocacy groups (referred to hereinafter as "Front Groups").

               Defendants worked with KOLs and Front Groups to taint the sources that doctors

and patients relied on for ostensibly "neutral" guidance, such as treatment guidelines, Continuing

Medical Education ("CME") programs, medical conferences and seminars, and scientific articles.

After their individual and concerted efforts, Defendants convinced doctors that instead of being

addictive and unsafe for long-term use in most circumstances, opioids were required in the

compassionate treatment of chronic pain.

              The Distributor Defendants were not standing by idly while Marketing Defendants

were peddling their opioids to physicians and consumers. Cardinal, AmerisourceBergen, and

McKesson ("Distributor Defendants") are three of the largest opioid distributors in the United

States. Distributor Defendants purchased opioids from Manufacturing Defendants herein and sold

them to pharmacies servicing consumers in Dallas County.

              Despite the alarming and suspicious rise in the ordering of opioids by retailers in




PLAINTIFF'S ORIGINAL PETITION WITH DISCOVERY                                                     5
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                                                      4




Dallas County, Distributor Defendants did nothing. The Manufacturing Defendants and

Distributor Defendants worked hand and glove to glut the U.S. and Dallas County with more

opioids than would be consumed for therapeutic purposes. Each Defendant disregarded its legal

duty to report suspicious opioid prescriptions, and each Defendant financially benefitted from the

other Defendants (both Manufacturing and Distributor Defendants), disregarding their individual

duties to report.

                 Essentially each Defendant ignored science and consumer health for profits.

Defendants' efforts were so successful that opioids are now the most prescribed class of drugs

generating $11 billion in revenue for drug companies in 2014 alone. Even after Purdue reached a

$600 million federal settlement in 2007, the settlement failed to impact what is a "$13-billion-a-

year opioid industry."I°

                 As a direct and foreseeable consequence of Defendants' misrepresentations

regarding the safety and efficacy of using opioids for chronic pain, Dallas County has spent and

continues to spend large sums combatting the public health crisis created by Defendants' negligent

and fraudulent marketing campaign.

                 For example, thousands of prescriptions were written for opioids in Dallas County

in 2012" and in 2012 there were multiple deaths reported from drug overdoses.12 A substantial

number of those overdose deaths were a result, in whole or in part, of opioid ingestion. In each

year from 2013-2017, there were multiple deaths in Dallas County caused in whole or in part from

ingestion of prescription opioids. Defendants' marketing misconduct, as well as Defendants'




1° Rebecca L. Haffajee, J.D., Ph.D., M.P.H., and Michelle M. Mello, J.D., Ph.D., Drug Companies' Liability for the
Opioid Epidemic, N. Engl. J. Med. at 2305, (Dec. 14, 2017).
" https ://www.cdc.gov/drugoverdose/maps/rxrate-maps.htm I ; https://www.cdc.gov/nchs/data-visual izati on/drug-
poisoning-mortality.
12 https://www.cdc.govinchs/data-visualization/drug-poisoning-mortality.




PLAINTIFF'S ORIGINAL PETITION WITH DISCOVERY                                                                     6
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efforts to sell more prescription opioids that can be consumed therapeutically, were natural and

foreseeable causes of overdose deaths and injuries in Dallas County.

                 As a direct and foreseeable consequence of Defendants' conduct described

regarding prescription opioids, Dallas County has committed and continues to commit resources

to provide and pay for health care, law enforcement, social services, public assistance,

pharmaceutical care and other services necessary for its residents.

            IL       RULE 47 STATEMENT OF MONETARY RELIEF SOUGHT

                 Per Rule 47 of the Texas Rules of Civil Procedure, the County states that although the

full measure of its damages is still being calculated, its damages caused by Defendants' acts and

omissions exceed $1,000,000 but are believed to be less than $100,000,000. Accordingly, at this time

in the litigation, Dallas County states that it is seeking monetary relief for an amount greater than

$1,000,000 and less than $100,000,000, the rightful and just amount to be determined by the jury.

                              III.    VENUE AND JURISDICTION

                 Venue is proper in Dallas County because all or a substantial part of the events or

omissions giving rise to this claim occurred in Dallas County. TEX. CIV. PRAC. & REM. CODE

§15.002(a)(2). This Court has subject-matter jurisdiction over this matter because Plaintiff's damages

are in excess of the minimal jurisdictional limits of this Court. TEX. GOVT. CODE §24.007(b).

                 This Court has general jurisdiction over Dr. Andrews, Dr. Okechuku, and Dr. Padron

 as they are Texas residents. This Court also has specific jurisdiction over all Defendants as their

activities were directed toward Texas, and injuries complained of herein resulted from their

activities. Guardian Royal Exchange Assur., Ltd. v. English China Clays, P.L.C., 815 S.W.2d 223,

227 (Tex. 1991). Each Defendant has a substantial connection with Texas and the requisite

 minimum contacts with Texas necessary to constitutionally permit the Court to exercise




PLAINTIFF'S ORIGINAL PETITION WITH DISCOVERY                                                         7
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 jurisdiction. See id. at 226.

                                         IV. PARTIES

A.      Plaintiff

        22.      This action is brought for and on behalf of Dallas County, which provides a wide

range of services on behalf of its residents, including services for families and children, public

health, public assistance, law enforcement, and emergency care.

B.      Defendants

                 PURDUE PHARMA L.P. is a limited partnership organized under the laws of

Delaware, and may be served through its registered agent for service of process, The Prentice-Hall

Corporation System, Inc., 251 Little Falls Drive, Wilmington, DE 19808. PURDUE PHARMA

L.P. is, through its ownership structure, a Texas resident. PURDUE PHARMA INC. is a New York

corporation with its principal place of business in Stamford, Connecticut, and may be served

through its registered agent for service of process, Corporation Service Company, 80 State Street,

Albany, NY 12207. THE PURDUE FREDERICK COMPANY is a Delaware corporation with its

principal place of business in Stamford, Connecticut, and may be served through its registered

agent for service of process, The Prentice-Hall Corporation System, Inc., 251 Little Falls Drive,

Wilmington, DE 19808 (collectively, "Purdue").

                Purdue manufactures, promotes, sells, and distributes opioids in the U.S. and Dallas

County. Purdue's opioid drug, OxyContin, is among the most addictive and abused prescription

drugs in the history of America. Purdue promotes opioids throughout the United States and in

Dallas County.

                JANSSEN PHARMACEUTICALS, INC. is a Pennsylvania corporation with its

principal place of business in Titusville, New Jersey, and may be served through its registered




PLAINTIFF'S ORIGINAL PETITION WITH DISCOVERY
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agent for service of process, CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, TX

75201. JANSSEN PHARMACEUTICALS, INC. is a wholly owned subsidiary of JOHNSON &

JOHNSON (J&J), a New Jersey corporation with its principal place of business in New Brunswick,

New Jersey, and may be served through its registered agent for service of process, Attention: Legal

Department, One Johnson & Johnson Plaza, New Brunswick, NJ 08933. ORTHO-MCNEIL-

JANSSEN PHARMACEUTICALS, INC., now known as JANSSEN PHARMACEUTICALS,

INC., is a Pennsylvania corporation with its principal place of business in Titusville, New Jersey.

JANSSEN PHARMACEUTICA INC., now known as JANSSEN PHARMACEUTICALS, INC.,

is a Pennsylvania corporation with its principal place of business in Titusville, New Jersey. J&J

is the only company that owns more than 10% of Janssen Pharmaceuticals' stock, and corresponds

with the FDA regarding Janssen's products. Upon information and belief, J&J controls the sale

and development of Janssen Pharmaceuticals' drugs and Janssen's profits inure to J&J's benefit.

(Janssen Pharmaceuticals, Inc., Ortho-McNeil-Janssen Pharmaceuticals, Inc., Janssen

Pharmaceutica, Inc., and J&J are referred to as "Janssen").

                 Janssen manufactures, promotes, sells, and distributes opioids in the U.S. and in

Dallas County.

                 ENDO HEALTH SOLUTIONS INC. is a Delaware corporation with its principal

place of business in Malvern, Pennsylvania, and may be served through its registered agent for

service of process, The Corporation Trust Company, Corporation Trust Center, 1209 Orange St.,

Wilmington, DE 19801. ENDO PHARMACEUTICALS, INC. is a wholly-owned subsidiary of

Endo Health Solutions Inc. and is a Delaware corporation with its principal place of business in

Malvern, Pennsylvania, and may be served through its registered agent for service of process, CT

Corporation System, 1999 Bryan Street, Suite 900, Dallas, TX 75201. (Endo Health Solutions Inc.




PLAINTIFF'S ORIGINAL PETITION WITH DISCOVERY
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and Endo Pharmaceuticals, Inc. are referred to as "Endo").

               Endo develops, markets, and sells opioid drugs in the U.S. and in Dallas County.

Endo also manufactures and sells generic opioids in the U.S. and Dallas County, by itself and

through its subsidiary, Qualitest Pharmaceuticals, Inc.

               ABBVIE INC. ("Abbvie") is a Delaware corporation with its principal place of

business in North Chicago, Illinois, and may be served through its registered agent for service of

process, CT Corporation System, 208 S. LaSalle Street, Suite 814, Chicago, IL 60604. KNOLL

PHARMACEUTICAL COMPANY ("Knoll") has been a wholly-owned subsidiary of Abbvie

from January 1, 2013. KNOLL PHARMACEUTICAL COMPANY is a New Jersey corporation

with its principal place of business in Parsippany, New Jersey, and may be served through its

registered agent for service of process, CT Corporation System, 208 S. LaSalle Street, Suite 814,

Chicago, IL 60604.

               Knoll irresponsibly marketed narcotics, such as Vicodin, through whimsical toys

and souvenirs and did so to boost the sales of opioids. Taking advantage of the fact that Vicodin

was not regulated as a Schedule II controlled substance for many years, and the fact physicians and

consumers did not fully appreciate the highly addictive nature of Vicodin, Knoll advertised Vicodin

with tag lines such as "The Highest Potency Pain Relief You Can Still Phone In." This tag line

came as part and parcel of souvenirs like a "Vicodin" fanny pack and water bottle, both bearing the

name of Vicodin, the opioid Knoll was promoting. This irresponsible marketing of a narcotic drug

caused doctors and patients to believe Vicodin was safer than it really was, to the detriment of

people in Dallas County.

               Abbvie began manufacturing, developing, promoting, marketing, and selling the

opioid drug, Vicodin, in the U.S. and in Dallas County beginning January 1, 2013. On information




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and belief, it continues to do so at the time of filing this pleading.

                ALLERGAN PLC is a public limited company incorporated in Ireland with its

principal place of business in Dublin, Ireland. ACTAVIS PLC acquired Allergan plc in March

2015, and the combined company changed its name to Allergan plc in January 2013. Before that,

WATSON PHARMACEUTICALS, INC. acquired ACTAVIS, INC. in October 2012, and the

combined company changed its name to ALLERGAN FINANCE, LLC as of October 2013.

ALLERGAN FINANCE, LLC is a Nevada Corporation with its principal place of business in

Parsippany, New Jersey, and may be served through its registered agent for service of process, The

Corporation Trust Company of Nevada, 701 S. Carson St., Suite 200, Carson City, NV 89701.

WATSON LABORATORIES, INC. is a Nevada corporation with its principal place of business

in Corona, California, and is a wholly-owned subsidiary of Allergan plc (f/k/a Actavis, Inc., f/k/a

Watson Pharmaceuticals, Inc.), and may be served through its registered agent for service of

process, Corporate Creations Network, Inc., 8275 South Eastern Ave., #200, Las Vegas, NV

89123. ACTAVIS PHARMA, INC. (f/k/a Actavis, Inc.) is a Delaware corporation with its

principal place of business in New Jersey and was formerly known as WATSON PHARMA, INC,

and may be served through its registered agent for service of process, CT Corporation System,

1999 Bryan Street, Suite 900, Dallas, TX 75201. ACTAVIS LLC is a Delaware limited liability

company with its principal place of business in Parsippany, New Jersey, and may be served through

its registered agent for service of process, Corporate Creations Network, Inc., 3411 Silverside Rd.,

Tatnall Building, Suite 104, Wilmington, DE 19810. Each of these Defendants is owned by

Allergan plc, which uses them to market and sell its drugs in the United States.

               Upon information and belief, Allergan plc exercises control over these marketing

and sales efforts and profits from the sale of Allergan/Actavis products ultimately inure to its




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benefit. (Allergan plc, Actavis plc, Actavis, Inc., Allergan Finance, LLC, Actavis LLC, Actavis

Pharma, Inc., Watson Pharmaceuticals, Inc., Watson Pharma, Inc., and Watson Laboratories, Inc.

are referred to as "Actavis"). Actavis acquired the rights to Kadian from King Pharmaceuticals,

Inc. on December 30, 2008 and began marketing Kadian in 2009.

                 Actavis manufactures, promotes, sells, and distributes opioids in the U.S. and in

Dallas County.

                 MCKESSON CORPORATION ("McKesson") is a Delaware corporation with its

principal place of business in San Francisco, California, and may be served through its registered

agent for service of process, CSC - Lawyers Incorporating Service, 211 E. 7th Street, Suite 620,

Austin, TX 78701. Upon information and belief, McKesson is a pharmaceutical distributor licensed

to do business in Texas. McKesson distributes pharmaceuticals to retail pharmacies and institutional

providers in all 50 states, including Texas and Dallas County.

                 CARDINAL HEALTH, INC. ("Cardinal") is an Ohio Corporation with its principal

place of business in Dublin, Ohio, and may be served through its registered agent for service of

process, CT Corporation System, 4400 Easton Commons, Suite 125, Columbus, OH 43219.

Cardinal does substantial business in Texas and, upon information and belief, Cardinal is a

pharmaceutical distributor licensed to do business in Texas. Cardinal distributes pharmaceuticals to

retail pharmacies and institutional providers to customers in all 50 states, including Texas and

Dallas County.

                 AMERISOURCEBERGEN DRUG CORPORATION ("Amerisource") is a

Delaware Corporation with its principal place of business in Chesterbrook, Pennsylvania, and may

be served through its registered agent for service of process, The Corporation Trust Company,

Corporation Trust Center, 1209 Orange St., Wilmington, DE 19801. Amerisource does substantial




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 business in Texas and, upon information and belief, Amerisource is a pharmaceutical distributor

 licensed to do business in Texas. Amerisource distributes pharmaceuticals to retail pharmacies and

 institutional providers to customers in all 50 states, including Texas and Dallas County.

                 DR. RICHARD ANDREWS is an individual residing in Dallas, Dallas County,

Texas, and may be served with citation at 3905 Highgrove Drive, Dallas, TX 75220, or wherever

 he may be found. Dr. Andrews was involved in a "pill mill" operation and charged with conspiracy

to distribute controlled substances, including oxycodone, to patients in Dallas County and numerous

other counties.13 Dr. Andrews agreed to the revocation of his medical license on March 3, 2017

after pleading guilty to two felony charges.I4 Dallas County is not, however, seeking damages under

claims of medical malpractice or medical professional negligence.

                 DR. THEODORE OKECHUKU is an individual who resided in Dallas, Dallas

County, Texas until his sentencing date in October 2015; DR. THEODORE OKECHUKU may be

served with citation at FCI Texarkana, Federal Correctional Institution, Register Number: 59813-

060, 4001 Leopard Drive, Texarkana, TX 75501, or wherever he may be found. Dr. Okechuku was

involved in a "pill mill" operation and charged with, among other things, conspiracy to distribute

controlled substances, including hydrocodone, to patients in Dallas County and other counties.'

Dr. Okechuku lost his medical license as of December 17, 2015)6 Dallas County is not, however,

seeking damages under claims of medical malpractice or medical professional negligence.

                 DR. NICOLAS PADRON is an individual who resided in Garland, Dallas County,




13 Department of Justice, "Doctor Who Owned McAllen Medical Clinic in Dallas Pleads Guilty in Pill Mill Case,"
(January 13, 2017), https://www.justice/usao-ndtx/pr/doctor-who-owned-mcallen-medical-clinic-dallas-pleads-
guilty-pill-mill-case.
" Texas Medical Board, http://reg.tmb/state/tx/us.com, last viewed November 13, 2017.
is "Trial for Dallas Doctor Accused of Running Pill Mill," (October 6, 2015), http://www.zenlawfirm.com/Law-
Blog/2015/October/Trial-for-Dallas-Doctor-Accused-of-Running-Pill-.aspx.
16
   Texas Medical Board, http://reg.tmb/state/tx/us.com, last viewed November 13, 2017.


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Texas until his sentencing date in March 2014; DR. NICOLAS PADRON may be served with

citation at USP Beaumont, U.S. Penitentiary, Register Number: 44575-177, 6200 Knauth Road,

Beaumont, TX 77705, or wherever he may be found. Dr. Padron was involved in a "pill mill"

operation and charged with conspiracy to distribute controlled substances, including hydrocodone,

to patients in Dallas County and other counties." Dr. Padron agreed to the revocation of his medical

license on October 1, 2012 in lieu of further disciplinary proceedings after pleading guilty to one

charge of conspiracy to commit healthcare fraud.I8 Dallas County is not, however, seeking damages

under claims of medical malpractice or medical professional negligence.

                  The County lacks information sufficient to specifically identify the true names or

capacities, whether individual, corporate or otherwise, of Defendants sued herein under the

fictitious names DOES 1 through 100 inclusive. The County will amend this Petition to show their

true names and capacities if and when they are ascertained. Dallas County is informed and

believes, and on such information and belief alleges, that each of the Defendants named as a DOE

has engaged in conduct that contributed to cause events and occurrences alleged in this Petition

and, as such, shares liability for at least some part of the relief sought herein.

                                   V.       FACTUAL ALLEGATIONS

                  Before the 1990s, generally accepted standards of medical practice dictated that

opioids should be used only for short-term acute pain — pain relating to recovery from surgery or

for cancer or palliative (end-of-life) care. Using opioids for chronic pain was discouraged or even

prohibited because there was a lack of evidence that opioids improved patients' ability to

overcome pain and function. Instead the evidence demonstrated that patients developed tolerance



'7 "Garland Doctor, other 'Dealers' Sentenced in Dallas Till Mill' Case," (October 29, 2014),
http://starlocalmedia.com/rowlettlakeshoretimes/garland-doctor-other-d...11as-pill-mill-case/article_d53be5fc-5fbc-
Ile4-9186-af37156f06a3.html.
18 Texas Medical Board, http://regAmb/state/tx/us.com, last viewed November 13, 2017.




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to opioids over time, which increased the risk of addiction and other side effects.

               Defendants dramatically changed doctors' views regarding opioids through a well-

funded deceptive marketing scheme. Each Defendant used direct marketing and unbranded

advertising disseminated by seemingly independent third parties to spread false and deceptive

statements about the risks and benefits of long-term opioid use.

A.     Defendants Used Multiple Avenues To Disseminate their False and Deceptive
       Statements about Opioids.

               Defendants spread their false and deceptive statements by (1) marketing their

branded opioids directly to doctors treating patients residing in Dallas County and the Dallas

County patients themselves and (2) deploying so-called unbiased and independent third parties

to Dallas County.

               1. Defendants Spread and Continue to Spread Their False and Deceptive
                  Statements Through Direct Marketing of Their Branded Opioids.

               Defendants' direct marketing of opioids generally proceeded on two tracks. First,

each Defendant conducted advertising campaigns touting the purported benefits of their branded

drugs. For example, Defendants spent more than $14 million on medical journal advertising of

opioids in 2011, nearly triple what they spent in 2001, including $8.3 million by Purdue, $4.9

million by Janssen, and $1.1 million by Endo.

               A number of Defendants' branded ads deceptively portrayed the benefits of opioids

for chronic pain. For example, Endo distributed and made available on its website,

www.opana.com, a pamphlet promoting Opana ER with photographs depicting patients with

physically demanding jobs like a construction worker and chef, implying that the drug would

provide long-term pain-relief and functional improvement. Purdue also ran a series of ads, called

"pain vignettes," for OxyContin in 2012 in medical journals. These ads featured chronic pain




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 patients and recommended OxyContin for each. One ad described a "54-year-old writer with

osteoarthritis of the hands" and implied that OxyContin would help the writer work more

effectively. Pursuant to a settlement agreement, Endo and Purdue agreed in late 2015 and 2016 to

halt these misleading representations in New York, but they may continue to disseminate them in

Texas.

               Second, each Defendant promoted the use of opioids for chronic pain through

"detailers" — sales representatives who visited individual doctors and medical staff in their offices

— and small-group speaker programs. Defendants devoted massive resources to direct sales

contacts with doctors. In 2014 alone, Defendants spent $168 million on detailing branded opioids

to doctors, including $108 million by Purdue, $34 million by Janssen, $10 million by Endo, and

$2 million by Actavis. This amount is twice as much as Defendants spent on detailing in 2000.

               Defendants also identified doctors to serve, for payment, on their speakers' bureaus

and to attend programs with speakers and meals paid for by Defendants. These speaker programs

provided: (1) an incentive for doctors to prescribe a particular opioid (so they might be selected to

promote the drug); (2) recognition and compensation for the doctors selected as speakers; and (3)

an opportunity to promote the drug through the speaker to his or her peers. These speakers gave

the false impression that they were providing unbiased and medically accurate presentations when

they were, in fact, presenting a script prepared by Defendants. On information and belief, these

presentations conveyed misleading information, omitted material information, and failed to correct

Defendants' prior misrepresentations about the risks and benefits of opioids.

               Defendants employed the same marketing plans, strategies, and messages in and

around Dallas County, Texas as they did nationwide. Across the pharmaceutical industry, "core

message" development is funded and overseen on a national basis by corporate headquarters. This




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comprehensive approach ensures that Defendants' messages are accurately and consistently

delivered across marketing channels and in each sales territory. Defendants consider this high level

of coordination and uniformity crucial to successfully marketing their drugs.

               2. Defendants Used a Diverse Group of Seemingly Independent Third Parties
                   to Spread False and Deceptive Statements about the Risks and Benefits of
                   Opioids.

               Defendants also deceptively marketed opioids in and around Dallas County through

unbranded advertising — i.e., advertising that promotes opioid use generally but does not name a

specific opioid. This advertising was ostensibly created and disseminated by independent third

parties. But by funding, directing, reviewing, editing, and distributing this unbranded advertising,

Defendants controlled the deceptive messages disseminated by these third parties and acted in

concert with them to falsely and misleadingly promote opioids for treating chronic pain.

               Unbranded advertising also avoided regulatory scrutiny because Defendants did

not have to submit it to the FDA, and therefore it was not reviewed by the FDA.

               Defendants' deceptive unbranded marketing often contradicted their branded

materials reviewed by the FDA. For example, Endo's unbranded advertising contradicted its

concurrent, branded advertising for Opana ER:

                     Pain: Opioid Therapy              Opana ER Advertisement
                         (Unbranded)                           (Branded)
                                                   "All patients treated with opioids
                 "People who take opioids as       require careful monitoring for
                 prescribed usually do not         signs of abuse and addiction, since
                 become addicted."                 use of opioid analgesic products
                                                   carries the risk of addiction even
                                                   under appropriate medical use."

       a.      Key Opinion Leaders (KOLs)

               Defendants spoke through a small circle of doctors who, upon information and

belief, were selected, funded, and elevated by Defendants because their public positions supported



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using opioids to treat chronic pain. These doctors became known as "key opinion leaders" or

"KOLs."

                  Defendants paid KOLs to serve as consultants or on their advisory boards and to

give talks or present CMEs, and their support helped these KOLs become respected industry

experts. As they rose to prominence, these KOLs touted the benefits of opioids to treat chronic

pain, repaying Defendants by advancing their marketing goals. KOLs' professional reputations

became dependent on continuing to promote a pro-opioid message, even in activities that were not

directly funded by Defendants.

               KOLs have written, consulted on, edited, and lent their names to books and articles,

and given speeches and CMEs supportive of chronic opioid therapy. Defendants created

opportunities for KOLs to participate in research studies Defendants suggested or chose and then

cited and promoted favorable studies or articles by their KOLs. By contrast, Defendants did not

support, acknowledge, or disseminate publications of doctors unsupportive or critical of chronic

opioid therapy.

               Defendants' KOLs also served on committees that developed treatment guidelines

that strongly encourage using opioids to treat chronic pain, and on the boards of pro-opioid

advocacy groups and professional societies that develop, select, and present CMEs. Defendants

were able to direct and exert control over each of these activities through their KOLs.

               Pro-opioid doctors are one of the most important avenues that Defendants use to

spread their false and deceptive statements about the risks and benefits of long-term opioid use.

Defendants know that doctors rely heavily and less critically on their peers for guidance, and KOLs

provide the false appearance of unbiased and reliable support for chronic opioid therapy.

               Defendants utilized many KOLs, including many of the same ones. Two of the most




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    prominent are described below.

                   1. Russell Portenoy

                   Dr. Russell Portenoy, former Chairman of the Department of Pain Medicine and

Palliative Care at Beth Israel Medical Center in New York, is one example of a KOL who

Defendants identified and promoted to further their marketing campaign. Dr. Portenoy received

research support, consulting fees, and honoraria from Endo, Janssen, and Purdue (among others),

and was a paid consultant to Purdue.

                   Dr. Portenoy was instrumental in opening the door for the regular use of opioids to

treat chronic pain. He served on the American Pain Society ("APS")/American Academy of Pain

Medicine ("AAPM") Guidelines Committees, which endorsed the use of opioids to treat chronic

pain, first in 1997 and again in 2009. He was also a member of the board of the American Pain

Foundation ("APF"), an advocacy organization almost entirely funded by Defendants.

                   Dr. Portenoy also made frequent media appearances promoting opioids. He

appeared on Good Morning America in 2010 to discuss using opioids long-term to treat chronic

pain. On this widely-watched program, broadcast in Texas and across the country, Dr. Portenoy

claimed: "Addiction, when treating pain, is distinctly uncommon. If a person does not have a

history, a personal history, of substance abuse, and does not have a history in the family of

substance abuse, and does not have a very major psychiatric disorder, most doctors can feel very

assured that that person is not going to become addicted."I9

                   Dr. Portenoy later admitted that he "gave innumerable lectures in the late 1980s

and '90s about addiction that weren't true."20 These lectures falsely claimed that less than 1% of



19   Good Morning America television broadcast, ABC News (Aug. 30, 2010).
° Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, WALL ST. J., Dec.
2

 17, 2012.



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patients would become addicted to opioids. According to Dr. Portenoy, because the primary goal

was to "destigmatize" opioids, he and other doctors promoting them overstated their benefits and

glossed over their risks. Dr. Portenoy also conceded that "[d]ata about the effectiveness of opioids

does not exist."21 Portenoy candidly stated: "Did I teach about pain management, specifically

about opioid therapy, in a way that reflects misinformation? Well.. .1 guess I did."22

               2. Lynn Webster

               Another KOL, Dr. Lynn Webster, was the co-founder and Chief Medical Director

of Lifetree Clinical Research, an otherwise unknown pain clinic in Salt Lake City, Utah. Dr.

Webster was President in 2013 and is a current board member of AAPM, a Front Group that

ardently supports chronic opioid therapy. He is a Senior Editor of Pain Medicine, the same journal

that published Endo special advertising supplements touting Opana ER. Dr. Webster authored

numerous CMEs sponsored by Endo and Purdue while he was receiving significant funding from

Defendants.

               In 2011, Dr. Webster presented a program via webinar sponsored by Purdue titled,

Managing Patient's Opioid Use: Balancing the Need and the Risk. Dr. Webster recommended

using risk screening tools, such as urine testing and patient agreements as a way to prevent

"overuse of prescriptions" and "overdose deaths," which was available to and was intended to reach

doctors treating Dallas County residents.

               Dr. Webster also was a leading proponent of the concept of "pseudoaddiction," the

notion that addictive behaviors should be seen not as warnings, but as indications of undertreated

pain. In Dr. Webster's description, the only way to differentiate the two was to increase a patient's

dose of opioids. As he and his co-author wrote in a book entitled Avoiding Opioid Abuse While


"Id.
" Id.


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Managing Pain (2007), a book that is still available online, when faced with signs of aberrant

behavior, increasing the dose "in most cases. . . should be the clinician's first response." Endo

distributed this book to doctors. Years later, Dr. Webster reversed himself, acknowledging that

Ipseudoaddiction] obviously became too much of an excuse to give patients more medication."23

        b.      Front Groups

                Defendants entered into arrangements with seemingly unbiased and independent

patient and professional organizations to promote opioids for treating chronic pain. Under

Defendants' direction and control, these "Front Groups" generated treatment guidelines, unbranded

materials, and programs that favored chronic opioid therapy. They also assisted Defendants by

responding to negative articles, by advocating against regulatory changes that would limit

prescribing opioids in accordance with the scientific evidence, and by conducting outreach to

vulnerable patient populations targeted by Defendants.

               These Front Groups depended on Defendants for funding and, in some cases, for

survival. Defendants also exercised control over programs and materials created by these groups

by collaborating on, editing, and approving their content, and by funding their dissemination. In

doing so, Defendants made sure these Groups would generate only the messages Defendants wanted

to distribute. Even so, the Front Groups held themselves out as independent and as serving the needs

of their members — whether patients suffering from pain or doctors treating those patients.

               Defendants Endo, Janssen, and Purdue utilized many Front Groups, including many

of the same ones. Several of the most prominent are described below, but there are many others,

including the American Pain Society ("APS"), American Geriatrics Society ("AGS"), the

Federation of State Medical Boards ("FSMB"), American Chronic Pain Association ("ACPA"),


  John Fauber & Ellen Gabler, Networking Fuels Painkiller Boom, MILWAUKEE WISC. J. SENTINEL (Feb. 19,
2012).



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American Society of Pain Education ("ASPE"), National Pain Foundation ("NPF") and Pain &

Policy Studies Group ("PPSG").

                1. American Pain Foundation ("APF")

                The most prominent of Defendants' Front Groups was APF, which received more

than $10 million in funding from opioid manufacturers from 2007 until it closed its doors in May

2012. Endo alone provided more than half that funding; Purdue was next at $1.7 million.

                In 2009 and 2010, more than 80% of APF's operating budget came from

pharmaceutical industry sources. Including industry grants for specific projects, APF received

about $2.3 million from industry sources out of total income of about $2.85 million in 2009; its

budget for 2010 projected receipts of roughly $2.9 million from drug companies, out of total

income of about $3.5 million. By 2011, APF was entirely dependent on incoming grants from

defendants Purdue, Endo, and others to avoid using its line of credit. As one of its board members,

Russell Portenoy, explained the lack of funding diversity was one of the biggest problems at APF.

                APF issued education guides for patients, reporters, and policymakers that touted

the benefits of opioids for chronic pain and trivialized their risks, particularly the risk of addiction.

APF also engaged in a significant multimedia campaign — through radio, television, and the

internet — to educate patients about their "right" to pain treatment, namely opioids. All of the

programs and materials were available nationally and were intended to reach patients and

consumers in Dallas County.

                2. American Academy of Pain Medicine ("AAPM")

        72.     The American Academy of Pain Medicine, with the assistance, prompting,

involvement, and funding of Defendants, issued treatment guidelines and sponsored and hosted

medical education programs essential to Defendants' deceptive marketing of chronic opioid




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therapy.

                 AAPM received over $2.2 million in funding since 2009 from opioid

manufacturers. AAPM maintained a corporate relations council, whose members paid $25,000 per

year (on top of other funding) to participate. The benefits included allowing members to present

educational programs at off-site dinner symposia in connection with AAPM's marquee event — its

annual meeting held in Palm Springs, California, or other resort locations. AAPM describes the

annual event as an "exclusive venue" for offering education programs to doctors. Membership in

the corporate relations council also allows drug company executives and marketing staff to meet

with AAPM executive committee members in small settings. Defendants Endo, Purdue, and

Actavis were members of the council and presented deceptive programs to doctors who attended

this annual event.

                 AAPM is viewed internally by Endo as "industry friendly," with Endo advisors and

speakers among its active members. Endo attended AAPM conferences, funded its CMEs, and

distributed its publications. The conferences sponsored by AAPM heavily emphasized sessions

on opioids — 37 out of roughly 40 at one conference alone. AAPM's presidents have included top

industry-supported KOLs Perry Fine, Russell Portenoy, and Lynn Webster. Dr. Webster was even

elected president of AAPM while under a DEA investigation. Another past AAPM president, Dr.

Scott Fishman, stated that he would place the organization "at the forefront" of teaching that "the

risks of addiction are . . . small and can be managed."24

                 AAPM's staff understood they and their industry fiinders were engaged in a

common task. Defendants were able to influence AAPM through both their significant and regular




24
   Interview by Paula Moyer with Scott M. Fishman, M.D., Professor of Anesthesiology and Pain Medicine, Chief
of the Division of Pain Medicine, Univ. of Cal., Davis (2005), http://www.medscape.org/viewarticle/500829.


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funding and the leadership of pro-opioid KOLs within the organization.

               In 1997, AAPM and the American Pain Society jointly issued a consensus

statement, The Use of Opioids for the Treatment of Chronic Pain, which endorsed opioids to treat

chronic pain and claimed there was a low risk that patients would become addicted to opioids. The

co-author of the statement, Dr. Haddox, was at the time a paid speaker for Purdue. Dr. Portenoy

was the sole consultant. The consensus statement remained on AAPM's website until 2011, and

was taken down from AAPM's website only after a doctor complained, though it still lingers on

the internet elsewhere.

               AAPM and APS issued their own guidelines in 2009 ("AAPM/APS Guidelines")

and continued to recommend using opioids to treat chronic pain. Fourteen of the 21 panel members

who drafted the AAPM/APS Guidelines, including KOLs Dr. Portenoy and Dr. Perry Fine of the

University of Utah, received support from Janssen, Endo, and Purdue.

               The 2009 Guidelines promote opioids as "safe and effective" for treating chronic

pain, despite acknowledging limited evidence, and conclude that the risk of addiction is

manageable for patients regardless of past abuse histories. One panel member, Dr. Joel Saper,

Clinical Professor of Neurology at Michigan State University and founder of the Michigan

Headache & Neurological Institute, resigned from the panel because he was concerned the 2009

Guidelines were influenced by contributions that drug companies, including Defendants, made to

the sponsoring organizations and committee members. These AAPM/APS Guidelines have been

a particularly effective channel of deception and have influenced not only treating physicians, but

also the body of scientific evidence on opioids. The Guidelines have been cited 732 times in

academic literature, were disseminated in and around Dallas County during the relevant time

period, are still available online, and were reprinted in the Journal of Pain.




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B.      Defendants' Marketing Scheme Misrepresented the Risks and Benefits of Opioids.

        79.     To convince doctors treating residents in Dallas County and Dallas County patients

that opioids can and should be used to treat chronic pain, Defendants had to convince them that

long-term opioid use is both safe and effective. Knowing they could do so only by deceiving those

doctors and patients about the risks and benefits of long-term opioid use, Defendants made claims

that were not supported by, or were contrary to, the scientific evidence. Even though

pronouncements by and guidance from the FDA and the CDC based on that evidence confirm that

their claims were false and deceptive, Defendants have not corrected them, or instructed their

KOLs or Front Groups to correct them, and continue to spread them today.

C.      Defendants Falsely Trivialized or Failed to Disclose the Known Risks of Long-Term
        Opioid Use.

                To convince doctors and patients that opioids are safe, Defendants deceptively

trivialized and failed to disclose the risks of long-term opioid use, particularly the risk of addiction,

through a series of misrepresentations that have been conclusively debunked by the FDA and

CDC. These misrepresentations — which are described below — reinforced each other and created

the dangerously misleading impression that: (I) starting patients on opioids was low-risk because

most patients would not become addicted, and because those who were at greatest risk of addiction

could be readily identified and managed; (2) patients who displayed signs of addiction probably

were not addicted and, in any event, could easily be weaned from the drugs; (3) the use of higher

opioid doses, which many patients need to sustain pain relief as they develop tolerance to the drugs,

do not pose special risks; and (4) abuse-deterrent opioids both prevent overdose and are inherently

less addictive. Defendants have not only failed to correct these misrepresentations, they continue

to make them today.

               First, Defendants falsely claimed the risk of addiction is low and unlikely to




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develop when opioids are prescribed, as opposed to obtained illicitly; and failed to disclose the

greater risk of addiction with prolonged use of opioids. For example:

                      Actavis's predecessor caused a patient education brochure to be distributed
                      in 2007 claiming opioid addiction is possible, but "less likely if you have
                      never had an addiction problem." Upon information and belief, based on
                      Actav is's acquisition of its predecessor's marketing materials along with
                      the rights to Kadian, Actavis continued to use this brochure in 2009 and
                      beyond;

                      Purdue sponsored APF's Treatment Options: A Guide for People Living
                      with Pain (2007), which instructed that addiction is rare and limited to
                      extreme cases of unauthorized dose escalations, obtaining duplicative
                      opioid prescriptions from multiple sources, or theft. This publication is still
                      available online;

                      Endo sponsored a website, Painknowledge.com, which claimed in 2009 that
                      "[p]eople who take opioids as prescribed usually do not become addicted."
                      Another Endo website, PainAction.com, stated "Did you know? Most
                      chronic pain patients do not become addicted to the opioid medications that
                      are prescribed for them;"

                      Endo distributed a pamphlet with the Endo logo entitled Living with
                      Someone with Chronic Pain, which stated that: "Most health care providers
                      who treat people with pain agree that most people do not develop an
                      addiction problem." A similar statement appeared on the Endo website,
                      www.opana.com;

                      Janssen reviewed, edited, approved, and distributed a patient education
                      guide entitled Finding Relief Pain Management for Older Adults (2009),
                      which described as "myth" the claim that opioids are addictive, and asserted
                      as fact that "[m]any studies show that opioids are rarely addictive when used
                      properly for the management of chronic pain;"

                      Janssen currently runs a website, Prescriberesponsibly.com (last updated
                      July 2, 2015), which claims that concerns about opioid addiction are
                      "overestimated;"

                      Purdue sponsored APF's A Policymaker's Guide to Understanding Pain &
                      Its Management — which claims that less than 1% of children prescribed
                      opioids will become addicted and that pain is undertreated due to
                      "misconceptions about opioid addiction[]." This publication is still
                      available online; and

                      Detailers for Purdue, Endo, and Janssen in and around Dallas County




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                             minimized or omitted any discussion with doctors of the risk of addiction;
                             misrepresented the potential for opioid abuse with purportedly abuse-
                             deterrent formulations; and routinely did not correct the misrepresentations
                             noted above.

                    These claims contradict longstanding scientific evidence, as the FDA and CDC

have conclusively declared. As noted in the 2016 CDC Guideline endorsed by the FDA, there is

"extensive evidence" of the "possible harms of opioids (including opioid use disorder [an

alternative term for opioid addiction])."26 The guideline points out that "[o]pioid pain medication

use presents serious risks, including...opioid use disorder" and that "continuing-opioid therapy for

3 months substantially increases risk for opioid use disorder."26

                    The FDA further exposed the falsity of Defendants' claims about the low risk of

addiction when it announced changes to the labels for ER/LA opioids in 2013 and for IR opioids

in 2016. In its announcements, the FDA discussed the risks related to opioid use and that IR

opioids are associated with "persistent abuse, addiction, overdose mortality, and risk of NOWS

[neonatal opioid withdrawal syndrome]."27

                    According to the FDA, because of the risks associated with long-term opioid use,

including "the serious risk of addiction, abuse, misuse, overdose, and death,"28 opioids should be

"reserved for pain severe enough to require opioid treatment and for which alternative treatment

options (e.g., non-opioid analgesics or opioid combination products, as appropriate) are inadequate

or not tolerated."29

                    The warnings on Defendants' own FDA-approved drug labels caution that opioids


25   CDC Guideline for Prescribing Opioids for Chronic Pain — United States 2016, Centers for Disease Control and
Prevention (Mar. 18, 2016).
26 1d
22 FDA Announcement of Enhanced Warnings for Immediate-Release Opioid Pain Medications Related to Risks of
Misuse, Abuse, Addiction, Overdose and Death, Federal Drug Administration (Mar. 22, 2016).
28 m

29   Id




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"exposes users to risks of addiction, abuse and misuse, which can lead to overdose and death"3°

and that addiction "can occur in patients appropriately prescribed"3I opioids.

            86.     Second, Defendants falsely instructed doctors and patients that signs of addiction

are actually signs of undertreated pain and should be treated by prescribing more opioids.

Defendants called this phenomenon "pseudoaddiction" — a term coined by Dr. David Haddox, who

went to work for Purdue, and popularized by Dr. Russell Portenoy, a KOL for Endo, Janssen, and

Purdue — and claimed that pseudoaddiction is substantiated by scientific evidence. For example:

                             Purdue sponsored Responsible Opioid Prescribing (2007), which taught
                             that behaviors such as "requesting drugs by name," "demanding or
                             manipulative behavior," seeing more than one doctor to obtain opioids,
                             and hoarding, are all signs of pseudoaddiction, rather than true addiction.
                             Responsible Opioid Prescribing remains for sale online. The 2012 edition
                             continues to teach that pseudoaddiction is real;

                             Janssen sponsored, funded, and edited the Let's Talk Pain website, which
                             in 2009 stated: "pseudoaddiction. . . refers to patient behaviors that may
                             occur when pain is under-treated. . . . Pseudoaddiction is different from
                             true addiction because such behaviors can be resolved with effective pain
                             management;"

                             Endo sponsored a National Initiative on Pain Control (NIPC) CME
                             program in 2009 titled Chronic Opioid Therapy: Understanding Risk
                             While Maximizing Analgesia, which promoted pseudoaddiction by
                             teaching that a patient's aberrant behavior was the result of untreated pain.
                             Endo substantially controlled NIPC by funding NIPC projects;
                             developing, specifying, and reviewing content; and distributing NIPC
                             materials;

                             Purdue published a pamphlet in 2011 entitled Providing Relief
                             Preventing Abuse, which described pseudoaddiction as a concept that
                             "emerged in the literature" to describe the inaccurate interpretation of
                             [drug-seeking behaviors] in patients who have pain that has not been
                             effectively treated;" and

                             Purdue sponsored a CME program entitled Path of the Patient, Managing
                             Chronic Pain in Younger Adults at Risk for Abuse. In a role play, a


     See, e.g., OxyContin label and insert at OxyContin.com.
31   1d.


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                            chronic pain patient with a history of drug abuse tells his doctor that he
                            is taking twice as many hydrocodone pills as directed. The narrator notes
                            that because of pseudoaddiction, the doctor should not assume the patient
                            is addicted even if he persistently asks for a specific drug, seems
                            desperate, hoards medicine, or "overindulges in unapproved escalating
                            doses." The doctor treats this patient by prescribing a high-dose, long-
                            acting opioid.

                    The 2016 CDC Guideline rejects the concept of pseudoaddiction. The Guideline

nowhere recommends that opioid dosages be increased if a patient is not experiencing pain relief.

To the contrary, the Guideline explains that "[p]atients who do not experience clinically

meaningful pain relief early in treatment.. .are unlikely to experience pain relief with longer-term

use,"32 and that physicians should "reassess[] pain and function within 1 month"33 in order to

decide whether to "minimize risks of long-term opioid use by discontinuing opioids"34 because the

patient is "not receiving a clear benefit."35

                    Third, Defendants falsely instructed doctors and patients that addiction risk

screening tools, patient contracts, urine drug screens, and similar strategies allow them to reliably

identify and safely prescribe opioids to patients predisposed to addiction. These misrepresentations

were especially insidious because Defendants aimed them at general practitioners and family

doctors who lack the time and expertise to closely manage higher-risk patients. Defendants'

misrepresentations made these doctors feel more comfortable prescribing opioids to their patients,

and patients more comfortable starting opioid therapy for chronic pain. For example:

                    a.      Endo paid for a 2007 supplement in the Journal of Family Practice written
                            by a doctor who became a member of Endo's speakers' bureau in 2010. The
                            supplement, entitled Pain Management Dilemmas in Primary Care: Use of
                            Opioids, emphasized the effectiveness of screening tools, claiming that
                            patients at high risk of addiction could safely receive chronic opioid therapy
                            using a "maximally structured approach" involving toxicology screens and

32   CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
33   Id.
34   Id
35   Id.



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                         pill counts;

                         Purdue sponsored a 2011 webinar, Managing Patient's Opioid Use:
                         Balancing the Need and Risk, which claimed that screening tools, urine
                         tests, and patient agreements prevent "overuse of prescriptions" and
                         "overdose deaths;" and

                         As recently as 2015, Purdue has represented in scientific conferences that
                         "bad apple" patients — and not opioids — are the source of the addiction crisis
                         and that once those "bad apples" are identified, doctors can safely prescribe
                         opioids without causing addiction.

                 Once again, the 2016 CDC Guideline confirms these representations are false. The

Guideline notes that there are no studies assessing the effectiveness of risk mitigation strategies —

such as screening tools, patient contracts, urine drug testing, or pill counts — widely believed by

doctors to detect and deter outcomes related to addiction and overdose.36 As a result, the Guideline

recognizes that doctors should not overestimate the risk screening tools for classifying patients as

high or low risk for opioid addiction because they are insufficient to rule out the risks of long-term

opioid therapy.'

                 Fourth, to underplay the risk and impact of addiction and make doctors feel more

comfortable starting patients on opioids, Defendants falsely claimed that opioid dependence can

easily be addressed by tapering and that opioid withdrawal is not a problem thereby failing to

disclose the increased difficulty of stopping opioids after long-term use.

                 For example, a CME sponsored by Endo, entitled Persistent Pain in the Older

Adult, claimed that withdrawal symptoms can be avoided by tapering a patient's opioid dose by

10%-20% for 10 days. And Purdue sponsored APF's A Policymaker's Guide to Understanding

Pain & Its Management, which claimed that "[s]ymptoms of physical dependence can often be

ameliorated by gradually decreasing the dose of medication during discontinuation."


'CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
37 See id




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                    Defendants deceptively minimized the significant symptoms of opioid withdrawal,

which, as explained in the 2016 CDC Guideline, include drug cravings, anxiety, insomnia,

abdominal pain, vomiting, diarrhea, sweating, tremor, tachycardia (rapid heartbeat), spontaneous

abortion and premature labor in pregnant women, and the unmasking of anxiety, depression, and

addiction — and grossly understated the difficulty of tapering, particularly after long-term opioid

use.

                    Yet the 2016 CDC Guideline recognizes that the duration of opioid use and the

dosage of opioids prescribed should be limited to "minimize the need to taper opioids to prevent

distressing or unpleasant withdrawal symptoms,"38 because "physical dependence on opioids is an

expected physiologic response in patients exposed to opioids for more than a few days."39 The

Guideline further states that "tapering opioids can be especially challenging after years on high

dosages because of physical and psychological dependence° and highlights the difficulties,

including the need to carefully identify "a taper slow enough to minimize symptoms and signs of

opioid withdrawal' and pausing and restarting tapers depending on the patient's response.

                    The CDC also acknowledges the lack of any "high-quality studies comparing the

effectiveness of different tapering protocols for use when opioid dosage is reduced or opioids are

discontinued."42

                    Fifth, Defendants falsely claimed that doctors and patients could increase opioid

dosages indefinitely without added risk and failed to disclose the greater risks to patients at higher

dosages. The ability to escalate dosages was critical to Defendants' efforts to market opioids for




38 CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
39
   Id.
40 id

41   CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
42   Id



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 long-term use to treat chronic pain because, absent this misrepresentation, doctors would have

abandoned treatment when patients built up tolerance and lower dosages did not provide pain

relief. For example:

                       Actavis's predecessor created a patient brochure for Kadian in 2007 that
                       stated, "Over time, your body may become tolerant of your current dose.
                       You may require a dose adjustment to get the right amount of pain relief.
                       This is not addiction." Upon information and belief, based on Actavis's
                       acquisition of its predecessor's marketing materials along with the rights to
                       Kadian, Actavis continued to use these materials in 2009 and beyond;

                       Purdue sponsored APF's Treatment Options: A Guide for People Living
                       with Pain (2007), which claims that some patients "need" a larger dose of
                       an opioid, regardless of the dose currently prescribed. The guide stated that
                       opioids have "no ceiling dose" and are therefore the most appropriate
                       treatment for severe pain. This guide is still available for sale online;

                       Endo sponsored a website, painknowledge.com, which claimed in 2009 that
                       opioid dosages may be increased until "you are on the right dose of
                       medication for your pain;"

                       Endo distributed a pamphlet edited by a KOL entitled Understanding Your
                       Pain: Taking Oral Opioid Analgesics, which was available during the time
                       period of this Complaint on Endo's website. In Q&A format, it asked "If I
                       take the opioid now, will it work later when I really need it?" The response
                       is, "The dose can be increased.. . . You won't 'run out' of pain relief;"

                       Janssen sponsored a patient education guide entitled Finding Relief Pain
                       Management for Older Adults (2009), which was distributed by its sales
                       force. This guide listed dosage limitations as "disadvantages" of other pain
                       medicines but omitted any discussion of risks of increased opioid dosages;

                       Purdue's In the Face of Pain website promotes the notion that if a patient's
                       doctor does not prescribe what, in the patient's view, is a sufficient dosage
                       of opioids, he or she should find another doctor who will;

                       Purdue sponsored APF's A Policymaker's Guide to Understanding Pain &
                       Its Management, which taught that dosage escalations are "sometimes
                       necessary," even unlimited ones, but did not disclose the risks from high
                       opioid dosages. This publication is still available online;

                       Purdue sponsored a CME entitled Overview of Management Options that is
                       still available for CME credit. The CME was edited by a KOL and taught
                       that NSAIDs and other drugs, but not opioids, are unsafe at high dosages;



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                          and

                          Purdue presented a 2015 paper at the College on the Problems of Drug
                          Dependence, the "the oldest and largest organization in the US dedicated to
                          advancing a scientific approach to substance use and addictive disorders,"
                          challenging the correlation between opioid dosage and overdose.

                 These claims conflict with the scientific evidence, as confirmed by the FDA and

CDC. As the CDC explains in its 2016 Guideline, the "[b]enefits of high-dose opioids for chronic

pain are not established"" while the "risks for serious harms related to opioid therapy increase at

higher opioid dosage."44

                 More specifically, the CDC explains that "there is now an established body of

scientific evidence showing that overdose risk is increased at higher opioid dosages."' Similarly,

there is an "increased risk for opioid use disorder, respiratory depression, and death at higher

dosages."46 That is why the CDC advises doctors to avoid increasing dosages above 90 morphine

milligram equivalents per day.

                 The 2016 CDC Guideline reinforces earlier findings announced by the FDA. In

2013, the FDA acknowledged that available data suggested that increasing the opioid dosage

likewise increased certain adverse events. For example, the FDA noted that studies suggest a

positive association between high-dose opioid use and overdoses.

                 Finally, Defendants' deceptive marketing of the so-called abuse-deterrent

properties of some of their opioids has created false impressions that these opioids can curb

addiction and abuse.

                 More specifically, Defendants have made misleading claims about the ability of




" CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
" Id.
45 1d

46 Id.




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their so-called abuse-deterrent opioid formulations to deter addiction and overdose. For example,

Endo's advertisements for the 2012 reformulation of Opana ER claimed that it was designed to be

crush resistant in a way that suggested it was more difficult to misuse the product. This claim was

false.

                 The FDA warned in a 2013 letter that there was no evidence Endo's design would

provide a reduction in oral, intranasal or intravenous use.47 Moreover, Endo's own studies, which

it failed to disclose, showed that Opana ER could still be ground and chewed.

                 In a 2016 settlement with the State of New York, Endo agreed not to make

statements in New York that Opana ER was designed to be or is crush resistant. The State found

those statements false and deceptive because there was no difference in the ability to extract the

narcotic from Opana ER.

                 Similarly, the 2016 CDC Guideline states that no studies support the notion that

"abuse-deterrent technologies [are] a risk mitigation strategy for deterring or preventing abuse,"48

noting that the technologies — even when they work — "do not prevent opioid abuse through oral

intake, the most common route of opioid abuse, and can still be abused by non-oral routes."49

                 These numerous, long-standing misrepresentations of the risks of long-term opioid

use spread by Defendants successfully convinced doctors and patients to discount those risks.

D.       Defendants Grossly Overstated the Benefits of Chronic Opioid Therapy.

                 To convince doctors and patients that opioids should be used to treat chronic pain,

Defendants had to persuade them that there was a significant benefit to long-term opioid use. But

as the 2016 CDC Guideline makes clear, there is "insufficient evidence to determine the long-



 47 See FDA Statement: Original Opana ER Relisting Determination (May 10, 2013).

' CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
 49 Id




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term benefits of opioid therapy for chronic pain."50

                 In fact, the CDC found no evidence showing "a long-term benefit of opioids in

pain and function versus no opioids for chronic pain with outcomes examined at least 1 year later

(with most placebo-controlled randomized trials < 6 weeks in duration)"51 and that other

treatments were more or equally beneficial and less harmful than long-term opioid use. The FDA,

too, has recognized the lack of evidence to support long-term opioid use.

                 In 2013, the FDA stated that it was unaware of any studies demonstrating the

safety and efficacy of opioids for long-term use.52 Despite this lack of studies, Defendants falsely

and misleadingly touted the benefits of long-term opioid use and suggested that these benefits

were supported by scientific evidence. Not only have Defendants failed to correct these false and

deceptive claims, they continue to make them today. For example:

                          Actavis distributed an advertisement that claimed that the use of Kadian to
                          treat chronic pain would allow patients to return to work, relieve "stress on
                          your body and your mental health," and help patients enjoy their lives;

                          Endo distributed advertisements that claimed that the use of Opana ER for
                          chronic pain would allow patients to perform demanding tasks like
                          construction work or work as a chef and portrayed seemingly healthy,
                          unimpaired subjects;

                         Janssen sponsored and edited a patient education guide entitled Finding
                         Relief Pain Management for Older Adults (2009) — which states as "a fact"
                         that "opioids may make it easier for people to live normally." The guide
                         lists expected functional improvements from opioid use, including sleeping
                         through the night, returning to work, recreation, sex, walking, and climbing
                         stairs;

                         Purdue ran a series of advertisements for OxyContin in 2012 in medical
                         journals entitled "pain vignettes," which were case studies featuring
                         patients with pain conditions persisting over several months and
                         recommending OxyContin for them. The ads implied that OxyContin

° Id
5
51Id.
52Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Eval. & Res., to Andrew Kolodny, M.D., Pres. Physicians
for Responsible Opioid Prescribing, Re Docket No. FDA-2012-P-0818 (Sept. 10, 2013).



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                    improves patients' function;

                    Responsible Opioid Prescribing (2007), sponsored and distributed by Endo
                    and Purdue, taught that relief of pain by opioids, by itself, improved
                    patients' function. The book remains for sale online;

                    Purdue sponsored APF's Treatment Options: A Guide for People Living
                    with Pain (2007), which counseled patients that opioids "give [pain
                    patients] a quality of life we deserve." The guide was available online until
                    APF shut its doors in 2012;

                    Endo's NIPC website painknowledge.com claimed in 2009 that with
                    opioids, "your level of function should improve; you may find you are now
                    able to participate in activities of daily living, such as work and hobbies,
                    that you were not able to enjoy when your pain was worse." Elsewhere, the
                    website touted improved quality of life (as well as "improved function") as
                    benefits of opioid therapy. The grant request that Endo approved for this
                    project specifically indicated NIPC's intent to make misleading claims
                    about function, and Endo closely tracked visits to the site;

                    Endo was the sole sponsor, through NIPC, of a series of CMEs titled
                    Persistent Pain in the Older Patient, which claimed that chronic opioid
                    therapy has been "shown to reduce pain and improve depressive symptoms
                    and cognitive functioning." The CME was disseminated via webcast;

                    Janssen sponsored, funded, and edited a website, Let's Talk Pain, in 2009,
                    which featured an interview edited by Janssen claiming that opioids allowed
                    a patient to "continue to function." This video is still available today on
                    YouTube;

                    Purdue sponsored the development and distribution of APF's A
                    Policymaker's Guide to Understanding Pain & Its Management, which
                    claimed that "multiple clinical studies" have shown that opioids are
                    effective in improving daily function, psychological health, and health-
                    related quality of life for chronic pain patients." The Policymaker's Guide
                    was originally published in 2011 and is still available online today; and

             k.     Purdue's, Endo's, and Janssen's sales representatives have conveyed and
                    continue to convey the message that opioids will improve patient function.

      108. These claims find no support in the scientific literature. Most recently, the 2016

CDC Guideline, approved by the FDA, concluded, "There is no good evidence that opioids




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 improve pain or function with long-term use" and "complete relief of pain is unlikely."54

(Emphasis added.) The CDC reinforced this conclusion throughout its 2016 Guideline:

                             "No evidence shows a long-term benefit of opioids in pain and function
                             versus no opioids for chronic pain with outcomes examined at least 1 year
                             later . ."55

                             "Although opioids can reduce pain during short-term use, the clinical
                             evidence review found insufficient evidence to determine whether pain
                             relief is sustained and whether function or quality of life improves with
                             long-term opioid therapy;"56 and

                            "[E]vidence is limited or insufficient for improved pain or function with
                            long-term use of opioids for several chronic pain conditions for which
                            opioids are commonly prescribed, such as low back pain, headache, and
                            fibromyalgia."57

                    The CDC also noted that the risks of addiction and death "can cause distress and

inability to fulfill major role obligations."58 As a matter of common sense (and medical evidence),

drugs that can kill patients or commit them to a life of addiction or recovery do not improve their

function and quality of life.

                    The 2016 CDC Guideline was not the first time a federal agency repudiated

Defendants' claim that opioids improved function and quality of life. In 2010, the FDA warned

Actavis that "[w]e are not aware of substantial evidence or substantial clinical experience

demonstrating that the magnitude of the effect of the drug [Kadian] has in alleviating pain, taken

together with any drug-related side effects patients may experience...results in any overall positive

impact on a patient's work, physical and mental functioning, daily activities, or enjoyment of




53CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
54
     Id
55
     Id
56
     CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
57   id
58   Id




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life."59

                 Defendants also falsely emphasized or exaggerated the risks of competing products

like NSAIDs so that doctors and patients would look to opioids first for treating chronic pain.

Once again, Defendants' misrepresentations contravene pronouncements by and guidance from

the FDA and CDC based on the scientific evidence.

                Consequently, the FDA changed the labels for ER/LA opioids in 2013 and IR

opioids in 2016 to state that opioids should be used only as a last resort where alternative

treatments like non-opioid drugs are inadequate. And the 2016 CDC Guideline states that NSAIDs,

not opioids, should be the first-line treatment for chronic pain, particularly arthritis and lower back

pain.

                In addition, Purdue misleadingly promoted OxyContin as unique among opioids in

providing 12 continuous hours of pain relief with one dose. In fact, OxyContin does not last for

12 hours — a fact that Purdue has known at all times relevant to this action.

                According to Purdue's own research, OxyContin wears off in under six hours in one

quarter of patients and in under 10 hours in more than half. The reason is that OxyContin tablets

release approximately 40% of their active medicine immediately, after which release tapers.

Although the patient experiences a powerful initial response, there is little or no pain relief at the

end of the dosing period because less medicine is released.

                This phenomenon is known as "end of dose" failure, and the FDA found in 2008

that a substantial number of chronic pain patients taking OxyContin experience it.

                This "end of dose" failure not only renders Purdue's promise of 12 hours of relief



59Warning Letter from Thomas Abrams, Dir., FDA Div. of Mktg., Adver., & Commc'ns, to Doug Boothe, CEO,
Actavis Elizabeth LLC (Feb. 18, 2010), http://www.fda.gov/Drugs/GuidanceComplianceRegulatoryInformation/
EnforcementActivitiesbyFDA/WamingLettersandNoticeofViolationLetterstoPharmaceuticalCompanies/
ucm259240.httn.



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false and deceptive, it also makes OxyContin more dangerous because the declining pain relief

patients experience toward the end of each dosing period drives them to take more OxyContin

before the next dosing period begins, quickly increasing the amount of drug they are taking and

spurring growing dependence.

         117. Purdue's competitors were aware of this problem. For example, Endo ran

advertisements for Opana ER referring to "real" 12-hour dosing. Nevertheless, Purdue falsely

promoted OxyContin as if it were effective for a full 12 hours. Indeed, Purdue's sales

representatives continue to tell doctors in and around Dallas County that OxyContin lasts a full 12

hours.

E.       Defendants also engaged in Other Unlawful, Unfair, and Fraudulent Misconduct.

         118. Defendants herein participated in illicit and unlawful prescribing of its drugs. For

example, Purdue did not report illegal prescribing of OxyContin until years after law enforcement

shut down a Los Angeles clinic that prescribed more than 1.1 million OxyContin tablets. In doing

so, Purdue protected its own profits at the expense of public health and safety.

         119.   The State of New York found that Endo failed to require sales representatives to

report signs of addiction, diversion, and inappropriate prescribing; paid bonuses to sales

representatives for detailing prescribers who were subsequently arrested or convicted for illegal

prescribing; and failed to prevent sales representatives from visiting prescribers whose suspicious

conduct had caused them to be placed on a no-call list.

F.       Defendants Targeted Susceptible Prescribers and Vulnerable Patient Populations.

         120. As a part of their deceptive marketing scheme, Defendants identified and targeted

susceptible prescribers and vulnerable patient populations in the U.S. and in and around Dallas

County. For example, Defendants focused their deceptive marketing on primary care doctors, who




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were more likely to treat chronic pain patients and prescribe opioids, but were less likely to be

educated about treating pain and the risks and benefits of opioids.

               Defendants also targeted vulnerable patient populations like the elderly and

veterans, who tend to suffer from chronic pain. Defendants targeted these vulnerable patients even

though the risks of long-term opioid use were significantly greater for them.

               For example, the 2016 CDC Guideline observes that existing evidence shows that

elderly patients taking opioids suffer from elevated fall and fracture risks, greater risk of

hospitalization, and increased vulnerability to adverse drug effects and interactions. The Guideline

therefore concludes that there are "special risks of long-term opioid use for elderly patients" and

recommends that doctors use "additional caution and increased monitoring" to minimize the risks

of opioid use in elderly patients.

               The same is true for veterans, who are more likely to use anti-anxiety drugs

(benzodiazepines) for post-traumatic stress disorder, which interact dangerously with opioids.

G.     Although Defendants knew that their Marketing of Opioids was False and Deceptive,
       they Fraudulently Concealed their Misconduct.

               Defendants, both individually and collectively, made, promoted, and profited from

their misrepresentations about the risks and benefits of opioids for chronic pain even though they

knew their misrepresentations were false and deceptive. The history of opioids, as well as research

and clinical experience over the last 20 years, established that opioids were highly addictive and

responsible for a long list of very serious adverse outcomes.

               Not only did the FDA and other regulators warn Defendants, but Defendants had

access to scientific studies, detailed prescription data, and reports of adverse events, including

reports of addiction, hospitalization, and deaths — all of which made clear the harms from long-term

opioid use, including the suffering from addiction, overdoses, and death in alarming numbers in




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patients using opioids.

                 More recently, the FDA and CDC have issued pronouncements based on the

medical evidence that conclusively expose the known falsity of Defendants' misrepresentations,

and Endo and Purdue have recently entered agreements prohibiting them from making some of the

same misrepresentations described herein in New York.

                 Specifically, three current and former executives from Purdue plead guilty in 2007

to criminal charges that they misled regulators, doctors, and patients about OxyContin's risk of

addiction.° In pleading guilty to misbranding charges, Purdue admitted it had fraudulently

marketed OxyContin as a drug less prone to addiction and as having fewer side effects than other

opioids.61 In reality, unlike other opioids, OxyContin contained pure oxycodone without any other

ingredients, which made it a powerful narcotic despite its time-release design that Purdue touted

as ameliorating its addictive potential.62

                 Moreover, Defendants took steps to avoid detection of and to fraudulently conceal

their deceptive marketing and unlawful, unfair, and fraudulent conduct. For example, Defendants

disguised their own role in the deceptive marketing of chronic opioid therapy by funding and

working through third parties like Front Groups and KOLs.

                 Finally, Defendants manipulated their promotional materials and the scientific

literature to make it appear that these items were accurate, truthful, and supported by objective

evidence when they were not.

                 Thus, Defendants successfully concealed from the medical community and patients

facts sufficient to arouse suspicion of the claims Dallas County now asserts. Dallas County did not



  See Barry Meier, "In Guilty Plea, OxyContin Maker to Pay $600 Million," (May 10, 2007),
http://www.nytimes.c0m/2007/05/10/business/11drug-web.html.
61 See   id.
62 See   id




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know of the existence or scope of Defendants' industry-wide fraud and could not have acquired

such knowledge earlier through the exercise of reasonable diligence.

H.       By Increasing Opioid Prescriptions and Use, Defendants' Deceptive Marketing
         Scheme has fueled the Opioid Epidemic and Devastated Dallas County Communities.

                  Defendants' misrepresentations deceived doctors and patients about the risks and

benefits of long-term opioid use. Studies reveal that many doctors and patients are unaware of or

do not understand the risks or benefits of opioids. Indeed, patients often report that they were not

warned they might become addicted to opioids prescribed to them. As reported in January 2016,

a 2015 survey of more than 1,000 opioid patients found that 4 out of 10 were not told opioids were

potentially addictive.63

                  Defendants' deceptive marketing scheme caused and continues to cause doctors in

and around Dallas County to prescribe opioids for chronic pain conditions such as back pain,

headaches, arthritis, and fibromyalgia. Absent Defendants' deceptive marketing scheme, these

doctors would not have been able to over prescribe opioids or become embroiled in pill mills that

negatively impacted residents of Dallas County.

                  For example, Defendants' deceptive marketing scheme allowed three doctors

located in Dallas County, Texas to promote, overprescribe, and financially benefit from prescribing

opioids. Indeed, the doctors herein "knowingly or intentionally manufactured, distributed,

dispensed, or possessed with the intent to manufacture, distribute, or dispense a controlled

substance, including opioids such as OxyContin, Hydrocodone, and Vicodin in violation of the

Texas Controlled Substances Act in 21 C.F.R. §1301 et seq.64



63 Hazelden Betty Ford Foundation, Missed Questions, Missed Opportunities (Jan. 27, 2016), available at
http://www.hazeldenbettyford.org/about-usinews-and-media/pressrelease/doctors-missing-questions-that-could-
prevent-opioid-addiction.
  See, e.g., Grand Jury Indictment in United States v. Sina Athari, et al., U.S.D.C-Northern Dist., Dallas Div., No.
3:14-CR-044-D (December 1, 2015).



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                  Dr. Andrews, Dr. Okechuku, and Dr. Padron were all involved in a similar

conspiracy to distribute opioids. The conspirators employed persons to recruit individuals who

were homeless or of limited means.65 These individuals would be paid a fee to pose as patients at

certain medical clinics and to fill these same prescriptions at certain pharmacies.66 The involved

practitioners, such as the doctors herein, were enlisted to write prescriptions for opioids despite

there being no legitimate medical purpose.67 The clinics and the pharmacies accepted cash only,

which was funneled through the various physicians, employees, and/or recruiters.68 The end goal

was to sell the opioids on the open market in Dallas County and elsewhere.

                  Dr. Richard Andrews was a co-owner and supervising physician of McAllen

Medical Clinic in Dallas, Texas.69 Dr. Andrews was indicted on December 1, 2015 for, among other

things, conspiracy to distribute a controlled substance.7° On July 26, 2016, Dr. Andrews entered

into a plea agreement in which he pleaded guilty.7I On March 3, 2017, Dr. Andrews and the Texas

Medical Board agreed that his license would be revoked in lieu of further disciplinary actions.72

                  Dr. Theodore Okechuku operated a pain clinic in Lake Highlands located in Dallas,

Texas.73 Dr. Okechuku was indicted on December 3, 2013 for conspiracy to unlawfully distribute

a controlled substance.74 Dr. Okechuku violated the terms of his pre-trial release because he




65
   See, e.g., Indictment at p. 7.
66 Id
67 Id at 9.

68 1d at 5.

69 1d at 5.

" See id at 30.
71 Plea Agreement in U.S. v. Richard Andrews, U.S.D.C.-Northern District, Dallas Div., No. 3:15-CR-044-D (July

25, 2016).
72 Texas Medical Board, http://reg.tmb/state/tx/us.com, last viewed November 13, 2017

73 "Dallas Doctor Sentenced for Operating 'Pill MilP", March 31, 2016, http://dfw.cbslocal.com/2016/03/31/dallas-

doctor-sentenced-for-operating-pill-mill/.
74 Texas Medical Board, http://reg.tmb/state/tx/us.com, last viewed November 13, 2017; see also "Dallas Doctor

Sentenced for Operating 'Pill Mill'", March 31, 2016, http://dfw.cbslocal.corn/2016/03/31/dallas-doctor-sentenced-
for-operating-pill-mill/.



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 continued to prescribe hydrocodone and other controlled substances.75 Ultimately, Dr. Okechuku

 was found guilty on 3 counts, one related to the distribution of opioids, and sentenced to 25 years.76

                     Dr. Nicolas A. Padron operated a "cash only" clinic in Dallas.77 He, too, was indicted

 for conspiracy to unlawfully distribute controlled substances and ultimately sentenced to 87 months

 in federal prison.78 On May 2, 2014, Dr. Padron agreed to the revocation of his medical license in

 lieu of further disciplinary action.79

                    If the manufacturing and distributing Defendants were not over-supplying opioids,

then physicians like Dr. Andrews, Dr. Okechuku, and Dr. Padron could not devise schemes to

prescribe opioids without a legitimate purpose as a means to flood the open market with opioids,

such as OxyContin, Hydrocodone, and Vicodin.

                    While Defendants may claim the federal government authorized the amount of

annual prescription opioids sold, they know in truth that several Defendants have successfully used

their organized money and influence to render the federal government's enforcement agency, the

Drug Enforcement Administration, virtually powerless to interrupt the over-supply of prescription

opioid drugs.

                    Defendants' deceptive marketing scheme also caused and continues to cause

patients to purchase and use opioids for their chronic pain believing they are safe and effective.

Absent Defendants' deceptive marketing scheme, fewer patients would be using opioids long-term

to treat chronic pain, and those patients using opioids would be using less of them.



75 Texas Medical Board, http://reg.tmb/state/tx/us.com, last viewed November 13, 2017.
76 U.S. v. Theodore E. Okechuku, U.S.D.C.-Northem District, Dallas Div., No. 3:13-CR-00481-P(1) (March 30,
2016).
77 "Garland Doctor, other 'Dealers' Sentenced in Dallas 'Pill Mill' Case," (Oct. 29, 2014),
http://starlocalmedia.com/rowlettlakeshoretimes/garland-doctor-other-d...IIas-pill-mill-case/article_d53be5fc-5fbc-
11e4-9186-af37156106a3. html.
78 Id

79   Texas Medical Board, http://reg.tmb/state/tx/us.com, last viewed November 13, 2017.



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                 Defendants' deceptive marketing has caused and continues to cause the prescribing

and use of opioids to explode. Indeed, this dramatic increase in opioid prescriptions and use

corresponds with the dramatic increase in Defendants' spending on their deceptive marketing

scheme. Defendants' spending on opioid marketing totaled approximately $91 million in 2000.

By 2011, that spending had tripled to $288 million.

                 The escalating number of opioid prescriptions written by doctors who were

deceived by Defendants' deceptive marketing scheme is the cause of a correspondingly dramatic

increase in opioid addiction, overdose, and death throughout the U.S. and Dallas County.

                 Scientific evidence demonstrates a strong correlation between opioid prescriptions

and becoming addicted to opioids. In a 2016 report, the CDC explained that prescribing opioids

has quadrupled since 1999, which has resulted in a parallel increase in opioid overdoses.80 Indeed,

there has been a two-third increase in overdose deaths from using opioids since 2000.81 For these

reasons, the CDC concluded that efforts to rein in the prescribing of opioids for chronic pain are

critical "to reverse the cycle of opioid pain medication misuse that contributes to the opioid

overdose epidemic."82

                 Due to the increase in opioid overdoses, first responders such as police officers,

have been and will continue to be in the position to assist people experiencing opioid-related

overdoses.83 In 2016, "over 1,200 law enforcement departments nationwide carried naloxone in



   CDC. National Vital Statistics System, Mortality. CDC WONDER. Atlanta, GA: US Department of Health and
Human Services, CDC; 2016. https://wonder.cdc.govi; Rudd RA, Seth P, David F, Scholl L. Increases in Drug and
Opioid-Involved Overdose Deaths — United States, 2010-2015. MMWR Morb Mortal Wkly Rep. ePub: 16
December 2016.
81 National Vital Statistics System, Mortality file and appearing Center for Disease Control and Prevention
Morbidity and Mortality Weekly Report, January 1, 2006 / 64(50); 1378-82, Increases in Drug and Opioid Deaths —
United States, 2000-2014.
82
   CDC Guideline for Prescribing Opioids for Chronic Pain, supra; see also Rudd RA, Seth P, David F, Scholl
L. Increases in Drug and Opioid-Involved Overdose Deaths — United States, 2010-2015. MMWR Morb Mortal
Wkly Rep. ePub: 16 December 2016.
83
   Opinion of the Attorney General of Texas, KP-0168 (Oct. 4, 2017).



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an effort to prevent opioid-related deaths."84

                  Defendants' deceptive marketing scheme has also detrimentally impacted children

in Dallas County. Overprescribing opioids for chronic pain has made the drugs more accessible to

school-aged children, who come into contact with opioids after they have been prescribed to

friends or relatives in the same household.

                   Defendants' conduct has adversely affected Dallas County's child protection

agencies in the number of children in foster care driven by parental drug addiction. Children with

parents addicted to drugs tend to stay in foster care longer, and they often enter the system having

experienced significant trauma, which makes these cases more expensive for counties like Dallas

County.

                  Opioid addiction is one of the primary reasons that Dallas County residents seek

treatment for substance dependence. A significant number of admissions for drug addiction were

associated with a primary diagnosis of opiate addiction or dependence.

                  Defendants' creation, through false and deceptive advertising and other unlawful

and unfair conduct, of a virtually limitless opioid market has significantly harmed Dallas County

communities. Defendants' success in extending the market for opioids to new patients and chronic

pain conditions has created an abundance of drugs available for non-medical and criminal use and

fueled a new wave of addiction and injury. It has been estimated that 60% of the opioids to which

people are addicted come, directly or indirectly, through doctors' prescriptions.85

                  Law enforcement agencies have increasingly associated prescription drug addiction




84 Id. citing http://www.nchrc.org/law-enforcement/us-law-enforcement-who-carry-naloxone/.
' Nathaniel P. Katz, Prescription Opioid Abuse: Challenges and Opportunities for Payers, Am. J. Managed Care
(Apr. 19 2013), at 5 ("The most common source of abused [opioids] is, directly or indirectly, by prescription."),
http://www.ajmc.com/publications/issue/2013/2013-1-vol19-n4/Prescription-Opioid-Abuse-Challenges-and-
Opportunities-for-Payers.



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with violent and property crimes. Despite strict federal regulation of prescription drugs, local law

enforcement agencies are faced with increasing diversion from legitimate sources for illicit

purposes, including doctor shopping, forged prescriptions, falsified pharmacy records, and

employees who steal from their place of employment. The opioid epidemic has prompted a

growing trend of crimes against pharmacies including robbery and burglary. This ongoing

diversion of prescription narcotics creates a lucrative marketplace.

                 The rise in opioid addiction caused by Defendants' deceptive marketing scheme

has also resulted in an explosion in heroin use. For example, heroin use has more than doubled in

the past decade among adults aged 18 to 25 years.86 Moreover, heroin-related overdoses in the

United States has more than quadrupled since 2010.87

                 The costs and consequences of opioid addiction are staggering. For example, in

2007, the cost of healthcare due to opioid addiction and dependence was estimated at 25 billion,

the cost of criminal justice was estimated at 5.1 billion, and the cost of lost workplace productivity

was estimated at 25.6 billion.

                 Consequently, prescription opioid addiction and overdose have an enormous

impact on the health and safety of individuals, as well as communities at large, because the

consequences of this epidemic reach far beyond the addicted individual.

                 Some of the repercussions for residents of Dallas County include job loss, loss of

custody of children, physical and mental health problems, homelessness and incarceration, which

results in instability in communities often already in economic crisis and contributes to increased

demand on community services such as hospitals, courts, child services, treatment centers, and law




" Centers for Disease Control and Prevention. Vital Signs: Today's Heroin Epidemic — More People at Risk,
Multiple Drugs Abused. ihttps://www.cdc.gov/vitalsigns/heroin/index.html). MMWR 2015.
87 https://www.cdc.govivitalsigns/heroin/index.html




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enforcement.

               Defendants knew and should have known about these harms that their deceptive

marketing has caused and continues to cause and will cause in the future. Defendants closely

monitored their sales and the habits of prescribing doctors. Their sales representatives, who visited

doctors and attended CMEs, knew which doctors were receiving their messages and how they were

responding.

               Defendants also had access to and carefully watched government and other data

that tracked the explosive rise in opioid use, addiction, injury, and death. Defendants not only

knew, but intended that their misrepresentations would persuade doctors to prescribe and

encourage patients to use their opioids for chronic pain.

               Defendants' actions are neither permitted nor excused by the fact that their drug

labels may have allowed, or did not exclude, the use of opioids for chronic pain. FDA approval

of opioids for certain uses did not give Defendants license to misrepresent the risks and benefits of

opioids. Indeed, Defendants' misrepresentations were directly contrary to pronouncements by,

and guidance from, the FDA based on the medical evidence and their own labels.

               Nor is Defendants' causal role broken by the involvement of doctors. Defendants'

marketing efforts were ubiquitous and highly persuasive. Their deceptive messages tainted

virtually every source doctors could rely on for information and prevented them from making

informed treatment decisions. Defendants also hijacked what doctors wanted to believe — namely,

that opioids represented a means of relieving their patients' suffering and of practicing medicine

more compassionately.

               Defendants' actions and omissions were each a cause-in-fact of Dallas County's

past and future damages. Defendants' wrongful conduct caused injuries to Dallas County in the




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past, continues to cause injuries to Dallas County, and will continue to cause injuries to Dallas

County in the future. Future damages include, but are not limited to, additional resources for

counseling and medication assisted treatment of addicts, medical treatment for overdoses, life

skills training for adolescents, increased law enforcement, and additional resources to treat the

psychological effects of opioids and the underlying conditions that make people susceptible to

opioid addiction.

I.     Defendants' Fraudulent Marketing Has Led To Record Profits.

               While using opioids has taken an enormous toll on Dallas County and its residents,

Defendants have realized blockbuster profits. In 2014 alone, opioids generated $11 billion in

revenue for drug companies like Defendants. Indeed, financial information indicates that each

Defendant experienced a material increase in sales, revenue, and profits from the false and

deceptive advertising and other unlawful and unfair conduct described above.

                 VI.    FIRST CAUSE OF ACTION: PUBLIC NUISANCE
                             AGAINST ALL DEFENDANTS

               Dallas County re-alleges and incorporates by reference each of the allegations

contained in the preceding paragraphs of this Complaint as though fully alleged herein.

               Defendants knowingly encouraged doctors in and around Dallas County to

prescribe, and residents to use, highly addictive opioids for chronic pain even though Defendants

knew using opioids had a high risk of addiction and reduced quality of life.

               By doing so, Defendants purposefully interfered with Dallas County's public

health, public safety, public peace, public comfort, and public convenience.

               Defendants, individually and in concert with each other, have contributed to and/or

assisted in creating and maintaining a condition that is harmful to the health and safety of Dallas

County residents and/or unreasonably interferes with the peace and comfortable enjoyment of life




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in violation of Texas law.

               The public nuisance created by Defendants' actions is substantial and unreasonable

— it has caused and continues to cause significant harm to the community — and the harm inflicted

outweighs any offsetting benefit.

               The staggering rates of opioid use resulting from Defendants' marketing efforts

have caused, and continues to cause, harm to the community including, but not limited to:

                      Upwards of 30% of all adults use opioids. These high rates of use have led
                      to unnecessary opioid addiction, overdose, injuries, and deaths;

                      Children have been exposed to opioids prescribed to family members or
                      others resulting in injury, addiction, and death. Easy access to prescription
                      opioids has made opioids a recreational drug of choice among Dallas
                      County teenagers; opioid use among teenagers is only outpaced by
                      marijuana use. Even infants have been born addicted to opioids due to
                      prenatal exposure causing severe withdrawal symptoms and lasting
                      developmental impacts;

                      Residents of Dallas County, who have never taken opioids, have endured
                      both the emotional and financial costs of caring for loved ones addicted to
                      or injured by opioids and the loss of companionship, wages, or other support
                      from family members who have used, become addicted to, overdosed on,
                      or been killed by opioids;

                      More broadly, opioid use and addiction have driven Dallas County
                      residents' health care costs higher;

                      Employers have lost the value of productive and healthy employees who
                      have suffered from adverse consequences from opioid use;

                      Defendants' success in extending the market for opioids to new patients and
                      chronic conditions has created an abundance of drugs available for criminal
                      use and fueled a new wave of addiction and injury. Defendants' scheme
                      created both ends of a new secondary market for opioids — providing both
                      the supply of narcotics to sell and the demand of addicts to buy them;

                      This demand has created additional illicit markets in other opiates,
                      particularly heroin. The low cost of heroin has led some of those who
                      initially become addicted to prescription opioids to migrate to cheaper
                      heroin, fueling a new heroin epidemic in the process;




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               h.     Diverting opioids into secondary, criminal markets and increasing the
                      number of individuals who are addicted to opioids has increased the
                      demands on emergency services and law enforcement in Dallas County;

                      All of Defendants' actions have caused significant harm to the community
                      — in lives lost; addictions endured; the creation of an illicit drug market and
                      all its concomitant crime and costs; unrealized economic productivity; and
                      broken families and homes;

                      These harms have taxed the human, medical, public health, law
                      enforcement, and financial resources of Dallas County; and

                      Defendants' interference with the comfortable enjoyment of life of a
                      substantial number of people is entirely unreasonable because there is
                      limited social utility to opioid use and any potential value is outweighed by
                      the gravity of harm inflicted by Defendants' actions.

       166. Defendants knew, or should have known, that promoting opioid use would create a

public nuisance in the following ways:

                      Defendants have engaged in massive production, promotion, and
                      distribution of opioids for use by the citizens of Dallas County;

                      Defendants' actions created and expanded the market for opioids,
                      promoting its wide use for pain management;

                      Defendants misrepresented the benefits of opioids for chronic pain and
                      fraudulently concealed, misrepresented, and omitted the serious adverse
                      effects of opioids, including the addictive nature of the drugs; and

                      Defendants knew or should have known that their promotion would lead to
                      addiction and other adverse consequences that the larger community would
                      suffer as a result.

       167. Defendants' actions were, at the least, a substantial factor in doctors and patients

not accurately assessing and weighing the risks and benefits of opioids for chronic pain thereby

causing opioids to become widely available and used in Dallas County.

       168. Without Defendants' actions, opioid use would not have become so widespread and

the enormous public health hazard of opioid addiction would not have existed and could have been

averted.



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               The health and safety of the citizens of Dallas County, including those who use,

have used, or will use opioids, as well as those affected by opioid users, is a matter of great public

interest and legitimate concern to Dallas County's citizens and residents.

               The public nuisance created, perpetuated, and maintained by Defendants can be

abated and further reoccurrence of such harm and inconvenience can be prevented.

               Defendants' conduct has affected and continues to affect a considerable number of

people within Dallas County and is likely to continue to cause significant harm to patients who

take opioids, their families, and the community at large.

               Each Defendant created or assisted in creating the opioid epidemic, and each

Defendant is jointly and severally liable for its abatement. Furthermore, each Defendant should

be enjoined from continuing to create, perpetuate, or maintain said public nuisance in Dallas

County.

             VII. SECOND CAUSE OF ACTION: COMMON LAW FRAUD
                           AGAINST ALL DEFENDANTS

               Dallas County re-alleges and incorporates by reference each of the allegations

contained in the preceding paragraphs of this Complaint as though fully alleged herein.

               At all relevant and material times, Defendants expressly and/or impliedly warranted

that opioids were safe, of merchantable quality, and fit for use.

               Defendants' superior knowledge and expertise, its relationship of trust and

confidence with doctors and the public, its specific knowledge regarding the risks and dangers of

opioids, and its intentional dissemination of promotional and marketing information about opioids

for the purpose of maximizing sales, each gave rise to the affirmative duty to meaningfully disclose

and provide all material information about the risks and harms associated with opioids.

               At all times herein mentioned, Defendants, individually and acting through their




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 employees and agents, and in concert with each other, fraudulently represented to physicians who

Defendants knew would justifiably rely on Defendants' representations that opioids were safe and

effective for treating chronic pain.

        177. Defendants' false representations were fraudulently made, with the intent or

purpose that healthcare providers and patients would justifiably rely upon them, leading to the

prescription, administration, filling, purchasing, and consumption of opioids in Dallas County.

        178. Defendants' deliberate misrepresentations and/or concealment, suppression, and

omission of material facts as alleged herein include, but are not limited to:

                       Making false and misleading claims regarding the known risks of the
                       addictive nature of opioids and suppressing, failing to disclose, and
                       mischaracterizing the addictive nature of opioids and in concomitant costs,
                       such as overdoses, deaths, and heroin addiction;

                       Making false and misleading written and oral statements that opioids are
                       more effective than traditional pain killers for chronic pain, or effective at
                       all and/or omitting material information showing that opioids are no more
                       effective than other non-addictive drugs for chronic pain;

                       Issuing false and misleading warnings and/or failing to issue adequate
                       warnings concerning the risks and dangers of using opioids;

                       Making false and misleading claims downplaying the risk of addiction
                       when using opioids and/or setting forth guidelines that would purportedly
                       identify addictive behavior; and

                       Making false and misleading misrepresentations concerning the safety,
                       efficacy and benefits of opioids without full and adequate disclosure of the
                       underlying facts which rendered such statements false and misleading.


       179. Defendants willfully, wantonly, and recklessly disregarded their duty to provide

truthful representations regarding the safety and risk of opioids.

       180. Defendants made these misrepresentations with the intent that the healthcare

community and patients located wherever these opioid drugs were sold or consumed would rely

upon them.

       181. Defendants' misrepresentations were made with the intent of defrauding and



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deceiving the medical community and consumers to induce and encourage the sale of opioids.

               Defendants' fraudulent representations evidence their callous, reckless, willful, and

depraved indifference to the health, safety, and welfare of consumers living in Dallas County.

               Defendants omitted, misrepresented, suppressed and concealed material facts

concerning the dangers and risk of injuries associated with the use of opioids, as well as the fact

that the product was unreasonably dangerous.

               Defendants' purpose was willfully blind to, ignored, downplayed, avoided, and/or

otherwise understated the serious nature of the risks associated with the use of opioids.

               The treating medical community and consumers in Dallas County did not know that

Defendants' representations were false and/or misleading and justifiably relied on them.

               Defendants had sole access to material facts concerning the dangers and

unreasonable risks of opioids, which they intentionally concealed.
               As a direct and proximate result of Defendants' fraudulent misrepresentations and

intentional concealment of facts, upon which the medical community and consumers in Dallas

County reasonably relied, Dallas County suffered actual and punitive damages.

               VIII. THIRD CAUSE OF ACTION: NEGLIGENCE
         AGAINST MANUFACTURING AND DISTRIBUTING DEFENDANTS

               Dallas County re-alleges and incorporates by reference each of the allegations

contained in the preceding paragraphs of this Complaint as though fully alleged herein.

               Manufacturing Defendants have a duty to exercise reasonable care in marketing its

opioids to physicians treating residents of Dallas County and Dallas County residents.

Manufacturing Defendants have breached their duty by knowingly and fraudulently

misrepresenting the benefits of, and downplaying the risks of, opioids for chronic pain.

               Manufacturing Defendants have used deceitful marketing ploys, KOLs, Front

Groups, and other schemes to increase profits at the cost of public health causing an opioid

epidemic. Manufacturing Defendants have acted willfully, wantonly, and maliciously.




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              . Likewise, Distributor Defendants have a duty to exercise ordinary care in

distributing opioids. Distributor Defendants have breached their duty by failing to prevent or reduce

the distribution of opioids, or to report the increase in the distribution and/or sale of opioids.

                Distributor Defendants have intentionally failed to prevent or reduce the distribution

of opioids, or to report any increases in the sale of opioids, so that they could increase profits and

receive rebates or kick-backs from Manufacturing Defendants. Distributor Defendants have acted

willfully, wantonly, and maliciously.

                As a proximate result, Manufacturing and Distributor Defendants and its agents

have caused Dallas County to incur excessive costs to treat the opioid epidemic in its county,

including but not limited to increased costs of social services, health systems, law enforcement,

judicial system, and treatment facilities.

                Dallas County and its residents are therefore entitled to actual and punitive

damages.

             IX.  FOURTH CAUSE OF ACTION: GROSS NEGLIGENCE
           AGAINST MANUFACTURING AND DISTRIBUTING DEFENDANTS

                Dallas County incorporates the allegations within all prior paragraphs within this

Complaint as if they were fully set forth herein.

                Defendants' marketing scheme to optimize profits by misrepresenting and falsely

touting opioids as the panacea to chronic pain was done intentionally.

                Defendants' hiring of KOLs, Front Groups, and others to spread its fraudulent

message that opioids were useful and beneficial for chronic pain was grossly negligent and done with

conscious indifference or reckless disregard for the safety of others.

                Each Defendant's actions and omissions as described herein, singularly or in

combination with each other, was malicious resulting in damages and injuries to Dallas County and




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its residents.

                 At every stage, Defendants knew or should have known that their conduct would

create an unreasonable risk of physical harm to others, including Dallas County and its residents, and

should be held liable in punitive and exemplary damages to Dallas County.

                           X.    FIFTH CAUSE OF ACTION:
                       TEXAS CONTROLLED SUBSTANCES ACT ("TCSA")
                     AGAINST DISTRIBUTOR DEFENDANTS, DR. ANDREWS,
                             DR. OKECHUKU, AND DR. PADRON

                 Dallas County re-alleges and incorporates by reference each of the allegations

contained in the preceding paragraphs of this Complaint as though fully alleged herein.

                 Distributor Defendants have knowingly distributed, delivered, administered, or

dispensed a controlled substance in violation of the Texas Controlled Substances Act

§481.128(a)(1) by deceiving practitioners into prescribing, dispensing, delivering, or

administering a controlled substance, or causing a controlled substance to be administered when

there is no valid medical purpose. Tex. Health & Safety Code §481.071.

                 As alleged herein, each Distributor Defendant, at all times relevant to this

Complaint, violated the Texas Controlled Substance Act by making deceptive representations about

using opioids to treat chronic pain. Each Distributor Defendant also omitted or concealed material

facts and failed to correct prior misrepresentations and omissions about the risks and benefits of

opioids. Each Distributor Defendant's omissions rendered even their seemingly truthful statements

about opioids deceptive.

                 Distributor Defendants' deceptive representations and concealments were

reasonably calculated to deceive practitioners treating Dallas County residents into prescribing

opioids without any valid medical purpose, and Distributor Defendants continue to do so to this

day.




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                 Dr. Andrews, Dr. Okechuku, and Dr. Padron prescribed opioids without a valid

 medical purpose in violation of Texas Health & Safety Code Section 481.071(a).

                 As a direct and proximate cause of Distributor Defendants' and the physicians'

 deceptive conduct, Dallas County should be awarded civil penalties pursuant to the Texas

 Controlled Substances Act.

                XL      SIXTH CAUSE OF ACTION: UNJUST ENRICHMENT
                              AGAINST ALL DEFENDANTS

                Dallas County re-alleges and incorporates by reference each of the allegations

 contained in the preceding paragraphs of this Complaint as though fully alleged herein.

                As an expected and intended result of their conscious wrongdoing as set forth in

this Complaint, Defendants have profited and benefited from opioid purchases made by Dallas

County and its residents.

                When Dallas County and its residents purchased opioids, they expected that

Defendants had provided necessary and accurate information regarding those risks. Instead,

Defendants had misrepresented the material facts regarding the risks and benefits of opioids.

                Defendants have been unjustly enriched at the expense of Dallas County, and Dallas

County is therefore entitled to damages to be determined by the jury.

                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully prays:

                        That the acts alleged herein be adjudged and decreed to be unlawful and that
                        the Court enter a judgment declaring them to be so;

                        That Defendants be enjoined from, directly or indirectly through KOLs,
                        Front Groups or other third parties, continuing to misrepresent the risks and
                        benefits of the use of opioids for chronic pain, and from continuing to
                        violate Texas law;

                        That Plaintiff recover all measures of damages, including punitive and




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                       exemplary damages, allowable under the law, and that judgment be entered
                       against Defendants in favor of Plaintiff;

                       That Plaintiff recover restitution on behalf of Dallas County consumers who
                       paid for opioids for chronic pain;

                       That Plaintiff recover the costs and expenses of suit, pre- and post-judgment
                       interest, and reasonable attorneys' fees as provided by law; and

                       That Defendants be ordered to abate the public nuisance that they created in
                       in violation of Texas common law.


Date: January 8,2018

                                      Respectfully Submitted,

                                      THE LANIER LAW FIRM

                                      /s/W. Mark Lanier
                                      W. Mark Lanier
                                      TX State Bar No. 11934600
                                      Reagan E. Bradford
                                      TX State Bar No. 24102721
                                      6810 FM 1960 West
                                      Houston, TX 77069
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                                      SIMON GREENSTONE PANATIER BARTLETT,
                                      P.C.
                                      Jeffrey B. Simon
                                      TX State Bar No. 00788420
                                      Amy M. Carter
                                      TX State Bar No. 24004580
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                                      Dallas, Texas 75204
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                                      Fax: 214-276-7699
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                                      acarter@sgpblaw.com




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                                  THE COCHRAN FIRM
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                                  3400 Carlisle Street, Suite 550
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                                  Tel: 214-651-4260
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                                  ltaylor@thecochranfirmdallas.com


Dallas County District Attorney's Office

/s/Russell H. Roden
Russell H. Roden
Assistant District Attorney
TX State Bar No. 17132070
133 N. Riverfront Blvd., LB 19
Dallas, TX 75207
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Russell.roden@dallascounty.org




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                          CAUSE NO.


  COUNTY OF DALLAS,                        IN THE DISTRICT COURT

        Plaintiff

  VS.                                              JUDICIAL DISTRICT

 PURDUE PHARMA L.P.; .
 PURDUE PHARMA INC.;
 THE PURDUE FREDERICK COMPANY;
 JOHNSON & JOHNSON;                        DALLAS COUNTY, TEXAS
 JANSSEN PHARMACEUTICALS, INC.;
 ORTHO-MCNEIL-JANSSEN
 PHARMACEUTICALS, INC. n/k/a
 JANSSEN PHARMACEUTICALS, INC.;
 JANSSEN PHARMACEUTICA, INC. n/k/a
 JANSSEN PHARMACEUTICALS, INC.;
 ENDO HEALTH SOLUTIONS INC.;
 ENDO PHARMACEUTICALS, INC.;
 ABB VIE INC.;
 KNOLL PHARMACEUTICAL
 COMPANY, a wholly-owned subsidiary of
 ABB VIE INC.;
 ALLERGAN PLC f/k/a ACTAVIS PLC;
 ALLERGAN FINANCE LLC f/k/a
 ACTAVIS, INC. f/k/a WATSON
 PHARMACEUTICALS, INC.;
 WATSON LABORATORIES, INC.;
 ACTAVIS LLC;
 ACTAVIS PHARMA, INC. f/k/a WATSON
 PHARMA, INC.;
 MCKESSON CORPORATION;
 CARDINAL HEALTH, INC.;
 AMERISOURCEBERGEN
 CORPORATION;
 DR. RICHARD ANDREWS;
 DR. THEODORE OKECHUKU;
 DR. NICOLAS PADRON; and
 DOES 1 — 100, INCLUSIVE,

        Defendants.
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     PLAINTIFF COUNTY OF DALLAS'S FIRST REQUESTS FOR PRODUCTION
           TO DEFENDANT AMERISOURCEBERGEN CORPORATION

       To:     Defendant Amerisourcebergen Corporation

       Plaintiff, COUNTY OF DALLAS, propounds its First Request for Production of

 Documents to Defendant, AMERISOURCEBERGEN CORPORATION, pursuant to Rule 196 of

the Texas Rules of Civil Procedure, to be answered by each individual Defendant listed above,

within fifty (50) days of service Defendants are requested to respond fully, in writing, and in

accordance with Rule 196. You are further advised that you are under a duty to reasonably supplement

your answer.

                                      Respectfully Submitted,

                                      THE LANIER LAW FIRM

                                      /s/W. Mark Lanier
                                      W. Mark Lanier
                                      TX State Bar No. 11934600
                                      Reagan E. Bradford
                                      TX State Bar No. 24102721
                                      6810 FM 1960 West
                                      Houston, TX 77069
                                      Tel: 713-659-5200
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                                      wml@lanierlawfirm.com
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                                     SIMON GREENSTONE PANATIER BARTLETT,
                                     P.C.
                                     Jeffrey B. Simon
                                     TX State Bar No. 00788420
                                     Amy M. Carter
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                                     jsimon@sgpblaw.com
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PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT AMERISOURCEBERGEN
CORPORATION                                                                                  Page 2
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                                      THE COCHRAN FIRM
                                      Larry F. Taylor, Jr.
                                      TX State Bar No. 24071156
                                      3400 Carlisle Street, Suite 550
                                      Dallas, TX 75204
                                      Tel: 214-651-4260
                                      Fax: 214-651-4261
                                      Itaylor@thecochranfirmdallas.com



Dallas County District Attorney's Office

/s/Russell H Roden
Russell H. Roden
Assistant District Attorney
TX State Bar No. 17132070
133 N. Riverfront Blvd., LB 19
Dallas, TX 75207
Tel: 214-653-3600
Fax: 214-653-5774
Russell.roden@dallascounty.org


                               CERTIFICATE OF SERVICE

    I hereby certify that on this 8th day of January, 2018, a true and correct copy of the foregoing
document was caused to be served on all counsel of record in accordance with a manner authorized
by the Texas Rules of Civil Procedure.

                                      /s/W. Mark Lanier
                                      W. Mark Lanier




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CORPORATION                                                                                   Page 3
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                                          INSTRUCTIONS

                 Please produce all documents and tangible things as they are kept in the usual
 course of business or organize and label them to correspond with the categories or numbered
 requests in this set of discovery.

               If any information or material is being withheld under any claim of privilege,
 protections or immunity, please state with specificity the particular privilege, protection or
 immunity asserted.

                If Defendant cannot produce requested information or material because it is not in
 Defendant's possession, custody or control, please identify the information or material, the reason
 the information or material is not in Defendant's possession, custody, or control, and the entity
 currently having possession, custody, or control over the information or material.

                When providing a date, please provide the exact day, month, and year. If the exact
 date is not known, please provide the best approximation of the date and clearly note that the date
 is an approximation.

                If responsive material is in electronic, magnetic, or digital form, Plaintiff
 respectfully requests production of such material in its original format. Plaintiff requests such
 material be provided on CD-ROM. If Defendants cannot produce said material via CD-ROM,
 please confer with Plaintiffs counsel to determine an alternative method to produce said material.

                 In the event a proper and timely objection is filed as to any requested material,
 please nevertheless respond to all portions of the request which do not fall within the scope of the
 objection. For example, if a request is objected to on the ground that is too broad insofar as it seeks
 documents covering years Defendant believes are not relevant to this litigation; please nevertheless
 produce documents for all years which Defendant concedes are relevant.


                                            DEFINITIONS

                "You" and "Your" and "Defendant" mean Amerisourcebergen Corporation, as
 well as other natural persons, businesses or legal entities acting or purporting to act for or on behalf
 of Amerisourcebergen Corporation.

                 "Person" and "Witness," means the plural as well as the singular and includes:
 natural persons, governmental agencies, municipalities, departments, units, or any subdivisions,
 corporations, firms, associations, partnerships, joint ventures, or any other form of business entity.

               The terms "and" and "or" as used herein are to be interpreted both disjunctively
 and conjunctively.

               The words "document" or "documents" shall mean the original of the information
 recorded in a tangible form including, but not limited to, information printed, typewritten,



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 CORPORATION                                                                                      Page 4
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handwritten, photographed, filed, e-mailed, recorded by electronic means upon a tape or disk or
any other means of recording and shall include (but not be limited to): letters; e-mails; memoranda;
handwritten notes; agreements; deeds; contracts; promissory notes; books; pamphlets; brochures;
newspapers; magazines; periodicals; catalogs; price lists; checks; canceled checks; invoices; sales
receipts; charge receipts; personal receipts; bank records; tapes; computer printouts; data cards;
programs or other input or output of data processing systems; photographs (positive print or
negative); transcripts of interviews or testimony before any person, officer, or body whether sworn
or unsworn; written statements or notes of interview or testimony; diaries; calendars; logs; expense
records or other financial data; charts; graphs; maps; drawings or other representational depiction;
telephone records; telegrams; telefax; phonograph records; magnetic tape, drum, or disk records;
motion picture film; microfilm or microfiche. The terms "document" or "documents" shall also
mean every copy of a document where such copy is not an identical duplicate of the original, and
shall include all postscripts, notations, addendums, changes, notations, modifications, alterations
or revisions of each document or documents.

                "Identify," as used herein with respect to a person, corporation, or other entity,
means to provide the name, address, and telephone number of such person.

                  "Identify," as used herein with respect to a document, means to state with respect
to such document sufficient detail to permit another party to this lawsuit to locate and identify such
document. Such information and detail might include for each document: (i) the name of the
person who prepared it; (ii) the name of the person who signed it, or over whose name it was
issued; (iii) the name of each person to whom it was addressed and/or sent or distributed; (iv) the
general type of such documents (e.g., letter, memorandum, contract, etc.); (v) the date of such
document, or if it bears no date, the date on or about which it was made or prepared, (vi) the
physical location of such document; and (vii) the name and address of the persons having
possession, custody, or control of such document. In lieu of providing such information and detail,
you may attach such document to your answer to these Interrogatories and indicate for which
Interrogatory each document is applicable.

               The term "regarding", as used herein, shall mean, in an indirect manner, contain,
record, discuss, mention, note, evidence, memorialize, analyze, describe, comment upon, refer to,
have any connection with or have any tendency to prove or disprove the matter set forth.

                The term "relate(s) to" or "relating to," as used herein shall mean, in an indirect
manner, contain, record, discuss, mention, note, evidence, memorialize, analyze, describe,
comment upon, refer to, have any connection with or have any tendency to prove or disprove the
matters set forth.

               The word "correspondence" as used herein shall include any and all written
correspondence, including, but not limited to, electronic mail (e-mail), letters, notes, text messages,
messages on any social media platforms, and memorandum, and oral communications which were
recorded or memorialized in any manner, including recorded messages, voicemail messages, notes
taken during phone conversations, and notes taken during meetings.




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          10.    Wherever appropriate, the singular form of a word shall be interpreted as including
 the plural, and the masculine form of a word shall be interpreted as including the feminine.




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CORPORATION                                                                                  Page 6
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                     REQUEST FOR PRODUCTION OF DOCUMENTS

REQUEST FOR PRODUCTION NO. 1: Please produce any and all documentation relating
to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2009.
This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
the year 2009; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2009; (iii) invoices to or from
any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
pharmaceuticals for the year 2009; (iv) promotional materials received from or sent to any
manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
pharmaceuticals for the year 2009; (v) marketing materials received from or sent to any
manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
pharmaceuticals for the year 2009; (vi) instructions received from or sent to any manufacturers,
producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
the year 2009; (vii) training manuals received from or sent to any manufacturers, producers,
distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
2009; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
and/or promoters for the below generic opioid pharmaceuticals for the year 2009; (ix) procedural
manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
promoters for the below generic opioid pharmaceuticals for the year 2009; (x) information on sales
received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
the below generic opioid pharmaceuticals for the year 2009; and (xi) distribution materials or data
received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
the below generic opioid pharmaceuticals for the year 2009.

           Fentanyl
           Oxycodone
           Hydromorphone
           Oxymorphone
           Tramadol
           Hydrocodone


REQUEST FOR PRODUCTION NO. 2: Please produce any and all documentation relating
to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2010.
This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
the year 2010; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or


PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT AMERISOURCEBERGEN
CORPORATION                                                                                   Page 7
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 promoters for the below generic opioid pharmaceuticals for the year 2010; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2010; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2010; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2010; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2010; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2010; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2010; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2010; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2010; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2010.

            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone


 REQUEST FOR PRODUCTION NO. 3: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2011.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2011; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2011; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2011; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2011; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2011; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for


 PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT AMERISOURCEBERGEN
 CORPORATION                                                                                   Page 8
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 the year 2011; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2011; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2011; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2011; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2011; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2011.

            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone


REQUEST FOR PRODUCTION NO. 4: Please produce any and all documentation relating
to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2012.
This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
the year 2012; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2012; (iii) invoices to or from
any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
pharmaceuticals for the year 2012; (iv) promotional materials received from or sent to any
manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
pharmaceuticals for the year 2012; (v) marketing materials received from or sent to any
manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
pharmaceuticals for the year 2012; (vi) instructions received from or sent to any manufacturers,
producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
the year 2012; (vii) training manuals received from or sent to any manufacturers, producers,
distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
2012; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
and/or promoters for the below generic opioid pharmaceuticals for the year 2012; (ix) procedural
manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
promoters for the below generic opioid pharmaceuticals for the year 2012; (x) information on sales
received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
the below generic opioid pharmaceuticals for the year 2012; and (xi) distribution materials or data


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 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2012.

            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone


REQUEST FOR PRODUCTION NO. 5: Please produce any and all documentation relating
to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2013.
This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
the year 2013; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
promoters for the below generic opioid pharmaceuticals for the year 2013; (iii) invoices to or from
any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
pharmaceuticals for the year 2013; (iv) promotional materials received from or sent to any
manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
pharmaceuticals for the year 2013; (v) marketing materials received from or sent to any
manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
pharmaceuticals for the year 2013; (vi) instructions received from or sent to any manufacturers,
producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
the year 2013; (vii) training manuals received from or sent to any manufacturers, producers,
distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
2013; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
and/or promoters for the below generic opioid pharmaceuticals for the year 2013; (ix) procedural
manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
promoters for the below generic opioid pharmaceuticals for the year 2013; (x) information on sales
received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
the below generic opioid pharmaceuticals for the year 2013; and (xi) distribution materials or data
received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
the below generic opioid pharmaceuticals for the year 2013.

           Fentanyl
           Oxycodone
           Hydromorphone
           Oxymorphone
           Tramadol


PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT AMERISOURCEBERGEN
CORPORATION                                                                                 Page 10
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        F. Hydrocodone


REQUEST FOR PRODUCTION NO. 6: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2014.
This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
the year 2014; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2014; (iii) invoices to or from
any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2014; (iv) promotional materials received from or sent to any
manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2014; (v) marketing materials received from or sent to any
manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
pharmaceuticals for the year 2014; (vi) instructions received from or sent to any manufacturers,
producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
the year 2014; (vii) training manuals received from or sent to any manufacturers, producers,
distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
2014; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
and/or promoters for the below generic opioid pharmaceuticals for the year 2014; (ix) procedural
manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
promoters for the below generic opioid pharmaceuticals for the year 2014; (x) information on sales
received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
the below generic opioid pharmaceuticals for the year 2014; and (xi) distribution materials or data
received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
the below generic opioid pharmaceuticals for the year 2014.

           Fentanyl
           Oxycodone
           Hydromorphone
           Oxymorphone
           Tramadol
           Hydrocodone


REQUEST FOR PRODUCTION NO. 7: Please produce any and all documentation relating
to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2015.
This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for


PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT AMERISOURCEBERGEN
CORPORATION                                                                                  Page 11
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  the year 2015; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
  promoters for the below generic opioid pharmaceuticals for the year 2015; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
  pharmaceuticals for the year 2015; (iv) promotional materials received from or sent to any
  manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
  pharmaceuticals for the year 2015; (v) marketing materials received from or sent to any
  manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
  pharmaceuticals for the year 2015; (vi) instructions received from or sent to any manufacturers,
  producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2015; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2015; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2015; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2015; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2015; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2015.

            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone


REQUEST FOR PRODUCTION NO. 8: Please produce any and all documentation relating
to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2016.
This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
the year 2016; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
promoters for the below generic opioid pharmaceuticals for the year 2016; (iii) invoices to or from
any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
pharmaceuticals for the year 2016; (iv) promotional materials received from or sent to any
manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
pharmaceuticals for the year 2016; (v) marketing materials received from or sent to any
manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
pharmaceuticals for the year 2016; (vi) instructions received from or sent to any manufacturers,


PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT AMERISOURCEBERGEN
CORPORATION                                                                                  Page 12
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 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2016; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2016; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2016; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2016; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2016; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2016.


            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone



 REQUEST FOR PRODUCTION NO. 9: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2017.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2017; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2017; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2017; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2017; (v) marketing materials received from or sent to any
manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2017; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2017; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2017; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
and/or promoters for the below generic opioid pharmaceuticals for the year 2017; (ix) procedural
manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
promoters for the below generic opioid pharmaceuticals for the year 2017; (x) information on sales
received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for



PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT AMERISOURCEBERGEN
CORPORATION                                                                                  Page 13
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 the below generic opioid pharmaceuticals for the year 2017; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2017.


            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone




PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT AMERISOURCEBERGEN
CORPORATION                                                                                 Page 14
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                          CAUSE NO.


 COUNTY OF DALLAS,                         IN THE DISTRICT COURT

       Plaintiff

 VS.                                               JUDICIAL DISTRICT

 PURDUE PHARMA L.P.;
 PURDUE PHARMA INC.;
 THE PURDUE FREDERICK COMPANY;
 JOHNSON & JOHNSON;                        DALLAS COUNTY, TEXAS
 JANSSEN PHARMACEUTICALS, INC.;
 ORTHO-MCNEIL-JANSSEN
 PHARMACEUTICALS, INC. n/k/a
 JANSSEN PHARMACEUTICALS, INC.;
 JANSSEN PHAR1V1ACEUTICA, INC. n/k/a
 JANSSEN PHARMACEUTICALS, INC.;
 ENDO HEALTH SOLUTIONS INC.;
 ENDO PHARMACEUTICALS, INC.;
 ABBVIE INC.;
 KNOLL PHARMACEUTICAL
 COMPANY, a wholly-owned subsidiary of
 ABB VIE INC.;
 ALLERGAN PLC f/k/a ACTAVIS PLC;
 ALLERGAN FINANCE LLC f/k/a
 ACTAVIS, INC. f/k/a WATSON
 PHARMACEUTICALS, INC.;
 WATSON LABORATORIES, INC.;
 ACTAVIS LLC;
 ACTAVIS PHARMA, INC. f/k/a WATSON
 PHARMA, INC.;
 MC10ESSON CORPORATION;
 CARDINAL HEALTH, INC.;
 AMERISOlURCEBERGEN
 CORPORATION;
 DR. RICHARD ANDREWS;
 DR. THEODORE OKECHUKU;
 DR. NICOLAS PADRON; and
 DOES 1 — 100, INCLUSIVE,

       Defendants.
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            PLAINTIFF COUNTY OF DALLAS'S FIRST INTERROGATORIES
              TO DEFENDANT AMERISOURCEBERGEN CORPORATION

        To:     Defendant AmerisourceBergen Corporation

        Plaintiff, COUNTY OF DALLAS, propounds this First Set of Interrogatories to Defendant

 AMERISOURCEBERGEN CORPORATION. Pursuant to Rule 197 of the Texas Rules of Civil

 Procedure, the following interrogatories are submitted to be answered by you. The answers shall

 be signed, and sworn to, by you, and shall be served upon the undersigned within fifty (50) days

after the date upon which you are served with a copy of these interrogatories.

        You are further advised that you are under duty to supplement your answers to these

 interrogatories in the event you obtain information upon the basis of which (1) you know that the

response was incorrect or incomplete when made, (2) or you know that the response, though

correct and complete when made, is no longer true and complete and the circumstances are such

that the failure to amend the answer is in substance misleading.



                                      Respectfully Submitted,

                                      THE LANIER LAW FIRM

                                     /s/W. Mark Lanier
                                     W. Mark Lanier
                                     TX State Bar No. 11934600
                                     Reagan E. Bradford
                                     TX State Bar No. 24102721
                                     6810 FM 1960 West
                                     Houston, TX 77069
                                     Tel: 713-659-5200
                                     Fax: 713-659-2204
                                     wml@lanierlawfirm.com
                                     reagan.bradford@lanierlawfirm.com




PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT AMERISOURCEBERGEN
CORPORATION                                                                                 Page 2
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                                      SIMON GREENSTONE PANATIER BARTLETT,
                                      P.C.
                                      Jeffrey B. Simon
                                      TX State Bar No. 00788420
                                      Amy M. Carter
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                                      Dallas, Texas 75204
                                      Tel: 214-276-7680
                                      Fax: 214-276-7699
                                      jsimon@sgpblaw.com
                                      acarter@sgpblaw.com

                                      THE COCHRAN FIRM
                                      Larry F. Taylor, Jr.
                                      TX State Bar No. 24071156
                                      3400 Carlisle Street, Suite 550
                                      Dallas, TX 75204
                                      Tel: 214-651-4260
                                      Fax: 214-651-4261
                                      Itaylor@thecochranfirmdallas.com


Dallas County District Attorney's Office

/s/Russell H. Roden
Russell H. Roden
Assistant District Attorney
TX State Bar No. 17132070
133 N. Riverfront Blvd., LB 19
Dallas, TX 75207
Tel: 214-653-3600
Fax: 214-653-5774
Russellsoden@dallascounty.org


                               CERTIFICATE OF SERVICE

    I hereby certify that on this 8th day of January, 2018, a true and correct copy of the foregoing
document was caused to be served on all counsel of record in accordance with a manner authorized
by the Texas Rules of Civil Procedure.

                                      /s/W. Mark Lanier
                                      W. Mark Lanier


PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT AMERISOURCEBERGEN
CORPORATION                                                                                   Page 3
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                                            DEFINITIONS

          I.     "You" and "Your" and "Defendant" mean Amerisourcebergen Corporation, as
 well as other natural persons, businesses or legal entities acting or purporting to act for or on behalf
 of Amerisourcebergen Corporation.

                 "Person" and "Witness," means the plural as well as the singular and includes:
 natural persons, governmental agencies, municipalities, departments, units, or any subdivisions,
 corporations, firms, associations, partnerships, joint ventures, or any other form of business entity.

               The terms "and" and "or" as used herein are to be interpreted both disjunctively
 and conjunctively.

                 The words "document" or "documents" shall mean the original of the information
 recorded in a tangible form including, but not limited to, information printed, typewritten,
 handwritten, photographed, filed, e-mailed, recorded by electronic means upon a tape or disk or
 any other means of recording and shall include (but not be limited to): letters; e-mails; memoranda;
 handwritten notes; agreements; deeds; contracts; promissory notes; books; pamphlets; brochures;
 newspapers; magazines; periodicals; catalogs; price lists; checks; canceled checks; invoices; sales
 receipts; charge receipts; personal receipts; bank records; tapes; computer printouts; data cards;
 programs or other input or output of data processing systems; photographs (positive print or
 negative); transcripts of interviews or testimony before any person, officer, or body whether sworn
 or unsworn; written statements or notes of interview or testimony; diaries; calendars; logs; expense
 records or other financial data; charts; graphs; maps; drawings or other representational depiction;
 telephone records; telegrams; telefax; phonograph records; magnetic tape, drum, or disk records;
 motion picture film; microfilm or microfiche. The terms "document" or "documents" shall also
 mean every copy of a document where such copy is not an identical duplicate of the original, and
 shall include all postscripts, notations, addendums, changes, notations, modifications, alterations
 or revisions of each document or documents.

               "Identify," as used herein with respect to a person, corporation, or other entity,
 means to provide the name, address, and telephone number of such person.

                 "Identify," as used herein with respect to a document, means to state with respect
to such document sufficient detail to permit another party to this lawsuit to locate and identify such
document. Such information and detail might include for each document: (i) the name of the
person who prepared it; (ii) the name of the person who signed it, or over whose name it was
issued; (iii) the name of each person to whom it was addressed and/or sent or distributed; (iv) the
general type of such documents (e.g., letter, memorandum, contract, etc.); (v) the date of such
document, or if it bears no date, the date on or about which it was made or prepared, (vi) the
physical location of such document; and (vii) the name and address of the persons having
possession, custody, or control of such document. In lieu of providing such information and detail,
you may attach such document to your answer to these Interrogatories and indicate for which
Interrogatory each document is applicable.



PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT AMERISOURCEBERGEN
CORPORATION                                                                                       Page 4
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                The term "regarding", as used herein, shall mean, in an indirect manner, contain,
 record, discuss, mention, note, evidence, memorialize, analyze, describe, comment upon, refer to,
 have any connection with or have any tendency to prove or disprove the matter set forth.

                 The term "relate(s) to" or "relating to," as used herein shall mean, in an indirect
 manner, contain, record, discuss, mention, note, evidence, memorialize, analyze, describe,
 comment upon, refer to, have any connection with or have any tendency to prove or disprove the
 matters set forth.

               The word "correspondence" as used herein shall include any and all written
 correspondence, including, but not limited to, electronic mail (e-mail), letters, notes, text messages,
 messages on any social media platforms, and memorandum, and oral communications which were
 recorded or memorialized in any manner, including recorded messages, voicemail messages, notes
 taken during phone conversations, and notes taken during meetings.

                 Wherever appropriate, the singular form of a word shall be interpreted as including
 the plural, and the masculine form of a word shall be interpreted as including the feminine.




PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT AMER1SOURCEBERGEN
CORPORATION                                                                                      Page 5
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                                   INTERROGATORIES

 INTERROGATORY NO. 1: Identify the manufacturers, producers, distributors, sellers, and/or
 promoters for each of the following generic opioid pharmaceutical drugs for each of the years
 2009, 2010, 2011, 2012, 2013, 2014, 2015, 2016, and 2017:

           Fentanyl
           Oxycodone
           Hydromorphone
           Oxymorphone
           Tramadol
           Hydrocodone




PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT AMERISOURCEBERGEN
CORPORATION                                                                             Page 6
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                          CAUSE NO.


 COUNTY OF DALLAS,                         IN THE DISTRICT COURT

       Plaintiff

 VS.                                               JUDICIAL DISTRICT

 PURDUE PHARMA L.P.;
 PURDUE PHARMA INC.;
 THE PURDUE FREDERICK COMPANY;
 JOHNSON & JOHNSON;                        DALLAS COUNTY, TEXAS
 JANSSEN PHARMACEUTICALS, INC.;
 ORTHO-MCNEIL-JANSSEN
 PHARMACEUTICALS, INC. n/k/a
 JANSSEN PHARMACEUTICALS, INC.;
 JANSSEN PHARMACEUTICA, INC. n/k/a
 JANSSEN PHARMACEUTICALS, INC.;
 ENDO HEALTH SOLUTIONS INC.;
 ENDO PHARMACEUTICALS, INC.;
 ABB VIE INC.;
 KNOLL PHARMACEUTICAL
 COMPANY, a wholly-owned subsidiary of
 ABB VIE INC.;
 ALLERGAN PLC f/k/a ACTAVIS PLC;
 ALLERGAN FINANCE LLC f/k/a
 ACTAVIS, INC. f/k/a WATSON
 PHARMACEUTICALS, INC.;
 WATSON LABORATORIES, INC.;
 ACTAVIS LLC;
 ACTAVIS PHARMA, INC. f/k/a WATSON
 PHARMA, INC.;
 MCICESSON CORPORATION;
 CARDINAL HEALTH, INC.;
 AMERISOURCEBERGEN
 CORPORATION;
 DR. RICHARD ANDREWS;
 DR. THEODORE OICECHUKU;
 DR. NICOLAS PADRON; and
 DOES 1 — 100, INCLUSIVE,

       Defendants.
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      PLAINTIFF COUNTY OF DALLAS'S FIRST REQUESTS FOR PRODUCTION
                  TO DEFENDANT CARDINAL HEALTH, INC.

        To:     Defendant Cardinal Health, Inc.

        Plaintiff, COUNTY OF DALLAS, propounds its First Request for Production of

 Documents to Defendant, CARDINAL HEALTH, INC., pursuant to Rule 196 of the Texas Rules

 of Civil Procedure, to be answered by each individual Defendant listed above, within fifty (50)

 days of service Defendants are requested to respond fully, in writing, and in accordance with Rule

 196. You are further advised that you are under a duty to reasonably supplement your answer.

                                      Respectfully Submitted,

                                      THE LANIER LAW FIRM

                                      /s/W. Mark Lanier
                                      W. Mark Lanier
                                      TX State Bar No. 11934600
                                      Reagan E. Bradford
                                      TX State Bar No. 24102721
                                      6810 FM 1960 West
                                      Houston, TX 77069
                                      Tel: 713-659-5200
                                      Fax: 713-659-2204
                                      wml@lanierlawfirm.com
                                      reagan.bradford@lanierlawfirm.com

                                      SIMON GREENSTONE PANATIER BARTLETT,
                                      P.C.
                                      Jeffrey B. Simon
                                      TX State Bar No. 00788420
                                      Amy M. Carter
                                      TX State Bar No. 24004580
                                      3232 McKinney Avenue, Suite 610
                                      Dallas, Texas 75204
                                      Tel: 214-276-7680
                                      Fax: 214-276-7699
                                      jsimon@sgpblaw.com
                                      acarter@sgpblaw.com




 PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT CARDINAL HEALTH, INC.
                                                                                                Page 2
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                                       THE COCHRAN FIRM
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                                       Dallas, TX 75204
                                       Tel: 214-651-4260
                                       Fax: 214-651-4261
                                       ltaylor@thecochranfirmdallas.com



 Dallas County District Attorney's Office

 /s/Russell H Roden
 Russell H. Roden
 Assistant District Attorney
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 133 N. Riverfront Blvd., LB 19
 Dallas, TX 75207
 Tel: 214-653-3600
 Fax: 214-653-5774
 Russellsoden@dallascounty.org


                                CERTIFICATE OF SERVICE

     I hereby certify that on this 8th day of January, 2018, a true and correct copy of the foregoing
 document was caused to be served on all counsel of record in accordance with a manner authorized
 by the Texas Rules of Civil Procedure.

                                       /s/W. Mark Lanier
                                       W. Mark Lanier




 PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT CARDINAL HEALTH, INC.
                                                                                               Page 3
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                                          INSTRUCTIONS

         I.      Please produce all documents and tangible things as they are kept in the usual
 course of business or organize and label them to correspond with the categories or numbered
 requests in this set of discovery.

               If any information or material is being withheld under any claim of privilege,
 protections or immunity, please state with specificity the particular privilege, protection or
 immunity asserted.

                If Defendant cannot produce requested information or material because it is not in
 Defendant's possession, custody or control, please identify the information or material, the reason
 the information or material is not in Defendant's possession, custody, or control, and the entity
 currently having possession, custody, or control over the information or material.

                When providing a date, please provide the exact day, month, and year. If the exact
 date is not known, please provide the best approximation of the date and clearly note that the date
 is an approximation.

                If responsive material is in electronic, magnetic, or digital form, Plaintiff
 respectfully requests production of such material in its original format. Plaintiff requests such
 material be provided on CD-ROM. If Defendants cannot produce said material via CD-ROM,
 please confer with Plaintiff's counsel to determine an alternative method to produce said material.

                 In the event a proper and timely objection is filed as to any requested material,
 please nevertheless respond to all portions of the request which do not fall within the scope of the
 objection. For example, if a request is objected to on the ground that is too broad insofar as it seeks
 documents covering years Defendant believes are not relevant to this litigation; please nevertheless
 produce documents for all years which Defendant concedes are relevant.


                                           DEFINITIONS

          I.    "You" and "Your" and "Defendant" mean Cardinal Health, Inc., as well as other
 natural persons, businesses or legal entities acting or purporting to act for or on behalf of Cardinal
 Health, Inc.

                 "Person" and "Witness," means the plural as well as the singular and includes:
 natural persons, governmental agencies, municipalities, departments, units, or any subdivisions,
 corporations, firms, associations, partnerships, joint ventures, or any other form of business entity.

              The terms "and" and "or" as used herein are to be interpreted both disjunctively
and conjunctively.

               The words "document" or "documents" shall mean the original of the information
 recorded in a tangible form including, but not limited to, information printed, typewritten,



 PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT CARDINAL HEALTH, INC.
                                                                                                  Page 4
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 handwritten, photographed, filed, e-mailed, recorded by electronic means upon a tape or disk or
 any other means of recording and shall include (but not be limited to): letters; e-mails; memoranda;
 handwritten notes; agreements; deeds; contracts; promissory notes; books; pamphlets; brochures;
 newspapers; magazines; periodicals; catalogs; price lists; checks; canceled checks; invoices; sales
 receipts; charge receipts; personal receipts; bank records; tapes; computer printouts; data cards;
 programs or other input or output of data processing systems; photographs (positive print or
 negative); transcripts of interviews or testimony before any person, officer, or body whether sworn
 or unsworn; written statements or notes of interview or testimony; diaries; calendars; logs; expense
 records or other financial data; charts; graphs; maps; drawings or other representational depiction;
 telephone records; telegrams; telefax; phonograph records; magnetic tape, drum, or disk records;
 motion picture film; microfilm or microfiche. The terms "document" or "documents" shall also
 mean every copy of a document where such copy is not an identical duplicate of the original, and
 shall include all postscripts, notations, addendums, changes, notations, modifications, alterations
 or revisions of each document or documents.

               "Identify," as used herein with respect to a person, corporation, or other entity,
 means to provide the name, address, and telephone number of such person.

                 "Identify," as used herein with respect to a document, means to state with respect
to such document sufficient detail to permit another party to this lawsuit to locate and identify such
document. Such information and detail might include for each document: (i) the name of the
person who prepared it; (ii) the name of the person who signed it, or over whose name it was
issued; (iii) the name of each person to whom it was addressed and/or sent or distributed; (iv) the
general type of such documents (e.g., letter, memorandum, contract, etc.); (v) the date of such
document, or if it bears no date, the date on or about which it was made or prepared, (vi) the
physical location of such document; and (vii) the name and address of the persons having
possession, custody, or control of such document. In lieu of providing such information and detail,
you may attach such document to your answer to these Interrogatories and indicate for which
Interrogatory each document is applicable.

               The term "regarding", as used herein, shall mean, in an indirect manner, contain,
record, discuss, mention, note, evidence, memorialize, analyze, describe, comment upon, refer to,
have any connection with or have any tendency to prove or disprove the matter set forth.

                The term "relate(s) to" or "relating to," as used herein shall mean, in an indirect
manner, contain, record, discuss, mention, note, evidence, memorialize, analyze, describe,
comment upon, refer to, have any connection with or have any tendency to prove or disprove the
matters set forth.

              The word "correspondence" as used herein shall include any and all written
correspondence, including, but not limited to, electronic mail (e-mail), letters, notes, text messages,
messages on any social media platforms, and memorandum, and oral communications which were
recorded or memorialized in any manner, including recorded messages, voicemail messages, notes
taken during phone conversations, and notes taken during meetings.




PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT CARDINAL HEALTH, INC.
                                                                                                 Page 5
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          10.    Wherever appropriate, the singular form of a word shall be interpreted as including
 the plural, and the masculine form of a word shall be interpreted as including the feminine.




 PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT CARDINAL HEALTH, INC.
                                                                                             Page 6
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                                                  ek




                      REQUEST FOR PRODUCTION OF DOCUMENTS

 REQUEST FOR PRODUCTION NO. 1: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2009.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2009; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
  promoters for the below generic opioid pharmaceuticals for the year 2009; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2009; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2009; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2009; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2009; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2009; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2009; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2009; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2009; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2009.

            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone


 REQUEST FOR PRODUCTION NO. 2: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2010.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2010; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or


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 promoters for the below generic opioid pharmaceuticals for the year 2010; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2010; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2010; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2010; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2010; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2010; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2010; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2010; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2010; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2010.

            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone


REQUEST FOR PRODUCTION NO. 3: Please produce any and all documentation relating
to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 201L
This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
the year 2011; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
promoters for the below generic opioid pharmaceuticals for the year 2011; (iii) invoices to or from
any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
pharmaceuticals for the year 2011; (iv) promotional materials received from or sent to any
manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
pharmaceuticals for the year 2011; (v) marketing materials received from or sent to any
manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
pharmaceuticals for the year 2011; (vi) instructions received from or sent to any manufacturers,
producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for


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 the year 2011; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2011; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2011; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2011; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2011; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2011.

            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone


REQUEST FOR PRODUCTION NO. 4: Please produce any and all documentation relating
to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2012.
This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
the year 2012; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
promoters for the below generic opioid pharmaceuticals for the year 2012; (iii) invoices to or from
any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
pharmaceuticals for the year 2012; (iv) promotional materials received from or sent to any
manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
pharmaceuticals for the year 2012; (v) marketing materials received from or sent to any
manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
pharmaceuticals for the year 2012; (vi) instructions received from or sent to any manufacturers,
producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
the year 2012; (vii) training manuals received from or sent to any manufacturers, producers,
distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
2012; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
and/or promoters for the below generic opioid pharmaceuticals for the year 2012; (ix) procedural
manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
promoters for the below generic opioid pharmaceuticals for the year 2012; (x) information on sales
received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
the below generic opioid pharmaceuticals for the year 2012; and (xi) distribution materials or data


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 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2012.

            Fentanyl
            Oxycodone
            Hydromorphone
      . D. Oxymorphone
           Tramadol
           Hydrocodone


REQUEST FOR PRODUCTION NO. 5: Please produce any and all documentation relating
to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2013.
This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
the year 2013; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2013; (iii) invoices to or from
any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2013; (iv) promotional materials received from or sent to any
manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
pharmaceuticals for the year 2013; (v) marketing materials received from or sent to any
manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
pharmaceuticals for the year 2013; (vi) instructions received from or sent to any manufacturers,
producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
the year 2013; (vii) training manuals received from or sent to any manufacturers, producers,
distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
2013; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
and/or promoters for the below generic opioid pharmaceuticals for the year 2013; (ix) procedural
manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
promoters for the below generic opioid pharmaceuticals for the year 2013; (x) information on sales
received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
the below generic opioid pharmaceuticals for the year 2013; and (xi) distribution materials or data
received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
the below generic opioid pharmaceuticals for the year 2013.

           Fentanyl
           Oxycodone
           Hydromorphone
           Oxymorphone
           Tramadol


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        F. Hydrocodone


REQUEST FOR PRODUCTION NO. 6: Please produce any and all documentation relating
to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2014.
This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
the year 2014; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2014; (iii) invoices to or from
any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
pharmaceuticals for the year 2014; (iv) promotional materials received from or sent to any
manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
pharmaceuticals for the year 2014; (v) marketing materials received from or sent to any
manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
pharmaceuticals for the year 2014; (vi) instructions received from or sent to any manufacturers,
producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
the year 2014; (vii) training manuals received from or sent to any manufacturers, producers,
distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
2014; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
and/or promoters for the below generic opioid pharmaceuticals for the year 2014; (ix) procedural
manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
promoters for the below generic opioid pharmaceuticals for the year 2014; (x) information on sales
received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
the below generic opioid pharmaceuticals for the year 2014; and (xi) distribution materials or data
received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
the below generic opioid pharmaceuticals for the year 2014.

           Fentanyl
           Oxycodone
           Hydromorphone
           Oxymorphone
           Tramadol
           Hydrocodone


REQUEST FOR PRODUCTION NO. 7: Please produce any and all documentation relating
to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2015.
This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for



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  the year 2015; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
  promoters for the below generic opioid pharmaceuticals for the year 2015; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
  pharmaceuticals for the year 2015; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2015; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2015; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2015; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2015; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2015; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2015; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2015; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2015.

            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone


REQUEST FOR PRODUCTION NO. 8: Please produce any and all documentation relating
to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2016.
This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
the year 2016; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
promoters for the below generic opioid pharmaceuticals for the year 2016; (iii) invoices to or from
any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
pharmaceuticals for the year 2016; (iv) promotional materials received from or sent to any
manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
pharmaceuticals for the year 2016; (v) marketing materials received from or sent to any
manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
pharmaceuticals for the year 2016; (vi) instructions received from or sent to any manufacturers,


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 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2016; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2016; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2016; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2016; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2016; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2016.


            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone



REQUEST FOR PRODUCTION NO. 9: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2017.
This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
the year 2017; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
promoters for the below generic opioid pharmaceuticals for the year 2017; (iii) invoices to or from
any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
pharmaceuticals for the year 2017; (iv) promotional materials received from or sent to any
manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
pharmaceuticals for the year 2017; (v) marketing materials received from or sent to any
manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
pharmaceuticals for the year 2017; (vi) instructions received from or sent to any manufacturers,
producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
the year 2017; (vii) training manuals received from or sent to any manufacturers, producers,
distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
2017; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
and/or promoters for the below generic opioid pharmaceuticals for the year 2017; (ix) procedural
manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
promoters for the below generic opioid pharmaceuticals for the year 2017; (x) information on sales
received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for



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 the below generic opioid pharmaceuticals for the year 2017; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2017.


            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone




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                           CAUSE NO.


  COUNTY OF DALLAS,                         IN THE DISTRICT COURT

        Plaintiff

  VS.                                              JUDICIAL DISTRICT

  PURDUE PHARMA L.P.;
  PURDUE PHARMA INC.;
  THE PURDUE FREDERICK COMPANY;
  JOHNSON & JOHNSON;                        DALLAS COUNTY, TEXAS
  JANSSEN PHARMACEUTICALS, INC.;
  ORTHO-MCNEIL-JANSSEN
  PHARMACEUTICALS, INC. n/k/a
  JANSSEN PHARMACEUTICALS, INC.;
  JANSSEN PHARMACEUTICA, INC. n/k/a
  JANSSEN PHARMACEUTICALS, INC.;
  ENDO HEALTH SOLUTIONS INC.;
  ENDO PHARMACEUTICALS, INC.;
  ABBVIE INC.;
  KNOLL PHARMACEUTICAL
  COMPANY, a wholly-owned subsidiary of
  ABB VIE INC.;
  ALLERGAN PLC f/k/a ACTAVIS PLC;
  ALLERGAN FINANCE LLC f/k/a
  ACTAVIS, INC. f/k/a WATSON
  PHARMACEUTICALS, INC.;
  WATSON LABORATORIES, INC.;
  ACTAVIS LLC;
  ACTAVIS PHARMA, INC. Vida WATSON
  PHARMA, INC.;
  MCICESSON CORPORATION;
  CARDINAL HEALTH, INC.;
  AMERISOURCEBERGEN
  CORPORATION;
  DR. RICHARD ANDREWS;
  DR. THEODORE OICECHUKU;
  DR. NICOLAS PADRON; and
  DOES 1 — 100, INCLUSIVE,

        Defendants.
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            PLAINTIFF COUNTY OF DALLAS'S FIRST INTERROGATORIES
                    TO DEFENDANT CARDINAL HEALTH, INC.

        To:     Defendant Cardinal Health, Inc.

        Plaintiff, COUNTY OF DALLAS, propounds this First Set of Interrogatories to Defendant

 CARDINAL HEALTH, INC. Pursuant to Rule 197 of the Texas Rules of Civil Procedure, the

 following interrogatories are submitted to be answered by you. The answers shall be signed, and

 sworn to, by you, and shall be served upon the undersigned within fifty (50) days after the date

 upon which you are served with a copy of these interrogatories.

        You are further advised that you are under duty to supplement your answers to these

 interrogatories in the event you obtain information upon the basis of which (1) you know that the

 response was incorrect or incomplete when made, (2) or you know that the response, though

 correct and complete when made, is no longer true and complete and the circumstances are such

 that the failure to amend the answer is in substance misleading.



                                       Respectfully Submitted,

                                      THE LANIER LAW FIRM

                                      /s/W. Mark Lanier
                                      W. Mark Lanier
                                      TX State Bar No. 11934600
                                      Reagan E. Bradford
                                      TX State Bar No. 24102721
                                      6810 FM 1960 West
                                      Houston, TX 77069
                                      Tel: 713-659-5200
                                      Fax: 713-659-2204
                                      wml@lanierlawfirm.com
                                      reagan.bradford@lanierlawfirm.com




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                                       SIMON GREENSTONE PANATIER BARTLETT,
                                       P.C.
                                       Jeffrey B. Simon
                                       TX State Bar No. 00788420
                                       Amy M. Carter
                                       TX State Bar No. 24004580
                                       3232 McKinney Avenue, Suite 610
                                       Dallas, Texas 75204
                                       Tel: 214-276-7680
                                       Fax: 214-276-7699
                                       jsimon@sgpblaw.com
                                       acarter@sgpblaw.com

                                       THE COCHRAN FIRM
                                       Larry F. Taylor, Jr.
                                       TX State Bar No. 24071156
                                       3400 Carlisle Street, Suite 550
                                       Dallas, TX 75204
                                       Tel: 214-651-4260
                                       Fax: 214-651-4261
                                       ltaylor@thecochranfirmdallas.com


 Dallas County District Attorney's Office

 /s/Russell H. Roden
 Russell H. Roden
 Assistant District Attorney
 TX State Bar No. 17132070
 133 N. Riverfront Blvd., LB 19
 Dallas, TX 75207
 Tel: 214-653-3600
 Fax: 214-653-5774
 Russell.roden@dallascounty.org


                                CERTIFICATE OF SERVICE

     I hereby certify that on this 8th day of January, 2018, a true and correct copy of the foregoing
 document was caused to be served on all counsel of record in accordance with a manner authorized
 by the Texas Rules of Civil Procedure.

                                       /s/W. Mark Lanier
                                       W. Mark Lanier



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                                            DEFINITIONS

                 "You" and "Your" and "Defendant" mean Cardinal Health, Inc., as well as other
  natural persons, businesses or legal entities acting or purporting to act for or on behalf of Cardinal
  Health, Inc.

                  "Person" and "Witness," means the plural as well as the singular and includes:
  natural persons, governmental agencies, municipalities, departments, units, or any subdivisions,
  corporations, firms, associations, partnerships, joint ventures, or any other form of business entity.

                The terms "and" and "or" as used herein are to be interpreted both disjunctively
  and conjunctively.

                 The words "document" or "documents" shall mean the original of the information
 recorded in a tangible form including, but not limited to, information printed, typewritten,
 handwritten, photographed, filed, e-mailed, recorded by electronic means upon a tape or disk or
 any other means of recording and shall include (but not be limited to): letters; e-mails; memoranda;
 handwritten notes; agreements; deeds; contracts; promissory notes; books; pamphlets; brochures;
 newspapers; magazines; periodicals; catalogs; price lists; checks; canceled checks; invoices; sales
 receipts; charge receipts; personal receipts; bank records; tapes; computer printouts; data cards;
 programs or other input or output of data processing systems; photographs (positive print or
 negative); transcripts of interviews or testimony before any person, officer, or body whether sworn
 or unsworn; written statements or notes of interview or testimony; diaries; calendars; logs; expense
 records or other financial data; charts; graphs; maps; drawings or other representational depiction;
 telephone records; telegrams; telefax; phonograph records; magnetic tape, drum, or disk records;
 motion picture film; microfilm or microfiche. The terms "document" or "documents" shall also
 mean every copy of a document where such copy is not an identical duplicate of the original, and
 shall include all postscripts, notations, addendums, changes, notations, modifications, alterations
 or revisions of each document or documents.

                "Identify," as used herein with respect to a person, corporation, or other entity,
  means to provide the name, address, and telephone number of such person.

                  "Identify," as used herein with respect to a document, means to state with respect
 to such document sufficient detail to permit another party to this lawsuit to locate and identify such
 document. Such information and detail might include for each document: (i) the name of the
 person who prepared it; (ii) the name of the person who signed it, or over whose name it was
 issued; (iii) the name of each person to whom it was addressed and/or sent or distributed; (iv) the
 general type of such documents (e.g., letter, memorandum, contract, etc.); (v) the date of such
 document, or if it bears no date, the date on or about which it was made or prepared, (vi) the
 physical location of such document; and (vii) the name and address of the persons having
 possession, custody, or control of such document. En lieu of providing such information and detail,
 you may attach such document to your answer to these Interrogatories and indicate for which
 Interrogatory each document is applicable.

 PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT CARDINAL HEALTH, INC.                     Page 4
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                The term "regarding", as used herein, shall mean, in an indirect manner, contain,
 record, discuss, mention, note, evidence, memorialize, analyze, describe, comment upon, refer to,
 have any connection with or have any tendency to prove or disprove the matter set forth.

                 The term "relate(s) to" or "relating to," as used herein shall mean, in an indirect
 manner, contain, record, discuss, mention, note, evidence, memorialize, analyze, describe,
 comment upon, refer to, have any connection with or have any tendency to prove or disprove the
 matters set forth.

               The word "correspondence" as used herein shall include any and all written
 correspondence, including, but not limited to, electronic mail (e-mail), letters, notes, text messages,
 messages on any social media platforms, and memorandum, and oral communications which were
 recorded or memorialized in any manner, including recorded messages, voicemail messages, notes
 taken during phone conversations, and notes taken during meetings.

                 Wherever appropriate, the singular form of a word shall be interpreted as including
 the plural, and the masculine form of a word shall be interpreted as including the feminine.




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                                   INTERROGATORIES

 INTERROGATORY NO. 1: Identify the manufacturers, producers, distributors, sellers, and/or
 promoters for each of the following generic opioid pharmaceutical drugs for each of the years
 2009, 2010, 2011, 2012, 2013, 2014, 2015, 2016, and 2017:

           Fentanyl
           Oxycodone
           Hydromorphone
           Oxymorphone
           Tramadol
           Hydrocodone




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                           CAUSE NO.


  COUNTY OF DALLAS,                         IN THE DISTRICT COURT

        Plaintiff

  VS.                                              JUDICIAL DISTRICT

  PURDUE PHARMA L.P.;
  PURDUE PHARMA INC.;
  THE PURDUE FREDERICK COMPANY;
  JOHNSON & JOHNSON;                        DALLAS COUNTY, TEXAS
  JANSSEN PHARMACEUTICALS, INC.;
  ORTHO-MCNEIL-JANSSEN
  PHARMACEUTICALS, INC. n/k/a
  JANSSEN PHARMACEUTICALS, INC.;
  JANSSEN PHARMACEUTICA, INC. n/k/a
  JANSSEN PHARMACEUTICALS, INC.;
  ENDO HEALTH SOLUTIONS INC.;
  ENDO PHARMACEUTICALS, INC.;
  ABB VIE INC.;
  KNOLL PHARMACEUTICAL
  COMPANY, a wholly-owned subsidiary of
  ABB VIE INC.;
  ALLERGAN PLC f/k/a ACTAVIS PLC;
  ALLERGAN FINANCE LLC f/k/a
  ACTAVIS, INC. f/k/a WATSON
  PHARMACEUTICALS, INC.;
  WATSON LABORATORIES, INC.;
  ACTAVIS LLC;
  ACTAVIS PHARMA, INC. Vida WATSON
  PHARMA, INC.;
  MCICESSON CORPORATION;
  CARDINAL HEALTH, INC.;
  AMERISOURCEBERGEN
  CORPORATION;
  DR. RICHARD ANDREWS;
  DR. THEODORE OKECHUICU;
  DR. NICOLAS PADRON; and
  DOES 1 — 100, INCLUSIVE,

        Defendants.
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      PLAINTIFF COUNTY OF DALLAS'S FIRST REQUESTS FOR PRODUCTION
                 TO DEFENDANT MCKESSON CORPORATION

        To:     Defendant McKesson Corporation

        Plaintiff, COUNTY OF DALLAS, propounds its First Request for Production of

 Documents to Defendant, MCKESSON CORPORATION, pursuant to Rule 196 of the Texas

 Rules of Civil Procedure, to be answered by each individual Defendant listed above, within fifty

 (50) days of service Defendants are requested to respond fully, in writing, and in accordance with

 Rule 196. You are further advised that you are under a duty to reasonably supplement your answer.

                                      Respectfully Submitted,

                                      THE LANIER LAW FIRM

                                      /s/W. Mark Lanier
                                      W. Mark Lanier
                                      TX State Bar No. 11934600
                                      Reagan E. Bradford
                                      TX State Bar No. 24102721
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                                       THE COCHRAN FIRM
                                       Larry F. Taylor, Jr.
                                       TX State Bar No. 24071156
                                       3400 Carlisle Street, Suite 550
                                       Dallas, TX 75204
                                       Tel: 214-651-4260
                                       Fax: 214-651-4261
                                       Itaylor@thecochranfirmdallas.com



 Dallas County District Attorney's Office

 /s/Russell H. Roden
 Russell H. Roden
 Assistant District Attorney
 TX State Bar No. 17132070
 133 N. Riverfront Blvd., LB 19
 Dallas, TX 75207
 Tel: 214-653-3600
 Fax: 214-653-5774
 Russellsoden@dallascounty.org


                                CERTIFICATE OF SERVICE

     I hereby certify that on this 8th day of January, 2018, a true and correct copy of the foregoing
 document was caused to be served on all counsel of record in accordance with a manner authorized
 by the Texas Rules of Civil Procedure.

                                       /s/W. Mark Lanier
                                       W. Mark Lanier




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                                          INSTRUCTIONS

                 Please produce all documents and tangible things as they are kept in the usual
 course of business or organize and label them to correspond with the categories or numbered
 requests in this set of discovery.

               If any information or material is being withheld under any claim of privilege,
 protections or immunity, please state with specificity the particular privilege, protection or
 immunity asserted.

                If Defendant cannot produce requested information or material because it is not in
 Defendant's possession, custody or control, please identify the information or material, the reason
 the information or material is not in Defendant's possession, custody, or control, and the entity
 currently having possession, custody, or control over the information or material.

                When providing a date, please provide the exact day, month, and year. If the exact
 date is not known, please provide the best approximation of the date and clearly note that the date
 is an approximation.

                If responsive material is in electronic, magnetic, or digital form, Plaintiff
 respectfully requests production of such material in its original format. Plaintiff requests such
 material be provided on CD-ROM. If Defendants cannot produce said material via CD-ROM,
 please confer with Plaintiff's counsel to determine an alternative method to produce said material.

                 In the event a proper and timely objection is filed as to any requested material,
 please nevertheless respond to all portions of the request which do not fall within the scope of the
 objection. For example, if a request is objected to on the ground that is too broad insofar as it seeks
 documents covering years Defendant believes are not relevant to this litigation; please nevertheless
 produce documents for all years which Defendant concedes are relevant.


                                           DEFINITIONS

          I.    "You" and "Your" and "Defendant" mean McKesson Corporation, as well as
 other natural persons, businesses or legal entities acting or purporting to act for or on behalf of
 McKesson Corporation.

                 "Person" and "Witness," means the plural as well as the singular and includes:
 natural persons, governmental agencies, municipalities, departments, units, or any subdivisions,
 corporations, firms, associations, partnerships, joint ventures, or any other form of business entity.

               The terms "and" and "or" as used herein are to be interpreted both disjunctively
 and conjunctively.

               The words "document" or "documents" shall mean the original of the information
 recorded in a tangible form including, but not limited to, information printed, typewritten,



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 handwritten, photographed, filed, e-mailed, recorded by electronic means upon a tape or disk or
 any other means of recording and shall include (but not be limited to): letters; e-mails; memoranda;
 handwritten notes; agreements; deeds; contracts; promissory notes; books; pamphlets; brochures;
 newspapers; magazines; periodicals; catalogs; price lists; checks; canceled checks; invoices; sales
 receipts; charge receipts; personal receipts; bank records; tapes; computer printouts; data cards;
 programs or other input or output of data processing systems; photographs (positive print or
 negative); transcripts of interviews or testimony before any person, officer, or body whether sworn
 or unsworn; written statements or notes of interview or testimony; diaries; calendars; logs; expense
 records or other financial data; charts; graphs; maps; drawings or other representational depiction;
 telephone records; telegrams; telefax; phonograph records; magnetic tape, drum, or disk records;
 motion picture film; microfilm or microfiche. The terms "document" or "documents" shall also
 mean every copy of a document where such copy is not an identical duplicate of the original, and
 shall include all postscripts, notations, addendums, changes, notations, modifications, alterations
 or revisions of each document or documents.

               "Identify," as used herein with respect to a person, corporation, or other entity,
 means to provide the name, address, and telephone number of such person.

                  "Identify," as used herein with respect to a document, means to state with respect
 to such document sufficient detail to permit another party to this lawsuit to locate and identify such
 document. Such information and detail might include for each document: (i) the name of the
 person who prepared it; (ii) the name of the person who signed it, or over whose name it was
 issued; (iii) the name of each person to whom it was addressed and/or sent or distributed; (iv) the
 general type of such documents (e.g., letter, memorandum, contract, etc.); (v) the date of such
 document, or if it bears no date, the date on or about which it was made or prepared, (vi) the
 physical location of such document; and (vii) the name and address of the persons having
 possession, custody, or control of such document. In lieu of providing such information and detail,
 you may attach such document to your answer to these Interrogatories and indicate for which
 Interrogatory each document is applicable.

                The term "regarding", as used herein, shall mean, in an indirect manner, contain,
 record, discuss, mention, note, evidence, memorialize, analyze, describe, comment upon, refer to,
 have any connection with or have any tendency to prove or disprove the matter set forth.

                 The term "relate(s) to" or "relating to," as used herein shall mean, in an indirect
 manner, contain, record, discuss, mention, note, evidence, memorialize, analyze, describe,
 comment upon, refer to, have any connection with or have any tendency to prove or disprove the
 matters set forth.

               The word "correspondence" as used herein shall include any and all written
 correspondence, including, but not limited to, electronic mail (e-mail), letters, notes, text messages,
 messages on any social media platforms, and memorandum, and oral communications which were
 recorded or memorialized in any manner, including recorded messages, voicemail messages, notes
 taken during phone conversations, and notes taken during meetings.




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          10.    Wherever appropriate, the singular form of a word shall be interpreted as including
 the plural, and the masculine form of a word shall be interpreted as including the feminine.




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                      REQUEST FOR PRODUCTION OF DOCUMENTS

 REQUEST FOR PRODUCTION NO. 1: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2009.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2009; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2009; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2009; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2009; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2009; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2009; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2009; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2009; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2009; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2009; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2009.

            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone


 REQUEST FOR PRODUCTION NO. 2: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2010.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2010; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or


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  promoters for the below generic opioid pharmaceuticals for the year 2010; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2010; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2010; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2010; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2010; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2010; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2010; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2010; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2010; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2010.

            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone


 REQUEST FOR PRODUCTION NO. 3: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2011.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2011; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2011; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2011; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2011; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2011; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for


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 the year 2011; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2011; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2011; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2011; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2011; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2011.

            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone


 REQUEST FOR PRODUCTION NO. 4: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2012.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2012; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2012; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2012; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2012; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2012; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2012; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2012; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2012; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2012; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2012; and (xi) distribution materials or data


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 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2012.


            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone



 REQUEST FOR PRODUCTION NO. 5: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2013.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2013; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2013; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2013; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2013; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2013; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2013; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2013; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2013; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2013; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2013; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2013.


            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol



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         F. Hydrocodone


 REQUEST FOR PRODUCTION NO. 6: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2014.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2014; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2014; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2014; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2014; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2014; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2014; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2014; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2014; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2014; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2014; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2014.

            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone


 REQUEST FOR PRODUCTION NO. 7: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2015.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for


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 the year 2015; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
  promoters for the below generic opioid pharmaceuticals for the year 2015; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
  pharmaceuticals for the year 2015; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
  pharmaceuticals for the year 2015; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2015; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2015; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2015; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2015; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2015; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2015; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2015.

            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone


 REQUEST FOR PRODUCTION NO. 8: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2016.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2016; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2016; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2016; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2016; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2016; (vi) instructions received from or sent to any manufacturers,


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 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2016; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2016; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2016; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2016; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2016; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2016.


            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone



 REQUEST FOR PRODUCTION NO. 9: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2017.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2017; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2017; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2017; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2017; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2017; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2017; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2017; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2017; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2017; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for



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  the below generic opioid pharmaceuticals for the year 2017; and (xi) distribution materials or data
  received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
  the below generic opioid pharmaceuticals for the year 2017.

             Fentanyl
             Oxycodone
             Hydromorphone
             Oxymorphone
             Tramadol
             Hydrocodone




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                           CAUSE NO.


   COUNTY OF DALLAS,                        IN THE DISTRICT COURT

         Plaintiff

   VS.                                             JUDICIAL DISTRICT

  PURDUE PHARMA L.P.;
  PURDUE PHARMA INC.;
  THE PURDUE FREDERICK COMPANY;
  JOHNSON & JOHNSON;                        DALLAS COUNTY, TEXAS
  JANSSEN PHARMACEUTICALS, INC.;
  ORTHO-MCNEIL-JANSSEN
  PHARMACEUTICALS, INC. n/k/a
  JANSSEN PHARMACEUTICALS, INC.;
  JANSSEN PHARMACEUTICA, INC. n/k/a
  JANSSEN PHARMACEUTICALS, INC.;
  ENDO HEALTH SOLUTIONS INC.;
  ENDO PHARMACEUTICALS, INC.;
  ABB VIE INC.;
  KNOLL PHARMACEUTICAL
  COMPANY, a wholly-owned subsidiary of
  ABBVIE INC.;
  ALLERGAN PLC Vida ACTAVIS PLC;
  ALLERGAN FINANCE LLC f/k/a
  ACTAVIS, INC. f/k/a WATSON
  PHARMACEUTICALS, INC.;
  WATSON LABORATORIES, INC.;
  ACTAVIS LLC;
  ACTAVIS PHARMA, INC. f/k/a WATSON
  PHARMA, INC.;
  MCICESSON CORPORATION;
  CARDINAL HEALTH, INC.;
  AMERISOURCEBERGEN
  CORPORATION;
  DR. RICHARD ANDREWS;
  DR. THEODORE OICECHUKU;
  DR. NICOLAS PADRON; and
  DOES 1 — 100, INCLUSIVE,

         Defendants.
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            PLAINTIFF COUNTY OF DALLAS'S FIRST INTERROGATORIES
                   TO DEFENDANT MCKESSON CORPORATION

        To:     Defendant McKesson Corporation

        Plaintiff, COUNTY OF DALLAS, propounds this First Set of Interrogatories to Defendant

 MCKESSON CORPORATION. Pursuant to Rule 197 of the Texas Rules of Civil Procedure, the

 following interrogatories are submitted to be answered by you. The answers shall be signed, and

 sworn to, by you, and shall be served upon the undersigned within fifty (50) days after the date

 upon which you are served with a copy of these interrogatories.

        You are further advised that you are under duty to supplement your answers to these

 interrogatories in the event you obtain information upon the basis of which (1) you know that the

 response was incorrect or incomplete when made, (2) or you know that the response, though

 correct and complete when made, is no longer true and complete and the circumstances are such

 that the failure to amend the answer is in substance misleading.



                                      Respectfully Submitted,

                                      THE LANIER LAW FIRM

                                      /s/W. Mark Lanier
                                      W. Mark Lanier
                                      TX State Bar No. 11934600
                                      Reagan E. Bradford
                                      TX State Bar No. 24102721
                                      6810 FM 1960 West
                                      Houston, TX 77069
                                      Tel: 713-659-5200
                                      Fax: 713-659-2204
                                      wml@lanierlawfirm.com
                                      reagan.bradford@lanierlawfirm.com




 PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT MCKESSON CORPORATION Page 2
Case 3:18-cv-00426-M Document 1-3 Filed 02/20/18                    Page 121 of 369 PageID 154




                                       SIMON GREENSTONE PANATIER BARTLETT,
                                       P.C.
                                       Jeffrey B. Simon
                                       TX State Bar No. 00788420
                                       Amy M. Carter
                                       TX State Bar No. 24004580
                                       3232 McKinney Avenue, Suite 610
                                       Dallas, Texas 75204
                                       Tel: 214-276-7680
                                       Fax: 214-276-7699
                                       jsimon@sgpblaw.com
                                       acarter@sgpblaw.com

                                       THE COCHRAN FIRM
                                       Larry F. Taylor, Jr.
                                       TX State Bar No. 24071156
                                       3400 Carlisle Street, Suite 550
                                       Dallas, TX 75204
                                       Tel: 214-651-4260
                                       Fax: 214-651-4261
                                       Itaylor@thecochranfirmdallas.com


 Dallas County District Attorney's Office

 /s/Russell H. Roden
 Russell H. Roden
 Assistant District Attorney
 TX State Bar No. 17132070
 133 N. Riverfront Blvd., LB 19
 Dallas, TX 75207
 Tel: 214-653-3600
 Fax: 214-653-5774
 Russellsoden@dallascounty.org


                                CERTIFICATE OF SERVICE

     I hereby certify that on this 8th day of January, 2018, a true and correct copy of the foregoing
 document was caused to be served on all counsel of record in accordance with a manner authorized
 by the Texas Rules of Civil Procedure.

                                       /s/W. Mark Lanier
                                       W. Mark Lanier



 PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT MCKESSON CORPORATION Page 3
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                                                    4




                                           DEFINITIONS

          I.    "You" and "Your" and "Defendant" mean McKesson Corporation, as well as
 other natural persons, businesses or legal entities acting or purporting to act for or on behalf of
 McKesson Corporation.

                 "Person" and "Witness," means the plural as well as the singular and includes:
 natural persons, governmental agencies, municipalities, departments, units, or any subdivisions,
 corporations, firms, associations, partnerships, joint ventures, or any other form of business entity.

               The terms "and" and "or" as used herein are to be interpreted both disjunctively
 and conjunctively.

                 The words "document" or "documents" shall mean the original of the information
 recorded in a tangible form including, but not limited to, information printed, typewritten,
 handwritten, photographed, filed, e-mailed, recorded by electronic means upon a tape or disk or
 any other means of recording and shall include (but not be limited to): letters; e-mails; memoranda;
 handwritten notes; agreements; deeds; contracts; promissory notes; books; pamphlets; brochures;
 newspapers; magazines; periodicals; catalogs; price lists; checks; canceled checks; invoices; sales
 receipts; charge receipts; personal receipts; bank records; tapes; computer printouts; data cards;
 programs or other input or output of data processing systems; photographs (positive print or
 negative); transcripts of interviews or testimony before any person, officer, or body whether sworn
 or unsworn; written statements or notes of interview or testimony; diaries; calendars; logs; expense
 records or other financial data; charts; graphs; maps; drawings or other representational depiction;
 telephone records; telegrams; telefax; phonograph records; magnetic tape, drum, or disk records;
 motion picture film; microfilm or microfiche. The terms "document" or "documents" shall also
 mean every copy of a document where such copy is not an identical duplicate of the original, and
 shall include all postscripts, notations, addendums, changes, notations, modifications, alterations
 or revisions of each document or documents.

               "Identify," as used herein with respect to a person, corporation, or other entity,
 means to provide the name, address, and telephone number of such person.

                  "Identify," as used herein with respect to a document, means to state with respect
 to such document sufficient detail to permit another party to this lawsuit to locate and identify such
 document. Such information and detail might include for each document: (i) the name of the
 person who prepared it; (ii) the name of the person who signed it, or over whose name it was
 issued; (iii) the name of each person to whom it was addressed and/or sent or distributed; (iv) the
 general type of such documents (e.g., letter, memorandum, contract, etc.); (v) the date of such
 document, or if it bears no date, the date on or about which it was made or prepared, (vi) the
 physical location of such document; and (vii) the name and address of the persons having
 possession, custody, or control of such document. In lieu of providing such information and detail,
 you may attach such document to your answer to these Interrogatories and indicate for which
 Interrogatory each document is applicable.




 PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT MCKESSON CORPORATION Page 4
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                 The term "regarding", as used herein, shall mean, in an indirect manner, contain,
  record, discuss, mention, note, evidence, memorialize, analyze, describe, comment upon, refer to,
  have any connection with or have any tendency to prove or disprove the matter set forth.

                 The term "relate(s) to" or "relating to," as used herein shall mean, in an indirect
 manner, contain, record, discuss, mention, note, evidence, memorialize, analyze, describe,
 comment upon, refer to, have any connection with or have any tendency to prove or disprove the
 matters set forth.

               The word "correspondence" as used herein shall include any and all written
 correspondence, including, but not limited to, electronic mail (e-mail), letters, notes, text messages,
 messages on any social media platforms, and memorandum, and oral communications which were
 recorded or memorialized in any manner, including recorded messages, voicemail messages, notes
 taken during phone conversations, and notes taken during meetings.

                 Wherever appropriate, the singular form of a word shall be interpreted as including
 the plural, and the masculine form of a word shall be interpreted as including the feminine.




 PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT MCKESSON CORPORATION Page 5
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                                                     4-•




                                   INTERROGATORIES

 INTERROGATORY NO. 1: Identify the manufacturers, producers, distributors, sellers, and/or
 promoters for each of the following generic opioid pharmaceutical drugs for each of the years
 2009, 2010, 2011, 2012, 2013, 2014, 2015, 2016, and 2017:

           Fentanyl
           Oxycodone
           Hydromorphone
           Oxymorphone
           Tramadol
           Hydrocodone




 PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT MCKESSON CORPORATION Page 6
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                                                                          Service of Process
                                                                          Transmittal
                                                                          01/30/2018
                                                                          CT Log Number 532710415
  TO:     Magdalene Riley
          Cardinal Health, Inc.
          7000 Cardinal Pl
          Dublin, OH 43017-1091

  RE:     Process Served in Ohio

  FOR:    Cardinal Health, Inc. (Domestic State: OH)




  ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

  TITLE OF ACTION:                 COUNTY OF DALLAS, PLTF. vs. PURDUE PHARMA L.P., ET AL., DFTS. // TO: Cardinal
                                   Health, Inc.
  DOCUMENT(S) SERVED:              Citation, Return, Petition, Request(s), Attachment(s), Interrogatories
  COURT/AGENCY:                    Dallas County District Court, TX
                                   Case # DC1800290
  NATURE OF ACTION:                Product Liability Litigation - Drug Litigation - Opioid drug, Vicodin
  ON WHOM PROCESS WAS SERVED:      C T Corporation System, Columbus, OH
  DATE AND HOUR OF SERVICE:        By Process Server on 01/30/2018 at 10:20
  JURISDICTION SERVED :            Ohio
  APPEARANCE OR ANSWER DUE:        By 10 o'clock am, of the Monday next following the expiration of 20 days after you
                                   were served this citation and petition
  ATTORNEY(S) / SENDER(S):         W. Mark Lanier
                                   THE LANIER LAW FIRM
                                   6810 FM 1960 West
                                   Houston, TX 77069
                                   713-659-5200
  ACTION ITEMS:                    CT has retained the current log, Retain Date: 01/31/2018, Expected Purge Date:
                                   02/05/2018

                                   Image SOP

                                   Email Notification, Laura Garza laura.garza@cardinalhealth.com

                                   Email Notification, David Orensten david.orensten@cardinalhealth.com

                                   Email Notification, Corey Goldsand corey.goldsand@cardinalhealth.com

                                   Email Notification, Magdalene Riley magdalene.riley@cardinalhealth.com

                                   Email Notification, Amanda Pashi amanda.pashi@cardinalhealth.com

                                   Email Notification, Cindy Fricke cindy.fricke@cardinalhealth.com

                                   Email Notification, Joshua Stine joshua.stine@cardinalhealth.com




                                                                          Page 1 of 2 / VV
                                                                          Information displayed on this transmittal is for CT
                                                                          Corporation's record keeping purposes only and is provided to
                                                                          the recipient for quick reference. This information does not
                                                                          constitute a legal opinion as to the nature of action, the
                                                                          amount of damages, the answer date, or any information
                                                                          contained in the documents themselves. Recipient is
                                                                          responsible for interpreting said documents and for taking
                                                                          appropriate action. Signatures on certified mail receipts
                                                                          confirm receipt of package only, not contents.
Case 3:18-cv-00426-M Document 1-3 Filed 02/20/18                      Page 126 of 369 PageID 159
                                                                      Service of Process
                                                                      Transmittal
                                                                      01/30/2018
                                                                      CT Log Number 532710415
  TO:    Magdalene Riley
         Cardinal Health, Inc.
         7000 Cardinal Pl
         Dublin, OH 43017-1091

  RE:    Process Served in Ohio

  FOR:   Cardinal Health, Inc. (Domestic State: OH)




                                  Email Notification, Alicia Cautela alicia.cautela@cardinalhealth.com

  SIGNED:                         C T Corporation System
  ADDRESS:                        4400 Easton Commons Way
                                  Suite 125
                                  Columbus, OH 43219
  TELEPHONE:                      617-531-5859




                                                                      Page 2 of 2 / VV
                                                                      Information displayed on this transmittal is for CT
                                                                      Corporation's record keeping purposes only and is provided to
                                                                      the recipient for quick reference. This information does not
                                                                      constitute a legal opinion as to the nature of action, the
                                                                      amount of damages, the answer date, or any information
                                                                      contained in the documents themselves. Recipient is
                                                                      responsible for interpreting said documents and for taking
                                                                      appropriate action. Signatures on certified mail receipts
                                                                      confirm receipt of package only, not contents.
                 Case 3:18-cv-00426-M Document 1-3 Filed 02/20/18                              Page 127 of 369 PageID 160




 FORM NO. 353-3 - CITATION                                               -                                                 ESERVE
 THE STATE OF TEXAS
                                                                                                                        CITATION
 To:
        CARDINAL HEALTH, INC.
        C/O CT CORPORATION SYSTEM                                                                                      DC-18-00290
        4400 EASTON COMMONS, STE 125
        COLUMBUS, OH 43219
                                                                                                                      County of Dallas
GREETINGS;                                                                                                                  vs.
You have been sued. You may employ an attorney. If you or your attorney do not file a written                     Purdue Pharma L.P., et al
answer with the clerk who issued this citation by 10 o'clock am, of the Monday next following the
expiration oftwenty days after you were served this citation and petition, a default judgment may be
taken against you. Your answer should be addressed to the clerk of the 116th District Court at 600                      ISSUED THIS
Commerce Street, Ste. 101, Dallas, Texas 75202.                                                                   11th day of January, 2018

Said Plaintiff being COUNTY OF DALLAS                                                                                FELICIA PITRE
                                                                                                                   Clerk District Courts,
Filed in said Court 8th day of January, 2018 against                                                               Dallas County, Texas

CARDINAL HEALTH, INC.
                                                                                                              By: ARJEANXBAHENA, Deputy
For Suit, said suit being numbered DC-I8-00290, the nature of which denmnd is as follows:
Suit on OTHER (CIVIL) etc. as shown on said petition Requests for production and interrogatories, a
copy of which accompanies this citation. If this citation is not served, it shall be retumed unexecuted.          Attorney for Plaintiff
                                                                                                                     W MARK LANIER
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                    THE LANIER LAW FIRM
Given under my hand and the Seal of said Court at office this 11th day of January, 2018.                           6810 FM 1960 WEST
                                                                                                                  HOUSTON, TX 77069
ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas                                           713-659-5200
                          Isi Arieana Bahena                                                                      wml(ñ)lanierlawf.rni.com
                        By                                           , Deputy
                              ARIEANABAHENA                                     .s-.'      A




                                                                                                             DALLAS COUNTY
                                                                                *   .
                                                                                                              SERVICE FEES
                                                                                                                NOT PAID
                         Case 3:18-cv-00426-M Document 1-3 Filed 02/20/18                                             Page 128 of 369 PageID 161




                                                                              OFFICER'S RETURN
     Case No.: DC-18-00290

     Court No.116th District Court

     Style: County of Dallas

      vs.

     Purdue rhw,na L.P., et al

     Came to hand on the -                        of       __________,20
                                                                                            .at _______                             Executed
     within the County of                                  at _____________ o'clock              M. on the
                            by delivering to the within named




    each, in person, a true copy of this Citation together with the accompanying copy of this pleading, having first endorsed on same date of delivery. The distance actually traveled by
    me in serving such process was __________ miles and my fees are as follows: To ccrtify which witness my hand.



                                   For serving Citation

-                                  For mileage                                                   of                       County,
                                   For Notary                   $                                By_________________

                                                                    (Must be verified if served outside the State of Texas.)
    Signed and sworn to by the said_________________                 before me this          day of______________              20
    to certify which witness my hand and seal of office.




                                                                                               Notary Public                         County__________________
 -4
                                                                                                      FILED
19 CIT ES.
       Case 3:18-cv-00426-M Document 1-3 Filed 02/20/18         Page 129 of 369 PageID 162
                                                                                         DALLAS COUNTY
                                                                                            118/2018 4:26 PM
                                                                                              FELICIA PITRE
                                                                                           DISTRICT CLERK


                                                 DC-i 8-00290                           Angie Avina
                                  CAUSE NO.


         COUNTY OF DALLAS,                              IN THE DISTRICT COURT

               Plaintiff

         vs.                                                    JUDICIAL DISTRICT

         PURDUE PHARMA L.P.;
         PURDUE PHARMA INC.;
         THE PURDUE FREDERICK COMPANY;
         JOHNSON & JOHNSON;                             DALLAS COUNTY, TEXAS
         JANSSEN PHARMACEUTICALS, INC.;
         ORTHO-MCNEIL-JANSSEN
         PHARMACEUTICALS, INC. n/k/a
         JANSSEN PHARMACEUTICALS, INC.;
         JANSSEN PHARMACEUTICA, INC. n/k/a
         JANSSEN PHARMACEUTICALS, INC.;
         ENDO HEALTH SOLUTIONS INC.;
         ENDO PHARMACEUTICALS, INC.;
         ABBVIE INC.;
         KNOLL PHARMACEUTICAL
         COMPANY, a wholly-owned subsidiary of
         ABS VIE INC.;
         ALLERGAN PLC f/k/a ACTAVIS PLC;
         ALLERGAN FINANCE LLC f/k/a
         ACTAVIS, INC. f/k/a WATSON
         PHARMACEUTICALS, INC.;
         WATSON LABORATORIES, INC.;
         ACTAVIS LLC;
         ACTAVIS PHARMA, INC. f/k/a WATSON
         PHARMA, INC.;
         MCKESSON CORPORATION;
         CARDINAL HEALTH, INC.;
         AMERISOURCEBERCEN
         CORPORATION;
         DR. RICHARD ANDREWS;
         DR. THEODORE OKECHUKU;
         DR. NICOLAS PADRON; and
         DOES 1 - 100, INCLUSIVE,

               Defendants.




        PLAINTIFF'S ORIGINAL PETITION WITH DISCOVERY
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     PLAINTIFF'S ORIGINAL PETITION AND JURY DEMAND WITH DISCO VERY

 TO THE HONORABLE JUDGE OF SAID COURT:

          Plaintiff, the County of Dallas, Texas, by and through the undersigned attorneys,

 (hereinafter "Dallas County" or "County") against Defendants Purdue Pharma L.P., Purdue

 Pharma Inc., The Purdue Frederick Company, Johnson & Johnson, Janssen Pharmaceuticals, Inc.,

 Janssen Pharmaceutica, Inc. n/k/a Janssen Pharmaceuticals, Inc., Ortho-McNeil-Janssen

 Pharmaceuticals, Inc. n/k/a Janssen Pharmaceuticals, Inc., Endo Health Solutions Inc., Endo

 Pharmaceuticals, Inc., Abbvie Inc., Knoll Pharmaceutical Company, a wholly-owned subsidiary

 of Abbvie Inc., Allergan PLC f/k/a Actavis PLC, Allergan Finance, LLC fit/a Actavis, Inc. f/k/a

 Watson Pharmaceuticals, Inc., Watson Laboratories, Inc., Actavis LLC, Actavis Pharma, Inc. f/k/a

 Watson Pharma, Inc., McKesson Corporation, Cardinal Health, Inc., AmerisourceBergen

 Corporation, Dr. Richard Andrews, Dr. Theodore Okechuku, and Dr. Nicolas Padron, and Does I

 - 100, alleges as follows:

                                         I.

                  The United States is in the midst of an opioid epidemic caused by Defendants'

 fraudulent marketing and sales of prescription opioids ("opioids") that has resulted in addiction,

 criminal activity, and loss of life. The opioid crisis has been described as "the AIDS epidemic of

 our generation, but even worse."1 On October 26, 2017, President Donald Trump "declared a

 nationwide public health emergency to combat the opioid crisis."2

         2.       In 2016 alone, health care providers wrote more than 289 million prescriptions for




 'David Wright, "Christie on Opioids: "This is the AIDS Epidemic of Our Generation, but even Worse," (Oct. 27,
 2017), http://www.cnn.com/20I 7/I0/27/politics/chris-christie-opioid-commission-aids-cnntv/index.html.
 2
   Dan Merica, "What Trump's Opioid Announcement Means - and Doesn't Mean," (Oct. 26, 2017),
 http://www.cnn.com/20 17/I 0/26/politics/national-health-emergency-national-disaster/index.html.




 PLAINTIFF'S ORIGINAL PETITION WITH DISCOVERY                                                                    2
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 opioids, enough for every adult in the United States to have more than one bottle of pills.3

 Americans "consume 85% of all the opioids in the world" and are "the most medicated country in

 the world ......

                   Unfortunately, using opioids too often leads to addiction and overdose from

 opioids. In 2014, almost 2 million Americans were addicted to opioids.5 That same year, more

 people died from drug overdoses than in any other year, and most overdose deaths involved an

 opioid. The Texas Legislature has found "that deaths resulting from the use of opioids and other

 controlled substances constitute a public health crisis."6 In 2015, Texas "had the second highest

 total healthcare costs from opioid abuse in the nation ($1.96 billion). . .

                   In fact, accidental drug overdose deaths, of which reportedly at least two-thirds are

 opioid overdoses, are the leading cause of death for Americans under the age of 50. Accidental

 drug overdose deaths, predominantly from opioids, exceed the number of deaths caused by cars or

 guns.

                   The economic burden caused by opioid abuse in the United States is at least $78.5

 billion,8 including lost productivity and increased social services, health insurance costs, increased

 criminal justice presence and strain on judicial resources, and substance abuse treatment and

 rehabilitation.

                   This epidemic did not occur by chance. Defendants manufacture, market, distribute,



  Prevalence of Opioid Misuse, BupPractice (Sept. 7, 2017), https://Nvww.buppractice.com/node/15576.
  David Wright, "Christie on Opioids: "This is the AIDS Epidemic of Our Generation, but even Worse," (Oct. 27,
 2017), http://www.cnn.com/20l 7/l0/27/politics/chris-christie-opioid-conimission-aids-cnntv/index.html.
  Substance Abuse and Mental Health Services Administration, National Survey on Drug Use and Health, 2014.
           of the Attorney General of Texas, KP-0168 (Oct. 4,2017), citing Act of May 26,2017, 851h Leg., R.S., ch.
 534, §3, 2017 Tex. Sess. Law Serv. 1467, 1468.
  Kerry Craig, "Opioid Addiction Results in one Woman's Daily Struggle," Oct. 7,2017,

 abSO- II e7-a252-d3f304e26628.html.
 8See CDC Foundation s New Business Pulse Focuses on Opiold Overdose Epidemic, Centers for Disease Control
 and Prevention (Mar. 15, 2017), https://www.cdc.gov/media/re!eases/20 I 7/a03 I 5-business-pulse-opioids.html.



 PLAINTIFF'S ORIGINAL PETITION WITH DISCOVERY                                                                     3
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  and sell prescription opioids, including, but not limited to, brand-name drugs like OxyContin,

  Vicodin, Opana, Percocet, Percodan, Duragesic, Ultram, Ultracet, and generics like oxycodone,

 oxymorphone, hydromorphone, hydrocodone, fentanyl, and tramadol, which are powerful

 narcotics.

                  Historically, opioids were considered too addictive and debilitating for treating non-

 cancer chronic pain,9 such as back pain, migraines, and arthritis, and were used only to treat short-

 term acute pain or for palliative or end-of-life care.

                  By the late 1990s or early 2000s, however, each Manufacturing Defendant began a

 marketing scheme to persuade doctors and patients that opioids can and should be used

 ubiquitously and perpetually to treat moderate, non-cancer chronic pain. Each Manufacturing

 Defendant spent large sums of money to promote the benefits of opioids for non-cancer moderate

 pain while trivializing, or even denying, their risks. The Manufacturing Defendants' promotional

 messages deviated substantially from any approved labeling of the drugs and caused prescribing

 physicians and consuming patients to underappreciate the health risks, and to overestimate the

 benefits, of opioids.

                  Contrary to the language of their drugs' labels, Defendants falsely and misleadingly,

 in their marketing: (I) downplayed the serious risk of addiction; (2) promoted and exaggerated the

 concept of"pseudoaddiction" thereby advocating that the signs of addiction should be treated with

 more opioids; (3) exaggerated the effectiveness of screening tools in preventing addiction; (4)

 claimed that opioid dependence and withdrawal are easily managed; (5) denied the risks of higher

 opioid dosages; and (6) exaggerated the effectiveness of "abuse-deterrent" opioid formulations to

 prevent abuse and addiction.




  "Chronic pain" means non-cancer pain lasting three months or longer.



 PLAINTIFF'S ORIGINAL PETITION WITH DISCOVERY                                                         4
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         10.    Defendants disseminated these falsehoods through ads and/or their sales

 representatives and physicians who supported Defendants' message. Sales representatives,

  working at Defendants' behest, promoted highly addictive opioids through souvenirs and toys

  including, but not limited to, opioid brand-bearing stuffed plush toys, dolls, coffee cups, fanny

 packs, water bottles, notepads, pens, refrigerator magnets, clocks, letter openers, rulers, daytime

 planners, bags, puzzles, posters, hand-held calculators, clipboards, highl ighters, flashlights, key

 chains, clothing, reflex mallets, and mock-ups of the United States Constitution.

         II.    Defendants also used third parties they controlled by: (a) funding, assisting,

 encouraging, and directing doctors, known as "key opinion leaders" ("KOLs") and (b) funding,

 assisting, directing, and encouraging seemingly neutral and credible professional societies and

 patient advocacy groups (referred to hereinafter as "Front Groups").

                Defendants worked with KOLs and Front Groups to taint the sources that doctors

 and patients relied on for ostensibly "neutral" guidance, such as treatment guidelines, Continuing

 Medical Education ("CME") programs, medical conferences and seminars, and scientific articles.

 After their individual and concerted efforts, Defendants convinced doctors that instead of being

 addictive and unsafe for long-term use in most circumstances, opioids were required in the

 compassionate treatment of chronic pain.

                The Distributor Defendants were not standing by idly while Marketing Defendants

 were peddling their opioids to physicians and consumers. Cardinal, AmerisourceBergen, and

 McKesson ("Distributor Defendants") are three of the largest opioid distributors in the United

 States. Distributor Defendants purchased opioids from Manufacturing Defendants herein and sold

 them to pharmacies servicing consumers in Dallas County.

                Despite the alarming and suspicious rise in the ordering of opioids by retailers in




 PLAINTIFF'S ORIGINAL PETITION WITH DISCOVERY                                                      5
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 Dallas County, Distributor Defendants did nothing. The Manufacturing Defendants and

 Distributor Defendants worked hand and glove to glut the U.S. and Dallas County with more

 opioids than would be consumed for therapeutic purposes. Each Defendant disregarded its legal

 duty to report suspicious opioid prescriptions, and each Defendant financially benefitted from the

 other Defendants (both Manufacturing and Distributor Defendants), disregarding their individual

 duties to report.

                  Essentially each Defendant ignored science and consumer health for profits.

 Defendants' efforts were so successful that opioids are now the most prescribed class of drugs

 generating $11 billion in revenue for drug companies in 2014 alone. Even after Purdue reached a

 $600 million federal settlement in 2007, the settlement failed to impact what is a "$ 13-billion-a-

 year opioid industry."0

                  As a direct and foreseeable consequence of Defendants' misrepresentations

 regarding the safety and efficacy of using opioids for chronic pain, Dallas County has spent and

 continues to spend large sums combatting the public health crisis created by Defendants' negligent

 and fraudulent marketing campaign.

                 For example, thousands of prescriptions were written for opioids in Dallas County

 in 201211 and in 2012 there were multiple deaths reported from drug overdoses)2 A substantial

 number of those overdose deaths were a result, in whole or in part, of opioid ingestion. In each

 year from 2013-2017, there were multiple deaths in Dallas County caused in whole or in part from

 ingestion of prescription opioids. Defendants' marketing misconduct, as well as Defendants'




 10
    Rebecca L. Haffajee, iD., Ph.D., MPH., and Michelle M. Mello, iD., Ph.D., Drug Companies' Liabilityfor the
 Oploid Epidemic, N. EngI. I. Med. at 2305, (Dec. 14, 2017).
 11
    https://www.cdc.gov/drugoverdoselmaps/rxrate-maps.html; https://www.cdc.gov/nchs/data-visualizationldrug-
 poisoning-mortality.
  2
    https://www.cdc.gov/nchs/data-visualization/drug-poisoning-mortality.




 PLAINTIFF'S ORIGINAL PETITION WITH DISCOVERY                                                                6
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 efforts to sell more prescription opioids that can be consumed therapeutically, were natural and

 foreseeable causes of overdose deaths and injuries in Dallas County.

                  As a direct and foreseeable consequence of. Defendants' conduct described

 regarding prescription opioids, Dallas County has committed and continues to commit resources

 to provide and pay for health care, law enforcement, social services, public assistance,

 pharmaceutical care and other services necessary for its residents.

            it.       RULE 47 STATEMENT OF MONETARY RELIEF SOUGHT

                  Per Rule 47 of the Texas Rules ofCivil Procedure, the County states that although the

 thIl measure of its damages is still being calculated, its damages caused by Defendants' acts and

 omissions exceed $1,000,000 but are believed to be less than $100,000,000. Accordingly, at this time

 in the litigation, Dallas County states that it is seeking monetary relief for an amount greater than

 $1,000,000 and less than $100,000,000, the rightful and just amount to be determined by the jury.

                                Ill. VENUE AND JURISDICTION

                  Venue is proper in Dallas County because all or a substantial part of the events or

 omissions giving rise to this claim occurred in Dallas County. TEX. Civ. PitAc. & REM. CODE

 § I 5.002(a)(2). This Court has subject-matterjurisdiction over this mailer because Plaintiff's damages

 are in excess of the minimal jurisdictional limits of this Court. TEx. GovT. CODE §24.007(b).

                  This Court has general jurisdiction over Dr. Andrews, Dr. Okechuku, and Dr. Padron

  as they are Texas residents. This Court also has specific jurisdiction over all Defendants as their

  activities were directed toward Texas, and injuries complained of herein resulted from their

  activities. Guardian   Royal Exchange Assur., Ltd. v. English China Clays, P.L. C., 815 S.W.2d 223,

  227 (Tex. 1991). Each Defendant has a substantial connection with Texas and the requisite

  minimum contacts with Texas necessary to constitutionally permit the Court to exercise




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  jurisdiction. See Id. at 226.

                                          IV. PARTIES

  A.     Plaintiff

         22.      This action is brought for and on behalf of Dallas County, which provides a wide

  range of services on behalf of its residents, including services for families and children, public

  health, public assistance, law enforcement, and emergency care.

 B.      Defendants

                  PURDUE PHARMA L.P. is a limited partnership organized under the laws of

  Delaware, and may be served through its registered agent for service of process, The Prentice-Hall

 Corporation System, Inc., 251 Little Falls Drive, Wilmington, DE 19808. PURDUE PHARMA

  L.P. is, through its ownership structure, a Texas resident. PURDUE PHARMA INC. is a New York

 corporation with its principal place of business in Stamford, Connecticut, and may be served

 through its registered agent for service of process, Corporation Service Company, 80 State Street,

  Albany, NY 12207. THE PURDUE FREDERICK COMPANY is a Delaware corporation with its

 principal place of business in Stamford, Connecticut, and may be served through its registered

 agent for service of process, The Prentice-Hall Corporation System, Inc., 251 Little Falls Drive,

 Wilmington, DE 19808 (collectively, "Purdue").

                 Purdue manufactures, promotes, sells, and distributes opioids in the U.S. and Dallas

 County. Purdue's opioid drug, OxyContin, is among the most addictive and abused prescription

 drugs in the history of America. Purdue promotes opioids throughout the United States and in

 Dallas County.

                 JANSSEN PHARMACEUTICALS, INC. is a Pennsylvania corporation with its

 principal place of business in Titusville, New Jersey, and may be served through its registered




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 agent for service of process, CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, TX

 75201. JANSSEN PHARMACEUTICALS, INC. is a wholly owned subsidiary of JOHNSON &

 JOHNSON (J&J), a New Jersey corporation with its principal place of business in New Brunswick,

 New Jersey, and may be served through its registered agent for service of process, Attention: Legal

 Department, One Johnson & Johnson Plaza, New Brunswick, NJ 08933. ORTHO-MCNEIL-

 JANSSEN PHARMACEUTICALS, INC., now known as JANSSEN PHARMACEUTICALS,

 INC., is a Pennsylvania corporation with its principal place of business in Titusville, New Jersey.

 JANSSEN PHARMACEUTICA INC., now known as JANSSEN PHARMACEUTICALS, INC.,

 is a Pennsylvania corporation with its principal place of business in Titusville, New Jersey. J&J

 is the only company that owns more than 10% of Janssen Pharmaceuticals' stock, and corresponds

 with the FDA regarding Janssen's products. Upon information and belief, J&J controls the sale

 and development of Janssen Pharmaceuticals' drugs and Janssen's profits inure to J&J's benefit.

 (Janssen Pharmaceuticals, Inc., Ortho-McNeil-Janssen Pharmaceuticals, Inc., Janssen

 Pharniaceutica, Inc., and J&J are referred to as "Janssen").

                Janssen manufactures, promotes, sells, and distributes opioids in the U.S. and in

 Dallas County.

                ENDO HEALTH SOLUTIONS INC. is a Delaware corporation with its principal

 place of business in Malvern, Pennsylvania, and may be served through its registered agent for

 service of process, The Corporation Trust Company, Corporation Trust Center, 1209 Orange St.,

 Wilmington, DE 19801. ENDO PHARMACEUTICALS, INC. is a wholly-owned subsidiary of

 Endo Health Solutions Inc. and is a Delaware corporation with its principal place of business in

 Malvern, Pennsylvania, and may be served through its registered agent for service of process, CT

 Corporation System, 1999 Bryan Street, Suite 900, Dallas, TX 75201. (Endo Health Solutions Inc.




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 and Endo Pharmaceuticals, Inc. are referred to as "Endo").

                Endo develops, markets, and sells opioid drugs in the U.S. and in Dallas County.

 Endo also manufactures and sells generic opioids in the U.S. and Dallas County, by itself and

 through its subsidiary, Qualitest Pharmaceuticals, Inc.

                ABBVIE INC. ("Abbvie") is a Delaware corporation with its principal place of

 business in North Chicago, Illinois, and may be served through its registered agent for service of

 process, CT Corporation System, 208 S. LaSalle Street, Suite 814, Chicago, IL 60604. KNOLL

 PHARMACEUTICAL COMPANY ("Knoll") has been a wholly-owned subsidiary of Abbvie

 from January I, 2013. KNOLL PHARMACEUTICAL COMPANY is a New Jersey corporation

 with its principal place of business in Parsippany, New Jersey, and may be served through its

 registered agent for service of process, CT Corporation System, 208 S. LaSalle Street, Suite 814,

 Chicago, IL 60604.

                Knoll irresponsibly marketed narcotics, such as Vicodin, through whimsical toys

 and souvenirs and did so to boost the sales of opioids. Taking advantage of the fact that Vicodin

 was not regulated as a Schedule II controlled substance for many years, and the fact physicians and

 consumers did not fully appreciate the highly addictive nature of Vicodin, Knoll advertised Vicodin

 with tag lines such as "The Highest Potency Pain Relief You Can Still Phone In." This tag line

 came as part and parcel of souvenirs like a "Vicodin" fanny pack and water bottle, both bearing the

 name of Vicodin, the opioid Knoll was promoting. This irresponsible marketing of a narcotic drug

 caused doctors and patients to believe Vicodin was safer than it really was, to the detriment of

 people in Dallas County.

                Abbvie began manufacturing, developing, promoting, marketing, and selling the

 opioid drug, Vicodin, in the U.S. and in Dallas County beginning January 1,2013. On information




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 and belief, it continues to do so at the time of filing this pleading.

                 ALLERGAN PLC is a public limited company incorporated in Ireland with its

 principal place of business in Dublin, Ireland. ACTAVIS PLC acquired Allergan plc in March

 2015, and the combined company changed its name to Allergan plc in January 2013. Before that,

 WATSON PHARMACEUTICALS, INC. acquired ACTAVIS, INC. in October 2012, and the

 combined company changed its name to ALLERGAN FINANCE, LLC as of October 2013.

 ALLERGAN FINANCE, LLC is a Nevada Corporation with its principal place of business in

 Parsippany, New Jersey, and may be served through its registered agent for service of process, The

 Corporation Trust Company of Nevada, 701 S. Carson St., Suite 200, Carson City, NV 89701.

 WATSON LABORATORIES, INC. is a Nevada corporation with its principal place of business

 in Corona, California, and is a wholly-owned subsidiary of Allergan plc (f/k/a Actavis, Inc., f/k/a

 Watson Pharmaceuticals, Inc.), and may be served through its registered agent for service of

 process, Corporate Creations Network, Inc., 8275 South Eastern Ave., #200, Las Vegas, NV

 89123. ACTAVIS PHARMA, INC. (f/k/a Actavis, Inc.) is a Delaware corporation with its

 principal place of business in New Jersey and was formerly known as WATSON PHARMA, INC,

 and may be served through its registered agent for service of process, CT Corporation System,

 1999 Bryan Street, Suite 900, Dallas, TX 75201. ACTAVIS LLC is a Delaware limited liability

 company with its principal place of business in Parsippany, New Jersey, and may be served through

 its registered agent for service of process, Corporate Creations Network, Inc., 3411 Silverside Rd.,

 Tatnall Building, Suite 104, Wilmington, DE 19810. Each of these Defendants is owned by

 Allergan plc, which uses them to market and sell its drugs in the United States.

                Upon information and belief, Allergan plc exercises control over these marketing

 and sales efforts and profits from the sale of Allergan/Actavis products ultimately inure to its




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 benefit. (Allergan plc, Actavis plc, Actavis, Inc., Allergan Finance, LLC, Actavis LLC, Actavis

 Pharma, Inc., Watson Pharmaceuticals, Inc., Watson Pharma, Inc., and Watson Laboratories, Inc.

 are referred to as "Actavis"). Actavis acquired the rights to Kadian from King Pharmaceuticals,

 Inc. on December 30, 2008 and began marketing Kadian in 2009.

                  Actavis manufactures, promotes, sells, and distributes opioids in the U.S. and in

 Dallas County.

                  MCKESSON CORPORATION ("McKesson") is a Delaware corporation with its

 principal place of business in San Francisco, California, and may be served through its registered

 agent for service of process, CSC - Lawyers Incorporating Service, 211 E. 7th Street, Suite 620,

 Austin, TX 78701. Upon information and belief; McKesson is a pharmaceutical distributor licensed

 to do business in Texas. McKesson distributes pharmaceuticals to retail pharmacies and institutional

 providers in all 50 states, including Texas and Dallas County.

                  CARDINAL HEALTH, INC. ("Cardinal") is an Ohio Corporation with its principal

 place of business in Dublin, Ohio, and may be served through its registered agent for service of

 process, CT Corporation System, 4400 Easton Commons, Suite 125, Columbus, OH 43219.

 Cardinal does substantial business in Texas and, upon information and belief, Cardinal is a

 pharmaceutical distributor licensed to do business in Texas. Cardinal distributes pharmaceuticals to

 retail pharmacies and institutional providers to customers in all 50 states, including Texas and

 Dallas County.

                  AMERISOURCEBERGEN DRUG CORPORATION ("Amerisource") is a

 Delaware Corporation with its principal place of business in Chesterbrook, Pennsylvania, and may

 be served through its registered agent for service of process, The Corporation Trust Company,

 Corporation Trust Center, 1209 Orange St., Wilmington, DE 19801. Amerisource does substantial




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 business in Texas and, upon information and belief; Amerisource is a pharmaceutical distributor

 licensed to do business in Texas. Amerisource distributes pharmaceuticals to retail pharmacies and

 institutional providers to customers in all 50 states, including Texas and Dallas County.

                  DR. RICHARD ANDREWS is an individual residing in Dallas, Dallas County,

 Texas, and may be served with citation at 3905 Highgrove Drive, Dallas, TX 75220, or wherever

 he may be found. Dr. Andrews was involved in a "pill mill" operation and charged with conspiracy

 to distribute controlled substances, including oxycodone, to patients in Dallas County and numerous

 other counties.13 Dr. Andrews agreed to the revocation of his medical license on March 3,2017

 afterpleading guilty to two felony charges.'4 Dallas County is not, however, seeking damages under

 claims of medical malpractice or medical professional negligence.

                  DR. THEODORE OKECHUKU is an individual who resided in Dallas, Dallas

 County, Texas until his sentencing date in October 2015; DR. THEODORE OKECHUKU may be

 served with citation at FCI Texarkana, Federal Correctional Institution, Register Number: 59813-

 060, 4001 Leopard Drive, Texarkana, TX 75501, or wherever he may be found. Dr. Okechuku was

 involved in a "pill mill" operation and charged with, among other things, conspiracy to distribute

 controlled substances, including hydrocodone, to patients in Dallas County and other counties.15

 Dr. Okechuku lost his medical license as of December 17, 2015.I6 Dallas County is not, however,

 seeking damages under claims of medical malpractice or medical professional negligence.

                  DR. N1COLAS PADRON is an individual who resided in Garland, Dallas County,




 13
    Department of Justice, "Doctor Who Owned McAlIen Medical Clinic in Dallas Pleads Guilty in Pill Mill Case,"
 (January 13, 2017), https://www.justice/usao-ndt.x/pr/doctor-who-owned-mcallen-medical-clinic-dallas-pleads-
 gui Ity-pi Il-mill-case.
 14
    Texas Medical Board, http://reg.tmblstateltxlus.com, last viewed November 13, 2017.
 ' "Trial for Dallas Doctor Accused of Running Pill Mill," (October 6,2015), http://www.zenlawfirm.com/Law-
 Blog/20 I 5/OctoberIrrial-for-Dallas-Doctor-Accused-of-Running-Pill-.aspx.
 16 lexas Medical Board, http://reg.tmblstateltxlus.com, last viewedNovember 13, 2017.




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 Texas until his sentencing date in March 2014; DR. NICOLAS PADRON may be served with

 citation at USP Beaumont, U.S. Penitentiary, Register Number: 44575-177, 6200 Knauth Road,

 Beaumont, TX 77705, or wherever he may be found. Dr. Padron was involved in a "pill mill"

 operation and charged with conspiracy to distribute controlled substances, including hydrocodone,

 to patients in Dallas County and other counties.17 Dr. Padron agreed to the revocation of his medical

 license on October I, 2012 in lieu of further disciplinary proceedings after pleading guilty to one

 charge ofconspiracy to commit healthcare fraud.'8 Dallas County is not, however, seeking damages

 under claims of medical malpractice or medical professional negligence.

                     The County lacks information sufficient to specifically identify the true names or

 capacities, whether individual, corporate or otherwise, of Defendants sued herein under the

 fictitious names DOES I through 100 inclusive. The County will amend this Petition to show their

 true names and capacities if and when they are ascertained. Dallas County is informed and

 believes, and on such information and belief alleges, that each of the Defendants named as a DOE

 has engaged in conduct that contributed to cause events and occurrences alleged in this Petition

 and, as such, shares liability for at least some part of the relief sought herein.

                                       V.      FACTUAL ALLEGATIONS

                     Before the 1990s, generally accepted standards of medical practice dictated that

 opioids should be used only for short-term acute pain - pain relating to recovery from surgery or

 for cancer or palliative (end-of-life) care. Using opioids for chronic pain was discouraged or even

 prohibited because there was a lack of evidence that opioids improved patients' ability to

 overcome pain and function. Instead the evidence demonstrated that patients developed tolerance



      "Garland Doctor, other 'Dealers' Sentenced in Dallas 'Pill Mill' Case," (October 29, 2014),

 I 1e4-9186-af37156f06a3.html.
 '8   Texas Medical Board, http://reg.tmblstateltxlus.com, last viewedNovember 13, 2017.




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  to opioids over time, which increased the risk of addiction and other side effects.

                 Defendants dramatically changed doctors' views regarding opioids through a well-

  funded deceptive marketing scheme. Each Defendant used direct marketing and unbranded

 advertising disseminated by seemingly independent third parties to spread false and deceptive

 statements about the risks and benefits of long-term opioid use.

  A.     Defendants Used Multiple Avenues To Disseminate their False and Deceptive
         Statements about Opioids.

                 Defendants spread their false and deceptive statements by (I) marketing their

 branded opioids directly to doctors treating patients residing in Dallas County and the Dallas

 County patients themselves and (2) deploying so-called unbiased and independent third parties

 to Dallas County.

                 1. Defendants Spread and Continue to Spread Their False and Deceptive
                    Statements Through Direct Marketing of Their Branded .Opioids.

                 Defendants' direct marketing of opioids generally proceeded on two tracks. First,

 each Defendant conducted advertising campaigns touting the purported benefits of their branded

 drugs. For example, Defendants spent more than $14 million on medical journal advertising of

 opioids in 2011, nearly triple what they spent in 2001, including $8.3 million by Purdue, $4.9

 million by Janssen, and $1.1 million by Endo.

                 A number of Defendants' branded ads deceptively portrayed the benefits of opioids

 for chronic pain. For example, Endo distributed and made available on its website,

 www.opana.com, a pamphlet promoting Opana ER with photographs depicting patients with

 physically demanding jobs like a construction worker and chef, implying that the drug would

 provide long-term pain-relief and functional improvement. Purdue also ran a series of ads, called

 "pain vignettes," for OxyContin in 2012 in medical journals. These ads featured chronic pain




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 patients and recommended OxyContin for each. One ad described a "54-year-old writer with

 osteoarthritis of the hands" and implied that OxyContin would help the writer work more

 effectively. Pursuant to a settlement agreement, Endo and Purdue agreed in late 2015 and 2016 to

 halt these misleading representations in New York, but they may continue to disseminate them in

 Texas.

                Second, each Defendant promoted the use of opioids for chronic pain through

 "detailers" - sales representatives who visited individual doctors and medical staff in their offices

 - and small-group speaker programs. Defendants devoted massive resources to direct sales

 contacts with doctors. In 2014 alone, Defendants spent $168 million on detailing branded opioids

 to doctors, including $108 million by Purdue, $34 million by Janssen, $10 million by Endo, and

 $2 million by Actavis. This amount is twice as much as Defendants spent on detailing in 2000.

                Defendants also identified doctors to serve, for payment, on their speakers' bureaus

 and to attend programs with speakers and meals paid for by Defendants. These speaker programs

 provided: (I) an incentive for doctors to prescribe a particular opioid (so they might be selected to

 promote the drug); (2) recognition and compensation for the doctors selected as speakers; and (3)

 an opportunity to promote the drug through the speaker to his or her peers. These speakers gave

 the false impression that they were providing unbiased and medically accurate presentations when

 they were, in fact, presenting a script preparedby Defendants. On information and belief, these

 presentations conveyed misleading information, omitted material information, and failed to correct

 Defendants' prior misrepresentations about the risks and benefits of opioids.

                Defendants employed the same marketing plans, strategies, and messages in and

 around Dallas County, Texas as they did nationwide. Across the pharmaceutical industry, "core

 message" development is funded and overseen on a national basis by corporate headquarters. This




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  comprehensive approach ensures that Defendants' messages are accurately and consistently

 delivered across marketing channels and in each sales territory. Defendants consider this high level

 of coordination and uniformity crucial to successfully marketing their drugs.

                2. Defendants Used a Diverse Group of Seemingly Independent Third Parties
                   to Spread False and Deceptive Statements about the Risks and Benefits of
                   Opioids.

                Defendants also deceptively marketed opioids in and around Dallas County through

 unbranded advertising - i.e., advertising that promotes opioid use generally but does not name a

 specific opioid. This advertising was ostensibly created and disseminated by independent third

 parties. But by funding, directing, reviewing, editing, and distributing this unbranded advertising,

 Defendants controlled the deceptive messages disseminated by these third parties and acted in

 concert with them to falsely and misleadingly promote opioids for treating chronic pain.

                Unbranded advertising also avoided regulatory scrutiny because Defendants did

 not have to submit it to the FDA, and therefore it was not reviewed by the FDA.

                Defendants' deceptive unbranded marketing often contradicted their branded

 materials reviewed by the FDA. For example, Endo's unbranded advertising contradicted its

 concurrent, branded advertising for Opana ER:

                     Pain: Opioid Therapy              Opana ER Advertisement
                         (Unbranded)                         (Branded)
                                                   "All patients treated with opioids
                  "People who take opioids as      require careful monitoring for
                  prescribed usually do not        signs of abuse and addiction, since
                  become addicted."                use of opioid analgesic products
                                                   carries the risk of addiction even
                                     -             under appropriate medical use."

        a.     Key Opinion Leaders (KOLs)

               Defendants spoke through a small circle of doctors who, upon information and

 belief, were selected, funded, and elevated by Defendants because their public positions supported




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 using opioids to treat chronic pain. These doctors became known as "key opinion leaders" or

 "KOLs."

                   Defendants paid KOLs to serve as consultants or on their advisory boards and to

 give talks or present CMEs, and their support helped these KOLs become respected industry

 experts. As they rose to prominence, these KOLs touted the benefits of opioids to treat chronic

 pain, repaying Defendants by advancing their marketing goals. KOLs' professional reputations

 became dependent on continuing to promote a pro-opioid message, even in activities that were not

 directly funded by Defendants.

                KOLs have written, consulted on, edited, and lent their names to books and articles,

 and given speeches and CMEs supportive of chronic opioid therapy. Defendants created

 opportunities for KOLs to participate in research studies Defendants suggested or chose and then

 cited and promoted favorable studies or articles by their KOLs. By contrast, Defendants did not

 support, acknowledge, or disseminate publications of doctors unsupportive or critical of chronic

 opioid therapy.

                Defendants' KOLs also served on committees that developed treatment guidelines

 that strongly encourage using opioids to treat chronic pain, and on the boards of pro-opioid

 advocacy groups and professional societies that develop, select, and present CMEs. Defendants

 were able to direct and exert control over each of these activities through their KOLs.

                Pro-opioid doctors are one of the most important avenues that Defendants use to

 spread their false and deceptive statements about the risks and benefits of long-term opioid use.

 Defendants know that doctors rely heavily and less critically on their peers for guidance, and KOLs

 provide the false appearance of unbiased and reliable support for chronic opioid therapy.

                Defendants utilized many KOLs, including many of the same ones. Two of the most




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  prominent are described below.

                     1. Russell Portenoy

                     Dr. Russell Portenoy, former Chairman of the Department of Pain Medicine and

  Palliative Care at Beth Israel Medical Center in New York, is one example of a KOL who

 Defendants identified and promoted to further their marketing campaign. Dr. Portenoy received

 research support, consulting fees, and honoraria from Endo, Janssen, and Purdue (among others),

 and was a paid consultant to Purdue. -

                     Dr. Portenoy was instrumental in opening the door for the regular use of opioids to

 treat chronic pain. He served on the American Pain Society ("APS")/American Academy of Pain

 Medicine ("AAPM") Guidelines Committees, which endorsed the use of opioids to treat chronic

 pain, first in 1997 and again in 2009. He was also a member of the board of the American Pain

 Foundation ("APF"), an advocacy organization almost entirely funded by Defendants.

                     Dr. Portenoy also made frequent media appearances promoting opioids. He

 appeared on Good MorningAmerica in 2010 to discuss using opioids long-term to treat chronic

 pain. On this widely-watched program, broadcast in Texas and across the country, Dr. Portenoy

 claimed: "Addiction, when treating pain, is distinctly uncommon. If a person does not have a

 history, a personal history, of substance abuse, and does not have a history in the family of

 substance abuse, and does not have a very major psychiatric disorder, most doctors can feel very

 assured that that person is not going to become addicted."9

                     Dr. Portenoy later admitted that he "gave innumerable lectures in the late 1980s

 and '90s about addiction that weren't true."20 These lectures falsely claimed that less than 1% of



 19
       Good Morning America television broadcast, ABC News (Aug. 30, 2010).
 20
      Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, WALL ST. J., Dec.
      Ii, 20 12.




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 patients would become addicted to opioids. According to Dr. Portenoy, because the primary goal

  was to "destigmatize" opioids, he and other doctors promoting them overstated their benefits and

 glossed over their risks. Dr. Portenoy also conceded that "[d]ata about the effectiveness of opioids

 does not exist."21 Portenoy candidly stated: "Did I teach about pain management, specifically

 about opioid therapy, in a way that reflects misinformation? Well ... 1 guess I did."22

                2. Lynn Webster

                Another KOL, Dr. Lynn Webster, was the co-founder and Chief Medical Director

 of Lifetree Clinical Research, an otherwise unknown pain clinic in Salt Lake City, Utah. Dr.

 Webster was President in 2013 and is a current board member of AAPM, a Front Group that

 ardently supports chronic opioid therapy. He is a Senior Editor ofPain Medicine, the same journal

 that published Endo special advertising supplements touting Opana ER. Dr. Webster authored

 numerous CMEs sponsored by Endo and Purdue while he was receiving significant funding from

 Defendants.

                In 2011, Dr. Webster presented a program via webinar sponsored by Purdue titled,

 Managing Patient's Opicid Use: Balancing the Need and the Risk. Dr. Webster recommended

 using risk screening tools, such as urine testing. and patient agreements as a way to prevent

 "overuse of prescriptions" and "overdose deaths," which was available to and was intended to reach

 doctors treating Dallas County residents.

                Dr. Webster also was a leading proponent of the concept of"pseudoaddiction," the

 notion that addictive behaviors should be seen not as warnings, but as indications of undertreated

 pain. In Dr. Webster's description, the only way to differentiate the two was to increase a patient's

 dose of opioids. As he and his co-author wrote in a book entitled Avoiding Opioid Abuse While



 "Id.
  'Id.



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 Managing Pain (2007), a book that is still available online, when faced with signs of aberrant

 behavior, increasing the dose "in most cases       . should be the clinician's first response." Endo

 distributed this book to doctors. Years later, Dr. Webster reversed himself, acknowledging that

 "[pseudoaddiction] obviously became too much of an excuse to give patients more medication."23

         b.      Front Groups

                 Defendants entered into arrangements with seemingly unbiased and independent

 patient and professional organizations to promote opioids for treating chronic pain. Under

 Defendants' direction and control, these "Front Groups" generated treatment guidelines, unbranded

 materials, and programs that favored chronic opioid therapy. They also assisted Defendants by

 responding to negative articles, by advocating against regulatory changes that would limit

 prescribing opioids in accordance with the scientific evidence, and by conducting outreach to

 vulnerable patient populations targeted by Defendants.

                These Front Groups depended on Defendants for funding and, in some cases, for

 survival. Defendants also exercised control over programs and materials created by these groups

 by collaborating on, editing, and approving their content, and by funding their dissemination. In

 doing so, Defendants made sure these Groups would generate only the messages Defendants wanted

 to distribute. Even so, the Front Groups held themselves out as independent and as serving the needs

 of their members - whether patients suffering from pain or doctors treating those patients.

                Defendants Endo, Janssen, and Purdue utilized many Front Groups, including many

 of the same ones. Several of the most prominent are described below, but there are many others,

 including the American Pain Society ("APS"), American Geriatrics Society ("AGS"), the

 Federation of State Medical Boards ("FSMB"), American Chronic Pain Association ("ACPA"),



 23
   John Fauber & Ellen Gabler, Networking Fuels Painkiller Boom, MILWAUKEE WISC. J. SENTINEL (Feb. 19,
 2012).



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  American Society of Pain Education ("ASPE"), National Pain Foundation ("NPF") and Pain &

  Policy Studies Group ("PPSG").

                 1. American Pain Foundation ("APF")

                 The most prominent of Defendants' Front Groups was APF, which received more

  than $10 million in funding from opioid manufacturers from 2007 until it closed its doors in May

  2012. Endo alone provided more than half that funding; Purdue was next at $1.7 million.

                 In 2009 and 2010, more than 80% of APF's operating budget came from

  pharmaceutical industry sources. Including industry grants for specific projects, APF received

 about $2.3 million from industry sources out of total income of about $2.85 million in 2009; its

 budget for 2010 projected receipts of roughly $2.9 million from drug companies, out of total

 income of about $3.5 million. By 2011, APF was entirely dependent on incoming grants from

 defendants Purdue, Endo, and others to avoid using its line of credit. As one of its board members,

 Russell Portenoy, explained the lack of funding diversity was one of the biggest problems at APF.

                APF issued education guides for patients, reporters, and policymakers that touted

 the benefits ofopioids for chronic pain and trivialized their risks, particularly the risk of addiction.

 APF also engaged in a significant multimedia campaign - through radio, television, and the

 internet - to educate patients about their "right" to pain treatment, namely opioids. All of the

 programs and materials were available nationally and were intended to reach patients and

 consumers in Dallas County.

                2. American Academy of Pain Medicine ("AAPM")

         72.    The American Academy of Pain Medicine, with the assistance, prompting,

 involvement, and funding of Defendants, issued treatment guidelines and sponsored and hosted

 medical education programs essential to Defendants' deceptive marketing of chronic opioid




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  therapy.

                  AAPM received over $2.2 million in funding since 2009 from opioid

 manufacturers. AAPM maintained a corporate relations council, whose members paid $25,000 per

 year (on top of other flnding) to participate. The benefits included allowing members to present

 educational programs at off-site dinner symposia in connection with AAPM's marquee event— its

 annual meeting held in Palm Springs, California, or other resort locations. AAPM describes the

 annual event as an "exclusive venue" for offering education programs to doctors. Membership in

 the corporate relations council also allows drug company executives and marketing staff to meet

 with AAPM executive committee members in small settings. Defendants Endo, Purdue, and

 Actavis were members of the council and presented deceptive programs to doctors who attended

 this annual event.

                  AAPM is viewed internally by Endo as "industry friendly," with Endo advisors and

 speakers among its active members. Endo attended AAPM conferences, funded its CMEs, and

 distributed its publications. The conferences sponsored by AAPM heavily emphasized sessions

 on opioids —37 out of roughly 40 at one conference alone. AAPM's presidents have included top

 industry-supported KOLs Perry Fine, Russell Portenoy, and Lynn Webster. Dr. Webster was even

 elected president of AAPM while under a DEA investigation. Another past AAPM president, Dr.

 Scott Fishman, stated that he would place the organization "at the forefront" of teaching that "the

 risks of addiction are . . . small and can be managed."24

                  AAPM's staff understood they and their industry hinders were engaged in a

 common task. Defendants were able to influence AAPM through both their significant and regular




 24
    Interview by Paula Moyer with Scott M. Fishman, M.D., Professor of Anesthesiology and Pain Medicine, Chief
 of the Division of Pain Medicine, Univ. of Cal., Davis (2005), http://www.medscape.org/viewarticIe/500829.




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 funding and the leadership of pro-oploid KOLs within the organization.

                In 1997, AAPM and the American Pain Society jointly issued a consensus

 statement, The Use of Opioids for the Treatment of Chronic Pain, which endorsed opioids to treat

 chronic pain and claimed there was a low risk that patients would become addicted to opioids. The

 co-author of the statement, Dr. Haddox, was at the time a paid speaker for Purdue. Dr. Portenoy

 was the sole consultant. The consensus statement remained onAAPM's website until 2011, and

 was taken down from AAPM's website only after a doctor complained, though it sti!l !ingers on

 the Internet elsewhere.

                AAPM and APS issued their own guidelines in 2009 ("AAPMIAPS Guidelines")

 and continued to recommend using opioids to treat chronic pain. Fourteen of the 21 panel members

 who drafted the AAPMIAPS Guidelines, inc!uding KOLs Dr. Portenoy and Dr. Perry Fine of the

 University of Utah, received support from Janssen, Endo, and Purdue.

                The 2009 Guidelines promote opioids as "safe and effective" for treating chronic

 pain, despite acknowledging limited evidence, and conclude that the risk of addiction is

 manageable for patients regardless of past abuse histories. One panel member, Dr. Joe! Saper,

 Clinical Professor of Neurology at Michigan State University and founder of the Michigan

 Headache & Neurologica! !nstitute, resigned from the panel because he was concerned the 2009

 Guidelines were influenced by contributions that drug companies, including Defendants, made to

 the sponsoring organizations and committee members. These AAPM/APS Guidelines have been

 a particularly effective channel of deception and have influenced not only treating physicians, but

 also the body of scientific evidence on opioids. The Guidelines have been cited 732 times in

 academic literature, were disseminated in and around Dal!as County during the relevant time

 period, are sti!l avai!able online, and were reprinted in the Journal of Pain.




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 B.      Defendants' Marketing Scheme Misrepresented the Risks and Benefits of Opioids.

         79.     To convince doctors treating residents in Dallas County and Dallas County patients

  that opioids can and should be used to treat chronic pain, Defendants had to convince them that

 long-term opioid use is both safe and effective. Knowing they could do so only by deceiving those

 doctors and patients about the risks and benefits of long-term opioid use, Defendants made claims

 that were not supported by, or were contrary to, the scientific evidence. Even though

 pronouncements by and guidance from the FDA and the CDC based on that evidence confirm that

 their claims were false and deceptive, Defendants have not corrected them, or instructed their

 KOLs or Front Groups to correct them, and continue to spread them today.

 C.     Defendants Falsely Trivialized or Failed to Disclose the Known Risks of Long-Term
        Opiold Use.

                 To convince doctors and patients that opioids are safe, Defendants deceptively

 trivialized and failed to disclose the risks of long-term opioid use, particularly the risk of addiction,

 through a series of misrepresentations that have been conclusively debunked by the FDA and

 CDC. These misrepresentations - which are described below - reinforced each other and created

 the dangerously misleading impression that: (I) starting patients on opioids was low-risk because

 most patients would not become addicted, and because those who were at greatest risk of addiction

 could be readily identified and managed; (2) patients who displayed signs of addiction probably

 were not addicted and, in any event, could easily be weaned from the drugs; (3) the use of higher

 opioid doses, which many patients need to sustain pain relief as they develop tolerance to the drugs,

 do not pose special risks; and (4) abuse-deterrent opioids both prevent overdose and are inherently

 less addictive. Defendants have not only failed to correct these misrepresentations, they continue

 to make them today.

                First, Defendants falsely claimed the risk of addiction is low and unlikely to




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 develop when opioids are prescribed, as opposed to obtained illicitly; and failed to disclose the

 greater risk of addiction with prolonged use of opioids. For example:

                       Actavis's predecessor caused a patient education brochure to be distributed
                       in 2007 claiming opioid addiction is possible, but "less likely if you have
                       never had an addiction problem." Upon information and belief, based on
                       Actavis's acquisition of its predecessor's marketing materials along with
                       the rights to Kadian, Actavis continued to use this brochure in 2009 and
                       beyond;

                       Purdue sponsored APF's Treatment Options: A Guide for People Living
                       with Pain (2007), which instructed that addiction is rare and limited to
                       extreme cases of unauthorized dose escalations, obtaining duplicative
                       opioid prescriptions from multiple sources, or theft. This publication is still
                       available online;

               C.      Endo sponsored a website, Pain knowledge.com, which claimed in 2009 that
                       "[p]eople who take opioids as prescribed usually do not become addicted."
                       Another Endo website, PainAction.com, stated "Did you know? Most
                       chronic pain patients do not become addicted to the opioid medications that
                       are prescribed for them;"

                       Endo distributed a pamphlet with the Endo logo entitled Living with
                       Someone with Chronic Pain, which stated that: "Most health care providers
                       who treat people with pain agree that most people do not develop an
                       addiction problem." A similar statement appeared on the Endo website,
                       www.opana.com;

                       Janssen reviewed, edited, approved, and distributed a patient education
                       guide entitled Finding Relief Pain Management for Older Adults (2009),
                       which described as "myth" the claim that opioids are addictive, and asserted
                       as fact that "[m]any studies show that opioids are rarely addictive when used
                       properly for the management of chronic pain;"

                       Janssen currently runs a website, Prescriberesponsibly.com (last updated
                       July 2, 2015), which claims that concerns about opioid addiction are
                       "overestimated;"

                       Purdue sponsored APF's A Policymaker's Guide to Understanding Pain &
                       Its Management - which claims that less than 1% of children prescribed
                       opioids will become addicted and that pain is undertreated due to
                       "misconceptions about opioid addiction[]." This publication is still
                       available online; and

                       Detailers for Purdue, Endo, and Janssen in and around Dallas County




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                           minimized or omitted any discussion with doctors of the risk of addiction;
                           misrepresented the potential for opioid abuse with purportedly abuse-
                           deterrent formulations; and routinely did not correct the misrepresentations
                           noted above.


                  These claims contradict longstanding scientific evidence, as the FDA and CDC

 have conclusively declared. As noted in the 2016 CDC Guideline endorsed by the FDA, there is

 "extensive evidence" of the "possible harms of opioids (including opioid use disorder [an

 alternative term for opioid addiction])."25 The guideline points out that "[o]pioid pain medication

 use presents serious risks, including.. .opioid use disorder" and that "continuing opioid therapy for

 3 months substantially increases risk for opioid use disorder."26

                  The FDA further exposed the falsity of Defendants' claims about the low risk of

 addiction when it announced changes to the labels for ER/LA opioids in 2013 and for IR opioids

 in 2016. In its announcements, the FDA discussed the risks related to opioid use and that IR

 opioids are associated with "persistent abuse, addiction, overdose mortality, and risk of NOWS

 [neonatal opioid withdrawal syndrome]."27

                  According to the FDA, because of the risks associated with long-term opioid use,

 including "the serious risk of addiction, abuse, misuse, overdose, and death,"28 opioids should be

 "reserved for pain severe enough to require opioid treatment and for which alternative treatment

 options (e.g., non-opioid analgesics or opioid combination products, as appropriate) are inadequate

 or not tolerated."29

                  The warnings on Defendants' own FDA-approved drug labels caution that opioids



 " CDC Guideline for Prescribing Opioids for Chronic Pain - United States 2016, Centers for Disease Control and
 Prevention (Mar. 18, 2016).
 26j/
 27
    FDA ,lnno,,ncenient of Enhanced Warnings for Immediate-Release Opioid Pain A'Iedicauons Related to Risks qf
 Misuse, Abuse. Addiction, Overdose and Death, Federal Drug Administration (Mar. 22. 2016).

 29 1d.




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 "exposes users to risks of addiction, abuse and misuse, which can lead to overdose and death"30

 and that addiction "can occur in patients appropriately prescribed"3 ' opioids.


           86.        Second, Defendants falsely instructed doctors and patients that signs of addiction

 are actually signs of undertreated pain and should be treated by prescribing more opioids.

 Defendants called this phenomenon "pseudoaddiction" - a term coined by Dr. David Haddox, who

 went to work for Purdue, and popularized by Dr. Russell Portenoy, a KOL for Endo, Janssen, and

 Purdue - and claimed that pseudoaddiction is substantiated by scientific evidence. For example:

                               Purdue sponsored Responsible Opioid Prescribing (2007), which taught
                               that behaviors such as "requesting drugs by name," "demanding or
                               manipulative behavior," seeing more than one doctor to obtain opioids,
                               and hoarding, are all signs of pseudoaddiction, rather than true addiction.
                               Responsible Opioid Prescribing remains for sale online. The 2012 edition
                               continues to teach that pseudoaddiction is real;

                               Janssen sponsored, funded, and edited the Let's Talk Pain website, which
                               in 2009 stated: "pseudoaddiction . . . refers to patient behaviors that may
                               occur when pain is under-treated . . Pseudoaddiction is different from
                               true addiction because such behaviors can be resolved with effective pain
                               management;"

                      C.       Endo sponsored a National Initiative on Pain Control (NIPC) CME
                               program in 2009 titled Chronic Opioid Therapy: Understanding Risk
                               While Maximizing Analgesia, which promoted pseudoaddiction by
                               teaching that a patient's aberrant behavior was the result of untreated pain.
                               Endo substantially controlled NIPC by funding NIPC projects;
                               developing, specifying, and reviewing content; and distributing NIPC
                               materials;

                      d.      Purdue published a pamphlet in 2011 entitled Providing Relief
                              Preventing Abuse, which described pseudoaddiction as a concept that
                              "emerged in the literature" to describe the inaccurate interpretation of
                              [drug-seeking behaviors] in patients who have pain that has not been
                              effectively treated;" and

                      C.       Purdue sponsored a CME program entitled Path of the Patient, Managing
                               Chronic Pain in Younger Adults at Risk for Abuse. In a role play, a


 3oSee. e.g.,   OxyContin label and insert at OxyContin.corn.




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                           chronic pain patient with a history of drug abuse tells his doctor that he
                           is taking twice as many hydrocodone pills as directed. The narrator notes
                           that because ofpseudoaddiction, the doctor should not assume the patient
                           is addicted even if he persistently asks for a specific drug, seems
                           desperate, hoards medicine, or "overindulges in unapproved escalating
                           doses." The doctor treats this patient by prescribing a high-dose, long-
                           acting opioid.

                  The 2016 CDC Guideline rejects the concept of pseudoaddiction. The Guideline

 nowhere recommends that opioid dosages be increased if a patient is not experiencing pain relief.

 To the contrary, the Guideline explains that "[p]atients who do not experience clinically

 meaningftil pain relief early in treatment ... are unlikely to experience pain relief with longer-term

 use,"32 and that physicians should "reassess[] pain and function within I month"33 in order to

 decide whether to "minimize risks of long-term opioid use by discontinuing opioids"34 because the

 patient is "not receiving a clear benefit."35

                  Third, Defendants falsely instructed doctors and patients that addiction risk

 screening tools, patient contracts, urine drug screens, and similar strategies allow them to reliably

 identilS' and safely prescribe opioids to patients predisposed to addiction. These misrepresentations

 were especially insidious because Defendants aimed them at general practitioners and family

 doctors who lack the time and expertise to closely manage higher-risk patients. Defendants'

 misrepresentations made these doctors feel more comfortable prescribing opioids to their patients,

 and patients more comfortable starting opioid therapy for chronic pain. For example:

                  a.       Endo paid for a 2007 supplement in the Journal of Family Practice written
                           by a doctor who became a member of Endo's speakers' bureau in 2010. The
                           supplement, entitled    Pain Management Dilemmas in Primary Care: Use of
                           Opioids, emphasized the effectiveness of screening tools, claiming that
                           patients at high risk of addiction could safely receive chronic opioid therapy
                           using a "maximally structured approach" involving toxicology screens and

 32
    CDC Guidelines for Prescribing Opioids for Chronic Pain. supra.
 33 1d.
 34 1d.

 "Id.




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                          pill counts;

                  b.      Purdue sponsored a 2011 webinar, Managing Patient's Opioid Use:
                          Balancing the Need and Risk, which claimed that screening tools, urine
                          tests, and patient agreements prevent "overuse of prescriptions" and
                          "overdose deaths;" and

                 C.       As recently as 2015, Purdue has represented in scientific cqnferences that
                          "bad apple" patients -and not opioids - are the source ofthe addiction crisis
                          and that once those "bad apples" are identified, doctors can safely prescribe
                          opioids without causing addiction.

                 Once again, the 2016 CDC Guideline confirms these representations are false. The

 Guideline notes that there are no studies assessing the effectiveness of risk mitigation strategies -

 such as screening tools, patient contracts, urine drug testing, or pill counts - widely believed by

 doctors to detect and deter outcomes related to addiction and overdose.36 As a result, the Guideline

 recognizes that doctors should not overestimate the risk screening tools for classiing patients as

 high or low risk for opioid addiction because they are insufficient to rule out the risks of long-term

 opioid therapy.37

                 Fourth, to underplay the risk and impact of addiction and make doctors feel more

 comfortable starting patients on opioids, Defendants falsely claimed that opioid dependence can

 easily be addressed by tapering and that opioid withdrawal is not a problem thereby failing to

 disclose the increased difficulty of stopping opioids after long-term use.

                 For example, a CME sponsored by Endo, entitled Persistent Pain in the Older

 Adult, claimed that withdrawal symptoms can be avoided by tapering a patient's opioid dose by

 10%-20% for 10 days. And Purdue sponsored APF's A Policymaker's Guide to Understanding

 Pain & Its Management, which claimed that "[s]ymptoms of physical dependence can often be

 ameliorated by gradually decreasing the dose of medication during discontinuation."



 36CDC Guidelines for Prescribing Opiolds for Chronic Pain. supra.
  See Id.




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             92.     Defendants deceptively minimized the significant symptoms of opioid withdrawal,

 which, as explained in the 2016 CDC Guideline, include drug cravings, anxiety, insomnia,

 abdominal pain, vomiting, diarrhea, sweating, tremor, tachycardia (rapid heartbeat), spontaneous

 abortion and premature labor in pregnant women, and the unmasking of anxiety, depression, and

 addiction - and grossly understated the difficulty of tapering, particularly after long-term opioid

 use.

                     Yet the 2016 CDC Guideline recognizes that the duration of opioid use and the

 dosage of opioids prescribed should be limited to "minimize the need to taper opioids to prevent

 distressing or unpleasant withdrawal symptoms,"38 because "physical dependence on opioids is an

 expected physiologic response in patients exposed to opioids for more than a few days."39 The

 Guideline further states that "tapering opioids can be especially challenging after years on high

 dosages because of physical and psychological dependence"4° and highlights the difficulties,

 including the need to carefully identifS' "a taper slow enough to minimize symptoms and signs of

 opioid withdrawal"' and pausing and restarting tapers depending on the patient's respone.

                     The CDC also acknowledges the lack of any "high-quality studies comparing the

 effectiveness of different tapering protocols for use when opioid dosage is reduced or opioids are

 discontinued."42

                     Fifth, Defendants falsely claimed that doctors and patients could increase opioid

 dosages indefinitely without added risk and failed to disclose the greater risks to patients at higher

 dosages. The ability to escalate dosages was critical to Defendants' efforts to market opioids for




 38
      CDC Guidelines for Prescribing Opioids for C/ironic Pain. supra.
 39



 41
      CDC Guidelines for Prescribing Opioids for C/ironic Pain. supra.




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  long-term use to treat chronic pain because, absent this misrepresentation, doctors would have

  abandoned treatment when patients built up tolerance and lower dosages did not provide pain

  relief. For example:

                         Actavis's predecessor created a patient brochure for Kadian in 2007 that
                         stated, "Over time, your body may become tolerant of your current dose.
                         You may require a dose adjustment to get the right amount of pain relief.
                         This is not addiction." Upon information and belief, based on Actavis's
                         acquisition of its predecessor's marketing materials along with the rights to
                         Kadian, Actavis continued to use these materials in 2009 and beyond;

                         Purdue sponsored APE's Treatment Options: A Guide for People Living
                         with Pain (2007), which claims that some patients "need" a larger dose of
                         an opioid, regardless of the dose currently prescribed. The guide stated that
                         opioids have "no ceiling dose" and are therefore the most appropriate
                         treatment for severe pain. This guide is still available for sale online;

                C.       Endo sponsored a website, painknowledge.com, which claimed in 2009 that
                         opioid dosages may be increased until "you are on the right dose of
                         medication for your pain;"

                         Endo distributed a pamphlet edited by a KOL entitled Understanding Your
                         Pain: Taking Oral Opioid Analgesics, which was available during the time
                         period of this Complaint on Endo's website. In Q&A format, it asked "If I
                         take the opioid now, will it work later when I really need it?" The response
                         is, "The dose can be increased....You won't 'run out' of pain relief;"


                         Janssen sponsored a patient education guide entitled Einding Relief Pain
                         Management for Older Adults (2009), which was distributed by its sales
                         force. This guide listed dosage limitations as "disadvantages" of other pain
                         medicines but omitted any discussion of risks of increased opioid dosages;

                         Purdue's In the Face of Pain website promotes the notion that if a patient's
                         doctor does not prescribe what, in the patient's view, is a sufficient dosage
                         of opioids, he or she should find another doctor who will;

                         Purdue sponsored APF's A Policymaker 's Guide to Understanding Pain &
                         Its Management, which taught that dosage escalations are "sometimes
                         necessary," even unlimited ones, but did not disclose the risks from high
                         opioid dosages. This publication is still available online;

                         Purdue sponsored a CME entitled Overview of Management Options that is
                         still available for CME credit. The CME was edited by a KOL and taught
                         that NSAIDs and other drugs, but not opioids, are unsafe at high dosages;




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                            and

                   i.      Purdue presented a 2015 paper at the College on the Problems of Drug
                           Dependence, the "the oldest and largest organization in the US dedicated to
                           advancing a scientific approach to substance use and addictive disorders,"
                           challenging the correlation between opioid dosage and overdose.

                   These claims conflict with the scientific evidence, as confirmed by the FDA and

 CDC. As the CDC explains in its 2016 Guideline, the "[b]enefits ofhigh-dose opioids for chronic

 pain are not established"43 while the "risks for serious harms related to opioid therapy increase at

 higher opioid dosage."44

                   More specifically, the CDC explains that "there is now an established body of

 scientific evidence showing that overdose risk is increased at higher opioid dosages."45 Similarly,

 there is an "increased risk for opioid use disorder, respiratory depression, and death at higher

 dosages."46 That is why the CDC advises doctors to avoid increasing dosages above 90 morphine

 milligram equivalents per day.

                  The 2016 CDC Guideline reinforces earlier findings announced by the FDA. In

 2013, the FDA acknowledged that available data suggested that increasing the opioid dosage

 likewise increased certain adverse events. For example, the FDA noted that studies suggest a

 positive association between high-dose opioid use and overdoses.

                  Finally, Defendants' deceptive marketing of the so-called abuse-deterrent

 properties of some of their opioids has created false impressions that these opioids can curb

 addiction and abuse.

                  More specifically, Defendants have made misleading claims about the ability of




 43
    CDC Guidelines for Prescribing Opioids for C/ironic Pain, supra.
 "Id.
 45 h1.

 "Id.




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 their so-called abuse-deterrent opioid formulations to deter addiction and overdose. For example,

 Endo's advertisements for the 2012 reformulation of Opana ER claimed that it was designed to be

 crush resistant in a way that suggested it was more difficult to misuse the product. This claim was

 false.

                     The FDA warned in a 2013 letter that there was no evidence Endo's design would

 provide a reduction in oral, intranasal or intravenous use.47 Moreover, Endo's own studies, which

 it failed to disclose, showed that Opana ER could still be ground and chewed.

                     In a 2016 settlement with the State of New York, Endo agreed not to make

 statements in New York that Opana ER was designed to be or is crush resistant. The State found

 those statements false and deceptive because there was no difference in the ability to extract the

 narcotic from Opana ER.

                     Similarly, the 2016 CDC Guideline states that no studies support the notion that

 "abuse-deterrent technologies [are] a risk mitigation strategy for deterring or preventing abuse,"48

 noting that the technologies - even when they work - "do not prevent opioid abuse through oral

 intake, the most common route of opioid abuse, and can still be abused by non-oral routes."49

                     These numerous, long-standing misrepresentations of the risks of long-term opioid

 use spread by Defendants successfully convinced doctors and patients to discount those risks.

 D.         Defendants Grossly Overstated the Benefits of Chronic Opioid Therapy.

                    To convince doctors and patients that opioids should be used to treat chronic pain,

 Defendants had to persuade them that there was a significant benefit to long-term opioid use. But

 as the 2016 CDC Guideline makes clear, there is "insufficient evidence to determine the long-




 41   See FDA Statement: Original Opana El? Relisting Determination (May 10, 2013).
 48
      CDC Guidelines for Prescribing Opioids for Chronic Pain. supra.




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 term benefits of opioid therapy for chronic pain."50

                  In fact, the CDC found no evidence showing "a long-term benefit of opioids in

 pain and function versus no opioids for chronic pain with outcomes examined at least I year later

 (with most placebo-controlled randomized trials < 6 weeks in duration)"5' and that other

 treatments were more or equally beneficial and less harmful than long-term opioid use. The FDA,

 too, has recognized the lack of evidence to support long-term opioid use.

                  In 2013, the FDA stated that it was unaware of any studies demonstrating the

 safety and efficacy of opioids for long-term use.52 Despite this lack of studies, Defendants falsely

 and misleadingly touted the benefits of long-term opioid use and suggested that these benefits

 were supported by scientific evidence. Not only have Defendants failed to correct these false and

 deceptive claims, they continue to make them today. For example:

                           Actavis distributed an advertisement that claimed that the use of Kadian to
                           treat chronic pain would allow patients to return to work, relieve "stress on
                           your body and your mental health," and help patients enjoy their lives;

                           Endo distributed advertisements that claimed that the use of Opana ER for
                           chronic pain would allow patients to perform demanding tasks like
                           construction work or work as a chef and portrayed seemingly healthy,
                           unimpaired subjects;

                  C.       Janssen sponsored and edited a patient education guide entitled Finding
                           Relief Pain Management for Older Adults (2009)— which states as "a fact"
                           that "opioids may make it easier for people to live normally." The guide
                           lists expected functional improvements from opioid use, including sleeping
                           through the night, returning to work, recreation, sex, walking, and climbing
                           stairs;

                  d.      Purdue ran a series of advertisements for OxyContin in 2012 in medical
                          journals entitled "pain vignettes," which were case studies featuring
                          patients with pain conditions persisting over several months and
                          recommending OxyContin for them. The ads implied that OxyContin


 so Id.
  ' Id.
 52
    Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Eval. & Res., to Andrew Kolodny, M.D., Pres. Physicians
 for Responsible Opioid Prescribing, Re Docket No. FDA-2012-P-0818 (Sept. 10, 2013).




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                     improves patients' function;

                     Responsible Opioid Prescribing (2007), sponsored and distributed by Endo
                     and Purdue, taught that relief of pain by opioids, by itself, improved
                     patients' function. The book remains for sal&on line;

                     Purdue sponsored APF's Treatment Options: A Guide for People Living
                     with Pain (2007), which counseled patients that opioids "give [pain
                     patients] a quality of life we deserve." The guide was available online until
                     APF shut its doors in 2012;

                     Endo's NIPC website painknowledge.com claimed in 2009 that with
                     opioids, "your level of function should improve; you may find you are now
                     able to participate in activities of daily living, such as work and hobbies,
                     that you were not able to enjoy when your pain was worse." Elsewhere, the
                     website touted improved quality of life (as well as "improved function") as
                     benefits of opioid therapy. The grant request that Endo approved for this
                     project specifically indicated NIPC's intent to make misleading claims
                     about function, and Endo closely tracked visits to the site;

                     Endo was the sole sponsor, through NIPC, of a series of CMEs titled
                     Persistent Pain in the Older Patient, which claimed that chronic opioid
                     therapy has been "shown to reduce pain and improve depressive symptoms
                     and cognitive functioning." The CMIE was disseminated via webcast; -

                     Janssen sponsored, funded, and edited a website, Let's Talk Pain, in 2009,
                     which featured an interview edited by Janssen claiming that opioids allowed
                     a patient to "continue to function." This video is still available today on
                     YouTube;

                     Purdue sponsored the development and distribution of APF's A
                     Policymaker 's Guide to Understanding Pain & Its Management, which
                     claimed that "multiple clinical studies" have shown that opioids are
                     effective in improving daily function, psychological health, and health-
                     related quality of life for chronic pain patients." The Policymaker's Guide
                     was originally published in 2011 and is still available online today; and

                     Purdue's, Endo's, and Janssen's sales representatives have conveyed and
                     continue to convey the message that opioids will improve patient function.

       108.   These claims find no support in the scientific literature. Most recently, the 2016

 CDC Guideline, approved by the FDA, concluded, "There is no good evidence that opioids




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  improve pain or function with long-term use"53 and "complete relief of pain is unlikely."54

  (Emphasis added.) The CDC reinforced this conclusion throughout its 2016 Guideline:

                           "No evidence shows a long-term benefit of opioids in pain and function
                           versus no opioids for chronic pain with outcomes examined at least I year
                           later......55

                           "Although opioids can reduce pain during short-term use, the clinical
                           evidence review found insufficient evidence to determine whether pain
                           relief is sustained and whether function or quality of life improves with
                           long-term opioid therapy;"56 and

                  C.       "[E]vidence is limited or insufficient for improved pain or function with
                           long-term use of opioids for several chronic pain conditions for which
                           opioids are commonly prescribed, such as low back pain, headache, and
                           fibromyalgia.""

                  The CDC also noted that the risks of addiction and death "can cause distress and

 inability to fulfill major role obligations."58 As a mailer of common sense (and medical evidence),

 drugs that can kill patients or commit them to a life of addiction or recovery do not improve their

 function and quality of life.

                  The 2016 CDC Guideline was not the first time a federal agency repudiated

 Defendants' claim that opioids improved function and quality of life. In 2010, the FDA warned

 Actavis that "[w]e are not aware of substantial evidence or substantial clinical experience

 demonstrating that the magnitude of the effect of the drug [Kadian] has in alleviating pain, taken

 together with any drug-related side effects patients may experience ...results in any overall positive

 impact on a patient's work, physical and mental functioning, daily activities, or enjoyment of




 "CDC Guidelines for Prescribing Opioids for C/ironic Pain, supra.
   Id.
 "Id
   CDC Guidelines for Prescribing Opioids for C/ironic Pain. supra.
 57

      Id.




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 life."59

            Ill. Defendants also falsely emphasized or exaggerated the risks of competing products

 like NSAIDs so that doctors and patients would look to opioids first for treating chronic pain.

 Once again, Defendants' misrepresentations contravene pronouncements by and guidance from

 the FDA and CDC based on the scientific evidence.

                  Consequently, the FDA changed the labels for ERJLA opioids in 2013 and IR

 opioids in 2016 to state that opioids should be used only as a last resort where alternative

 treatments like non-opioid drugs are inadequate. And the 2016 CDC Guideline states that NSAIDs,

 not opioids, should be the first-line treatment for chronic pain, particularly arthritis and lower back

 pain.

                  In addition, Purdue misleadingly promoted OxyContin as unique among opioids in

 providing 12 continuous hours of pain relief with one dose. In fact, OxyContin does not last for

 12 hours - a fact that Purdue has known at all times relevant to this action.

                  According to Purdue's own research, OxyContin wears off in under six hours in one

 quarter of patients and in under 10 hours in more than half. The reason is that OxyContin tablets

 release approximately 40% of their active medicine immediately, after which release tapers.

 Although the patient experiences a powerful initial response, there is little or no pain relief at the

 end of the dosing period because less medicine is released.

                  This phenomenon is known as "end of dose" failure, and the FDA found in 2008

 that a substantial number of chronic pain patients taking OxyContin experience it.

                  This "end of dose" failure not only renders Purdue's promise of 12 hours of relief



 59
   Warning Letter from Thomas Abrams, Dir., FDA Div. of Mktg., Adver., & Commc'ns, to Doug Boothe, CEO,
 Actavis Elizabeth LLC (Feb. 18, 2010), http://www.fda.gov/Drugs/GuidanceComplianceRegulatorylnformationi
 EnforcementActivitiesbyFDA/WarningLettersandNoticeofViolationLetterstoPharmaceuticalCompanies/
 ucm259240.htm.




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 false and deceptive, it also makes OxyContin more dangerous because the declining pain relief

 patients experience toward the end of each dosing period drives them to take more OxyContin

 before the next dosing period begins, quickly increasing the amount of drug they are taking and

 spurring growing dependence.

          117. Purdue's competitors were aware of this problem. For example, Endo ran

 advertisements for Opana ER referring to "real" 12-hour dosing. Nevertheless, Purdue falsely

 promoted OxyContin as if it were effective for a full 12 hours. Indeed, Purdue's sales

 representatives continue to tell doctors in and around Dallas County that OxyContin lasts a full 12

 hours.

 E.       Defendants also engaged in Other Unlawful, Unfair, and Fraudulent Misconduct.

          118.   Defendants herein participated in illicit and unlawful prescribing of its drugs. For

 example, Purdue did not report illegal prescribing of OxyContin until years after law enforcement

 shut down a Los Angeles clinic that prescribed more than 1.1 million OxyContin tablets. In doing

 so, Purdue protected its own profits at the expense of public health and safety.

          119.   The State of New York found that Endo failed to require sales representatives to

 report signs of addiction, diversion, and inappropriate prescribing; paid bonuses to sales

 representatives for detailing prescribers who were subsequently arrested or convicted for illegal

 prescribing; and failed to prevent sales representatives from visiting prescribers whose suspicious

 conduct had caused them to be placed on a no-call list.

 F.       Defendants Targeted Susceptible Prescribers and Vulnerable Patient Populations.

          120. As a part of their deceptive marketing scheme, Defendants identified and targeted

 susceptible prescribers and vulnerable patient populations in the U.S. and in and around Dallas

 County. For example, Defendants focused their deceptive marketing on primary care doctors, who




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 were more likely to treat chronic pain patients and prescribe opioids, but were less likely to be

 educated about treating pain and the risks and benefits of opioids.

                Defendants also targeted vulnerable patient populations like the elderly and

 veterans, who tend to suffer from chronic pain. Defendants targeted these vulnerable patients even

 though the risks of long-term opioid use were significantly greater for them.

                For example, the 2016 CDC Guideline observes that existing evidence shows that

 elderly patients taking opioids suffer from elevated fall and fracture risks, greater risk of

 hospitalization, and increased vulnerability to adverse drug effects and interactions. The Guideline

 therefore concludes that there are "special risks of long-term opioid use for elderly patients" and

 recommends that doctors use "additional caution and increased monitoring" to minimize the risks

 of opioid use in elderly patients.

                The same is true for veterans, who are more likely to use anti-anxiety drugs

 (benzodiazepines) for post-traumatic stress disorder, which interact dangerously with opioids.

 C.     Although Defendants knew that their Marketing of Opioids was False and Deceptive,
        they Fraudulently Concealed their Misconduct.

                Defendants, both individually and collectively, made, promoted, and profited from

 their misrepresentations about the risks and benefits of opioids for chronic pain even though they

 knew their misrepresentations were false and deceptive. The history of opioids, as well as research

 and clinical experience over the last 20 years, established that opioids were highly addictive and

 responsible for a long list of very serious adverse outcomes.

                Not only did the FDA and other regulators warn Defendants, but Defendants had

 access to scientific studies, detailed prescription data, and reports of adverse events, including

 reports of addiction, hospitalization, and deaths - all of which made clear the harms from long-term

 opioid use, including the suffering from addiction, overdoses, and death in alarming numbers in




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 patients using opioids.

                  More recently, the FDA and CDC have issued pronouncements based on the

 medical evidence that conclusively expose the known falsity of Defendants' misrepresentations,

 and Endo and Purdue have recently entered agreements prohibiting them from making some of the

 same misrepresentations described herein in New York.

                  Specifically, three current and former executives from Purdue plead guilty in 2007

 to criminal charges that they misled regulators, doctors, and patients about OxyContin's risk of

 addiction.6° In pleading guilty to misbranding charges, Purdue admitted it had fraudulently

 marketed OxyContin as a drug less prone to addiction and as having fewer side effects than other

 opioids.6' In reality, unlike other opioids, OxyContin contained pure oxycodone without any other

 ingredients, which made it a powerful narcotic despite its time-release design that Purdue touted

 as ameliorating its addictive potential.62

                  Moreover, Defendants took steps to avoid detection of and to fraudulently conceal

 their deceptive marketing and unlawful, unfair, and fraudulent conduct. For example, Defendants

 disguised their own role in the deceptive marketing of chronic opioid therapy by funding and

 working through third parties like Front Groups and KOLs.

                  Finally, Defendants manipulated their promotional materials and the scientific

 literature to make it appear that these items were accurate, truthful, and supported by objective

 evidence when they were not.

                  Thus, Defendants successfully concealed from the medical community and patients

 facts sufficient to arouse suspicion of the claims Dallas County now asserts. Dallas County did not



 6°See  Barry Meier, "In Guilty Plea, OxyContin Maker to Pay $600 Million," (May 10,2007),
 http://Nvww.nytimes.com/2007/05/10/business/i ] drug-web.html.
 61
    Sec Id.
 62
      Sec Id.




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  know of the existence or scope of Defendants' industry-wide fraud and could not have acquired

  such knowledge earlier through the exercise of reasonable diligence.

  H.      By Increasing Opioid Prescriptions and Use, Defendants' Deceptive Marketing
          Scheme has fueled the Opioid Epidemic and Devastated Dallas County Communities.

                   Defendants' misrepresentations deceived doctors and patients about the risks and

  benefits of long-term opioid use. Studies reveal that many doctors and patients are unaware of or

  do not understand the risks or benefits of opioids. Indeed, patients often report that they were not

  warned they might become addicted to opioids prescribed to them. As reported in January 2016,

  a 2015 survey of more than 1,000 opioid patients found that 4 out of 10 were not told opioids were

  potentially addictive.63

                   Defendants' deceptive marketing scheme caused and continues to cause doctors in

 and around Dallas County to prescribe opioids for chronic pain conditions such as back pain,

 headaches, arthritis, and fibromyalgia. Absent Defendants' deceptive marketing scheme, these

 doctors would not have been able to over prescribe opioids or become embroiled in pill mills that

 negatively impacted residents of Dallas County.

                   For example, Defendants' deceptive marketing scheme allowed three doctors

 located in Dallas County, Texas to promote, overprescribe, and financially benefit from prescribing

 opioids. Indeed, the doctors herein "knowingly or intentionally manufactured, distributed,

 dispensed, or possessed with the intent to manufacture, distribute, or dispense a controlled

 substance, including opioids such as OxyContin, Hydrocodone, and Vicodin in violation of the

 Texas Controlled Substances Act in 21 C.F.R. § 1301 et seq.TM



 63
    Hazelden Betty Ford Foundation, Missed Questions, Missed Opporiuni:ies(Jan. 27, 2016),ai'ailableai
 http://www.hazel den betty ford. org/about-us/news-and-med ialpressreleaseJdoctors-m iss i ng-quest ions-that-could-
 prevent-opioid-addiction.
    See. e.g.. Grand Jury Indictment in Un/led Slates v. SinaAt/zari. el aL. U.S.D.C-Northern Dist., Dallas Div., No.
 3: l4-CR-044-D (December 1,2015).




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                      Dr. Andrews, Dr. Okechuku, and Dr. Padron were all involved in a similar

 conspiracy to distribute opioids. The conspirators employed persons to recruit individuals who

 were homeless or of limited means.65 These individuals would be paid a fee to pose as patients at

 certain medical clinics and to fill these same prescriptions at certain pharmacies.66 The involved

 practitioners, such as the doctors herein, were enlisted to write prescriptions for opioids despite

 there being no legitimate medical purpose.67 The clinics and the pharmacies accepted cash only,

 which was funneled through the various physicians, employees, and/or recruiters.6 The end goal

 was to sell the opioids on the open market in Dallas County and elsewhere.

                      Dr. Richard Andrews was a co-owner and supervising physician of McAllen

 Medical Clinic in Dallas, Texas.69 Dr. Andrews was indicted on December 1,2015 for, among other

 things, conspiracy to distribute a controlled substance.7° On July 26, 2016, Dr. Andrews entered

 into a plea agreement in which he pleaded guilty.7' On March 3,2017, Dr. Andrews and the Texas

 Medical Board agreed that his license would be revoked in lieu of further disciplinary actions.72

                       Dr. Theodore Okechuku operated a pain clinic in Lake Highlands located in Dallas,

 Texas.73 Dr. Okechuku was indicted on December 3, 2013 for conspiracy to unlawfully distribute

 a controlled substance.74 Dr. Okechuku violated the terms of his pre-trial release because he




 65
      See, e.g., Indictment at p.7.

 67
    Id at 9.
    Id at 5.
 69
    Id at 5.
 10 Seeid. at 30.
 11
    Plea Agreement in U.S. i RiclwrdAndrews, U.S.D.C.-Northern District, Dallas Div., No. 3:15-CR-044-D (July
 25, 2016).
 72
    Texas Medical Board, http://reg.tmblstateltxlus.com, last viewed November 13, 2017
 13 "Dallas Doctor Sentenced for Operating 'Pill Mill", March 31, 2016, http://dfw.cbslocal.com/20I6/03/3 I/dallas-

 doctor-sentenced-for-operating-pill-mill/.
 14
    Texas Medical Board, http://reg.tmblstateltxlus.com, last viewed November 13, 2017; see also "Dallas Doctor
 Sentenced for Operating 'Pill Mill", March 31, 2016, http://df%v.cbslocal.com/2016/03/3 I /dallas-doctor-sentenced-
 for-operating-pill-mill/.




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 continued to prescribe hydrocodone and other controlled substances.75 Ultimately, Dr. Okechuku

 was found guilty on 3 counts, one related to the distribution of opioids, and sentenced to 25 years.76

                   Dr. Nicolas A. Padron operated a "cash only" clinic in Dallas.77 He, too, was indicted

  for conspiracy to unlawfully distribute controlled substances and ultimately sentenced to 87 months

 in federal prison.78 On May 2,2014, Dr. Padron agreed to the revocation of his medical license in

 lieu of further disciplinary action.79

                   If the manufacturing and distributing Defendants were not over-supplying opioids,

 then physicians like Dr. Andrews, Dr. Okechuku, and Dr. Padron could not devise schemes to

 prescribe opioids without a legitimate purpose as a means to flood the open market with opioids,

 such as OxyContin, Hydrocodone, and Vicodin.

                   While Defendants may claim the federal government authorized the amount of

 annual prescription opioids sold, they know in truth that several Defendants have successfully used

 their organized money and influence to render the federal government's enforcement agency, the

 Drug Enforcement Administration, virtually powerless to interrupt the over-supply of prescription

 opioid drugs.

                   Defendants' deceptive marketing scheme also caused and continues to cause

 patients to purchase and use opioids for their chronic pain believing they are safe and effective.

 Absent Defendants' deceptive marketing scheme, fewer patients would be using opioids long-term

 to treat chronic pain, and those patients using opioids would be using less of them.




 75 Texas Medical Board, http://reg.tmblstateltxlus.com, last vie;i'edNovember 13, 2017.
 76
    U.S. v. Theodore E. Okechuku, U.S.D.C.-Northern District, Dallas Div., No. 3:13-CR-00481-P(l)(March 30,
 2016).
 " "Garland Doctor, other Dealers' Sentenced in Dallas Pill All/I' Case, "(Oct. 29, 2014),

  I 1e4-9I86-at37156f06a3.html.
 '6 1d
     Texas Medical Board, http://reg.tmb/state/tx/us.com, last viewed November 13, 2017.




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                   Defendants' deceptive marketing has caused and continues to cause the prescribing

 and use of opioids to explode. Indeed, this dramatic increase in opioid prescriptions and use

 corresponds with the dramatic increase in Defendants' spending on their deceptive marketing

 scheme. Defendants' spending on opioid marketing totaled approximately $91 million in 2000.

 By 2011, that spending had tripled to $288 million.

                  The escalating number of opioid prescriptions written by doctors who were

 deceived by Defendants' deceptive marketing scheme is the cause of a correspondingly dramatic

 increase in opioid addiction, overdose, and death throughout the U.S. and Dallas County.

                  Scientific evidence demonstrates a strong correlation between opioid prescriptions

 and becoming addicted to opioids. In a 2016 report, the CDC explained that prescribing opioids

 has quadrupled since 1999, which has resulted in a parallel increase in opioid overdoses.80 Indeed,

 there has been a two-third increase in overdose deaths from using opioids since 2000.8! For these

 reasons, the CDC concluded that efforts to rein in the prescribing of opioids for chronic pain are

 critical "to reverse the cycle of opioid pain medication misuse that contributes to the opioid

 overdose epidemic."82

                  Due tothe increase in opioid overdoses, first responders such as police officers,

 have been and will continue to be in the position to assist people experiencing opioid-related

 overdoses.83 In 2016, "over 1,200 law enforcement departments nationwide carried naloxone in



   ° CDC. National Vital Statistics System, Mortality. CDC WONDER. Atlanta, GA: US Department of Health and
 Human Services, CDC; 2016. hnps:/Iwonder.cdc.govl; Rudd RA, Seth P, David F, Scholl L. Increases in Drug and
 Opioid-lnvolved Overdose Deaths - United States, 2010-2015. MMWR Morb Mortal WkIy Rep. ePub: 16
 December 2016.
  ' National Vital Statistics System, Mortality file and appearing Center for Disease Control and Prevention
 Morbidity and Mortality Weekly Report, January 1, 2006 / 64(50); 1378-82, Increases in Drug and Opioid Deaths—
 United States, 2000-20 14.
 " CDC Guideline for Prescribing Opioids for Chronic Pain. supra: see also Rudd RA, Seth P, David F, Scholl
 L. Increases in Drug and Opioid-lnvolved Overdose Deaths - United States, 2010-2015. MMVR Morb Mortal
 Wkly Rep. ePub: 16 December2016.
 83
     Opinion of the Attorney General of Texas, KP-0 168 (Oct. 4,2017).



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  an effort to prevent opioid-related deaths."84

                   Defendants' deceptive marketing scheme has also detrimentally impacted children

  in Dallas County. Overprescribing opioids for chronic pain has made the drugs more accessible to

  school-aged children, who come into contact with opioids after they have been prescribed to

  friends or relatives in the same household.

                    Defendants' conduct has adversely affected Dallas County's child protection

  agencies in the number of children in foster care driven by parental drug addiction. Children with

  parents addicted to drugs tend to stay in foster care longer, and they often enter the system having

  experienced significant trauma, which makes these cases more expensive for counties like Dallas

  County.

                   Opioid addiction is one of the primary reasons that Dallas County residents seek

  treatment for substance dependence. A significant number of admissions for drug addiction were

 associated with a primary diagnosis of opiate addiction or dependence.

                   Defendants' creation, through false and deceptive advertising and other unlawful

 and unfair conduct, of a virtually limitless opioid market has significantly harmed Dallas County

 communities. Defendants' success in extending the market for opioids to new patients and chronic

 pain conditions has created an abundance of drugs available for non-medical and criminal use and

 fueled a new wave of addiction and injury. It has been estimated that 60% of the opioids to which

 people are addicted come, directly or indirectly, through doctors' prescriptions.85

                   Law enforcement agencies have increasingly associated prescription drug addiction




   Id citing http://www.nchrc.org/law-enforcementlus-Iaw-enforcement-who-carry-naloxone/.
 85Nathaniel P. Katz, Prescription OpioidAbuse: Challenges and Opportunities for Payers, Am. J. Managed Care
 (Apr. 19 2013), at 5 ("The most common source of abused [opioids] is, directly or indirectly, by prescription."),
 hUp://wm.ajmc.com/publications/issue/2013/2013- I -vol I 9-n4/Prescription-Opioid-Abuse-Challenges-and-
 Opportunities-for-Payers.



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 with violent and property crimes. Despite strict federal regulation of prescription drugs, local law

 enforcement agencies are faced with increasing diversion from legitimate sources for illicit

 purposes, including doctor shopping, forged prescriptions, falsified pharmacy records, and

 employees who steal from their place of employment. The opioid epidemic has prompted a

 growing trend of crimes against pharmacies including robbery and burglary. This ongoing

 diversion of prescription narcotics creates a lucrative marketplace.

          ISO. The rise in opioid addiction caused by Defendants' deceptive marketing scheme

 has also resulted in an explosion in heroin use. For example, heroin use has more than doubled in

 the past decade among adults aged 18 to 25 years.86 Moreover, heroin-related overdoses in the

 United States has more than quadrupled since 2010.87

                  The costs and consequences of opioid addiction are staggering. For example, in

 2007, the cost of healthcare due to opioid addiction and dependence was estimated at 25 billion,

 the cost ofcriminal justice was estimated at 5.1 billion, and the cost of lost workplace productivity

 was estimated at 25.6 billion.

                  Consequently, prescription opioid addiction and overdose have an enormous

 impact on the health and safety of individuals, as well as communities at large, because the

 consequences of this epidemic reach far beyond the addicted individual.

                  Some of the repercussions for residents of Dallas County include job loss, loss of

 custody of children, physical and mental health problems, homelessness and incarceration, which

 results in instability in communities often already in economic crisis and contributes to increased

 demand on community services such as hospitals, courts, child services, treatment centers, and law




 86
    Centers for Disease Control and Prevention. Vital Signs: Today's Heroin Epidemic - More People at Risk,
 Multiple Drugs Abused. {https://www.cdc.gov/vitalsigns/heroin/index.htnil). MMWR 2015.
 87
    https://www.cdc.gov/vitalsigns/heroin/index.htmI




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 enforcement.

                Defendants knew and should have known about these harms that their deceptive

 marketing has caused and continues to cause and will cause in the future. Defendants closely

 monitored their sales and the habits of prescribing doctors. Their sales representatives, who visited

 doctors and attended CMEs, knew which doctors were receiving their messages and how they were

 responding.

                Defendants also had access to and carefully watched government and other data

 that tracked the explosive rise in opioid use, addiction, injury, and death. Defendants not only

 knew, but intended that their misrepresentations would persuade doctors to prescribe and

 encourage patients to use their opioids for chronic pain.

                Defendants' actions are neither permitted nor excused by the fact that their drug

 labels may have allowed, or did not exclude, the use of opioids for chronic pain. FDA approval

 of opioids for certain uses did not give Defendants license to misrepresent the risks and benefits of

 opioids. Indeed, Defendants' misrepresentations were directly contrary to pronouncements by,

 and guidance from, the FDA based on the medical evidence and their own labels.

                Nor is Defendants' causal role broken by the involvement of doctors. Defendants'

 marketing efforts were ubiquitous and highly persuasive. Their deceptive messages tainted

 virtually every source doctors could rely on for information and prevented them from making

 informed treatment decisions. Defendants also hijacked what doctors wanted to believe - namely,

 that opioids represented a means of relieving their patients' suffering and of practicing medicine

 more compassionately.

                Defendants' actions and omissions were each a cause-in-fact of Dallas County's

 past and future damages. Defendants' wrongful conduct caused injuries to Dallas County in the




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  past, continues to cause injuries to Dallas County, and will continue to cause injuries to Dallas

  County in the future. Future damages include, but are not limited to, additional resources for

  counseling and medication assisted treatment of addicts, medical treatment for overdoses, life

  skills training for adolescents, increased law enforcement, and additional resources to treat the

  psychological effects of opioids and the underlying conditions that make people susceptible to

 opioid addiction.

 I.      Defendants' Fraudulent Marketing Has Led To Record Profits.

                White using opioids has taken an enormous toll on Dallas County and its residents,

 Defendants have realized blockbuster profits. In 2014 alone, opioids generated $11 billion in

 revenue for drug companies like Defendants. Indeed, financial information indicates that each

 Defendant experienced a material increase in sales, revenue, and profits from the false and

 deceptive advertising and other unlawful and unfair conduct described above.

                  Yl.    FIRST CAUSE OF ACTION: PUBLIC NUISANCE
                              AGAINST ALL DEFENDANTS

                Dallas County re-alleges and incorporates by reference each of the allegations

 contained in the preceding paragraphs of this Complaint as though fully alleged herein.

                Defendants knowingly encouraged doctors in and around Dallas County to

 prescribe, and residents to use, highly addictive opioids for chronic pain even though Defendants

 knew using opioids had a high risk of addiction and reduced quality of life.

                By doing so, Defendants purposefully interfered with Dallas County's public

 health, public safety, public peace, public comfort, and public convenience.

                Defendants, individually and in concert with each other, have contributed to and/or

 assisted in creating and maintaining a condition that is harmful to the health and safety of Dallas

 County residents and/or unreasonably interferes with the peace and comfortable enjoyment of life




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  in violation of Texas law.

                 The public nuisance created by Defendants' actions is substantial and unreasonable

 - it has caused and continues to cause significant harm to the community - and the harm inflicted

  outweighs any offsetting benefit.

                 The staggering rates of opioid use resulting from Defendants' marketing efforts

  have caused, and continues to cause, harm to the community including, but not limited to:

                        Upwards of 30% of all adults use opioids. These high rates of use have led
                        to unnecessary opioid addiction, overdose, injuries, and deaths;

                        Children have been exposed to opioids prescribed to family members or
                        others resulting in injury, addiction, and death. Easy access to prescription
                        opioids has made opioids a recreational drug of choice among Dallas
                        County teenagers; opioid use among teenagers is only outpaced by
                        marijuana use. Even infants have been born addicted to opioids due to
                        prenatal exposure causing severe withdrawal symptoms and lasting
                        developmental impacts;

                C.      Residents of Dallas County, who have never taken opioids, have endured
                        both the emotional and financial costs of caring for loved ones addicted to
                        or injured byopioids and the loss of companionship, wages, or other support
                        from family members who have used, become addicted to, overdosed on,
                        or been killed by opioids;

                        More broadly, opioid use and addiction have driven Dallas County
                        residents' health care costs higher;

                        Employers have lost the value of productive and healthy employees who
                        have suffered from adverse consequences from opioid use;

                        Defendants' success in extending the market for opioids to new patients and
                        chronic conditions has created an abundance of drugs available for criminal
                        use and fueled a new wave of addiction and injury. Defendants' scheme
                        created both ends of a new secondary market for opioids - providing both
                        the supply of narcotics to sell and the demand of addicts to buy them;

                        This demand has created additional illicit markets in other opiates,
                        particularly heroin. The low cost of heroin has led some of those who
                        initially become addicted to prescription opioids to migrate to cheaper
                        heroin, fueling a new heroin epidemic in the process;




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                       Diverting opioids into secondary, criminal markets and increasing the
                       number of individuals who are addicted to opioids has increased the
                       demands on emergency services and law enforcement in Dallas County;

                       All of Defendants' actions have caused significant harm to the community
                       - in lives lost; addictions endured; the creation ofan illicit drug market and
                       all its concomitant crime and costs; unrealized economic productivity; and
                       broken families and homes;

                       These harms have taxed the human, medical, public health, law
                       enforcement, and financial resources of Dallas County; and

                       Defendants' interference with the comfortable enjoyment of life of a
                       substantial number of people is entirely unreasonable because there is
                       limited social utility to opioid use and any potential value is outweighed by
                       the gravity of harm inflicted by Defendants' actions.

        166. Defendants knew, or should have known, that promoting opioid use would create a

 public nuisance in the following ways:

                       Defendants have engaged in massive production, promotion, and
                       distribution of opioids for use by the citizens of Dallas County;

                       Defendants' actions created and expanded the market for opioids,
                       promoting its wide use for pain management;

               C.      Defendants misrepresented the benefits of opioids for chronic pain and
                       fraudulently concealed, misrepresented, and omitted the serious adverse
                       effects of opioids, including the addictive nature of the drugs; and

               d.      Defendants knew or should have known that their promotion would lead to
                       addiction and other adverse consequences that the larger community would
                       suffer as a result.

        167.   Defendants' actions were, at the least, a substantial factor in doctors and patients

 not accurately assessing and weighing the risks and benefits of opioids for chronic pain thereby

 causing opioids to become widely available and used in Dallas County.

        168. Without Defendants' actions, opioid use would not have become so widespread and

 the enormous public health hazard of opioid addiction would not have existed and could have been

 averted.




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                The health and safety of the citizens of Dallas County, including those who use,

 have used, or will use opioids, as well as those affected by opioid users, isa mailer of great public

 interest and legitimate concern to Dallas County's citizens and residents.

                The public nuisance created, perpetuated, and maintained by Defendants can be

 abated and further reoccurrence of such harm and inconvenience can be prevented.

                Defendants' conduct has affected and continues to affect a considerable number of

 people within Dallas County and is likely to continue to cause significant harm to patients who

 take opioids, their families, and the community at large.

                Each Defendant created or assisted in creating the opioid epidemic, and each

 Defendant is jointly and severally liable for its abatement. Furthermore, each Defendant should

 be enjoined from continuing to create, perpetuate, or maintain said public nuisance in Dallas

 County.

              VII. SECOND CAUSE OF ACTION: COMMON LAW FRAUD
                            AGAINST ALL DEFENDANTS

                Dallas County re-alleges and incorporates by reference each of the allegations

 contained in the preceding paragraphs of this Complaint as though fully alleged herein.

                At all relevant and material times, Defendants expressly and/or impliedly warranted

 that opioids were safe, of merchantable quality, and fit for use.

                Defendants' superior knowledge and expertise, its relationship of trust and

 confidence with doctors and the public, its specific knowledge regarding the risks and dangers of

 opioids, and its intentional dissemination of promotional and marketing information about opioids

 for the purpose of maximizing sales, each gave rise to the affirmative duty to meaningfully disclose

 and provide all material information about the risks and harms associated with opioids.

                At all times herein mentioned, Defendants, individually and acting through their




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 employees and agents, and in concert with each other, fraudulently represented to physicians who

  Defendants knew would justifiably rely on Defendants' representations that opioids were safe and

 effective for treating chronic pain.

         177.   Defendants' false representations were fraudulently made, with the intent or

 purpose that healthcare providers and patients would justifiably rely upon them, leading to the

 prescription, administration, filling, purchasing, and consumption of opioids in Dallas County.

         178. Defendants' deliberate misrepresentations and/or concealment, suppression, and

 omission of material facts as alleged herein include, but are not limited to:

                        Making false and misleading claims regarding the known risks of the
                        addictive nature of opioids and suppressing, failing to disclose, and
                        mischaracterizing the addictive nature of opioids and in concomitant costs,
                        such as overdoses, deaths, and heroin addiction;

                        Making false and misleading written and oral statements that opioids are
                        more effective than traditional pain killers for chronic pain, or effective at
                        all and/or omitting material information showing that opioids are no more
                        effective than other non-addictive drugs for chronic pain;

                C.      Issuing false and misleading warnings and/or failing to issue adequate
                        warnings concerning the risks and dangers of using opioids;

                        Making false and misleading claims downplaying the risk of addiction
                        when using opioids and/or setting forth guidelines that would purportedly
                        identify addictive behavior; and

                        Making false and misleading misrepresentations concerning the safety,
                        efficacy and benefits of opioids without full and adequate disclosure of the
                        underlying facts which rendered such statements false and misleading.


         179.   Defendants willfully, wantonly, and recklessly disregarded their duty to provide

 truthful representations regarding the safety and risk of opioids.

         180.   Defendants made these misrepresentations with the intent that the healthcare

 community and patients located wherever these opioid drugs were sold or consumed would rely

 upon them.

         181. Defendants' misrepresentations were made with the intent of defrauding and



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  deceiving the medical community and consumers to induce and encourage the sale of opioids.

                Defendants' fraudulent representations evidence their callous, reckless, willful, and

 depraved indifference to the health, safety, and welfare of consumers living in Dallas County.

                Defendants omitted, misrepresented, suppressed and concealed material facts

 concerning the dangers and risk of injuries associated with the use of opioids, as well as the fact

 that the product was unreasonably dangerous.

                Defendants' purpose was willfully blind to, ignored, downplayed, avoided, and/or

 otherwise understated the serious nature of the risks associated with the use of opioids.

                The treating medical community and consumers in Dallas County did not know that

 Defendants' representations were false and/or misleading and justifiably relied on them.

                Defendants had sole access to material facts concerning the dangers and

 unreasonable risks of opioids, which they intentionally concealed.

                As a direct and proximate result of Defendants' fraudulent misrepresentations and

 intentional concealment of facts, upon which the medical community and consumers in Dallas

 County reasonably relied, Dallas County suffered actual and punitive damages.

                VEH. THIRD CAUSE OF ACTION: NEGLIGENCE
          AGAINST MANUFACTURING AND DISTRIBUTING DEFENDANTS

                Dallas County re-alleges and incorporates by reference each of the allegations

 contained in the preceding paragraphs of this Complaint as though fully alleged herein.

                Manufacturing Defendants have a duty to exercise reasonable care in marketing its

 opioids to physicians treating residents of Dallas County and Dallas County residents.

 Manufacturing Defendants have breached their duty by knowingly and fraudulently

 misrepresenting the benefits of, and downplaying the risks of, opioids for chronic pain.

                Manufacturing Defendants have used deceitful marketing ploys, KOLs, Front

 Groups, and other schemes to increase profits at the cost of public health causing an opioid

 epidemic. Manufacturing Defendants have acted willfully, wantonly, and maliciously.




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         191.    Likewise, Distributor Defendants have a duty to exercise ordinary care in

 distributing opioids. Distributor Defendants have breached their duty by failing to prevent or reduce

 the distribution of opioids, or to report the increase in the distribution and/or sale of opioids.

                 Distributor Defendants have intentionally failed to prevent or reduce the distribution

 of opioids, or to report any increases in the sale of opioids, so that they could increase profits and

 receive rebates or kick-backs from Manufacturing Defendants. Distributor Defendants have acted

 willfully, wantonly, and maliciously.

                 As a proximate result, Manufacturing and Distributor Defendants and its agents

 have caused Dallas County to incur excessive costs to treat the opioid epidemic in its county,

 including but not limited to increased costs of social services, health systems, law enforcement,

 judicial system, and treatment facilities.

                 Dallas County and its residents are therefore entitled to actual and punitive

 damages.

              LX.  FOURTH CAUSE OF ACTION: GROSS NEGLIGENCE
            AGAIIMST MANUFACTURING AND DISTRIBUTING DEFENDANTS

                Dallas County incorporates the allegations within all prior paragraphs within this

 Complaint as if they were fully set forth herein.

                Defendants' marketing scheme to optimize profits by misrepresenting and falsely

 touting opioids as the panacea to chronic pain was done intentionally.

                Defendants' hiring of KOLs, Front Groups, and others to spread its fraudulent

 message that opioids were useful and beneficial for chronic pain was grossly negligent and done with

 conscious indifference or reckless disregard for the safety of others.

                Each Defendant's actions and omissions as described herein, singularly or in

 combination with each other, was malicious resulting in damages and injuries to Dallas County and




 PLAINTIFF'S ORIGINAL PETITION WITH DISCOVERY                                                         55
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 its residents.

                  At every stage, Defendants knew or should have known that their conduct would

 create an unreasonable risk of physical harm to others, including Dallas County and its residents, and

 should be held liable in punitive and exemplary damages to Dallas County.

                            X.    FIFTH CAUSE OF ACTION:
                        TEXAS CONTROLLED SUBSTANCES ACT ("TCSA")
                      AGAINST DISTRIBUTOR DEFENDANTS, DR. ANDREWS,
                              DR. OKECHUKU, AND DR. PADRON

                  Dallas County re-alleges and incorporates by reference each of the allegations

 contained in the preceding paragraphs of this Complaint as though fully alleged herein.

                  Distributor Defendants have knowingly distributed, delivered, administered, or

 dispensed a controlled substance in violation of the Texas Controlled Substances Act

 §481.128(a)(1) by deceiving practitioners into prescribing, dispensing, delivering, or

 administering a controlled substance, or causing a controlled substance to be administered when

 there is no valid medical purpose. Tex. Health & Safety Code §481.071.

                  As alleged herein, each Distributor Defendant, at all times relevant to this

 Complaint, violated the Texas Controlled Substance Act by making deceptive representations about

 using opioids to treat chronic pain. Each Distributor Defendant also omitted or concealed material

 facts and failed to correct prior misrepresentations and omissions about the risks and benefits of

 opioids. Each Distributor Defendant's omissions rendered even their seemingly truthful statements

 about opioids deceptive.

                  Distributor Defendants' deceptive representations and concealments were

 reasonably calculated to deceive practitioners treating Dallas County residents into prescribing

 opioids without any valid medical purpose, and Distributor Defendants continue to do so to this

 day.




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                 Dr. Andrews, Dr. Okechuku, and Dr. Padron prescribed opioids without a valid

 medical purpose in violation of Texas Health & Safety Code Section 481.071(a).

                 As a direct and proximate cause of Distributor Defendants' and the physicians'

 deceptive conduct, Dallas County should be awarded civil penalties pursuant to the Texas

 Controlled Substances Act.

                 Xl.     SIXTH CAUSE OF ACTION: UNJUST ENRICHMENT
                                AGAINST ALLDEFENI)ANTS

                 Dallas County re-alleges and incorporates by reference each of the allegations

 contained in the preceding paragraphs of this Complaint as though fully alleged herein.

                 As an expected and intended result of their conscious wrongdoing as set forth in

 this Complaint, Defendants have profited and benefited from opioid purchases made by Dallas

 County and its residents.

                 When Dallas County and its residents purchased opioids, they expected that

 Defendants had provided necessary and accurate information regarding those risks. Instead,

 Defendants had misrepresented the material facts regarding the risks and benefits of opioids.

                 Defendants have been unjustly enriched at the expense of Dallas County, and Dallas

 County is therefore entitled to damages to be determined by the jury.

                                        PRAYER FOR RELIEF

         WHEREFORE, Plaintiff respectfully prays:

                         That the acts alleged herein be adjudged and decreed to be unlawful and that
                         the Court enter a judgment declaring them to be so;

                         That Defendants be enjoined from, directly or indirectly through KOLs,
                         Front Groups or other third parties, continuing to misrepresent the risks and
                         benefits of the use of opioids for chronic pain, and from continuing to
                         violate Texas law;

                 C.      That Plaintiff recover all measures of damages, including punitive and




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                         exemplary damages, allowable under the law, and that judgment be entered
                         against Defendants in favor of Plaintiff;

                         That Plaintiff recover restitution on behalf of Dallas County consumers who
                         paid for opioids for chronic pain;

                         That Plaintiff recover the costs and expenses of suit, pre- and post-judgment
                         interest, and reasonable attorneys' fees as provided by law; and

                         That Defendants be ordered to abate the public nuisance that they created in
                         in violation of Texas common law.


 Date: January 8, 2018

                                        Respectfully Submitted,

                                        THE LANIER LAW FIRM

                                        /s/W Mark Lanier
                                        W. Mark Lanier
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                           CAUSE NO.


  COUNTY OF DALLAS,                         IN THE DISTRICT COURT

        Plaintiff

  vs.                                              JUDICIAL DISTRICT

  PURDUE PHARMA L.P.;
  PURDUE PHARMA INC.;
  THE PURDUE FREDERICK COMPANY;
  JOHNSON & JOHNSON;                        DALLAS COUNTY, TEXAS
  JANSSEN PHARMACEUTICALS, INC.;
  ORTHO-MCNEIL-JANSSEN
  PHARMACEUTICALS, INC. n/k/a
  JANSSEN PHARMACEUTICALS, INC.;
  JANSSEN PHARMACEUTICA, INC. n/k/a
  JANSSEN PHARMACEUTICALS, INC.;
  ENDO HEALTH SOLUTIONS INC.;
  ENDO PHARMACEUTICALS, INC.;
  ABS VIE INC.;
  KNOLL PHARMACEUTICAL
  COMPANY, a wholly-owned subsidiary of
  A13I3 VIE INC.;
  ALLERGAN PLC filc/a ACTAVIS PLC;
  ALLERGAN FINANCE LLC 17k/a
  ACTAVIS, INC. f/k/a WATSON
  PHARMACEUTICALS, INC.;
  WATSON LABORATORIES, INC.;
  ACTAVIS LLC;
  ACTAVIS PHARMA, INC. flkIa WATSON
  PHARMA, INC.;
  MCKESSON CORPORATION;
  CARDINAL HEALTH, INC.;
  AMERISOURCEBERGEN
  CORPORATION;
  DR. RICHARD ANDREWS;
  DR. THEODORE OKECHUKU;
  DR. NICOLAS PADRON; and
  DOES 1-100, INCLUSIVE,

        Defendants.
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      PLAINTIFF COUNTY OF DALLAS'S FIRST REOUESTS FOR PRODUCTION
            TO DEFENDANT AMERISOURCEBERGEN CORPORATION

        To:     Defendant Amerisourcebergen Corporation

        Plaintiff, COUNTY OF DALLAS, propounds its First Request for Production of

 Documents to Defendant, AMERISOURCEBERGEN CORPORATION, pursuant to Rule 196 of

 the Texas Rules of Civil Procedure, to be answered by each individual Defendant listed above,

 within fifty (50) days of service Defendants are requested to respond frilly, in writing, and in

 accordance with Rule 196. You are further advised that you are under a duty to reasonably supplement

 your answer.

                                       Respectfully Submitted,

                                       THE LAMER LAW FIRM

                                       /s/W. Mark Lanier
                                       W. Mark Lanier
                                       TX State Bar No. 11934600
                                       Reagan E. Bradford
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 CORPORATION                                                                                   Page 2
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                                      ltaylor@thecochranflrmdallas.com



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                               CERTIFICATE OF SERVICE

     I hereby certi& that on this 8' day of January, 2018, a true and correct copy of the foregoing
 document was caused to be served on all counsel of record in accordance with a manner authorized
 by the Texas Rules of Civil Procedure.

                                      /s/W. Mark Lanier
                                      W. Mark Lanier




 PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT AMERISOURCEBERGEN
 CORPORATION                                                                                 Page 3
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        I.       Please produce all documents and tangible things as they are kept in the usual
 course of business or organize and label them to correspond with the categories or numbered
 requests in this set of discovery.

               If any information or material is being withheld under any claim of privilege,
 protections or immunity, please state with specificity the particular privilege, protection or
 immunity asserted.

                If Defendant cannot produce requested information or material because it is not in
 Defendant's possession, custody or control, please identif3, the information or material, the reason
 the information or material is not in Defendant's possession, custody, or control, and the entity
 currently having possession, custody, or control over the information or material.

                When providing a date, please provide the exact day, month, and year. If the exact
 date is not known, please provide the best approximation of the date and clearly note that the date
 is an approximation.

                If responsive material is in electronic, magnetic, or digital form, Plaintiff
 respectfully requests production of such material in its original format. Plaintiff requests such
 material be provided on CD-ROM. If Defendants cannot produce said material via CD-ROM,
 please confer with Plaintiff's counsel to determine an alternative method to produce said material.

                 In the event a proper and timely objection is filed as to any requested material,
 please nevertheless respond to all portions of the request which do not fall within the scope of the
 objection. For example, if a request is objected to on the ground that is too broad insofar as it seeks
 documents covering years Defendant believes are not relevant to this litigation; please nevertheless
 produce documents for all years which Defendant concedes are relevant.




          I.    "You" and "Your" and "Defendant" mean Amerisourcebergen Corporation, as
 well as other natural persons, businesses or legal entities acting or purporting to act for or on behalf
 of Amerisourcebergen Corporation.

                 "Person" and "Witness," means the plural as well as the singular and includes:
 natural persons, governmental agencies, municipalities, departments, units, or any subdivisions,
 corporations, firms, associations, partnerships, joint ventures, or any other form of business entity.

               The terms "and" and "or" as used herein are to be interpreted both disjunctively
 and conjunctively.

              The words "document" or "documents" shall mean the original of the information
 recorded in a tangible form including, but not limited to, information printed, typewritten,




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 CORPORATION                                                                                      Page 4
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 handwritten, photographed, filed, e-mailed, recorded by electronic means upon a tape or disk or
 any other means of recording and shall include (but not be limited to): letters; e-mails; memoranda;
 handwritten notes; agreements; deeds; contracts; promissory notes; books; pamphlets; brochures;
 newspapers; magazines; periodicals; catalogs; price lists; checks; canceled checks; invoices; sales
 receipts; charge receipts; personal receipts; bank records; tapes; computer printouts; data cards;
 programs or other input or output of data processing systems; photographs (positive print or
 negative); transcripts of interviews or testimony before any person, officer, or body whether sworn
 or unsworn; written statements or notes of interview or testimony; diaries; calendars; logs; expense
 records or other financial data; charts; graphs; maps; drawings or other representational depiction;
 telephone records; telegrams; telefax; phonograph records; magnetic tape, drum, or disk records;
 motion picture film; microfilm or microfiche. The terms "document" or "documents" shall also
 mean every copy of a document where such copy is not an identical duplicate of the original, and
 shall include all postscripts, notations, addendums, changes, notations, modifications, alterations
 or revisions of each document or documents.

               "Ldenti'," as used herein with respect to a person, corporation, or other entity,
 means to provide the name, address, and telephone number of such person.

                   "Identify," as used herein with respect to a document, means to state with respect
 to such document sufficient detail to permit another party to this lawsuit to locate and identify such
 document. Such information and detail might include for each document: (i) the name of the
 person who prepared it; (ii) the name of the person who signed it, or over whose name it was
 issued; (iii) the name of each person to whom it was addressed and/or sent or distributed; (iv) the
 general type of such documents (e.g., letter, memorandum, contract, etc.); (v) the date of such
 document, or if it bears no date, the date on or about which it was made or prepared, (vi) the
 physical location of such document; and (vii) the name and address of the persons having
 possession, custody, or control of such document. In lieu of providing such information and detail,
 you may attach such document to your answer to these Interrogatories and indicate for which
 Interrogatory each document is applicable.

                The term "regarding", as used herein, shall mean, in an indirect manner, contain,
 record, discuss, mention, note, evidence, memorialize, analyze, describe, comment upon, refer to,
 have any connection with or have any tendency to prove or disprove the matter set forth.

                 The term "relate(s) to" or "relating to," as used herein shall mean, in an indirect
 manner, contain, record, discuss, mention, note, evidence, memorialize, analyze, describe,
 comment upon, refer to, have any connection with or have any tendency to prove or disprove the
 matters set forth.

                The word "correspondence" as used herein shall include any and all written
 correspondence, including, but not limited to, electronic mail (e-mail), letters, notes, text messages,
 messages on any social media platforms, and memorandum, and oral communications which were
 recorded or memorialized in any manner, including recorded messages, voicemail messages, notes
 taken during phone conversations, and notes taken during meetings.




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          10.    Wherever appropriate, the singular form of a word shall be interpreted as including
 the plural, and the masculine form of a word shalt be interpreted as including the feminine.




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 CORPORATION                                                                                 Page 6
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                      REQUEST FOR PRODUCTION OF DOCUMENTS

 REQUEST FOR PRODUCTION NO. 1:                    Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2009.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2009; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2009; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2009; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2009; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2009; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2009; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2009; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2009; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2009; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2009; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2009.

            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone


 REQUEST FOR PRODUCTION NO. 2: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2010.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2010; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or


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 CORPORATION                                                                                   Page 7
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 promoters for the below generic opioid pharmaceuticals for the year 2010; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2010; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2010; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2010; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2010; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2010; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2010; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2010; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2010; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2010.


            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone



 REQUEST FOR PRODUCTION NO. 3: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2011.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2011; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2011; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2011; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2011; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2011; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for



 PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT AMERISOURCEBERGEN
 CORPORATION                                                                                  Page 8
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 the year 2011; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2011; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2011; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2011; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2011; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2011.


            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone



 REQUEST FOR PRODUCTION NO. 4:                  Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2012.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2012; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2012; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2012; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2012; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2012; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2012; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2012; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2012; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2012; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2012; and (xi) distribution materials or data



 PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT AMERISOURCEBERGEN
 CORPORATION                                                                                  Page 9
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 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2012.


            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone



 REQUEST FOR PRODUCTION NO. 5:                  Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2013.
 This request includes, but is not limited to, (I) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2013; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2013; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2013; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2013; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2013; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2013; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2013; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2013; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2013; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2013; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2013.


            Fentanyl
            Oxycodone
            1-lydromorphone
            Oxymorphone
            Tramadol



 PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT AMERISOURCEBERGEN
 CORPORATION                                                                                 Page 10
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         F. Hydrocodone


  REQUEST FOR PRODUCTION NO. 6:                   Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2014.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2014; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2014; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2014; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2014; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2014; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2014; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2014; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2014; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2014; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2014; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2014.

            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone


 REQUEST FOR PRODUCTION NO. 7: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2015.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for



 PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT AMERISOURCEBERGEN
 CORPORATION                                                                                  Page II
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 the year 2015; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2015; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2015; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2015; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2015; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2015; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2015; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2015; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2015; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2015; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2015.


            Fentanyl
            Oxycodone
            1-lydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone



 REQUEST FOR PRODUCTION NO. 8: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2016.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2016; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2016; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2016; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2016; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2016; (vi) instructions received from or sent to any manufacturers,



 PLAINTIFF'S FIRST REQUESTS FOR PRoDuCTION TO DEFENDANT AMERISOURCEBERGEN
 CORPORATION                                                                                 Page 12
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 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2016; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2016; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2016; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2016; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2016; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2016.


            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone



 REQUEST FOR PRODUCTION NO. 9:                  Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2017.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2017; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2017; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2017; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2017; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2017; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2017; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2017; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2017; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2017; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for



 PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT AMERISOURCEBERGEN
 CORPORATION                                                                                 Page 13
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 the below generic opioid pharmaceuticals for the year 2017; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2017.

            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadot
            1-Jydrocodone




 PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT AMERISOURCEBERGEN
 CORPORATION                                                                                Page 14
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                           CAUSE NO.


  COUNTY OF DALLAS,                         IN THE DISTRICT COURT

        Plaint(if

  vs.                                              JUDICIAL DISTRICT

  PURDUE PHARMA L.P.;
  PURDUE PHARMA INC.;
  THE PURDUE FREDERICK COMPANY;
  JOHNSON & JOHNSON;                        DALLAS COUNTY, TEXAS
  JANSSEN PHARMACEUTICALS, INC.;
  ORTHO-MCNEIL-JANSSEN
  PHARMACEUTICALS, INC. n/k/a
  JANSSEN PHARMACEUTICALS, INC.;
  JANSSEN PHARMACEUTICA, INC. n/k/a
  JANSSEN PHARMACEUTICALS, INC.;
  ENDO HEALTH SOLUTIONS INC.;
  ENDO PHARMACEUTICALS, INC.;
  ABBVIE INC.;
  KNOLL PHARMACEUTICAL
  COMPANY, a wholly-owned subsidiary of
  ABB VIE INC.;
  ALLERGAN PLC f/k/a ACTAVIS PLC;
  ALLERGAN FINANCE LLC f/k/a
  ACTAVIS, INC. f/k/a WATSON
  PHARMACEUTICALS, INC.;
  WATSON LABORATORIES, INC.;
  ACTAVIS LLC;
  ACTAVIS PHARMA, INC. f/k/a WATSON
  PHARMA, INC.;
  MCKESSON CORPORATION;
  CARDINAL HEALTH, INC.;
  AMERISOURCEBERGEN
  CORPORATION;
  DR. RICHARD ANDREWS;
  DR. THEODORE OKECHIUKU;
  DR. NICOLAS PADRON; and
  DOES 1-100, INCLUSIVE,

        Defendants.
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            PLAINTIFF COUNTY OF DALLAS'S FIRST INTERROGATORIES
              TO DEFENDANT AMERISOURCEBERGEN CORPORATION

        To:     Defendant AmerisourceBergen Corporation

        Plaintiff, COUNTY OF DALLAS, propounds this First Set of Interrogatories to Defendant

 AMERISOURCEBERGEN CORPORATION. Pursuant to Rule 197 of the Texas Rules of Civil

 Procedure, the following interrogatories are submitted to be answered by you. The answers shall

 be signed, and sworn to, by you, and shall be served upon the undersigned within fifty (50) days

 after the date upon which you are served with a copy of these interrogatories.

        You are further advised that you are under duty to supplement your answers to these

 interrogatories in the event you obtain information upon the basis of which (I) you know that the

 response was incorrect or incomplete when made, (2) or you know that the response, though

 correct and complete when made, is no longer true and complete and the circumstances are such

 that the failure to amend the answer is in substance misleading.




                                      Respectfully Submitted,

                                      THE LAMER LAW FIRM

                                      /c/W. Mark Lanier
                                      W. Mark Lanier
                                      TX State Bar No. 11934600
                                      Reagan E. Bradford
                                      TX State Bar No. 24102721
                                      6810 FM 1960 West
                                      Houston, TX 77069
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                                      wml@lanierlawftrm.com
                                      reagan.bradford@lanierlawfirm.com




 PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT AMERISOURCEBERGEN
 CORPORATION                                                                                Page 2
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                                       SIMON GREENSTONE PANATIER BARTLETT,
                                       P.C.
                                       Jeffrey B. Simon
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                                       Amy M. Carter
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                                       THE COCHRAN FIRM
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                                       ltaylor@thecochranfirmdallas.com


 Dallas County District Attorney's Office

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 Russell H. Roden
 Assistant District Attorney
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 Fax: 214-653-5774
 Russell.roden®dallascounty.org


                               CERTIFICATE OF SERVICE

     I hereby certi& that on this gth day of January, 2018, a true and correct copy of the foregoing
 document was caused to be served on all counsel of record in accordance with a manner authorized
 by the Texas Rules of Civil Procedure.

                                      /s/W. Mark Limier
                                      W. Mark Lanier


 PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT AMERISOURCEBERGEN
 CORPORATION                                                                                  Page 3
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          I.     "You" and "Your" and "Defendant" mean Amerisourcebergen Corporation, as
 well as other natural persons, businesses or legal entities acting or purporting to act for or on behalf
 of Amerisourcebergen Corporation.

                 "Person" and "Witness," means the plural as well as the singular and includes:
 natural persons, governmental agencies, municipalities, departments, units, or any subdivisions,
 corporations, firms, associations, partnerships, joint ventures, or any other form of business entity.

               The terms "and" and "or" as used herein are to be interpreted both disjunctively
 and conjunctively.

                 The words "document" or "documents" shall mean the original of the information
 recorded in a tangible form including, but not limited to, information printed, typewritten,
 handwritten, photographed, filed, e-mailed, recorded by electronic means upon a tape or disk or
 any other means of recording and shall include (but not be limited to): letters; e-mails; memoranda;
 handwritten notes; agreements; deeds; contracts; promissory notes; books; pamphlets; brochures;
 newspapers; magazines; periodicals; catalogs; price lists; checks; canceled checks; invoices; sales
 receipts; charge receipts; personal receipts; bank records; tapes; computer printouts; data cards;
 programs or other input or output of data processing systems; photographs (positive print or
 negative); transcripts of interviews or testimony before any person, officer, or body whether sworn
 or unsworn; written statements or notes of interview or testimony; diaries; calendars; logs; expense
 records or other financial data; charts; graphs; maps; drawings or other representational depiction;
 telephone records; telegrams; telefax; phonograph records; magnetic tape, drum, or disk records;
 motion picture film; microfilm or microfiche. The terms "document" or "documents" shall also
 mean every copy of a document where such copy is not an identical duplicate of the original, and
 shall include all postscripts, notations, addendums, changes, notations, modifications, alterations
 or revisions of each document or documents.

               "Identify," as used herein with respect to a person, corporation, or other entity,
 means to provide the name, address, and telephone number of such person.

                  "IdentitS'," as used herein with respect to a document, means to state with respect
 to such document sufficient detail to permit another party to this lawsuit to locate and identifS' such
 document. Such information and detail might include for each document: (i) the name of the
 person who prepared it; (ii) the name of the person who signed it, or over whose name it was
 issued; (iii) the name of each person to whom it was addressed and/or sent or distributed; (iv) the
 general type of such documents (e.g., letter, memorandum, contract, etc.); (v) the date of such
 document, or if it bears no date, the date on or about which it was made or prepared, (vi) the
 physical location of such document; and (vii) the name and address of the persons having
 possession, custody, or control of such document. In lieu of providing such information and detail,
 you may attach such document to your answer to these Interrogatories and indicate for which
 Interrogatory each document is applicable.




 PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT AMERISOURCEBERGEN
 CORPORATION                                                                                      Page 4
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                The term "regarding", as used herein, shall mean, in an indirect manner, contain,
 record, discuss, mention, note, evidence, memorialize, analyze, describe, comment upon, refer to,
 have any connection with or have any tendency to prove or disprove the matter set forth.

                 The term "relate(s) to" or "relating to," as used herein shall mean, in an indirect
 manner, contain, record, discuss, mention, note, evidence, memorialize, analyze, describe,
 comment upon, refer to, have any connection with or have any tendency to prove or disprove the
 matters set forth.

                The word "correspondence" as used herein shall include any and all written
 correspondence, including, but not limited to, electronic mail (e-mail), letters, notes, text messages,
 messages on any social media platforms, and memorandum, and oral communications which were
 recorded or memorialized in any manner, including recorded messages, voicemail messages, notes
 taken during phone conversations, and notes taken during meetings.

                 Wherever appropriate, the singular form of a word shall be interpreted as including
 the plural, and the masculine form of a word shall be interpreted as including the feminine.




 PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT AMERISOURCEBERGEN
 CORPORATION                                                                                     Page 5
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                                   INTERROGATORIES

 INTERROGATORY NO. 1: Identify the manufacturers, producers, distributors, sellers, and/or
 promoters for each of the following generic opioid pharmaceutical drugs for each of the years
 2009, 2010, 2011, 2012, 2013, 2014, 2015, 2016, and 2017:

           Fentanyl
           Oxycodone
           Hydromorphone
           Oxymorphone
           Tramadol
           Hydrocodone




 PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT AMERISOURCEBERGEN
 CORPORATION                                                                            Page 6
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                           CAUSE NO.


  COUNTY OF DALLAS,                         IN THE DISTRICT COURT

        P/a/nit/f

  vs.                                              JUDICIAL DISTRICT

  PURDUE PHARMA L.P.;
  PURDUE PHARMA INC.;
  THE PURDUE FREDERICK COMPANY;
  .JOHNSON & JOHNSON;                       DALLAS COUNTY, TEXAS
  JANSSEN PHARMACEUTICALS, INC.;
  ORTHO-MCNEIL-JANSSEN
  PHARMACEUTICALS, INC. n/k/a
  JANSSEN PHARMACEUTICALS, INC.;
  JANSSEN PHARMACEUTICA, INC. n/k/a
  JANSSEN PHARMACEUTICALS, INC.;
  ENDO HEALTH SOLUTIONS INC.;
  ENIDO PHARMACEUTICALS, INC.;
  ABB VIE INC.;
  KNOLL PHARMACEUTICAL
  COMPANY, a wholly-owned subsidiary of
  ABS VIE INC.;
  ALLERGAN PLC f/k/a ACTAVIS PLC;
  ALLERGAN FINANCE LLC f/k/a
  ACTAVIS, INC. f/k/a WATSON
  PHARMACEUTICALS, INC.;
  WATSON LABORATORIES, INC.;
  ACTAVIS LLC;
  ACTAVIS PHARMA, INC. f/k/a WATSON
  PHARMA, INC.;
  MCKESSON CORPORATION;
  CARDINAL HEALTH, INC.;
  AMIERESOURCEBERGEN
  CORPORATION;
  DR. RICHARD ANDREWS;
  DR. THEODORE OKECHUKU;
  DR. NICOLAS PADRON; and
  DOES I - 100, INCLUSIVE,

        Defendants.
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     PLAINTIFF COUNTY OF DALLAS'S FIRST REQUESTS FOR PRODUCTION
                 TO DEFENDANT CARDINAL HEALTH, INC.

        To:     Defendant Cardinal Health, Inc.

        Plaintiff, COUNTY OF DALLAS, propounds its First Request for Production of

 Documents to Defendant, CARDINAL HEALTH, INC., pursuant to Rule 196 of the Texas Rules

 of Civil Procedure, to be answered by each individual Defendant listed above, within fifty (50)

 days of service Defendants are requested to respond filly, in writing, and in accordance with Rule

 196. You are further advised that you are under a duty to reasonably supplement your answer.

                                      Respectfully Submitted,

                                      THE LANIER LAW FIRM

                                      IsIW. Mark Lanier
                                      W. Mark Lanier
                                      TX State Bar No. 11934600
                                      Reagan E. Bradford
                                      TX State Bar No. 24102721
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                                      SIMON GREENSTONE PANATIER BARTLETT,
                                      P.C.
                                      Jeffrey B. Simon
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                                      Amy M. Carter
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                                      Fax: 214-276-7699
                                      jsimonsgpblaw.com
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 PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT CARDINAL HEALTH, INC.
                                                                                                Page 2
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                                      THE COCHRAN FIRM
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 Dallas County District Attorney's Office

 Is/Russell H. Roden
  Russell H. Roden
  Assistant District Attorney
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  Dallas, TX 75207
 Tel: 214-653-3600
 Fax: 214-653-5774
 Russell.rodendallascounty.org



                               CERTIFICATE OF SERVICE

    I hereby certi& that on this 8' day of January, 2018, a true and correct copy of the foregoing
 document was caused to be served on all counsel of record in accordance with a manner authorized
 by the Texas Rules of Civil Procedure.

                                     /s/W. Mark Lanier
                                     W. Mark Lanier




 PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT CARDINAL HEALTH, INC.
                                                                                            Page 3
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                                          INSTRUCTIONS

        I.       Please produce all documents and tangible things as they are kept in the usual
 course of business or organize and label them to correspond with the categories or numbered
 requests in this set ofdiscovery.

               If any information or material is being withheld under any claim of privilege,
 protections or immunity, please state with specificity the particular privilege, protection or
 immunity asserted.

                If Defendant cannot produce requested information or material because it is not in
 Defendant's possession, custody or control, please identify the information or material, the reason
 the information or material is not in Defendant's possession, custody, or control, and the entity
 currently having possession, custody, or control over the information or material.

                When providing a date, please provide the exact day, month, and year. If the exact
 date is not known, please provide the best approximation of the date and clearly note that the date
 is an approximation.

                If responsive material is in electronic, magnetic, or digital form, Plaintiff
 respectfully requests production of such material in its original format. Plaintiff requests such
 material be provided on CD-ROM. If Defendants cannot produce said material via CD-ROM,
 please confer with Plaintiff's counsel to determine an alternative method to produce said material.

                 In the event a proper and timely objection is filed as to any requested material,
 please nevertheless respond to all portions of the request which do not fall within the scope of the
 objection. For example, if a request is objected to on the ground that is too broad insofar as it seeks
 documents covering years Defendant believes are not relevant to this litigation; please nevertheless
 produce documents for all years which Defendant concedes are relevant.




          I.   "You" and "Your" and "Defendant" mean Cardinal Health, Inc., as well as other
 natural persons, businesses or legal entities acting or purporting to act for or on behalf of Cardinal
 Health, Inc.

                 "Person" and "Witness," means the plural as well as the singular and includes:
 natural persons, governmental agencies, municipalities, departments, units, or any subdivisions,
 corporations, firms, associations, partnerships, joint ventures, or any other form of business entity.

               The terms "and" and "or" as used herein are to be interpreted both disjunctively
 and conjunctively.

              The words "document" or "documents" shall mean the original of the information
 recorded in a tangible form including, but not limited to, information printed, typewritten,




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 handwritten, photographed, filed, e-mailed, recorded by electronic means upon a tape or disk or
 any other means of recording and shall include (but not be limited to): letters; e-mails; memoranda;
 handwritten notes; agreements; deeds; contracts; promissory notes; books; pamphlets; brochures;
 newspapers; magazines; periodicals; catalogs; price lists; checks; canceled checks; invoices; sales
 receipts; charge receipts; personal receipts; bank records; tapes; computer printouts; data cards;
 programs or other input or output of data processing systems; photographs (positive print or
 negative); transcripts of interviews or testimony before any person, officer, or body whether sworn
 or unsworn; written statements or notes of interview or testimony; diaries; calendars; logs; expense
 records or other financial data; charts; graphs; maps; drawings or other representational depiction;
 telephone records; telegrams; telefax; phonograph records; magnetic tape, drum, or disk records;
 motion picture film; microfilm or microfiche. The terms "document" or "documents" shall also
 mean every copy of a document where such copy is not an identical duplicate of the original, and
 shall include all postscripts, notations, addendums, changes, notations, modifications, alterations
 or revisions of each document or documents.

               "Identify," as used herein with respect to a person, corporation, or other entity,
 means to provide the name, address, and telephone number of such person.

                  "Identify," as used herein with respect to a document, means to state with respect
 to such document sufficient detail to permit another party to this lawsuit to locate and identify such
 document. Such information and detail might include for each document: (i) the name of the
 person who prepared it; (ii) the name of the person who signed it, or over whose name it was
 issued; (iii) the name of each person to whom it was addressed and/or sent or distributed; (iv) the
 general type of such documents (e.g., letter, memorandum, contract, etc.); (v) the date of such
 document, or if it bears no date, the date on or about which it was made or prepared, (vi) the
 physical location of such document; and (vii) the name and address of the persons having
 possession, custody, or control of such document. In lieu of providing such information and detail,
 you may attach such document to your answer to these Interrogatories and indicate for which
 Interrogatory each document is applicable.

                The term "regarding", as used herein, shall mean, in an indirect manner, contain,
 record, discuss, mention, note, evidence, memorialize, analyze, describe, comment upon, refer to,
 have any connection with or have any tendency to prove or disprove the matter set forth.

                 The term "relate(s) to" or "relating to," as used herein shall mean, in an indirect
 manner, contain, record, discuss, mention, note, evidence, memorialize, analyze, describe,
 comment upon, refer to, have any connection with or have any tendency to prove or disprove the
 matters set forth.

                The word "correspondence" as used herein shall include any and all written
 correspondence, including, but not limited to, electronic mail (e-mail), letters, notes, text messages,
 messages on any social media platforms, and memorandum, and oral communications which were
 recorded or memorialized in any manner, including recorded messages, voicemail messages, notes
 taken during phone conversations, and notes taken during meetings.




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          10.    Wherever appropriate, the singular form ofa word shall be interpreted as including
 the plural, and the masculine form ofa word shall be interpreted as including the feminine.




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                      REQUEST FOR PRODUCTION OF DOCUMENTS

 REQUEST FOR PRODUCTION NO. I: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2009.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2009; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2009; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2009; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2009; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2009; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2009; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2009; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2009; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2009; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for theyear 2009; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2009.

            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone


 REQUEST FOR PRODUCTION NO. 2: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2010.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2010; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or


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 promoters for the below generic opioid pharmaceuticals for the year 2010; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2010; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2010; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2010; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2010; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2010; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2010; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2010; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2010; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2010.


            Fentanyl
            Oxycodone
            1-lydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone



 REQUEST FOR PRODUCTION NO. 3:                  Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2011.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2011; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2011; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2011; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2011; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2011; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for



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 the year 2011; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2011; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2011; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2011; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2011; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2011.


            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
        F. Tramadol
        F. Hydrocodone



 REQUEST FOR PRODUCTION NO. 4:                  Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2012.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2012; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2012; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2012; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2012; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2012; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2012; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2012; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2012; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2012; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2012; and (xi) distribution materials or data



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 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2012.


            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone



 REQUEST FOR PRODUCTION NO. 5: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2013.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2013; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2013; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2013; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2013; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2013; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 20)3; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2013; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2013; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2013; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2013; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2013.


            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol



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         F. Hydrocodone


 REQUEST FOR PRODUCTION NO. 6:                    Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2014.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2014; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2014; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2014; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2014; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2014; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2014; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2014; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2014; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2014; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2014; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2014.

            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone


 REQUEST FOR PRODUCTION NO. 7: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2015.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for



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 the year 2015; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2015; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2015; (iv) promotional materials. received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2015; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2015; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2015; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2015; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2015; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2015; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2015; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2015.


            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone



 REOUEST FOR PRODUCTION NO. 8: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2016.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2016; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2016; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2016; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2016; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2016; (vi) instructions received from or sent to any manufacturers,



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 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2016; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2016; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2016; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2016; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2016; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2016.


            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone



 REQUEST FOR PRODUCTION NO. 9:                  Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2017.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2017; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2017; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2017; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2017; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2017; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2017; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2017; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2017; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2017; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for



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 the below generic opioid pharmaceuticals for the year 2017; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2017.


            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone




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                           CAUSE NO.


  COUNTY OF DALLAS,                         IN THE DISTRICT COURT

        Plaintiff

  vs.                                              JUDICIAL DISTRICT

  PURDUE PHARMA L.P.;
  PURDUE PHARMA INC.;
  THE PURDUE FREDERICK COMPANY;
  JOHNSON & JOHI4SON;                       DALLAS COUNTY, TEXAS
  JANSSEN PHARMACEUTICALS, INC.;
  ORTHO-MCNEIL-JANSSEN
  PHARMACEUTICALS, INC. n/Ida
  JANSSEN PHARMACEUTICALS, INC.;
  JANSSEN PHARMACEUTICA, INC. n/k/a
  JANSSEN PHARMACEUTICALS, INC.;
  ENDO HEALTH SOLUTIONS INC.;
  ENDO PHARMACEUTICALS, INC.;
  ABB VIE INC.;
  KNOLL PHARMACEUTICAL
  COMPANY, a wholly-owned subsidiary of
  ABS VIE INC.;
  ALLERGAN PLC flk/a ACTAVIS PLC;
  ALLERGAN FINANCE LLC f/k/a
  ACTAVIS, INC. f/k/a WATSON
  PHARMACEUTICALS, INC.;
  WATSON LABORATORIES, INC.;
  ACTAVIS LLC;
  ACTAVIS PHARMA, INC. f/k/a WATSON
  PHARMA, INC.;
  MCKESSON CORPORATION;
  CARDINAL HEALTH, INC.;
  AMERISOURCEBERGEN
  CORPORATION;
  DR. RICHARD ANDREWS;
  DR. THEODORE OKECHUKU;
  DR. NICOLAS PADRON; and
  DOES 1-100, INCLUSIVE,

        Defendants.
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              PLAINTIFF COUNTY OF DALLAS'S FIRST INTERROGATORIES
                      TO DEFENDANT CARDINAL HEALTH, INC.

        To:     Defendant Cardinal Health, Inc.

        Plaintiff, COUNTY OF DALLAS, propounds this First Set of Interrogatories to Defendant

 CARDINAL HEALTH, INC. Pursuant to Rule 197 of the Texas Rules of Civil Procedure, the

 following interrogatories are submitted to be answered by you. The answers shall be signed, and

 sworn to, by you, and shall be served upon the undersigned within fifty (50) days after the date

 upon which you are served with a copy of these interrogatories.

        You are further advised that you are under duty to supplement your answers to these

 interrogatories in the event you obtain information upon the basis of which (I) you know that the

 response was incorrect or incomplete when made, (2) or you know that the response, though

 correct and complete when made, is no longer true and complete and the circumstances are such

 that the failure to amend the answer is in substance misleading.



                                       Respectfully Submitted,

                                      TILE LANIER LAW FIRM

                                      /s/W. Mark Lan/er
                                      W. Mark Lanier
                                      TX State Bar No. 11934600
                                      Reagan E. Bradford
                                      TX State Bar No. 24102721
                                      6810 FM 1960 West
                                      Houston, TX 77069
                                      Tel: 713-659-5200
                                      Fax: 713-659-2204
                                      wml@lanierlawflrm.com
                                      reagan.bradford®lanierlawfirm.com




 PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT CARDINAL HEALTH, INC.                Page 2
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                                      SIMON GREENSTONE PANATLER BARTLETT,
                                      P.C.
                                       Jeffrey B. Simon
                                      TX State Bar No. 00788420
                                      Amy M. Carter
                                      TX State Bar No. 24004580
                                      3232 McKinney Avenue, Suite 610
                                      Dallas, Texas 75204
                                      Tel: 214-276-7680
                                      Fax: 214-276-7699
                                      jsimonsgpblaw.com
                                      acartersgpblaw.com

                                      THE COCHRAN FIRM
                                      Larry F. Taylor, Jr.
                                      TX State Bar No. 24071156
                                      3400 Carlisle Street, Suite 550
                                      Dallas, TX 75204
                                      Tel: 214-651-4260
                                      Fax: 214-651-4261
                                      ltaylorthecochranfirmdallas.com


 Dallas County District Attorney's Office

 /s/Russell H. Roden
 Russell H. Roden
 Assistant District Attorney
 TX State Bar No. 17132070
 133 N. Riverfront Blvd., LB 19
 Dallas, TX 75207
 Tel: 214-653-3600
 Fax: 214-653-5774
 Russell.roden®dallascounty.org


                               CERTIFICATE OF SERVICE

    I hereby certi& that on this 8' day of January, 2018, a true and correct copy of the foregoing
 document was caused to be served on all counsel of record in accordance with a manner authorized
 by the Texas Rules of Civil Procedure.

                                      /s/W   Mark Lanier
                                      W. Mark Lanier




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                                           DEFINITIONS

          I.    "You" and "Your" and "Defendant" mean Cardinal Health, Inc., as well as other
 natural persons, businesses or legal entities acting or purporting to act for or on behalf of Cardinal
 Health, Inc.

                 "Person" and "Witness," means the plural as well as the singular and includes:
 natural persons, governmental agencies, municipalities, departments, units, or any subdivisions,
 corporations, firms, associations, partnerships, joint ventures, or any other form of business entity.

               The terms "and" and "or" as used herein are to be interpreted both disjunctively
 and conjunctively.

                 The words "document" or "documents" shall mean the original of the information
 recorded in a tangible form including, but not limited to, information printed, typewritten,
 handwritten, photographed, filed, e-mailed, recorded by electronic means upon a tape or disk or
 any other means of recording and shall include (but not be limited to): letters; e-mails; memoranda;
 handwritten notes; agreements; deeds; contracts; promissory notes; books; pamphlets; brochures;
 newspapers; magazines; periodicals; catalogs; price lists; checks; canceled checks; invoices; sales
 receipts; charge receipts; personal receipts; bank records; tapes; computer printouts; data cards;
 programs or other input or output of data processing systems; photographs (positive print or
 negative); transcripts of interviews or testimony before any person, officer, or body whether sworn
 or unsworn; written statements or notes of interview or testimony; diaries; calendars; logs; expense
 records or other financial data; charts; graphs; maps; drawings or other representational depiction;
 telephone records; telegrams; telefax; phonograph records; magnetic tape, drum, or disk records;
 motion picture film; microfilm or microfiche. The terms "document" or "documents" shall also
 mean every copy of a document where such copy is not an identical duplicate of the original, and
 shall include all postscripts, notations, addendums, changes, notations, modifications, alterations
 or revisions of each document or documents.

               "Identify," as used herein with respect to a person, corporation, or other entity,
 means to provide the name, address, and telephone number of such person.

                  "Identify," as used herein with respect to a document, means to state with respect
 to such document sufficient detail to permit another party to this lawsuit to locate and identify such
 document. Such information and detail might include for each document: (i) the name of the
 person who prepared it; (ii) the name of the person who signed it, or over whose name it was
 issued; (iii) the name of each person to whom it was addressed and/or sent or distributed; (iv) the
 general type of such documents (e.g., letter, memorandum, contract, etc.); (v) the date of such
 document, or if it bears no date, the date on or about which it was made or prepared, (vi) the
 physical location of such document; and (vii) the name and address of the persons having
 possession, custody, or control of such document. In lieu of providing such information and detail,
 you may attach such document to your answer to these Interrogatories and indicate for which
 Interrogatory each document is applicable.


 PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT CARDINAL HEALTH, INC.                    Page 4
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                The term "regarding", as used herein, shall mean, in an indirect manner, contain,
 record, discuss, mention, note, evidence, memorialize, analyze, describe, comment upon, refer to,
 have any connection with or have any tendency to prove or disprove the matter set forth.

                 The term "relate(s) to" or "relating to," as used herein shall mean, in an indirect
 manner, contain, record, discuss, mention, note, evidence, memorialize, analyze, describe,
 comment upon, refer to, have any connection with or have any tendency to prove or disprove the
 matters set forth.

                The word "correspondence" as used herein shall include any and all written
 correspondence, including, but not limited to, electronic mail (e-mail), letters, notes, text messages,
 messages on any social media platforms, and memorandum, and oral communications which were
 recorded or memorialized in any manner, including recorded messages, voicemail messages, notes
 taken during phone conversations, and notes taken during meetings.

                 Wherever appropriate, the singular form of a word shall be interpreted as including
 the plural, and the masculine form ofa word shall be interpreted as including the feminine.




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                                   INTERROGATORIES

 INTERROGATORY NO. 1: IdentifS' the manufacturers, producers, distributors, sellers, and/or
 promoters for each of the following generic opioid pharmaceutical drugs for each of the years
 2009, 2010, 2011,2012,2013,2014,2015, 2016, and 2017:

           Fentanyl
           Oxycodone
           Hydromorphone
           Oxymorphone
           Tramadol
           Hydrocodone




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                           CAUSE NO.


  COUNTY OF DALLAS,                         IN THE DISTRICT COURT

        Plaint iff

  vs.                                              JUDICIAL DISTRICT

  PURDUE PHARMA L.P.;
  PURDUE PHARMA INC.;
  THE PURDUE FREDERICK COMPANY;
  JOHNSON & JOHNSON;                        DALLAS COUNTY, TEXAS
  JANSSEN PHARMACEUTICALS, INC.;
  ORTHO-MCNEIL-JANSSEN
  PHARMACEUTICALS, INC. n/k/a
  JANSSEN PHARMACEUTICALS, INC.;
  JANSSEN PHARMACEUTICA, INC. n/k/a
  JANSSEN PHARMACEUTICALS, INC.;
  ENDO HEALTH SOLUTIONS INC.;
  ENDO PHARMACEUTICALS, INC.;
  ABB VIE INC.;
  KNOLL PHARMACEUTICAL
  COMPANY, a wholly-owned subsidiary of
  ABBVIE INC.;
  ALLERGAN PLC f/k/a ACTAVIS PLC;
  ALLERGAN FINANCE LLC f/k/a
  ACTAVIS. INC. Uk/a WATSON
  PHARMACEUTICALS, INC.;
  WATSON LABORATORIES, INC.;
  ACTAVIS LLC;
  ACTAVIS PHARMA, INC. Uk/a WATSON
  PHARMA, INC.;
  MCKESSON CORPORATION;
  CARDINAL HEALTH, INC.;
  AMERISOURCEBERGEN
  CORPORATION;
  DR. RICHARD ANDREWS;
  DR. THEODORE OKECHUKU;
  DR. NICOLAS PADRON; and
  DOES 1-100, INCLUSIVE,

        Defendants.
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      PLAINTIFF COUNTY OF DALLAS'S FIRST REOUESTS FOR PRODUCTION
                 TO DEFENDANT MCKESSON CORPORATION

        To:     Defendant McKesson Corporation

        Plaintiff, COUNTY OF DALLAS, propounds its First Request for Production of

 Documents to Defendant, MCKESSON CORPORATION, pursuant to Rule 196 of the Texas

 Rules of Civil Procedure, to be answered by each individual Defendant listed above, within fifty

 (50) days of service Defendants are requested to respond fully, in writing, and in accordance with

 Rule 196. You are further advised that you are under a duty to reasonably supplement your answer.

                                      Respectfully Submitted,

                                      THE LANIER LAW FIRM

                                      /s/W. Mark Lan ier
                                      W. Mark Lanier
                                      TX State Bar No. 11934600
                                      Reagan E. Bradford
                                      TX State Bar No. 24102721
                                      6810 FM 1960 West
                                      Houston, TX 77069
                                      Tel: 713-659-5200
                                      Fax: 713-659-2204
                                      wml@lanierlawfirm.com
                                      reagan.bradfordlanierlawfirm.com

                                      SIMON GREENSTONE PANATIER BARTLETT,
                                      P.C.
                                      Jeffrey B. Simon
                                      TX State Bar No. 00788420
                                      Amy M. Carter
                                      TX State Bar No. 24004580
                                      3232 McKinney Avenue, Suite 610
                                      Dallas, Texas 75204
                                      Tel: 214-276-7680
                                      Fax: 214-276-7699
                                      jsimonsgpblaw.com
                                      acartersgpblaw.com




 PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT MCKESSON CORPORATION
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                                       THE COCHRAN FIRM
                                       Larry F. Taylor, Jr.
                                       TX State Bar No. 24071156
                                       3400 Carlisle Street, Suite 550
                                       Dallas, TX 75204
                                       Tel: 214-651-4260
                                       Fax: 214-651-4261
                                       ltaylorthecochranftrmdallas.com




 Dallas County District Attorney's Office

 Is/Russell H. Roden
 Russell H. Roden
 Assistant District Attorney
 TX State Bar No. 17132070
 133 N. Riverfront Blvd., LB 19
 Dallas, TX 75207
 Tel: 214-653-3600
 Fax: 214-653-5774
 Russell.rodendallascounty.org



                               CERTIFICATE OF SERVICE

    I hereby certifS' that on this 81h day of January, 2018, a true and correct copy of the foregoing
 document was caused to be served on all counsel of record in accordance with a manner authorized
 by the Texas Rules of Civil Procedure.

                                      /s/W.   Mark Lan/er
                                       W. Mark Lanier




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                 Please produce all documents and tangible things as they are kept in the usual
 course of business or organize and label them to correspond with the categories or numbered
 requests in this set of discovery.

               If any information or material is being withheld under any claim of privilege,
 protections or immunity, please state with specificity the particular privilege, protection or
 immunity asserted.

                If Defendant cannot produce requested information or material because it is not in
 Defendant's possession, custody or control, please identify the information or material, the reason
 the information or material is not in Defendant's possession, custody, or control, and the entity
 currently having possession, custody, or control over the information or material.

                When providing a date, please provide the exact day, month, and year. If the exact
 date is not known, please provide the best approximation of the date and clearly note that the date
 is an approximation.

                If responsive material is in electronic, magnetic, or digital form, Plaintiff
 respectfully requests production of such material in its original format. Plaintiff requests such
 material be provided on CD-ROM. If Defendants cannot produce said material via CD-ROM,
 please confer with Plaintiff s counsel to determine an alternative method to produce said material.

                 In the event a proper and timely objection is filed as to any requested material,
 please nevertheless respond to all portions of the request which do not fall within the scope of the
 objection. For example, if a request is objected to on the ground that is too broad insofar as it seeks
 documents covering years Defendant believes are not relevant to this litigation; please nevertheless
 produce documents for all years which Defendant concedes are relevant.




         I.     "You" and "Your" and "Defendant" mean McKesson Corporation, as well as
 other natural persons, businesses or legal entities acting or purporting to act for or on behalf of
 McKesson Corporation.

                 "Person" and "Witness," means the plural as well as the singular and includes:
 natural persons, governmental agencies, municipalities, departments, units, or any subdivisions,
 corporations, firms, associations, partnerships, joint ventures, or any other form of business entity.

               The terms "and" and "or" as used herein are to be interpreted both disjunctively
 and conjunctively.

              The words "document" or "documents" shall mean the original of the information
 recorded in a tangible form including, but not limited to, information printed, typewritten,




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 handwritten, photographed, filed, e-mailed, recorded by electronic means upon a tape or disk or
 any other means of recording and shall include (but not be limited to): letters; e-mails; memoranda;
 handwritten notes; agreements; deeds; contracts; promissory notes; books; pamphlets; brochures;
 newspapers; magazines; periodicals; catalogs; price lists; checks; canceled checks; invoices; sales
 receipts; charge receipts; personal receipts; bank records; tapes; computer printouts; data cards;
 programs or other input or output of data processing systems; photographs (positive print or
 negative); transcripts of interviews or testimony before any person, officer, or body whether sworn
 or unsworn; written statements or notes of interview or testimony; diaries; calendars; logs; expense
 records or other financial data; charts; graphs; maps; drawings or other representational depiction;
 telephone records; telegrams; telefax; phonograph records; magnetic tape, drum, or disk records;
 motion picture film; microfilm or microfiche. The terms "document" or "documents" shall also
 mean every copy of a document where such copy is not an identical duplicate of the original, and
 shall include all postscripts, notations, addendums, changes, notations, modifications, alterations
 or revisions of each document or documents.

               "Identify," as used herein with respect to a person, corporation, or other entity,
 means to provide the name, address, and telephone number of such person.

                  "Identify," as used herein with respect to a document, means to state with respect
 to such document sufficient detail to permit another party to this lawsuit to locate and identify such
 document. Such information and detail might include for each document: (i) the name of the
 person who prepared it; (ii) the name of the person who signed it, or over whose name it was
 issued; (iii) the name of each person to whom it was addressed and/or sent or distributed; (iv) the
 general type of such documents (e.g., letter, memorandum, contract, etc.); (v) the date of such
 document, or if it bears no date, the date on or about which it was made or prepared, (vi) the
 physical location of such document; and (vii) the name and address of the persons having
 possession, custody, or control of such document. In lieu of providing such information and detail,
 you may attach such document to your answer to these Interrogatories and indicate for which
 Interrogatory each document is applicable.

                The term "regarding", as used herein, shall mean, in an indirect manner, contain,
 record, discuss, mention, note, evidence, memorialize, analyze, describe, comment upon, refer to,
 have any connection with or have any tendency to prove or disprove the mailer set forth.

                 The term "relate(s) to" or "relating to," as used herein shall mean, in an indirect
 manner, contain, record, discuss, mention, note, evidence, memorialize, analyze, describe,
 comment upon, refer to, have any connection with or have any tendency to prove or disprove the
 matters set forth.

                The word "correspondence" as used herein shall include any and all written
 correspondence, including, but not limited to, electronic mail (e-mail), letters, notes, text messages,
 messages on any social media platforms, and memorandum, and oral communications which were
 recorded or memorialized in any manner, including recorded messages, voicemail messages, notes
 taken during phone conversations, and notes taken during meetings.




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          10.    Wherever appropriate, the singular form ofa word shall be interpreted as including
 the plural, and the masculine form of a word shall be interpreted as including the feminine.




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                      REQUEST FOR PRODUCTION OF DOCUMENTS

  REQUEST FOR PRODUCTION NO. I: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2009.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2009; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2009; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2009; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2009; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2009; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2009; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2009; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2009; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2009; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2009; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2009.

            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone


 REQUEST FOR PRODUCTION NO. 2: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2010.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2010; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or


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 promoters for the below generic opioid pharmaceuticals for the year 2010; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2010; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2010; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2010; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2010; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2010; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2010; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2010; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2010; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2010.


            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone



 REQUEST FOR PRODUCTION NO. 3: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2011.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2011; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2011; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2011; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2011; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2011; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for



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 the year 2011; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2011; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2011; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2011; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2011; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2011.


            Fentanyl
            Oxycodone
            1-lydromorphone
            Oxymorphone
            Tramadol
            Flydrocodone



 REQUEST FOR PRODUCTION NO. 4:                  Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2012.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2012; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2012; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2012; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2012; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2012; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2012; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2012; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2012; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2012; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2012; and (xi) distribution materials or data



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 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2012.


            Fentanyl
            Oxycodone
            1-lydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone



 REQUEST FOR PRODUCTION NO. 5: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2013.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2013; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2013; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2013; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2013; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2013; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2013; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2013; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2013; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2013; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2013; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2013.


            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol



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        F. Hydrocodone



 REQUEST FOR PRODUCTION NO. 6: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2014.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2014; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2014; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2014; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2014; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2014; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2014; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2014; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2014; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2014; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2014; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2014.


            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone



 REQUEST FOR PRODUCTION NO. 7: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2015.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for



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 the year 2015; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2015; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2015; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2015; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2015; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2015; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2015; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2015; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2015; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2015; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2015.


            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol
            Hydrocodone



 REOUEST FOR PRODUCTION NO. 8: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2016.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2016; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2016; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2016; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2016; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2016; (vi) instructions received from or sent to any manufacturers,



 PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT MCKESSON CORPORATION
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 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2016; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2016; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2016; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2016; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2016; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2016.


            Fentanyl
            Oxycodone
            1-lydromorphone
            Oxymorphone
            Tramadol
            Flydrocodone



 REQUEST FOR PRODUCTION NO. 9:                  Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2017.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2017; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2017; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2017; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2017; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2017; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2017; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2017; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2017; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2017; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for



 PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT MCKESSON CORPORATION
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 the below generic opioid pharmaceuticals for the year 2017; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2017.


            Fentanyl
            Oxycodone
            Hydromorphone
            Oxymorphone
            Tramadol
            1-lydrocodone




 PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT MCKESSON CORPORATION
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                           CAUSE NO.


  COUNTY OF DALLAS,                         IN THE DISTRICT COURT

        Plaint(ff,

  vs.                                              JUDICIAL DISTRICT

  PURDUE PHARMA L.P.;
  PURDUE PHARMA INC.;
  THE PURDUE FREDERICK COMPANY;
  JOHNSON & JOHNSON;                        DALLAS COUNTY, TEXAS
  JANSSEN PHARMACEUTICALS, INC.;
  ORTHO-MCNEIL-JANSSEN
  PHARMACEUTICALS, INC. n/k/a
  JANSSEN PHARMACEUTICALS, INC.;
  JANSSEN PHARMACEUTICA, INC. n/k/a
  JANSSEN PHARMACEUTICALS, INC.;
  ENDO HEALTH SOLUTIONS INC.;
  ENDO PHARMACEUTICALS, INC.;
  ABB VIE INC.;
  KNOLL PHARMACEUTICAL
  COMPANY, a wholly-owned subsidiary of
  ABBVIE INC.;
  ALLERGAN PLC f/Ida ACTAVIS PLC;
  ALLERGAN FINANCE LLC Ilk/a
  ACTAVIS. INC. f/k/a WATSON
  PHARMACEUTICALS, INC.;
  WATSON LABORATORIES, INC.;
  ACTAVIS LLC;
  ACTAVIS PHARMA, INC. f/k/a WATSON
  PHARMA, INC.;
  MCKESSON CORPORATION;
  CARDINAL HEALTH, INC.;
  AMERISOURCEBERGEN
  CORPORATION;
  DR. RICHARD ANDREWS;
  DR. THEODORE OKECHUKU;
  DR. NICOLAS PADRON; and
  DOES 1-100, INCLUSIVE,

        Deft ndanis.
Case 3:18-cv-00426-M Document 1-3 Filed 02/20/18                    Page 243 of 369 PageID 276




              PLAINTIFF COUNTY OF DALLAS'S FIRST INTERROGATORIES
                      TO DEFENDANT MCKESSON CORPORATION

        To:     Defendant McKesson Corporation

        Plaintiff, COUNTY OF DALLAS, propounds this First Set of Interrogatories to Defendant

 MCKESSON CORPORATION. Pursuant to Rule 197 of the Texas Rules of Civil Procedure, the

 following interrogatories are submitted to be answered by you. The answers shall be signed, and

 sworn to, by you, and shall be served upon the undersigned within fifty (50) days after the date

 upon which you are served with a copy of these interrogatories.

        You are further advised that you are under duty to supplement your answers to these

 interrogatories in the event you obtain information upon the basis of which (I) you know that the

 response was incorrect or incomplete when made, (2) or you know that the response, though

 correct and complete when made, is no longer true and complete and the circumstances are such

 that the failure to amend the answer is in substance misleading.




                                      Respectfully Submitted,

                                      THE LANIER LAW FIRM

                                      /s/W. Mark Lan/er
                                      W. Mark Lanier
                                      TX State Bar No. 11934600
                                      Reagan E. Bradford
                                      TX State BarNo. 24102721
                                      6810 FM 1960 West
                                      Houston, TX 77069
                                      Tel: 713-659-5200
                                      Fax: 713-659-2204
                                      wml@lanierlawfirm.com
                                      reagan.bradfordlanierlawfirm.com




 PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT MCKESSON CORPORATION Page 2
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                                       SIMON CREENSTONE PANATIER BARTLETT,
                                       P.C.
                                       Jeffrey B. Simon
                                       TX State Bar No. 00788420
                                       Amy M. Carter
                                       TX State Bar No. 24004580
                                       3232 McKinney Avenue, Suite 610
                                       Dallas, Texas 75204
                                       Tel: 214-276-7680
                                       Fax: 214-276-7699
                                       jsimonsgpblaw.com
                                       acarter®sgpblaw.com

                                       THE COCHRAN FIRM
                                       Larry F. Taylor, Jr.
                                       TX State Bar No. 24071156
                                       3400 Carlisle Street, Suite 550
                                       Dallas, TX 75204
                                       Tel: 214-651-4260
                                       Fax: 214-651-4261
                                       Itaylor@thecochranfirmdallas.com


 Dallas County District Attorney's Office

 Is/Russell H. Roden
 Russell H. Roden
 Assistant District Attorney
 TX State Bar No. 17132070
 133 N. Riverfront Blvd., LB 19
 Dallas, TX 75207
 Tel: 214-653-3600
 Fax: 214-653-5774
 Russell.rodendallascounty.org


                                CERTIFICATE OF SERVICE

     I hereby certify that on this gth day of January, 2018, a true and correct copy of the foregoing
 document was caused to be served on all counsel of record in accordance with a manner authorized
 by the Texas Rules of Civil Procedure.

                                       /s/W. Mark Lanier
                                        W. Mark Lanier



 PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT MCKESSON CORPORATION Page 3
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                               I
                                  Filed
                                   1.
                                        02/20/18                    Page 245 of 369 PageID 278




                                           DEFINITIONS

         I.     "You" and "Your" and "Defendant" mean McKesson Corporation, as well as
 other natural persons, businesses or legal entities acting or purporting to act for or on behalf of
 McKesson Corporation.

                 "Person" and "Witness," means the plural as well as the singular and includes:
 natural persons, governmental agencies, municipalities, departments, units, or any subdivisions,
 corporations, firms, associations, partnerships, joint ventures, or any other form of business entity.

               The terms "and" and "or" as used herein are to be interpreted both disjunctively
 and conjunctively.

                 The words "document" or "documents" shall mean the original of the information
 recorded in a tangible form including, but not limited to, information printed, typewritten,
 handwritten, photographed, filed, e-mailed, recorded by electronic means upon a tape or disk or
 any other means of recording and shall include (but not be limited to): letters; e-mails; memoranda;
 handwritten notes; agreements; deeds; contracts; promissory notes; books; pamphlets; brochures;
 newspapers; magazines; periodicals; catalogs; price lists; checks; canceled checks; invoices; sales
 receipts; charge receipts; personal receipts; bank records; tapes; computer printouts; data cards;
 programs or other input or output of data processing systems; photographs (positive print or
 negative); transcripts of interviews or testimony before any person, officer, or body whether sworn
 or unsworn; written statements or notes of interview or testimony; diaries; calendars; logs; expense
 records or other financial data; charts; graphs; maps; drawings or other representational depiction;
 telephone records; telegrams; telefax; phonograph records; magnetic tape, drum, or disk records;
 motion picture film; microfilm or microfiche. The terms "document" or "documents" shall also
 mean every copy of a document where such copy is not an identical duplicate of the original, and
 shall include all postscripts, notations, addendums, changes, notations, modifications, alterations
 or revisions of each document or documents.

               "Identify," as used herein with respect to a person, corporation, or other entity,
 means to provide the name, address, and telephone number of such person.

                  "Identify," as used herein with respect to a document, means to state with respect
 to such document sufficient detail to permit another party to this lawsuit to locate and identify such
 document. Such information and detail might include for each document: (i) the name of the
 person who prepared it; (ii) the name of the person who signed it, or over whose name it was
 issued; (iii) the name of each person to whom it was addressed and/or sent or distributed; (iv) the
 general type of such documents (e.g., letter, memorandum, contract, etc.); (v) the date of such
 document, or if it bears no date, the date on or about which it was made or prepared, (vi) the
 physical location of such document; and (vii) the name and address of the persons having
 possession, custody, or control of such document. In lieu of providing such information and detail,
 you may attach such document to your answer to these lnterrogatories and indicate for which
 Interrogatory each document is applicable.




 PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT MCKESSON CORPORATION Page 4
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                The term "regarding", as used herein, shall mean, in an indirect manner, contain,
 record, discuss, mention, note, evidence, memorialize, analyze, describe, comment upon, refer to,
 have any connection with or have any tendency to prove or disprove the matter set forth.

                 The term "relate(s) to" or "relating to," as used herein shall mean, in an indirect
 manner, contain, record, discuss, mention, note, evidence, memorialize, analyze, describe,
 comment upon, refer to, have any connection with or have any tendency to prove or disprove the
 matters set forth.

                The word "correspondence" as used herein shall include any and all written
 correspondence, including, but not limited to, electronic mail (e-mail), letters, notes, text messages,
 messages on any social media platforms, and memorandum, and oral communications which were
 recorded or memorialized in any manner, including recorded messages, voicemail messages, notes
 taken during phone conversations, and notes taken during meetings.

                 Wherever appropriate, the singular form of a word shall be interpreted as including
 the plural, and the masculine form ofa word shall be interpreted as including the feminine.




 PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT MCKESSON CORPORATION PageS
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                                   INTERROGATORIES

 INTERROGATORY NO. 1: IdentilS' the manufacturers, producers, distributors, sellers, and/or
 promoters for each of the following generic opioid pharmaceutical drugs for each of the years
 2009, 2010, 2011,2012,2013,2014,2015, 2016, and 2017:

           Fentanyl
           Oxycodone
           Hydromorphone
           Oxymorphone
           Tramadol
           Hydrocodone




 PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT MCKESSON CORPORATION Page 6
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                                                                                                                          TV / ALL
                                                                                                     Transmittal Number: 17710684
Notice of Service of Process                                                                            Date Processed: 02/01/2018

Primary Contact:           Lindsey Wagner
                           McKesson Corporation
                           One Post Street
                           32ND Fl
                           San Francisco, CA 94104

Electronic copy provided to:                   Kimbir Tate
                                               Carole Ungvarsky
                                               Rosemarie Cereghino

Entity:                                       McKesson Corporation
                                              Entity ID Number 0493907
Entity Served:                                McKesson Corporation
Title of Action:                              County of Dallas vs. Purdue Pharma LP
Document(s) Type:                             Citation/Petition
Nature of Action:                             Violation of State/Federal Act
Court/Agency:                                 Dallas County District Court, Texas
Case/Reference No:                            DC-18-00290
Jurisdiction Served:                          Texas
Date Served on CSC:                           01/30/2018
Answer or Appearance Due:                     10:00 am Monday next following the expiration of 20 days after service
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           W Mark Lanier
                                              713-659-5200

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
                 Case 3:18-cv-00426-M Document 1-3 Filed 02/20/18                                   Page 249 of 369 PageID 282




FORM NO. 353-3 - CITATION                                                                                                              ESERVE
THE STATE OF TEXAS                                                                                                                 CITATION
                                         ~
To:
        MCKESSON CORPORATION
                                                                                                                                   DC-18-00290
        C/O CSC - LAWYERS INCORPORATING SERVICE
        211 E. 7TH STREET, SUITE 620
        AUSTIN, TX 78701          '
                                         i                                                                                         County of Dallas
GREETINGS:                                                                                                                                 vs.
You have been sued. You may employ an attorney. If you or your attorney do not file a written                                 Purdue Pharma L.P., et al
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may be
taken against you. Your answer should be addressed to the clerk of the 116th District Court at 600                                   ISSUED THIS
Commerce Street, Ste. 101, Dallas, Texa's 75202.                                                                              l lth day of January, 2018

Said Plaintiff being COUNTY OF DALLAS                                                                                            FELICIA PITRE
                                  I                                                                                            Clerk District Courts,
Filed in said Court 8th day of January,;2018 against                                                                           Dallas County, Texas

MCKESSON CORPORATION
                                                                                                                          By: ARIEANA BAHENA, Deputy
For Suit, said suit being numbered DC-18-00290, the nature of which demand is as follows:
Suit on OTHER (CIVIL) etc. as shown on said petition Requests for production and interrogatories, a
copy of which accompanies this citation.l If this citation is not served, it shall be returned unexecuted.                    Attorney for Plaintiff
                                         ~                                                                                       W MARK LANIER
WITNESS: FELICIA PITRE, Clerk of tlie District Courts of Dallas, County Texas.                                                THE LANIER LAW FIRM
Given under my hand and the Sea] of said Court at office this l lth day of-January, 2018.                                      6810 F M 1960 WEST
                                                                                                                               HOUSTON, TX 77069
ATTEST: FELICIA PITRE, Clerk of theiDistrict Courts of Dallas, County, Texas           ~stiNt~ti ~~~~trt ~f?rir
                                                                                                                                    713-659-5200
                                                                                                   A,L                        wmWlanierlawfirm.com
                        By
                                   /s/ Arieana Bahena                          ~;``~~~`' ~
                                                                      , Deput}~,•'~
                                                                                                              z,''~~if
                              ARIEANA BAHENA
                                                                               :,;,_       ;•. .         ~        -c =
                                                                                                                     w'     DALl.AS" COUNT'Y
                                   PELIVIERED
                                                                                                                              SERMICE FEES"
                               ON 1I /~/~.~                                                                                       NOT PAi D
                                BY !
                           Case 3:18-cv-00426-M Document 1-3 Filed 02/20/18                                                   Page 250 of 369 PageID 283




                                                            ~                    OFFICER'S RETURN
    Case No. : DC-18-00290

    Court No.116th District Court

    Style: County of Dallas                                 i
    vS.                                                     4

    Purdue Pharma L.P., et al

    Came to hand on the                        day of       I                     20            , at                o'clock         M. Executed at
    within the County of                                        at                 o'clock             .M. on the                   day of
                                                            i
    20                     by delivering to the within named

                                                            I


    each, in person, a true copy of this Citation together with the accompanying copy of this p ea ing, having first endorsed on same date of delivery. The distance actually traveled by

~   me in serving such process was                miles and my fees are as follows: To certify which witness my hand.


                                    For serving Citatiori            $
                                    For mileage                      $                                  of                      County,

                                    For Notary              I        $                                  By                                           -   Deputy

                                                            f            (Must be verified if served outside the State of Texas.)

    Signed and sworn to by the said                                       before me this          day of                             20          ,
                                                        i
    to certify which witness my hand and seal of office.

                                                        I

                                                                                                       Notary Public                         County
                                                            ~
                                                        i
                                                                                                     FILED
    .19 CIT ES
            Case 3:18-cv-00426-M Document 1-3 Filed 02/20/18    Page 251 of 369 PageID 284
                                                                                        DALLAS COUNTY
                                                                                         1/8/2018 4:26 PM
t
                                                                                              FELICIA PITRE
                                                                                            DISTRICT CLERK


                                                  DC-18-00290                            Angie Avina
                                     CAUSE NO.


             COUNTY OF DALLAS,                       §     IN THE DISTRICT COURT
                                                     §
                   Plaintiff,                        §
                                                   . §

             vS.                                     §          JUDICIAL DISTRICT
                                                     §
             PURDUE PHARMA L.P.;                   §
             PURDUE PHARMA INC.;                   §
             THE PURDUE FREDERICK COMPANY; §
             JOHNSON & JOHNSON;                    §       DALLAS COUNTY, TEXAS
             JANSSEN PHARMACEUTICALS, INC.;        §
             ORTHO-MCNEIL-JANSSEN                  §
             PHARMACEUTICALS, INC. n/k/a           §
             JANSSEN PHARMACEUTICALS, INC.;        §
             JANSSEN PHARMACEUTICA, INC. n/k/a §
             JANSSEN PHARMACEUTICALS, INC.;        §
             ENDO HEALTH SOLUTIONS INC.;           §
             ENDO PHARMACEUTICALS, INC.;           §
             ABBVIE INC.;                          §
             KNOLL PHARMACEUTICAL                  §
             COMPANY, a wholly-owned subsidiary of §
             ABBVIE INC.;                          §
             ALLERGAN PLC f/k/a ACTAVIS PLC;       §
             ALLERGAN FINANCE LLC f/k/a            §
             ACTAVIS, INC. f/k/a WATSON            §
             PHARMACEUTICALS, INC.;                §
             WATSON LABORATORIES, INC.;            §
             ACTAVIS LLC;                          §
             ACTAVIS PHARMA, INC. f/k/a WATSON §
             PHARMA, INC.;                         §
             MCKESSON CORPORATION;                 §
             CARDINAL HEALTH, INC.;                §
             AMERISOURCEBERGEN                     §
             CORPORATION;                          §
             DR. RICHARD ANDREWS;                  §
             DR. THEODORE OKECHUKU;                §
             DR. NICOLAS PADRON; and               §
             DOES 1-100, INCLUSIVE,                §
                                                     §
                   Defendants.                       §




            PLAINTIFF'S ORIGINAL PETITION WITH DISCOVERY
    Case 3:18-cv-00426-M Document 1-3 Filed 02/20/18                            Page 252 of 369 PageID 285
0




         PLAINTIFF'S ORIGINAL PETITION AND JURY DEMAND WITH DISCOVERY

     TO THE HONORABLE JUDGE OF SAID COURT:

               Plaintiff, the County of Dallas, Texas, by and through the undersigned attorneys,

     (hereinafter "Dallas County" or "County") against Defendants Purdue Pharma L.P., Purdue

     Pharma Inc., The Purdue Frederick Company, Johnson & Johnson, Janssen Pharmaceuticals, Iric.,

     Janssen Pharmaceutica, Inc. n/k/a Janssen Pharmaceuticals, Inc., Ortho-McNeil-Janssen

     Pharmaceuticals, Inc. n/k/a Janssen Pharmaceuticals, Inc., Endo Health Solutions Inc., Endo

     Pharmaceuticals, Inc., Abbvie Inc., Knoll Pharmaceutical Company, a wholly-owned subsidiary

     of Abbvie Inc., Allergan PLC f/k/a Actavis PLC, Allergan Finance, LLC f/k/a Actavis, Inc. f/k/a

      Watson Pharmaceuticals, Inc., Watson Laboratories, Inc., Actavis LLC, Actavis Pharma, Inc. f/k/a

      Watson Pharma, Inc., McKesson Corporation, Cardinal Health, Inc., AmerisourceBergen

     Corporation, Dr. Richard Andrews, Dr. Theodore Okechuku, and Dr. Nicolas Padron, and Does 1

     — 100, alleges as follows:

                                             I.       INTRODUCTION

               1.     The United States is in the midst of an opioid epidemic caused by Defendants'

     fraudulent marketing and sales of prescription opioids ("opioids") that has resiilted in addiction,

     criminal activity, and loss of life. The opioid crisis has been described as "the AIDS epidemic of

     our generation, but even worse."' On October 26, 2017, President Donald Trump "declared a

     nationwide public health emergency to combat the opioid crisis."2

               2.     In 2016 alone, health care \providers wrote more than 289 million prescriptions for




     1 David Wright, "Christie on Opioids: "This is the AIDS Epidemic of Our Generation, but even Worse," (Oct. 27,
     2017), http://www.cnn.com/2017/10/27/politics/chris-christie-opioid-commission-aids-cnntv/index.html.
     z Dan Merica, "What Trump's Opioid Announcement Means — and Doesn't Mean," (Oct. 26, 2017),
     http://www.cnn.com/2017/ 10/26/politics/national-health-emergency-national-disaster/index.html.



     PLAINTIFF'S ORIGINAL PETITION WITH DISCOVERY                                                                     2
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 opioids, enough for every adult in the United States to have more than one bottle of pills.3

 Americans "consume 85% of all the opioids in the world" and are "the most medicated country in

 the world . . . ."4

          3.       Unfortunately, using opioids too often leads to addiction and overdose from

 opioids. In 2014, almost 2 million Americans were addicted to opioids.5 That same year, more

 people died from drug overdoses than in any other year, and most overdose deaths involved an

 opioid. The Texas Legislature has found "that deaths resulting from the use of opioids and other

 controlled substances constitute a public health crisis."6 In 2015, Texas "had the second highest

 total healthcare costs from opioid abuse in the nation ($1.96 billion) ...."7

          4.       In fact, accidental drug overdose deaths, of which reportedly at least two-thirds are

 opioid overdoses, are.the leading cause of death for Americans undet the age of 50. Accidental

 drug overdose deaths, predominantly from opioids, exceed the number of deaths caused by cars or

 guns.

          5.       The economic burden caused by opioid abu§e in the United States is at least $78.5

 billion,8 including lost productivity and increased social services, health insurance costs, increased

 criminal justice presence and strain on judicial resources, and substance abuse treatment and

 rehabilitation.

          6.       This epidemic did not occur by chance. Defendants manufacture, market, distribute,



 3 Prevalence of Opioid Misuse, BupPractice (Sept. 7, 2017), https://www.buppractice.com/node/15576.

 ° David Wright, "Christie on Opioids: "This is the AIDS Epidemic of Our Generation, but even Worse," (Oct. 27,
 2017), http://www.cnn.com/2017/10/27/politics/chris-christie-opioid-commission-aids-cnntv/index.html.•
 5 Substance Abuse and Mental Health Services Administration, National Survey on Drug Use and Health, 2014.
 6 Opinion of the Attorney General of Texas, KP-0168 (Oct. 4, 2017), citing Act of May 26, 2017, 85t'' Leg., R.S., ch.
 534, §3, 2017 Tex. Sess. Law Serv. 1467, 1468.
 ' Kerry Craig, "Opioid Addiction Results in one Woman's Daily Struggle," Oct. 7, 2017,
 https://www. ssnewstelegram.com/news/opioid-addiction-resu Its-in-one-woman-s-daily-struggle/article_bded4eoa-
 ab80-1le7-a252-d3f304e26628.htm1.
 $ See CDC Foundation's Netiv Business Pulse Focuses on Opioid Overdose Epidemic, Centers for Disease Control
 and Prevention (Mar. 15, 2017), https://www.cdc.gov/media/releases/2017/a0315-business-pulse-opioids.html.



 PLAINTIFF'S ORIGINAL PETITION WITH DISCOVERY                                                                       3
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 and sell prescription opioids, including, but not limited to, brand-name drugs like OxyContin,

  Vicodin, Opana, Percocet, Percodan, Duragesic, Ultram, Ultracet, and generics like oxycodone,

  oxymorphone, hydromorphone, hydrocodone, fentanyl, and tramadol, which are powerful

  narcotics.

          7.         Historically, opioids were considered too addictive and debilitating for treating non-

 cancer chronic pain,9 such as back pain, migraines, and arthritis, and were used only to treat short-

 term acute pain or for palliative or end-of-life care.

         8.          By the late 1990s or early 2000s, however, each Manufacturing Defendant began a

 marketing scheme to persuade doctors and patients that opioids can and should be used

  ubiquitously and perpetually to treat moderate, non-cancer chronic pain. Each Manufacturing

 Defendant spent large sums of money to promote the benefits of opioids for non-cancer moderate

  pain while trivializing, or even denying, their risks. The Manufacturing Defendants' promotional

 messages deviated substantially from any approved labeling of the drugs and caused prescribing

  physicians and consuming patients to underappreciate the health risks, and to overestimate the

  benefits, of opioids.

         9.          Contrary to the language of their drugs' labels, Defendants falsely and misleadingly,

  in their marketing: (1) downplayed the serious risk of addiction; (2) promoted and exaggerated the

 concept of "pseudoaddiction" thereby advocating that the signs of addiction should be treated with

 more opioids; (3) exaggerated the effectiveness of screening tools in preventing addiction; (4)

 claimed that opioid dependence and withdrawal are easily managed; (5) denied the risks of higher

 opioid dosages; and (6) exaggerated the effectiveness of "abuse-deterrent" opioid formulations to

 prevent abuse and addiction.



 9 "Chronic   pain" means non-cancer pain lasting three months or longer.



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                                                   r      1,




         10.     Defendants disseminated these falsehoods through ads and/or their sales

  representatives and physicians who supported Defendants' message. Sales representatives,

  working at Defendants' behest, promoted highly addictive opioids through souvenirs and toys

  including, but not limited to, opioid brand-bearing stuffed plush toys, dolls, coffee cups, fanny

  packs, water bottles, notepads, pens, refrigerator magnets, clocks, letter openers, rulers, daytime

  planners, bags, puzzles, posters, hand-held calculators, clipboards, highlighters, flashlights, key

  chains, clothing, reflex mallets, and mock-ups of the United States Constitution.

         11.     Defendants also used third parties they controlled by: (a) funding, assisting,

  encouraging, and directing doctors, known as "key opinion leaders" ("KOLs") and (b) funding,

  assisting, directing, and encouraging .seemingly neutral and credible professional societies and

  patient advocacy groups (referred to hereinafter as "Front Groups")

         12.     Defendants worked with KOLs and Front Groups to taint the sources that doctors

  and patients relied on for ostensibly "neutral" guidance, such as treatment guidelines, Continuing

  Medical Education ("CME") programs, medical conferences and seminars, and scientific articles.

  After their individual and concerted efforts, Defendants convinced doctors that instead of being

  addictive and unsafe for long-term use in most circumstances, opioids were required in the

  compassionate treatment of chronic pain.

         13.     The Distributor Defendants were not standing by idly while Marketing Defendants

  were peddling their opioids to physicians and consumers. Cardinal, AmerisourceBergen, and

  McKesson ("Distributor Defendants") are three of the largest opioid distributors in the United

  States. Distributor Defendants purchased opioids from Manufacturing Defendants herein and sold

  them to pharmacies servicing consumers in Dallas County.

         14.     Despite the alarming and suspicious rise in the ordering of opioids by retailers in




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  Dallas County, Distributor Defendants did nothing. The Manufacturing Defendants and

 Distributor Defendants worked hand and glove to glut the U.S. and Dallas County with more

 opioids than would be consumed for therapeutic purposes. Each Defendant disregarded its legal

 duty to report suspicious opioid prescriptions, and each Defendant financially benefitted from the

 other Defendants (both Manufacturing and Distributor Defendants), disregarding their individual

 duties to report.

          15.      Essentially each Defendant ignored science and consumer health for profits.

 Defendants' efforts were so successful that opioids are now the most prescribed class of drugs

 generating $11 billion in revenue for drug companies in 2014 alone. Even after Purdue reached a

 $600 million federal settlement in 2007, the settlement failed to impact what is a"$13-billion-a-
                                                                                                                  ~.
 year opioid industry."10

          16.     As a direct and foreseeable consequence of Defendants' misrepresentations

 regarding the safety and efficacy of using opioids for chronic pain, Dallas County has spent and

 continues to spend large sums combatting the public health crisis created by Defendants' negligent

 and fraudulent marketing campaign.

          17.      For example, thousands of prescriptions were written for opioids in Dallas County

 in 2012' ' and in 2012 there were multiple deaths reported from drug overdoses.12 A substantial

 number of those overdose deaths were a result, in whole or in part, of opioid ingestion. In each

 year from 2013-2017, there were multiple deaths in Dallas County caused in whole or in part from

 ingestion of prescription opioids. Defendants' marketing misconduct, as well as Defendants'




 lo Rebecca L. Haffajee, J.D., Ph.D., M.P.H., and Michelle M. Mello, J.D., Ph.D., Drug Companies' Liability for the
 Opioid Epidemic, N. Engl. J. Med. at 2305, (Dec. 14, 2017).
 11 https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html; https://www.cdc.gov/nchs/data-visualization/drug-
 poisoning-mortality.
 1 z https://www.cdc.gov/nchs/data-visualization/drug-poisoning-mortality.




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  efforts to sell more prescription opioids that can be consumed therapeutically, were natural and

  foreseeable causes of overdose deaths and injuries in Dallas County.

          18.         As a direct and foreseeable consequence of Defendants' conduct described

  regarding prescription opioids, Dallas County has committed and continues to commit resources

  to provide and pay for health care, law enforcement, social services, public assistance,

  pharmaceutical care and other services necessary for its residents.

                II.       RULE 47 STATEMENT OF MONETARY RELIEF SOUGHT

          19.         Per Rule 47 of the Texas Rules of Civil Procedure, the County states that although the

  full measure of its damages is still being calculated, its damages caused by Defendants' acts and

  omissions exceed $1,000,000 but are believed to be less than $100,000,000. Accordingly, at this time

  in the litigation, Dallas County states that it is seeking monetary relief for an amount greater than

  $1,000,000 and less than $100,000,000, the rightful and just amount to be determined by the jury.

                                   III. VENUE AND JURISDICTION

         20.          Venue is proper in Dallas County because all or a substantial part of the events or

  omissions giving rise to this claim occuned in Dallas County. TEX. CIV. PFtAC. & REM. CODE

  § 15.002(a)(2). This Court has subject-matter jurisdiction over this matter because Plaintiffls damages

  are in excess of the minimal jurisdictional limits of this Court. TEx. GOVT. CODE §24.007(b).

         21.          This Court has general jurisdiction over Dr. Andrews, Dr. Okechuku, and Dr. Padron

  as they are Texas residents. This Court also has specific jurisdiction over all Defendants as their

  activities were directed toward Texas, and injuries complained of herein resulted from their

  activities. Guardian Royal Exchange Assur., Ltd. v. English China Clays, P.L.C., 815 S.W.2d 223,

  227 (Tex. 1991). Each Defendant has a substantial connection with Texas and the requisite

  minimum contacts with Texas necessary to constitutionally penmit the Court to exercise




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  jurisdiction. See id. at 226.

                                            IV. PARTIES

  A.     Plaintiff

         22.       This action is brought for and on behalf of Dallas County, which provides a wide

  range of services on behalf of its residents, including services for families and children, public

  health, public assistance, law enforcement, and emergency care.

  B.     Defendants

         23.       PURDUE PHARMA L.P. is a limited partnership organized under the laws of

  Delaware, and may be served through its registered agent for service of process, The Prentice-Hall

  Corporation System, Inc., 251 Little Falls Drive, Wilmington, DE 19808. PURDUE PHARMA

  L.P. is, through its ownership structure, a Texas resident. PURDUE PHARMA INC. is a New York

  corporation with its principal place of business in Stamford, Connecticut, and may be served

  through its registered agent for service of process, Corporation Service Company, 80 State Street,

  Albany, NY 12207. THE PURDUE FREDERICK COMPANY is a Delaware corporation with its

  principal place of business in Stamford, Connecticut, and may be served through its registered

  agent for service of process, The Prentice-Hall Corporation System, Inc., 251 Little Falls Drive,

  Wilmington, DE 19808 (collectively, "Purdue")

         24.       Purdue manufactures, promotes, sells, and distributes opioids in the U.S. and Dallas

  County. Purdue's opioid drug, OxyContin, is among the most addictive and abused prescription

  drugs in the history of America. Purdue promotes opioids throughout the United States and in

  Dallas County.

         25.     JANSSEN PHARMACEUTICALS, INC. is a Pennsylvania corporation with its

  principal place of business in Titusville, New Jersey, and may be served through its registered




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  agent for service of process, CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, TX

  75201. JANSSEN PHARMACEUTICALS, INC. is a wholly owned subsidiary of JOHNSON &

  JOHNSON (J&J), a New Jersey corporation with its principal place of business in New Brunswick,

  New Jersey, and may be served through its registered agent for service of process, Attention: Legal

  Department, One Johnson & Johnson Plaza, New Brunswick, NJ 08933. ORTHO-MCNEIL-

  JANSSEN PHARMACEUTICALS, INC., now known as JANSSEN PHARMACEUTICALS,

  INC., is a Pennsylvania corporation with its principal place of business in Titusville, New Jersey.

  JANSSEN PHARMACEUTICA INC., now known as JANSSEN PHARMACEUTICALS, INC.,

  is a Pennsylvania corporation with its principal place of business in Titusville, New Jersey. J&J

  is the only company that owns more than 10% of Janssen Pharmaceuticals' stock, and corresponds

  with the FDA regarding Janssen's products. Upon information and belief, J&J controls the sale

  and development of Janssen Pharmaceuticals' drugs and Janssen's profits inure to J&J's benefit.

  (Janssen Pharmaceuticals, Inc., Ortho-McNeil-Janssen Pharmaceuticals, Inc., Janssen

  Pharmaceutica, Inc., and J&J are referred to as "Janssen").

         26.       Janssen manufactures, promotes, sells, and distributes opioids in the U.S. and in

  Dallas County.

         27.       ENDO HEALTH SOLUTIONS INC. is a Delaware corporation with its principal

  place of business in Malvern, Pennsylvania, and may be served through its registered agent for

  service of process, The Corporation Trust Company, Corporation Trust Center, 1209 Orange St.,

  Wilmington, DE 19801. ENDO PHARMACEUTICALS, INC. is a wholly-owned subsidiary of

  Endo Health Solutions Inc. and is a Delaware corporation with its principal place of business in

  Malvern, Pennsylvania, and may be served through its registered agent for service of process, CT

  Corporation System, 1999 Bryan Street, Suite 900, Dallas, TX 75201. (Endo Health Solutions*Inc.




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  and Endo Pharmaceuticals, Inc. are referred to as "Endo")

         28.     Endo develops, markets, and sells opioid drugs in the U.S. and in Dallas County.

  Endo also manufactures and sells generic opioids in the U.S. and Dallas County, by itself and

  through its subsidiary, Qualitest Pharmaceuticals, Inc.

         29.     ABBVIE INC. ("Abbvie") is a Delaware corporation with its principal place of

  business in North Chicago, Illinois, and may be served through its registered agent for service of

  process, CT Corporation System, 208 S. LaSalle Street, Suite 814, Chicago, IL 60604. KNOLL

  Pl-IARMACEUTICAL COMPANY ("Knoll") has been a wholly-owned subsidiary of Abbvie

  from January l, 2013. KNOLL PHARMACEUTICAL COMPANY is a New Jersey corporation

  with its principal place of business in Parsippany, New Jersey, and may be served through its

  registered agent for service of process, CT Corporation System, 208 S. LaSalle Street, Suite 814,

  Chicago, IL 60604.

         30.     Knoll irresponsibly marketed narcotics, such as Vicodin, through whimsical toys

  and souvenirs and did so to boost the sales of opioids. Taking advantage of the fact that Vicodin

  was not regulated as a Schedule II controlled substance for many years, and the fact physicians and

  consumers did not fully appreciate the highly addictive nature of Vicodin, Knoll advertised Vicodin

  with tag lines such as "The Highest Potency Pain Relief You Can Still Phone In." This tag line

  came as part and parcel of souvenirs like a"Vicodin" fanny pack and water bottle, both. bearing the

  name of Vicodin, the opioid Knoll was promoting. This irresponsible marketing of a narcotic drug

  caused doctors and patients to believe Vicodin was safer than it really was, to the detriment of

  people in Dallas County.

         31.     Abbvie began manufacturing, developing, promoting, marketing, and selling the

  opioid drug, Vicodin, in the U.S. and in Dallas County beginning January 1, 2013. On information




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 and belief, it continues to do so at the time of filing this pleading.

         32.     ALLERGAN PLC is a public limited company incorporated in Ireland with its

  principal place of business in Dublin, Ireland. ACTAVIS PLC. acquired Allergan plc in March

 2015, and the combined company changed its name to Allergan plc in January 2013. Before that,

  WATSON PHARMACEUTICALS, INC. acquired ACTAVIS, INC. in October 2012, and the

 combined company changed its name to ALLERGAN FINANCE, LLC as of October 2013.

 ALLERGAN FINANCE, LLC is a Nevada Corporation with its principal place of business in

  Parsippany, New Jersey, and may be served through its registered agent for service of process, The

 Corporation Trust Company of Nevada, 701 S. Carson St., Suite 200, Carson City, NV 89701.

  WATSON LABORATORIES, INC. is a Nevada corporation with its principal place of business

  in Corona, California, and is a wholly-owned subsidiary of Allergan plc (f/k/a Actavis, Inc., f/k/a

  Watson Pharmaceuticals, Inc.), and may be served through its registered agent for service of

 process, Corporate Creations Network, Inc., 8275 South Easterri Ave., #200, Las Vegas, NV

 89123. ACTAVIS PHARMA, INC. (f/k/a Actavis, Inc.) is a Delaware corporation with its

 principal place of business in New Jersey and was formerly known as WATSON PHARMA, INC,

 and may be served through its registered agent for service of process, CT Corporation System,

 1999 Bryan Street, Suite 900, Dallas, TX 75201. ACTAVIS LLC is a Delaware limited liability

 company with its principal place ofbusiness in Parsippany, New Jersey, and may be served through

  its registered agent for service of process, Corporate Creations Network, Inc., 3411 Silverside Rd.,

 Tatnall Building, Suite 104, Wilmington, DE 19810. Each of these Defendants is owned by

 Allergan plc, which uses them to market and sell its drugs in the United States.

         33.     Upon information and belief, Allergan plc exercises control over these marketing

 and sales efforts and profits from the sale of Allergan/Actavis products ultimately inure to its




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  benefit. (Allergan plc, Actavis plc, Actavis, Inc., Allergan Finance, LLC, Actavis LLC, Actavis

  Pharma, Inc., Watson Pharmaceuticals, Inc., Watson Pharma, Inc., and Watson Laboratories, Inc.

  are referred to as "Actavis"). Actavis acquired the rights to Kadian from King Pharmaceuticals,

  Inc. on December 30, 2008 and began marketing Kadian in 2009.

         34.       Actavis manufactures, promotes, sells, and distributes opioids in the U.S. and in

  Dallas County.

         35.       MCKESSON CORPORATION ("McKesson") is a Delaware corporation with its

  principal place of business in San Francisco, California, and may be served through its registered

  agent for service of process, CSC - Lawyers Incorporating Service, 211 E. 7th Street, Suite 620,

  Austin, TX 78701. Upon information and belief, McKesson is a pharmaceutical distributor licensed

  to do business in Texas. McKesson disiributes pharmaceuticals to retail pharmacies and institutional

  providers in a1150 states, including Texas and Dallas County.

         36.       CARDINAL HEALTH, INC. ("Cardinal") is an Ohio Corporation with its principal

  place of business in Dublin, Ohio, and may be served through its registered agent for service of

  process, CT Corporation System, 4400 Easton Commons, Suite 125, Columbus, OH 43219.

  Cardinal does substantial business in Texas and, upon information and belief, Cardinal is a

  pharmaceutical distributor licensed to do business in Texas. Cardinal distributes pharmaceuticals to

  retail pharmacies and institutional providers to customers in all 50 states, including Texas and

  Dallas County.

         37.       AMERISOURCEBERGEN DRUG CORPORATION ("Amerisource") is a

  Delaware Corppration with its principal place of business in Chesterbrook, Pennsylvania, and may

  be served through its registered agent for service of process, The Corporation Trust Company,

  Corporation Trust Center, 1209 Orange St., Wilmington, DE 19801. Amerisource does substantial




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  business in Texas and, upon information and belief, Amerisource is a pharmaceutical distributor

  licensed to do business in Texas. Amerisource distributes pharmaceuticals to retail pharmacies and

  institutional providers to customers in all 50 states, including Texas and Dallas County.

         38.      DR. RICHARD ANDREWS is an individual residing in Dallas, Dallas County,

  Texas, and may be served with citation at 3905 Highgrove Drive, Dallas, TX 75220, or wherever

  he may be found. Dr. Andrews was involved in a"pill mill" operation and charged with conspiracy

  to distribute controlled substances, including oxycodone, to patients in Dallas County and numerous

  other counties.13 Dr. Andrews agreed to the revocation of his medical license on March 3, 2017

  after pleading guilty to two felony charges.14 Dallas County is not, however, seeking damages under

  claims of inedical malpractice or medical professional negligence.

         39.      DR. THEODORE OKECHUKU is an individual who resided in Dallas, Dallas

  County, Texas until his sentencing date in October 2015; DR. THEODORE OKECHUKU may be

  served with citation at FCI Texarkana, Federal Correctional Institution, Register Number: 59813-

  060, 4001 Leopard Drive, Texarkana, TX 75 50 1, or wherever he may be found. Dr. Okechuku was

  involved in a"pill mill" operation and charged with, among other things, conspiracy to distribute

  controlled substances, including hydrocodone, to patients in Dallas County and other counties.15

  Dr. Okechuku lost his medical license as of December 17, 2015.16 Dallas County is not, however,

  seeking damages under claims of inedical malpractice or medical professional negligence.

         40.      DR. NICOLAS PADRON is an individual who resided in Garland, Dallas County;




 13 Department of Justice, "Doctor Who Owned McAllen Medical Clinic in Dallas Pleads Guilty in Pill Mill Case,"
 (January 13, 2017), https:/%www justice/usao-ndtx/pr/doctor-who-owned-mcallen-medical-clinic-dallas-pleads-
 g u i lty-p i l l-m i l I-case.
 14 Texas Medical Board, http://reg.tmb/state/tx/us.com, last vielved November 13, 2017.
 ~s «Trial for Dallas Doctor Accused of Running Pill Mill," (October 6, 2015), http://www.zenlawfirm.com/Law-
 Blog/2015/October/Trial-for-Dallas-Doctor-Accused-of-Running-Pi I l-.aspx.
 16 Texas Medical Board, http://reg.tmb/state/tx/us.com, last vietived November 13, 2017.



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  Texas until his sentencing date in March 2014; DR. NICOLAS PADRON may be served with

  citation at USP Beaumont, U.S. Penitentiary, Register Number: 44575-177, 6200 Knauth Road,

  Beaumont, TX 77705, or wherever he may be found. Dr. Padron was involved in a"pill mill"

  operation and charged with conspiracy to distribute controlled substances, including hydrocodone,

  to patients in Dallas County and other counties.17 Dr. Padron agreed to the revocation of his medical

  license on October 1, 2012 in lieu of further disciplinary proceedings after pleading guilty to one

  charge of conspiracy to commit healthcare fraud.18 Dallas County is not, however, seeking damages

  under claims of inedical malpractice or medical professional negligence.

          41.      The County lacks infotrnation sufficient to specifically identify the true names 6r

  capacities, whether individual, corporate or otherwise, of Defendants sued herein under the

  fictitious names DOES 1 through 100 inclusive. The County will amend this Petition to show their

  true names and capacities if and when they are ascertained. Dallas County is informed and

  believes, dnd on such information and belief alleges, that each ofthe Defendants named as a.DOE '

  has engaged in conduct that contributed to cause events and occurrences alleged in this Petition

  and, as such, shares liability for at least some part of the relief sought herein.

                                    V.       FACTUAL ALLEGATIONS

          42.      Before the 1990s, generally accepted standards of inedical practice dictated that

  opioids should be used only for short-term acute pain — pain relating to recovery from surgery or

  for cancer or palliative (end-of-life) care. Using opioids for chronic pain was discouraged or even

  prohibited because there was a lack of evidence that opioids improved patients' ability to

  overcome pain and function. Instead the evidence demonstrated that patients developed tolerance



 17 "Garland Doctor, other `Dealers' Sentenced in Dallas `Pill Mill' Case," (October 29, 2014),
 http://starlocalmedia.com/rowlettlakeshoretimes/garland-doctor-other-d...11as-pill-mill-case/article—d53be5fc-5fbc-
  I le4-9l86-af37l56f06a3.html.
 18 Texas Medical Board, http://reg.tmb/state/tx/us.com, last vietived November 13, 2017.




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  to opioids over time, which increased the risk of addiction and other side effects.

         43.     Defendants dramatically changed doctors' views regarding opioids through a well-

  funded, deceptive marketing scheme. Each Defendant used direct marketing and unbranded

 advertising disseminated by seemingly independent third parties to spread false and deceptive

  statements about the risks and benefits of long-term opioid use.

  A.     Defendants Used Multiple Avenues To Disseminate their False and Deceptive
         Statements about Opioids.

         44.     Defendants spread their false and deceptive statements by (1) marketing their

  branded opioids directly to doctors treating patients residing in Dallas County and the Dallas

 County patients themselves and (2) deploying so-called unbiased and independent third parties

 to Dallas County.

                 1. Defendants Spread and Continue to Spread Their False and Deceptive
                    Statements Through Direct Marketing of Their Branded Opioids.

         45.     Defendants' direct marketing of opioids generally proceeded on two tracks. First,

  each Defendant conducted advertising campaigns touting the purported benefits of their branded

  drugs. For example, Defendants spent more than $14 million on medical journal advertising of

  opioids in 2011, nearly triple what they spent in 2001, including $8.3 million by Purdue, $4.9

  million by Janssen, and $1.1 million by Endo.

         46.     A number of Defendants' branded ads deceptively portrayed the benefits of opioids

  for ., chronic pain. For example, Endo distributed and made available on its website,

  www.opana.com, a pamphlet promoting Opana ER with photographs depicting patients with

  physically demanding jobs like a construction worker and chef, implying that the drug would

  provide long-tenn pain-relief and functional improvement. Purdue also ran a series of ads, called

 "pain vignettes," for OxyContin in 2012 in medical journals. These ads featured chronic pain




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  patients and recommended OxyContin for each. One ad described a"54-year-old writer with

  osteoarthritis of the hands" and implied that OxyContin would help the writer work more

  effectively. Pursuant to a settlement agreement, Endo and Purdue agreed in late 2015 and 2016 to

  halt these misleading representations in New York, but they may continue to disseminate them in

 Texas.

          47.   Second, each Defendant promoted the use of opioids for chronic pain through

 "detailers" — sales representatives who visited individual doctors and medical staff.in their offices

 — and small-group speaker programs. Defendants devoted massive resources to direct sales

 contacts with doctors. In 2014 alone, Defendants spent $168 million on detailing branded opioids

 to doctors, including $108 million by Purdue, $34 million by Janssen, $10 million by Endo, and

 $2 million by Actavis. This amount is twice as much as Defendants spent on detailing in 2000.

          48.   Defendants also identified doctors to serve, for payment, on their speakers' bureaus

 and to attend programs with speakers and meals paid for by Defendants. These speaker programs

 provided: (1) an incentive for doctors to prescribe a particular opioid (so they might be selected to

 promote the drug); (2) recognition and compensation for the doctors selected as speakers; and (3)

 an opportunity to promote the drug through the speaker to his or her peers. These speakers gave

 the false impression that they were providing unbiased and medically accurate presentations when

 they were, in fact, presenting a script prepared by Defendants. On information and belief, these

 presentations conveyed misleading information, omitted material information, and failed to correct

 Defendants' prior misrepresentations about the risks and benefits of opioids

          49.   Defendants employed the same marketing plans, strategies, and messages in and

 around Dallas County, Texas as they did nationwide. Across the pharmaceutical industry, "core

 message" development is funded and overseen on a national basis by corporate, headquarters. This




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  comprehensive approach ensures that Defendants' messages are accurately and consistently

 delivered across marketing channels and in each sales territory. Defendants consider this high level

 of coordination and uniformity crucial to successfully marketing their drugs.

                 2. Defendants Used a Diverse Group of Seemingly Independent Third Parties
                    to Spread False and Deceptive Statements about the Risks and Benefits of
                    Opioids.

         50.     Defendants also deceptively marketed opioids in and around Dallas County through

 unbranded advertising — i.e., advertising that promotes opioid use generally but does not name a

 specific opioid. This advertising was ostensibly created and disseminated by independent third

  parties. But by funding, directing, reviewing, editing, and distributing this unbranded advertising,

 Defendants controlled the deceptive messages disseminated by these third parties and acted in

 concert with them to falsely and misleadingly promote opioids for treating chronic pain.

         51.     Unbranded advertising also avoided regulatory scrutiny because Defendants did

 not have to submit it to the FDA, and therefore it was not reviewed by the FDA.

         52.     Defendants' deceptive unbranded marketing often contradicted their branded

 materials reviewed by the FDA. For example, Endo's unbranded advertising contradicted its

 concurrent, branded advertising for Opana ER:

                       Pain: Opioid Therapy             Opana ER Advertisement
                           (Unbranded)                           (Branded)
                                                    "All patients treated with opioids
                   "People who take opioids as      require careful monitoring for
                   prescribed usually do not        signs of abuse and addiction, since
                   become addicted."                use of opioid analgesic products
                                                    carries the risk of addiction even
                                                    under appropriate medical use."

         a.      Key Opinion Leaders (KOLs)

         53.     Defendants spoke through a small circle of doctors who, upon information and

 belief, were selected, funded, and elevated by Defendants because their public positions supported



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 using opioids to treat chronic pain. These doctors became known as "key opinion leaders" or

 "KOLs."

        54.     Defendants paid KOLs to serve as consultants or on their advisory boards and to

 give talks or present CMEs, and their support helped these KOLs become respected industry

 experts. As they rose to prominence, these KOLs touted the benefits of opioids to treat chronic

 pain, repaying Defendants by advancing their marketing goals. KOLs' professional reputations

 became dependent on continuing to promote a pro-opioid message, even in activities that were not

 directly funded by Defendants.

        55.     KOLs have written, consulted on, edited, and lent.their names to books and articles,

 and givdn speeches and CMEs supportive of chronic opioid therapy. Defendants created

 opportunities for KOLs to participate in research studies Defendants suggested or chose and then

 cited and promoted favorable studies or articles by their KOLs. By contrast, Defendants did not

 support, acknowledge, or disseminate publications of doctors unsupportive or critical of chronic

 opioid therapy.

        56.     Defendants' KOLs also served on committees that developed treatment guidelines

 that strongly encourage using opioids to treat chronic pain, and on the boards of pro-opioid

 advocacy groups and professional societies that develop, select, and present CMEs. Defendants

 were able to direct and exert control over each of these activities through their KOLs.

        57.     Pro-opioid doctors are one of the most important avenues that Defendants use to

 spread their false and deceptive statements about the risks and benefits of long-term opioid use.

 Defendants know that doctors rely heavily and less critically on their peers for guidance, and KOLs

 provide the false appearance of unbiased and reliable support for chronic opioid therapy.

        58.     Defendants utilized many KOLs, including many ofthe same ones. Two ofthe most




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  prominent are described below.

                     1. Russell Portenoy

            59.      Dr. Russell Portenoy, former Chairman of the Department of Pain Medicine and

  Palliative Care at Beth Israel Medical Center in New York, is one example of a KOL who

  Defendants identified and promoted to further their marketing campaign. Dr. Portenoy received

  research support, consulting fees, and honoraria from Endo, Janssen, and Purdue (among others),

  and was a paid consultant to Purdue.

            60.      Dr. Portenoy was instrumental in opening the door for the regular use of opioids to

  treat chronic pain. He served on the American Pain Society ("APS")/American Academy of Pain

  Medicine ("AAPM") Guidelines Committees, which endorsed the use of opioids to treat chronic

  pain, first in 1997 and again in 2009. He was also a member of the board of the American Pain

  Foundation ("APF"), an advocacy organization almost entirely funded by Defendants.

            61.      Dr. Portenoy also made frequent media appearances _ promoting opioids. He

  appeared on Good Morning America in 2010 to discuss using opioids long-term to treat chronic

  pain. On this widely-watched program, broadcast in Texas and across the country, Dr. Portenoy

  claimed: "Addiction, .when treating pain, is distinctly uncommon. If a person does not have a

  history, a personal history, of substance abuse, and does not have a history in the family of

  substance abuse, and does not have a very major psychiatric disorder, most doctors can feel very

  assured that that person is not going to become addicted."19

            62.      Dr. Portenoy later admitted that he "gave innumerable lectures in the late 1980s

  and `90s about addiction that weren't true."20 These lectures falsely claimed that less than 1% of



  19
       Good Moming America television broadcast, ABC News (Aug. 30, 2010).
 20   Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, WALL ST. J., Dec.
      17, 2012.



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  patients would become addicted to opioids. According to Dr. Portenoy, because the primary goal

  was to "destigmatize" opioids, he and other doctors promoting them overstated their benefits and.       `

  glossed over their risks. Dr. Portenoy also conceded that "[d]ata about the effectiveness of opioids

  does not exist."21 Portenoy candidly stated: "Did I teach about pain management, specifically

  about opioid therapy, in a way that reflects misinformation? We11 ... I guess I did."22

                 2. Lynn Webster

          63.    Another KOL, Dr. Lynn Webster, was the co-founder and Chief Medical Director

  of Lifetree Clinical Research, an otherwise unknown pain clinic in Salt Lake City, Utah. Dr.

  Webster was President in 2013 and is a current board member of AAPM, a Front Group that

 ardently supports chronic opioid therapy. He is a Senior Editor ofPainMedicine, the same journal

 that published Endo special advertising supplements touting Opana ER. Dr. Webster authored

  numerous CMEs sponsored by Endo and Purdue while he was receiving significant funding from

  Defendants.

          64.    In 2011, Dr. Webster presented a program via webinar sponsored by Purdue titled,

  Managing Patient's Opioid Use: Balancing the Need and the Risk. Dr. Webster recommended

  using risk screening tools, such as urine testing and patient agreements as a way to prevent

 "overuse of prescriptions" and "overdose deaths," which was available to and was intended to reach

 doctors treating Dallas County residents.

          65.    Dr. Webster also was a leading proponent of the concept of "pseudoaddiction," the

  notion that addictive behaviors should be seen not as warnings, but as indications of undertreated

  pain. In Dr. Webster's description, the only way to differentiate the two was to increase a patient's

 dose of opioids. As he and his co-author wrote in a book entitled Avoiding Opioid Abuse While


 zi Id
 z2
    1d.


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 Managing Pain (2007), a book that is still available online, when faced with signs of aberrant

 behavior, increasing the dose "in most cases ... should be the clinician's first response." Endo

 distributed this book to doctors. Years later, Dr. Webster reversed himself, acknowledging that

 "[pseudoaddiction] obviously became too much of an excuse to give patients rriore medication."Z3

         b.      Front Groups

         66.     Defendants entered into arrangements with seemingly unbiased and independent

 patient and professional organizations to promote opioids for treating chronic pain. Under

 Defendants' direction and control, these "Front Groups" generated treatment guidelines, unbranded

 materials, and programs that favored chronic opioid therapy. They also assisted Defendants by

 responding to negative articles, by advocating against regulatory changes that would limit

 prescribing opioids in accordance with the scientific evidence, and by conducting outreach to

 vulnerable patient populations targeted by Defendants.

         67.     These Front Groups depended on Defendants for funding and, in some cases, for

 survival. Defendants also exercised control over programs and materials created by these groups

 by collaborating on, editing, and approving their content, and by funding their dissemination. In

 doing so, Defendants made sure these Groups would generate only the messages Defendants wanted

 to distribute. Even so, the Front Groups held themselves out as independent and as serving the needs

 of their members — whether patients suffering from pain or doctors treating those patients.

         68.     Defendants Endo, Janssen, and Purdue utilized many Front Groups, including many

 of the same ones. Several of the most prominent are described below, but there are many others,

 including the American Pain Society ("APS"), American Geriatrics Society ("AGS"), the

 Federation of State Medical Boards ("FSMB"), American Chronic Pain Association ("ACPA"),


 Z3
    John Fauber & Ellen Gabler, NelnvorkingFuels Painkiller Boom, MILWAUKEE WISC. J. SENTINEL (Feb. 19,
 2012).



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  American Society of Pain Education ("ASPE"), National Pain Foundation ("NPF") and Pain &

  Policy Studies Group ("PPSG").

                 1. American Pain Foundation ("APF")

         69.     The most prominent of Defendants' Front Groups was APF, which received more

 than $10 million in funding from opioid manufacturers from 2007 until it closed its doors in May

 2012. Endo alone provided more than half that funding; Purdue was next at $1.7 million.

         70.     In 2009 and 2010, more than 80% of APF's operating budget came from

  pharmaceutical industry sources. Including industry grants for specific projects, APF received

 about $2.3 million from industry sources out of total income of about $2.85 million in 2009; its

  budget for 2010 projected receipts of roughly $2.9 million from drug companies, out of total

  income of about $3.5 million. By 2011, APF was entirely dependent on incoming grants from

 defendants Purdue, Endo, and others to avoid using its line of credit. As one of its board members,

  Russell Portenoy, explained the lack of funding diversity was one of the biggest problems at APF.

         71.     APF issued education guides for patients, reporters, and policymakers that touted

 the benefits of opioids for chronic pain and trivialized their risks, particularly the risk of addiction.

 APF also engaged in a significant multimedia campaign — through radio, television, and the

  internet — to educate patients about their "right" to pain treatment, namely opioids. All of the

  programs and materials were available nationally and were intended to reach patients and

 consumers in Dallas County.

                2. American Academy of Pain Medicine ("AAPM")

         72.     The American Academy of Pain Medicine, with the assistance, prompting,

  involvement, and funding of Defendants, issued treatment guidelines and sponsored and hosted

 medical education programs essential to Defendants' deceptive marketing of chronic opioid




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 therapy.

          73.     AAPM received over $2.2 million in funding since 2009 from opioid

  manufacturers. AAPM maintained a corporate relations couricil, whose members paid $25,000 per

  year (on top of other funding) to participate.. The benefits included allowing members to present

  educational programs at off-site dinner symposia in connection with AAPM's marquee event — its

 annual meeting held in Palm Springs, California, or other resort locations. AAPM describes the

 annual event as an "exclusive venue" for offering education programs to doctors. Membership in

 the corporate relations council also allows drug company executives and marketing staff to meet

 with AAPM executive committee members in small settings. Defendants Endo, Purdue, and

 Actavis were members of the council and presented deceptive programs to doctors who attended

 this annual event.

          74.     AAPM is viewed internally by Endo as "industry friendly," with Endo advisors and

 speakers among its active members. Endo attended AAPM conferences, funded its CMEs, and

 distributed its publications. The conferences sponsored by AAPM heavily emphasized sessions

 on opioids — 37 out of roughly 40 at one conference alone. AAPM's presidents have included top

  industry-supported KOLs Perry Fine, Russell Portenoy, and Lynn Webster. Dr. Webster was even

 elected president of AAPM while under a DEA investigation. Another past AAPM president, Dr.

 Scott Fishman, stated that he would place the organization "at the forefront" of teaching that "the

  risks of addiction are ... small and can be managed."24

         75.      AAPM's staff understood they and their industry funders were engaged in a

 common task. Defendants were able to influence AAPM through both their significant and regular




 24 Interview by Paula Moyer with Scott M. Fishman, M.D., Professor of Anesthesiology and Pain Medicine, Chief
 of the Division of Pain Medicine, Univ. of Cal., Davis (2005), http://www.medscape.org/viewarticle/500829.



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  funding and the leadership of pro-opioid KOLs within the organization.

         76.    In 1997, AAPM and the American Pain Society jointly issued a consensus

 statement, The Use of Opioids for the Treatment of Chronic Pain, which endorsed opioids to treat

 chronic.pain and claimed there was a low risk that patients would become addicted to opioids. The

 co-author of the statement, Dr. Haddox, was at the time a paid speaker for Purdue. Dr. Portenoy

 was the sole consultant. The consensus statement remained on AAPM's website until 2011, and

 was taken down from AAPM's website only after a doctor complained,.though it still lingers on

 the internet elsewhere.

         77.    AAPM and APS issued their own guidelines in 2009 ("AAPM/APS Guidelines")

 and continued to recommend using opioids to treat chronic pain. Fourteen ofthe 21 panel members

 who drafted the AAPM/APS Guidelines, including KOLs Dr. Portenoy and Dr. Perry Fine of the

 University of Utah, received support from Janssen, Endo, and Purdue.

         78.    The 2009 Guidelines promote opioids as "safe and effective" for treating chronic

 pain, despite acknowledging limited evidence, and conclude that the risk of addiction is

 manageable for patients regardless of past abuse histories. One panel member, Dr. Joel Saper,

 Clinical Professor of Neurology at Michigan State University and founder of the Michigari

 Headache & Neurological Institute, resigned from the panel because he was concerned the 2009

 Guidelines were influenced by contributions that drug companies, including Defendants, made to

 the sponsoring organizations and committee members. These AAPM/APS Guidelines have been

 a particularly effective channel of deception and have influenced not only treating physicians, but

 also the body of scientific evidence on opioids. The Guidelines have been cited 732 times in

 academic literature, were disseminated in and around Dallas County during the relevant time

 period, are still available online, and were reprinted in the Journal of Pain.




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  B.     Defendants' Marketing Scheme Misrepresented the Risks and Benefits of Opioids.

         79.     To convince doctors treating residents in Dallas County and Dallas County patients

  that opioids can and should be used to treat chronic pain, Defendants had to convince them that

  long-term opioid use is both safe and effective. Knowing they could do so only by deceiving those

  doctors and patients about the risks and benefits of long-term opioid use, Defendants made claims

  that were not supported by, or were contrary to, the scientific evidence. Even though

  pronouncements by and guidance from the FDA and the CDC based on that evidence confirm that

 their claims were false and deceptive, Defendants have not corrected them, or instructed their

 KOLs or Front Groups to correct them, and continue to spread them today.

 C.      Defendants Falsely Trivialized or Failed to Disclose the Known Risks of Long-Term
         Opioid Use.

         80.     To convince doctors and patients that opioids are safe, Defendants deceptively

 trivialized and failed to disclose the risks of long-term opioid use, particularly the risk of addiction,

 through a series of misrepresentations that have been conclusively debunked by the FDA and

 CDC. These misrepresentations — which are described below — reinforced each other and created

 the dangerously misleading impression that: (1) starting patients on opioids was low-risk because

 most patients would not become addicted, and because those who were at greatest risk of addiction

 could be readily identified and managed; (2) patients who displayed signs of addiction probably

 were not addicted and, in any event, could easily be weaned from the drugs; (3) the use of higher

 opioid doses, which many patients need to sustain pain relief as they develop tolerance to the drugs,

 do not pose special risks; and (4) abuse-deterrent opioids both prevent overdose and are inherently

 less addictive. Defendants have not only failed to con ect these misrepresentations, they continue

 to make them today.

         81.     First, Defendants falsely claimed the risk of addiction is low and unlikely. to



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 develop when opioids are prescribed, as opposed to obtained illicitly; and failed to disclose the

 greater risk of addiction with prolonged.use of opioids. For example:

               a.      Actavis's predecessor caused a patient education brochure to be distributed
                       in 2007 claiming opioid addiction is possible, but "less likely' if you have
                       never had an addiction problem." Upon information and belief, based on
                       Actavis's acquisition of its .predecessor's marketing materials along with
                       the rights to Kadian, Actavis continued to use this brochure in 2009 and
                       beyond;

                b.     Purdue sponsored APF's Treatment Options: A Guide for People Living
                       with Pain (2007), which instructed that addiction is rare and limited to
                       extreme cases of unauthorized dose escalations, obtaining duplicative
                       opioid prescriptions from multiple sources, or theft. This publication is still
                       available online;

               C.      Endo sponsored a website, Painknowledge.com, which claimed in 2009 that
                       "[p]eople who take opioids as prescribed usually do not become addicted."
                       Another Endo website, PainAction.com, stated "Did you know? Most
                       chronic pain patients do not become addicted to the opioid medications that
                       are prescribed for them;"

               d.      Endo distributed a pamphlet with the Endo logo entitled Living with
                       Someone with Chronic Pain, which stated that: "Most health care providers
                       who treat people with pain agree that most people do not develop an
                       addiction problem." A similar statement appeared on the Endo website,
                       www.opana.com;

               e.      Janssen reviewed, edited, approved, and distributed a patient education
                       guide entitled Finding Relief Pain Management for Older Adults (2009),
                       which described as "myth" the claim that opioids are addictive, and asserted
                       as fact that "[m]any studies show that opioids are rarely addictive when used
                       properly for the management of chronic pain;"

               f.      Janssen currently runs a website, Prescriberesponsibly.com (last updated
                       July 2, 2015), which claims that concerns about opioid addiction are
                       "overestimated;"

               g.      Purdue sponsored APF's A Policymaker's Guide to Understanding Pain &
                       Its Management — which claims that less than 1% of children prescribed
                       opioids will become addicted and that pain is undertreated due to
                       "misconceptions about opioid addiction[]." This publication is still
                       available online; and

                       Detailers for Purdue, Endo, and Janssen in and around Dallas County



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                           minimized or omitted any discussion with doctors of the risk of addiction;
                           misrepresented the potential for opioid abuse with purportedly abuse-
                           deterrent formulations; and routinely did not correct the misrepresentations
                           noted above.

           82.    These claims contradict longstanding scientific evidence, as the FDA and CDC

 have conclusively declared. As noted in the 2016 CDC Guideline endorsed by the FDA, there is

 "extensive evidence" of the "possible harms of opioids (including opioid use disorder [an

 alternative term for opioid addiction])."25 The guideline points out that "[o]pioid pain medication

  use presents serious risks, including ... opioid use disorder" and that "continuing opioid therapy for

 3 months substantially increases risk for opioid use disorder."26

           83.    The FDA further exposed the falsity of Defendants' claims about the low risk of

 addiction when it announced changes to the labels for ERlLA opioids in 2013 and for IR opioids

 in 2016: In its announcements, the FDA discussed the risks related to opioid use and that IR

 opioids are associated with "persistent abuse, addiction, overdose mortality, and risk of NOWS

 [neonatal opioid withdrawal syndrome].5527

           84.    According to the FDA, because of the risks associated with long-term opioid use,

  including "the serious risk of addiction, abuse, misuse, overdose, and death,"28 opioids should be

 "reserved for pain severe enough to require opioid treatment and for which alternative treatment

 options (e.g., non-opioid analgesics or opioid combination products, as appropriate) are inadequate

 or not tolerated."29

           85.    The warnings on Defendants' own FDA-approved drug labels caution that opioids


 ZS CDC Guideline for Prescribing Opioids for Chronic Pain — United States 2016, Centers for Disease Control and
 Prevention (Mar. 18, 2016).
 26
      Id
 Z' FDA Announcement of Enlranced Warnings for Imnzediate-Release Opioid Pciin A~ledications Relctted to Rfsks of
 Misuse, .<lbuse, Addiction, Overdose and Death, Federal Drug Administration (Mar. 22, 2016).
 Z$ Id.
 ze
    Id.



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 "exposes users to risks of addiction, abuse and misuse, which can lead to overdose and death"30

  and that addiction "can occur in patients appropriately prescribed"31 opioids.

            86.      Second, Defendants falsely instructed doctors and patients that signs of addiction

 are actually signs of undertreated pain and should be treated by prescribing more opioids.

  Defendants called this phenomenon "pseudoaddiction" — a term coined by Dr. David Haddox, who

  went to work for Purdue, and popularized by Dr. Russell Portenoy, a KOL for Endo, Janssen, and

  Purdue — and claimed that pseudoaddiction is substantiated by scientific evidence. For example:

                              Purdue sponsored Responsible Opioid Prescribing (2007), which taught
                              that behaviors such as "requesting drugs by name," "demanding or
                              manipulative behavior," seeing more than one doctor to obtain opioids,
                              and hoarding, are all signs of pseudoaddiction, rather than true addiction.
                              Responsible Opioid Prescribing remains for sale online. The 2012 edition
                              continues to teach that pseudoaddiction is real;

                     b.       Janssen sponsored, funded, and edited the Let's Talk Pain website, which
                              in 2009 stated: "pseudoaddiction ... refers to patient behaviors that may
                              occur when pain is under-treated .... Pseudoaddiction is different from
                              true addiction because such behaviors can be resolved with effective pain
                              management;"

                     C.       Endo sponsored a National Initiative on Pain Control (NIPC) CME
                              program in 2009 titled Chronic Opioid Therapy: Understanding Risk
                              While Maximizing Analgesia, which promoted pseudoaddiction by
                              teaching that a patient's aberrant behavior was the result of untreated pain.
                              Endo substantially controlled NIPC by funding NIPC projects;
                              developing, specifying, and reviewing content; and distributing NIP.0
                              materials;

                     d.       Purdue published- a pamphlet in 2011 entitled Providing Relief,
                              Preventing Abuse, which described pseudoaddiction as a concept that
                              "emerged in the literature" to describe the inaccurate interpretation of
                              [drug-seeking behaviors] in patients who have pain that has not been
                              effectively treated;" and

                              Purdue sponsored a CME program entitled Path of the Patient, Managing
                              Chronic Pain in Younger Adults at Risk for Abuse. In a role play, a


 30   See, e.g., OxyContin label and insert at OxyContfn.com.
 31 Id




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                             chronic pain patient with a history of drug abuse tells his doctor that he
                             is taking twice as many hydrocodone pills as directed. The narrator notes
                             that because of pseudoaddiction, the doctor should not assume the patient
                             is addicted even if he persistently asks for a specific drug, seems
                             desperate, hoards medicine, or "overindulges in unapproved escalating
                             doses." The doctor treats this patient by prescribing a high-dose, long-
                             acting opioid.

            87.      The 2016 CDC Guideline rejects the concept of pseudoaddiction. The Guideline

 nowhere recommends that opioid dosages be increased if a patient is not experiencing pain relief.

 To the contrary, the Guideline explains that "[p]atients who do not experience clinically

 meaningful pain relief early in treatment ... are unlikely to experience pain relief with longer-term

 use,"32 and that physicians should "reassess[] pain and function within 1 month"33 in order to

 decide whether to "minimize risks of long-term opioid use by discontinuing opioids"34 because the

 patient is "not receiving a clear benefit.i35

            88.      Third, Defendants falsely instructed doctors and patients that addiction risk

 screening tools, patient contracts, urine drug screens, and similar strategies allow them to reliably

 identify and safely prescribe opioids to patients predisposed to addiction. These misrepresentations

 were especially insidious because Defendants aimed them at general practitioners and family

 doctors who lack the time and expertise to closely manage higher-risk patients. Defendants'

 misrepresentations made these doctors feel more comfortable prescribing opioids to their patients,

 and patients more comfortable starting opioid therapy for chronic pain. For example:

                    a.       Endo paid for a 2007 supplement in the Journal of Family Practice written
                             by a doctor who became a member of Endo's speakers' bureau in 2010. The
                             supplement, entitled Pain Management Dilemmas in Primary Care: Use of
                             Opioids, emphasized the effectiveness of screening tools, claiming that
                             patients at high risk of addiction could safely receive chronic opioid therapy
                             using a"maximally structured approach" involving toxicology screens and

 32
      CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
 33
      Id
 34   Jd
 35
      1d



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                              pill counts;

                     b.       Purdue sponsored a 2011 webinar, Managing Patient's Opioid Use:
                              Balancing the Need and Risk, which claimed that screening tools, urine
                              tests, and patient agreements prevent "overuse of prescriptions" and
                              "overdose deaths;" and

                     C.       As recently as 2015, Purdue has represented in scientific conferences that
                              "bad apple" patients — and not opioids — are the source of the addiction crisis
                              and that once those "bad apples" are identified, doctors can safely prescribe
                              opioids without causing addiction.

             89.     Once again, the 2016 CDC Guideline confirms these representations are false. The

  Guideline notes that there are no studies assessing the effectiveness of risk mitigation strategies —

  such as screening tools, patient contracts, urine drug testing, or pill counts — widely believed by

  doctors to detect and deter outcomes related to addiction and overdose.36 As a result, the Guideline

  recognizes that doctors should not overestimate the risk screening tools for classifying patients as

  high or low risk for opioid addiction because they are insufficient to rule out the risks of long-term

  opioid therapy.37

             90.     Fourth, to underplay the risk and impact of addiction and make doctors feel more

  comfortable starting patients on opioids, Defendants falsely claimed that opioid dependence can

  easily be addressed by tapering and that opioid withdrawal is not a problem thereby failing to

  disclose the increased difficulty of stopping opioids after long-term use.

             91.     For example, a CME sponsored by Endo, entitled Persistent Pain. in the Older

  Adult, claimed that withdrawal symptoms can be avoided by tapering a patient's opioid dose by

  10%-20% for 10 days. And Purdue sponsored APF's A Policymaker's Guide to Understanding

  Pain & Its Management, which claimed that "[s]ymptoms of physical dependence can often be

  ameliorated by gradually decreasing the dose of inedication during discontinuation."


  36
      CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
 37   See id.



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             92.      Defendants deceptively minimized the significant symptoms of opioid withdrawal,

  which, as explained in the 2016 CDC Guideline, include drug cravings, anxiety, insomnia,

  abdominal pain, vomiting, diarrhea, sweating, tremor, tachycardia (rapid heartbeat), spontaneous

  abortion and premature labor in pregnant women, and the unmasking of anxiety, depression, and

  addiction — and grossly understated the difficulty of tapering, particularly after long-term opioid

  use.

             93.      Yet the 2016 CDC Guideline recognizes that the duration of opioid use and the

  dosage of opioids prescribed should be limited to "minimize the need to taper opioids to prevent

  distressing or unpleasant withdrawal symptoms,"38 because "physical dependence on opioids is an

  expected physiologic response in patients exposed to opioids for more than a few days."39 The

  Guideline further states that "tapering opioids can be especially challenging after years on high

  dosages because of physical and psychological dependence"40 and highlights the difficulties,

  including the need to carefully identify "a taper slow enough to minimize symptoms and signs of

  opioid withdrawal"41 and pausing and restarting tapers depending on the patient's response.

             94.      The CDC also acknowledges the lack of any "high-quality studies comparing the

  effectiveness of different tapering protocols for use when opioid dosage is reduced or opioids are

  discontinued."42

             95.      Fifth, Defendants falsely claimed that doctors and patients could increase opioid

  dosages indefinitely without added risk and failed to disclose the greater risks to patients at higher

  dosages. The ability to escalate dosages was critical to Defendants' efforts to market opioids for




  38   CDC Guidelines for Prescribing Opioids for Chronic Pdin, supra.
  39   Id
  40
    1d
  41CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
 42
    !d.



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 long-term use to treat chronic pain because, absent this misrepresentation, doctors would have

 abandoned treatment when patients built up tolerance and lower dosages did not provide pain

 relief. For example:

               a.       Actavis's predecessor created a patient brochure for Kadian in 2007 that
                        stated, "Over time, your body may become tolerant of your current dose.
                        You may require a dose adjustment to get the right amount of pain relief.
                        This is not addiction." Upon information and belief, based on Actavis's
                        acquisition of its predecessor's marketing materials along with the rights to
                        Kadian, Actavis continued to use these materials in 2009 and beyond;

               b.       Purdue sponsored APF's Treatment Options: A Guide for People Living
                        with Pain (2007), which claims that some patients "need" a larger dose of
                        an opioid, regardless of the dose currently prescribed. The guide stated that
                        opioids have "no ceiling dose" and are therefore the most appropriate
                        treatment for severe pain. This guide is still available for sale online;

               C.       Endo sponsored a website, painknowledge.com, which claimed in 2009 that
                        opioid dosages may be increased until "you are on the right dose of
                        medication for your pain;"

               d.       Endo distributed a pamphlet edited by a KOL entitled Understanding Your
                        Pain.: Taking Oral Opioid Analgesics, which was available during the time
                        period of this Complaint on Endo's website. In. Q&A format, it asked "If I
                        take the opioid now, will it work later when I really need it?" The response
                        is, "The dose can be increased. ... You won't `run out' of pain relief;"

               e.       Janssen sponsored a patient education guide. entitled Finding Relief Pain
                        Management for Older Adults (2009), which was distributed by its sales
                        force. This guide listed dosage limitations as "disadvantages" of other pain
                        medicines but omitted any discussion of risks of increased opioid dosages;

               f.       Purdue's In the Face of Pain website promotes the notion that if a patient's
                        doctor does not prescribe what, in the patient's view, is a sufficient dosage
                        of opioids, he or she should find another doctor who will;

               g.       Purdue sponsored APF's A Policymaker's Guide to Understanding Pain dc
                        Its Management, which taught that dosage escalations are "sometimes
                        necessary," even unlimited ones, but did not disclose the risks from high
                        opioid dosages. This publication is still available online;

               h.       Purdue sponsored•a CME entitled Overview ofManagement Options that is
                        still available for CME credit. The CME was edited by a KOL and taught
                        that NSAIDs and other drugs, but not opioids, are unsafe at high dosages;



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                             and

                     i.      Purdue presented a 2015 paper at the College on the Problems of Drug
                             Dependence, the "the oldest and largest organization in the US dedicated to
                             advancing a scientific approach to substance use and addictive disorders,"
                             challenging the correlation between opioid dosage and overdose.

            96.      These claims conflict with the scientific evidence, as confirmed by the FDA and

 CDC. As the CDC explains in its 2016 Guideline, the "[b]enefits of high-dose opioids for chronic

 pain are not established"43 while the "risks for serious harms related to opioid therapy increase at

 higher opioid dosage."aa

            97.      More specifically, the CDC explains that "there is now an established body of

 scientific evidence showing that overdose risk is increased at higher opioid dosages."45 Similarly,

 there is an "increased risk for opioid use disorder, respiratory depression, and death at higher

 dosages."46 That is why the CDC advises doctors to avoid increasing dosages above 90 morphine

 milligram equivalents per day.

            98.      The 2016 CDC Guideline reinforces earlier findings announced by the FDA. In

 2013, the FDA acknowledged that available data suggested that increasing the opioid dosage

 likewise increased certain adverse events. For example, the FDA noted that studies suggest a

 positive association between high-dose opioid use and overdoses.

            99.      Finally, Defendants' deceptive marketing of the so-called abuse-deterrent

 properties of some of their opioids has created false impressions that these opioids can curb

 addiction and abuse.

            100.     More specifically, Defendants have made misleading claims about the ability of




 43   CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
 aa Id
 as Id
 ae Id




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  their so-called abuse-deterrent opioid forrnulations to deter addiction and overdose. For example,

  Endo's advertisements for the 2012 refonnulation of Opana ER claimed that it was designed to be

  crush resistant in a way that suggested it was more difficult to misuse the product. This claim was

  false.

           101.   The FDA warned in a 2013 letter that there was no evidence Endo's design would

  provide a reduction in oral, intranasal or intravenous use 47 Moreover, Endo's own studies, which

  it failed to disclose, showed that Opana ER could still be ground and chewed.

           102.   In a 2016 settlement with the State of New York, Endo agreed not to make

  statements in New York that Opana ER was designed to be or is crush resistant. The State found

  those statements false and deceptive because there was no difference in the ability to extract the

  narcotic from Opana ER.

           103.   Similarly, the 2016 CDC Guideline states that no studies support the notion that

 "abuse-deterrent technologies [are] a risk mitigation strategy for deterring or preventing abuse,"48

  noting that the technologies — even when they work —"do not prevent opioid abuse through oral

  intake, the most common route of opioid abuse, and can still be abused by non-oral routes."49

           104.   These numerous, long-standing misrepresentations of the risks of long-term opioid

  use spread by Defendants successfully convinced doctors and patients to discount those risks.

 D.        Defendants Grossly Overstated the Benefits of Chronic Opioid Therapy.

           105.   To convince doctors and patients that opioids should be used to treat chronic pain,

  Defendants had to persuade them that there was a significant benefit to long-term opioid use., But

 as the 2016 CDC Guideline makes clear, there is "insufficient evidence to detennine the long-



 47 See FDA Statement: Original Opana ER Relisting Determination (May 10, 2013).
 48 CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
 49 Id.




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 term benefits of opioid therapy for chronic pain."so

         106.     In fact, the CDC found no evidence showing "a long-term benefit of opioids in

 pain and function versus no opioids for chronic pain with outcomes examined at least 1 year later

 (with most placebo-controlled randomized trials < 6 weeks in duration)"51 and that other

 treatments were more or equally beneficial and less harmful than long-term opioid use. The FDA,

 too, has recognized the, lack of evidence to support long-term opioid use.

         107.     In 2013, the FDA stated that it was unaware of any studies demonstrating the

 safety and efficacy of opioids for long-term use.52 Despite this lack of studies, Defendants falsely

 and misleadingly touted the benefits of long-tenn opioid use and suggested that these benefits

 were supported by scientific evidence. Not only have Defendants failed to correct these false and

 deceptive claims, they continue to make them today. For example:

                  a.      Actavis distributed an advertisement that claimed that the use of Kadian to
                          treat chronic pain would allow patients to return to work, relieve "stress on
                          your body and your mental health," and help patients enjoy their lives;

                  b.      Endo distributed advertisements that claimed that the use of Opana ER for
                          chronic pain would allow patients to perform demanding tasks like
                          construction work or work as a chef and portrayed seemingly healthy,
                          unimpaired subjects;

                  C.      Janssen sponsored and edited a patient education guide entitled Finding
                          Relief Pain Management for Older Adults (2009) — which states as "a fact"
                          that "opioids may make it easier for people to live normally." The guide
                          lists expected functional improvements from opioid use, including sleeping
                          through the night, returning to work, recreation, sex, walking, and climbing
                          stairs;

                  d.      Purdue ran a series of advertisements for OxyContin in 2012 in medical
                          journals entitled "pain vignettes," which were case studies featuring
                          patients with pain conditions persisting over several months and
                          recommending OxyContin for them. The ads implied that OxyContin

 so Id
 si Id
 52
   Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Eval. & Res., to Andrew Kolodny, M.D., Pres. Physicians
 for Responsible Opioid Prescribing, Re Docket No. FDA-2012-P-0818 (Sept. 10, 2013).



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                     improves patients' function;

              e.     Responsible Opioid Prescribing (2007), sponsored and distributed by Endo
                     and Purdue, taught that relief of pain by opioids, by itself, improved
                     patients' function. The book remains for sale online;

              f.     Purdue sponsored APF's Treatment Options: A Guide for People Living
                     with Pain (2007), which counseled patients that opioids "give ,[pain
                     patients] a quality of life we deserve." The guide was available online until
                     APF shut its doors in 2012;

              g.     Endo's NIPC website painknowledge.com claimed in 2009 that with
                     opioids, "your level of function should improve; you may find you are now
                     able to participate in activities of daily living, such as work and hobbies,
                     that you were not able to enjoy when your pain was worse." Elsewhere, the
                     website touted improved quality of life (as well as "improved function") as
                     benefits of opioid therapy. The grant request that Endo approved for this
                     project specifically indicated NIPC's intent to make misleading claims
                     about function, and Endo closely tracked visits to the site;

              h.     Endo was the sole sponsor, through NIPC, of a sdries of CMEs titled
                     Persistent Pain in the Older Patient, which claimed that chronic opioid
                     therapy has been "shown to reduce pain and improve depressive symptoms
                     and cognitive functioning." The CME was disseminated via webcast;

              i.     Janssen sponsored, funded, and edited a website, Let's Talk Pain, in 2009,
                     which featured an interview edited by Janssen claiming that opioids allowed
                     a patient to "continue to function." This video is still available today on
                     YouTube;

              j.     Purdue sponsored the development and distribution of APF's A
                     Policymaker's Guide to Understanding Pain & Its Management, which
                     claimed that "multiple clinical studies" have shown that opioids are
                     effective in improving daily function, psychological health, and health-
                     related quality of life for chronic pain patients." The Policymaker's Guide
                     was originally published in 2011 and is still available online today; and

              k.     Purdue's, Endo's, and Janssen's sales representatives have conveyed and
                     continue to convey the message that opioids will improve patient function.

       108. These claims find no support in the scientific literature. Most recently, the 2016

 CDC Guideline, approved by the FDA, concluded, "There is no good evidence that opioids




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  improve pain or function with long-term use"53 and "complete relief of pain is unlikely."sa

  (Emphasis added.) The CDC reinforced this conclusion throughout its 2016 Guideline:

                      a.      "No evidence shows a long=term benefit of opioids in pain and function
                              versus no opioids for chronic pain with outcomes examined at least 1 year
                              later . . ,,,ss

                      b.      "Although opioids can reduce pain during short-term use, the clinical
                              evidence review found insufficient evidence to determine whether pain
                              relief is sustained and whether function or quality of life improves with
                              long-term opioid therapy;"56 and

                      C.      "[E]vidence is limited or insufficient for improved pain or function with
                              long-term use of opioids for several chronic pain conditions for which
                              opioids are commonly prescribed, such as low back pain, headache, and
                              fibromyalgia."57

             109.     The CDC also noted that the risks of addiction and death "can cause distress and

  inability to fulfill major role obligations."sg As a matter of common sense (and medical evidence),

  drugs that can kill patients or commit them to a life of addiction or recovery do not improve their

  function and quality of life.

             110.     The 2016 CDC Guideline was not the first time a federal agency repudiated

  Defendants' claim that opioids improved function and quality of life. In 2010, the FDA warned

  Actavis that "[w]e are not aware of substantial evidence or substantial clinical experience

  demonstrating that the magnitude of the effect of the drug [Kadian] has in alleviating pain, taken

  together with any drug-related side effects patients may experience ... results in any overall positive

  impact on a patient's work, physical and mental functioning, daily activities, or enjoyment of




  s3
    CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
  54  fd
  55 'd

  56
       CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
  57 Id

  ss Id



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  life."s9

             111.   Defendants also falsely emphasized or exaggerated the risks of competing products

  like NSAIDs so that doctors and patients would look to opioids first for treating chronic pain.

  Once again, Defendants' misrepresentations contravene pronouncements by and guidance from

  the FDA and CDC based on the scientific evidence.

             112.   Consequently, the FDA changed the labels for ER/LA opioids in 2013 and IR

  opioids in 2016 to state that opioids should be used only as a.last resort where alternative

  treatments like non-opioid drugs are inadequate. And the 2016 CDC Guideline states that NSAIDs,

  not opioids, should be the first-line treatment for chronic pain, particularly arthritis and lower back

  pain.

             113.   In addition, Purdue misleadingly promoted OxyContin as unique among opioids in

  providing 12 continuous hours of pain relief with one dose. In fact, OxyContin does not last for

  12 hours — a fact that Purdue has known at all times relevant to this action.

             114.   According to Purdue's own research, OxyContin wears off in under six hours in one

 quarter of patients and in under 10 hours in more than half. The reason is that OxyContin tablets

  release approximately 40% of their active medicine immediately, after which release tapers:

 Although the patient experiences a powerful initial response, there is little or no pain relief at the

 end of the dosing period because less medicine is released.

             115.   This phenomenon is known as "end of dose" failure, and the FDA found in 2008

 that a substantial number of chronic pain patients taking OxyContin experience it.

             116.   This "end of dose" failure not only renders Purdue's promise of 12 hours of relief



 59Warning Letter from Thomas Abrams, Dir., FDA Div. of Mktg., Adver., & Commc'ns, to Doug Boothe, CEO,
 Actavis Elizabeth.LLC (Feb. 18, 2010), http://www.fda.gov/Drugs/GuidanceComplianceRegulatory[nformation/
 EnforcementActivitiesbyFDA/W arni ngLettersandNoticeof V iolationLetterstoPharmaceuticalCompanies/
 ucm259240.htm.



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  false and deceptive, it also makes OxyContin more dangerous because the declining pain relief

  patients experience toward the end of each dosing period drives them to take more OxyContin

  before the next'dosing period begins, quickly increasing the amount of drug they are taking and

  spurring growing dependence.

           117. Purdue's competitors were aware of this problem. For example, Endo ran

 advertisements for Opana ER referring to "real" 12-hour dosing. Nevertheless, Purdue falsely

  promoted OxyContin as if it were effective for a full 12 hours. Indeed, Purdue's sales

 .representatives continue to tell doctors in and around Dallas County that OxyContin lasts a full 12

  hours.

  E.       Defendants also engaged in Other Unlawful, Unfair, and Fraudulent Misconduct.

           118. Defendants herein participated in illicit and unlawful prescribing of its drugs.. For

 example, Purdue did not report illegal prescribing of OxyContin until years after law enforcement

 shut down a Los Angeles clinic that prescribed more than 1.1 million OxyContin tablets. In doing

 so, Purdue protected its own profits at the expense of public health and safety.

           119.    The State of New York found that Endo failed to require sales representatives to

  report signs of addiction; diversion, and inappropriate prescribing; paid bonuses to sales

  representatives for detailing prescribers who were subsequently arrested or convicted for illegal

  prescribing; and failed to prevent sales representatives from visiting prescribers whose suspicious

 conduct had caused them to be placed on a no-call list.

 F.        Defendants Targeted Susceptible Prescribers and Vulnerable Patient Populations.

           120. As a part of their deceptive marketing scheme, Defendants identified and targeted

 susceptible prescribers and vulnerable patient populations in the U.S. and in and around Dallas

 County. For example, Defendants focused their deceptive marketing on primary care doctors, who




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  were more .likely to treat chronic pain patients and prescribe opioids, but were less likely to be

  educated about treating pain and the risks and benefits of opioids.

          121. Defendants also targeted vulnerable patient populations like the elderly and

  veterans, who tend to suffer from chronic pain. Defendants targeted these vulnerable patients even

  though the risks of long-term opioid use were significantly greater for them.

          122.. For example, the 201.6 CDC Guideline observes that existing evidence shows that

  elderly patients taking opioids suffer from elevated fall and fracture risks, greater risk of

  hospitalization, and increased vulnerability to adverse drug effects and interactions. The Guideline

  therefore concludes that there are "special risks of long-term opioid use for elderly patients" and

  recommends that doctors use "additional caution and increased monitoring" to minimize the risks

  of opioid use in elderly patients.

         123.    The same is true for veterans, who are more likely to use anti-anxiety drugs

  (benzodiazepines) for post-traumatic stress disorder., which interact dangerously with opioids.

 G.      Although Defendants knew that their Marketing of Opioids was False and Deceptive,
         they Fraudulently Concealed their Misconduct.

         124.    Defendants, both individually and collectively, made, promoted, and profited from

 their misrepresentations about the risks and benefits of opioids for chronic pain even though they

  knew their misrepresentations were false and deceptive. The history of opioids, as well as research

 and clinical experience over the last 20 years, established that opioids were highly addictive and

  responsible for a long list of very serious adverse outcomes.

         125.    Not only did the FDA and other regulators warn Defendants, but Defendants had

 access to scientific studies, detailed prescription data, and reports of adverse events, including

  reports of addiction, hospitalization, and deaths — all of which made clear the harms from long-term

 opioid use, including the suffering from addiction, overdoses, and death in alarming numbers in



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 patients using opioids.

                126.   More recently, the FDA and CDC have issued pronouncements based on the

 medical evidence that conclusively expose the known falsity of Defendants' misrepresentations,

 and Endo and Purdue have recently entered agreements prohibiting them from making some of the

 same misrepresentations described herein in New York.

                127.   Specifically, three current and former executives from Purdue plead guilty in 2007

 to criminal charges that they misled regulators, doctors, and patients about OxyContin's risk of

 addiction 60 In pleading guilty to misbranding charges, Purdue admitted it had fraudulently

 marketed OxyContin as a drug less prone to addiction and as having fewer side effects than other

 opioids.61 In reality, unlike other opioids, OxyContin contained pure oxycodone without any other

 ingredients, which made it a powerful narcotic despite its time-release design that Purdue touted

 as ameliorating its addictive potential.bz

                128.   Moreover, Defendants took steps to avoid detection of and to fraudulently conceal

 their deceptive marketing and unlawful, unfair, and fraudulent conduct. For example, Defendants

 disguised their own role in the deceptive marketing of chronic opioid therapy by funding and

 working through third parties like Front Groups and KOLs.

                129.   Finally, Defendants manipulated their promotional materials and the scientific

 literature to make it appear that these items were accurate, truthful, and supported by objective

 evidence when they were not.

                130.   Thus, Defendants successfully concealed from the medical community and patierits

 facts sufficient to arouse suspicion of the claims Dallas County now asserts. Dallas County did not


 61
   See Barry Meier, "In Guilty Plea, OxyContin Maker to Pay $600 Million," (May 10, 2007),
 http://www.nytimes.com/2007/05/10/business/1 I drug-web.html.
 61
      See id.
 62
      See id.



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  know of the existence or scope of Defendants' industry-wide fraud and could not have acquired

  such knowledge earlier through the exercise of reasonable diligence.

  H.      By Increasing Opioid Prescriptions and Use, Defendants' Deceptive Marketing
          Scheme has fueled the Opioid Epidemic and Devastated Dallas County Communities.

          131.     Defendants' misrepresentations deceived doctors and patients about the risks and

  benefits of long-term opioid use. Studies reveal that many doctors and patients are unaware of or

  do not understand the risks or benefits of opioids. Indeed, patients often report that they were not

 warned they might become addicted to opioids prescribed to them. As reported in January 2016,

 a 2015 survey of more than 1,000 opioid patients found that 4 out of 10 were not told opioids were

  potentially addictive 63

          132.     Defendants' deceptive marketing scheme caused and continues to cause doctors in

 and around Dallas County to prescribe opioids for chronic pain conditions such as back pain,

  headaches, arthritis, and fibromyalgia. Absent Defendants' deceptive marketing scheme, these

 doctors would not have been able to over prescribe opioids or become embroiled in pill mills that

  negatively impacted residents of Dallas County.

          133.     For example, Defendants' deceptive marketing scheme allowed three doctors

  located in Dallas County, Texas to promote, overprescribe, and financially benefit from prescribing

 opioids. Indeed, the doctors herein "knowingly or intentionally manufactured, distributed,

 dispensed, or possessed with the intent to manufacture, distribute, or dispense a controlled

 substance, including opioids such as OxyContin, Hydrocodone, and Vicodin in violation of the

 Texas Controlled Substances Act in 21 C.F.R. § 1301 et seq.ba


 63
    Hazelden Betty Ford Foundation, Mfssed Questfons, Mfssed Opportunities (Jan. 27, 2016), available at
 http://www.hazeldenbettyford.org/about-us/news-and-media/pressrelease/doctors-miss ing-questions-that-could-
 prevent-opioid-addi ction.
 ba
    See, e.g., Grand Jury Indictment in United States v. Sina Athari, et al., U.S.D.C-Northern Dist., Dallas Div., No.
 3:14-CR-044-D (December 1, 2015).



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           134.      Dr. Andrews, Dr: Okechuku, and Dr. Padron were all involved in a similar

  conspiracy to distribute opioids. The conspirators employed persons to recruit individuals who

  were homeless or of limited means.65 These individuals would be paid a fee to pose as patients at

  certain medical clinics and to fill these same prescriptions at certain pharmacies.66 The involved

  practitioners, such as the doctors herein, were enlisted to write prescriptions for opioids despite

 there being no legitimate medical purpose67 The clinics and the pharmacies accepted cash only,

  which was funneled through the various physicians, employees, and/or recruiters68 The end goal

  was to sell the opioids on the open market in Dallas County and elsewhere.

           135.      Dr. Richard Andrews was a co-owner and supervising physician of McAllen

  Medical Clinic in Dallas, Texas69 Dr. Andrews was indicted on December 1, 2015 for, among other

 things, conspiracy to distribute a controlled substance.70 On July 26, 2016, Dr. Andrews entered

  into a plea agreement in which he pleaded guilty.71 On March 3, 2017, Dr. Andrews and the Texas

 Medical Board agreed that his license would be.revoked in lieu of further disciplinary actions.72

           136.      Dr. Theodore Okechuku operated a pain clinic irr Lake Highlands located in Dallas,

 Texas.73 Dr. Okechuku was indicted on December 3, 2013 for conspiracy to unlawfully distribute

 a controlled substance.74 Dr. Okechuku violated the terms of his pre-trial release because he




 61 See, e.g., Indictment at p. 7.
 66 Id
 67 Id. at 9.
 68 Id. at 5.
 69 Id. at 5.
 '° See id. at 30.
 71 Plea Agreement in U.S. v. Richard Andrews, U.S.D;C.-Northern District, Dallas Div., No. 3:15-CR-044-D (July
 25, 2016).
 'Z Texas Medical Board, http://reg.tmb/state/tx/us.com, last vie►ved November 13, 2017
 73 "Dallas Doctor Sentenced for Operating `Pill Mill"', March 31, 2016, http://dfw.cbslocal.com/2016/03/31/dallas-
 doctor-sentenced-for-operating-pi l l-mi I I/.
 74 Texas Medical Board, http://reg.tmb/state/tx/us.com, last vieived November 13, 2017; see also "Dallas Doctor
 Sentenced for Operating `Pill Mill"', March 31, 2016, http://dfw.cbslocal.com/2016/03/31/dallas-doctor-sentenced-
 for-operating-pi l l-m i l l/.



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 continued to prescribe hydrocodone and other controlled substances.75 Ultimately, Dr. Okechuku

 was found guilty on 3 counts, one related to the distribution of opioids, and sentenced to 25 years.76

             137.     Dr. Nicolas A. Padron operated a"cash only" clinic in Dallas.77 He, too, was indicted

 for conspiracy to unlawfully distribute controlled substances and ultimately sentenced to 87 months

 in federal prison.78 On May 2, 2014, Dr. Padron agreed to the revocation of his medical license in

 lieu of further disciplinary action.79

             138.     If the manufacturing and distributing Defendants were not over-supplying opioids,

 then physicians like Dr. Andrews; Dr. Okechuku, and Dr. Padron could not devise schemes to

 prescribe opioids without a legitimate purpose as a means to flood the open market with opioids,

 such as OxyContin, Hydrocodone, and Vicodin.

            139.      While Defendants may claim the federal government authorized the amount of

 annual prescription opioids sold, they know in truth that several Defendants have successfully used

 their organized money and influence to render the federal government's enforcement agency, the

 Drug Enforcement Administration, virtually powerless to interrupt the over-supply of prescription

 opioid drugs.

            140.     Defendants' deceptive marketing scheme also caused and continues to cause

 patients to purchase and use opioids for their chronic pain believing they are safe and effective.

 Absent Defendants' deceptive marketing scheme, fewer patients would be using opioids long-term

 to treat chronic pain, and those patients using opioids would be using less of them.



 75  Texas Medical Board, http://reg.tmb/state/tx/us.com, last viewed November 13, 2017.
 76  U.S. v. Theodore E. Okechuku, U.S.D.C.-Northern District, Dallas Div., No. 3:13-CR-00481-P(1) (March 30,
  2016).
 '" "Garland Doctor, other `Dealers' Sentenced in Dallas 'Pill Mill' Case, "(Oct. 29, 2014),
  http://starlocalmedia.com/rowlettlakeshoretimes/garland-doctor-other-d...Ilas-pill-mill-case/article—d53be5fc-5fbc-
  I 1e4-9l86-af37156f06a3.html.
 7s Id

 79   Texas Medical Board, http://reg.tmb/state/tx/us.corim, last vieived November 13, 2017.



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         141.     Defendants' deceptive marketing has caused and continues to cause the prescribing _

 and use of opioids to explode. Indeed, this dramatic increase in opioid prescriptions and use

 corresponds with the dramatic increase in Defendants' spending on their deceptive marketing

 scheme. Defendants' spending on opioid marketing totaled approximately $91 million in 2000.

 By 2011, that spending had tripled to $288 million.

         142.     The escalating number of opioid prescriptions written by doctors who were

 deceived by Defendants' deceptive marketing scheme is the cause of a correspondingly dramatic

 increase in opioid addiction, overdose, and death throughout the U.S. and Dallas County.

         143.     Scientific evidence demonstrates a strong correlation between opioid prescriptions

 and becoming addicted to opioids. In a 2016 report, the CDC explained that prescribing opioids

 has quadrupled since 1999, which has resulted in a parallel increase in opioid overdoses.80 Indeed,

 there has been a two-third increase in overdose deaths trom using opioids since 2000.81 For these

 reasons, the CDC concluded that efforts to rein in the prescribing of opioids for chronic pain are

 critical "to reverse the cycle of opioid pain medication misuse that contributes to the opioid

 overdose epidemic."82

         144.     Due to the increase in opioid overdoses, first responders such as police officers,

 have been and will continue to be in the position to assist people experiencing opioid-related

 overdoses.83 In 2016, "over 1,200 law enforcement departments nationwide carried naloxone in



 80 CDC. National Vital Statistics System, Mortality. CDC WONDER. Atlanta, GA: US Department of Health and
 Human Services, CDC; 2016. https://worider.cdc.gov/; Rudd RA, Seth P, David F, Scholl L. Increases in Drug and
 Opioid-Involved Overdose Deaths — United States, 2010-2015. MMWR Morb Mortal Wkly Rep. ePub: 16
 December 2016.
 81 National Vital Statistics System, Mortality file and appearing Center for Disease Control and Prevention
 Morbidity and Mortality Weekly Report, January 1, 2006 / 64(50); 1378-82, Increases in Drug and Opioid Deaths —
 United States, 2000-2014.
 $Z CDC Guideline for Prescribing Opioids for Chronic Pain, saipra; see also Rudd RA, Seth P, David F, Scholl

 L. Increases in Drug and Opioid-Involved Overdose Deaths — United States, 2010-2015. MIviWR Morb Mortal
 Wklv Rep. ePub: 16 December 2016.
 83 Opinion of the Attorney General of Texas, KP-0168 (Oct. 4, 2017).




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  an effort to prevent opioid-related deaths."84

           145.     Defendants' deceptive marketing scheme has also detrimentally impacted children

  in Dallas County. Overprescribing opioids for chronic pain has made the drugs more accessible to

  school-aged children, who come into contact with opioids after they have been prescribed to

  friends or relatives in the same household.

           146.     Defendants' conduct has adversely affected Dallas County's child protection

  agencies in the number of children in foster care driven by parental drug addiction. Children with

  parents addicted to drugs tend to stay in foster care longer, and they often enter the system having

  experienced significant trauma, which makes these cases more expensive for counties like Dallas

  County.

           147.    Opioid addiction is one of the primary reasons that Dallas County residents seek

  treatment for substance dependence. A significant number of admissions for drug addiction were

  associated with a primary diagnosis of opiate addiction or dependence.

           148.    Defendants' creation, through false and deceptive advertising and other unlawful

  and unfair conduct, of a virtually limitless opioid market has significantly harmed Dallas County

  communities. Defendants' success in extending the market for opioids to new patients and chronic

  pain conditions has created an abundance of drugs available for non-medical and criminal use and

  fueled a new wave of addiction and injury. It has been estimated that 60% of the opioids to which

  people are addicted come, directly or indirectly, through doctors' prescriptions.85

           149.    Law enforcement agencies have increasingly associated prescription drug addiction




  84!d. citing http://www.nchrc.org/law-enforcement/us-law-enforcement-who-carry-naloxone/.
  85Nathaniel P. Katz, Prescription Opioid Abuse: Cha!lenges and Opportunities for Payers, Am. J. Managed Care
  (Apr. 19 2013), at 5("The most common source of abused [opioids] is, directly or indirectly, by prescription."),
  http://www.ajmc.com/publications/issue/2013/2013- I -vol 19-n4/Prescription-Opioid-Abuse-Challenges-and-
  Opportunities-for-Payers.



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  with violent and property crimes. Despite strict federal regulation of prescription drugs, local law

  enforcement agencies are faced with increasing diversion from legitimate sources for illicit

  purposes, including doctor shopping, forged prescriptions, falsified pharmacy records, and

  employees who steal from their place of employment. The opioid epidemic has prompted a

  growing trend of crimes against pharmacies including robbery and burglary. This ongoing

  diversion of prescription narcotics creates a lucrative marketplace.

          150.    The rise in opioid addiction caused by Defendants' deceptive marketing scheme

  has also resulted in an explosion in heroin use. For example, heroin use has more than doubled in

  the past decade among adults aged 18 to 25 years.86 Moreover, heroin-related overdoses in the

  United States has more than quadrupled since 2010.87

         151.     The costs and consequences of opioid addiction are staggering. For example, in

  2007, the cost of healthcare due to opioid addiction and dependence was estimated at 25 billion,

  the cost of criminal justice was estimated at 5.1 billion, and the cost of lost workplace productivity

  was estimated at 25.6 billion.

         152.     Consequently, prescription opioid addiction and overdose have an enormous

  impact on the health and safety of individuals, as well as communities at large, because the

  consequences of this epidemic reach far beyond the addicted individual.

         153.     Some of the repercussions for residents of Dallas County include job loss, loss of

  custody of children, physical and mental health problems, homelessness and incarceration, which

  results in instability in communities often already in economic crisis and contributes to increased

  demand on community services such as hospitals, courts, child services, treatment centers, and law




 86 Centers for Disease Control and Prevention. Vital Signs: Today's Heroin Epidemic — More People at Risk,
 Multiple Drugs Abused. ihttps://www.cdc.gov/vitalsigns/heroin/index.html). MMWR 2015.
 $' https://www.cdc.gov/vitalsigns/heroin/index.html



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  enforcement.

         154.    Defendants knew and .should have known about these harms that their deceptive

  marketing has caused and continues to cause and will cause in the future. Defendants closely

  monitored their sales and the habits of prescribing doctors. Their sales representatives, who visited

  doctors and attended CMEs, knew which doctors were receiving their messages and how they were

  responding.

         155.    Defendants also had access to and carefully watched government and other data

  that tracked the explosive rise in opioid use, addiction, injury, and death. Defendants not only

  knew, but intended that their misrepresentations would persuade doctors to prescribe and

  encourage patients to use their opioids for chronic pain.

         156.    Defendants' actions are neither permitted nor excused by the fact that their drug

  labels may have allowed, or did not exclude, the use of opioids for chronic pain. FDA approval

  of opioids for certain uses did not give Defendants license to misrepresent the risks and benefits of

  opioids. Indeed, Defendants' misrepresentations were directly contrary to pronouncements by,

  and guidance from, the FDA based on the medical evidence and their own labels.

         157. Nor is Defendants' causal role broken by the involvement of doctors. Defendants'
  marketing efforts were ubiquitous and highly persuasive. Their deceptive messages tainted

  virtually every source doctors could rely on for information and prevented them from making

  informed treatment decisions. Defendants also hijacked what doctors wanted to believe — namely,

 that opioids represented a means of relieving their patients' suffering and of practicing medicine

  more compassionately.

         158.    Defendants' actions and omissions were each a cause-in-fact of Dallas County's

  past and future damages. Defendants' wrongful conduct caused injuries to Dallas County in the




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  past, continues to cause injuries to Dallas County, and will continue to cause injuries to Dallas

  County in the future. Future damages include,- but are not limited to, additional resources for

  counseling and medication assisted treatment of addicts, medical treatment for overdoses, life

  skills training for adolescents, increased law enforcement, and additional resources to treat the

  psychological effects of opioids and the underlying conditions that make people susceptible to

  opioid addiction.

  I.     Defendants' Fraudulent Marketing Has Led.To Record Profits.

         159.    While using opioids has taken an enormous toll on Dallas County and its residents,

  Defendants have realized blockbuster profits. In 2014 alone, opioids generated $11 billion in

  revenue for drug companies like Defendants. Indeed, financial information indicates that each

  Defendant experienced a material increase in sales, revenue, and profits from the false and

  deceptive advertising and other unlawful and unfair conduct described above.

                   VI.    FIRST CAUSE OF ACTION: PUBLIC NUISANCE
                               AGAINST ALL DEFENDANTS

         160.    Dallas County re-alleges and incorporates by reference each of the allegations

  contained in the preceding paragraphs of this Complaint as though fully alleged herein.

         161.    Defendants knowingly encouraged doctors in and around Dallas County to

  prescribe, and residents to use, highly addictive opioids for chronic pain even though Defendants

  knew using opioids had a high risk of addiction and reduced quality of life:

         162.    By doing so, Defendants purposefully interfered with Dallas County's public

  health, public safety, public peace, public comfort, and public convenience.

         163.    Defendants, individually and in concert with each other, have contributed to and/or

  assisted in creating and maintaining a condition that is harmful to the health and safety of Dallas

  County residents and/or unreasonably interferes with the peace and comfortable enjoyment of life



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  in violation of Texas law.

         164.    The public nuisance created by Defendants' actions is substantial and unreasonable

  — it has caused and continues to cause significant harm to the community — and the harm inflicted

  outweighs any offsetting benefit.

         165.    The staggering rates of opioid use resulting from Defendants' marketing efforts

  have caused, and continues to cause, harm to the community including, but not limited to:

                 a.     Upwards of 30% of all adults use opioids. These high rates of use have led
                        to unnecessary opioid addiction, overdose, injuries, and deaths;

                 b.     Children have been exposed to opioids prescribed to family members or
                        others resulting in injury, addiction, and death. Easy access to prescription
                        opioids has made opioids a recreational drug of choice among Dallas
                        County teenagers; opioid use among teenagers is only outpaced by
                        marijuana use. Evein infants have been born addicted to opioids due to
                        prenatal exposure causing severe withdrawal symptoms and lasting
                        developmental impacts;

                 C.     Residents of Dallas County, who have never taken opioids, have endured
                        both the emotional and financial costs of caring for loved ones addicted to
                        or injured by opioids and the loss of companionship, wages, or other support
                        from family members who have used, become addicted to, overdosed on,
                        or been killed by opioids;

                 d.     More broadly, opioid use and addiction have driven Dallas County
                        residents' health care costs higher;

                        Employers have lost the value of productive and healthy employees who
                        have suffered from adverse consequences from opioid use;

                 f.     Defendants' success in extending the market for opioids to new patients and
                        chronic conditions has created an abundance of drugs available for criminal
                        use and fueled a new wave of addiction and injury. Defendants' scheme
                        created both ends of a new secondary market for opioids — providing both
                        the supply of narcotics to sell and the demand of addicts to buy them;

                 g.     This demand has created additional illicit markets in other opiates,
                        particularly heroin. The low cost of heroin has led some of those who
                        initially become addicted to prescription opioids to migrate to cheaper
                        heroin, fueling a new heroin epidemic in the process;




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                h.      Diverting opioids into secondary, criminal markets and increasing the
                        number of individuals who are addicted to opioids has increased the
                        demands on emergency services and law enforcement in Dallas County;

                i.      All of Defendants' actions have caused significant harm to the community
                        — in lives lost; addictions endured; the creation of an illicit drug market and
                        all its concomitant crime and costs; unrealized economic productivity; and
                        broken families and homes;

                j.      These harms have taxed the human, medical, public health, law
                        enforcement, and financial resources of Dallas County; and

                k.      Defendants' interference with the comfortable enjoyment of life of a
                        substantial number of people is entirely unreasonable because there is
                        limited social utility to opioid use and any potential value is outweighed by
                        the gravity of harm inflicted by Defendants' actions.

         166. Defendants knew, or should have known, that promoting opioid use would create a

  public nuisance in the following ways:

                a.      Defendants have engaged in massive production, promotion, and
                        distribution of opioids for use by the citizens of Dallas County;

                b.      Defendants' actions created and expanded the market for opioids,
                        promoting its wide use for pain management;

                C.      Defendants misrepresented the benefits of opioids for chronic pain and
                        fraudulently concealed, misrepresented, and omitted the serious adverse
                        effects of opioids, including the addictive nature of the drugs; and

                d.      Defendants knew or should have known that their promotion would lead to
                        addiction and other adverse consequences that the larger community would
                        suffer as a result.

         167. Defendants' actions were, at the least, a substantial factor in doctors and patients

 not accurately assessing and weighing the risks and benefits of opioids for chronic pain thereby

 causing opioids to become widely available and used in Dallas County.

         168. Without Defendants' actions, opioid use would not have become so widespread and

 the enormous public health hazard of opioid addiction would not have existed and could have been

 averted.



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          169.    The health and safety of the citizens of Dallas County, including those who use,

  have used, or will use opioids, as well as those affected by opioid users, is a matter of great public

  interest and legitimate concern to Dallas County's citizens and residents.

          170.    The public nuisance created, perpetuated, and maintained by Defendants can be

  abated and further reoccurrence of such harm and inconvenience can be prevented.

          171.    Defendants' conduct has affected and continues to affect a considerable number of

  people within Dallas County and is likely to continue to cause significant harm to patients who

  take opioids, their families, and the community at large.

          172.    Each Defendant created or assisted in creating the opioid epidemic, and each

  Defendant is jointly and severally liable for its abatement. Furthermore, each Defendant should

  be enjoined from continuing to create, perpetuate, or maintain said public nuisance in Dallas

  County.

                 VII. SECOND CAUSE OF ACTION: COMMON LAW FRAUD
                               AGAINST ALL DEFENDANTS

         173.     Dallas County re-alleges and incorporates by reference each of the allegations

  contained in the preceding paragraphs of this Complaint as though fully alleged herein.

         174.     At all relevant and material times, Defendants expressly and/or impliedly warranted

  that opioids were safe, of inerchantable quality, and fit for use.

         175.     Defendants' superior knowledge and expertise, its relationship of trust and

  confidence with doctors and the public, its specific knowledge regarding the risks and dangers of

  opioids, and its intentional dissemination of promotional and marketing information about opioids

  for the purpose of maximizing sales, each gave rise to the affirmative duty to meaningfully disclose

  and provide all material information about the risks and harms associated with opioids.

         176.     At all times herein mentioned, Defendants, individually and acting through their



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-     employees and agents, and in concert with each other, fraudulently represented to physicians who

      Defendants knew would justifiably rely on Defendants' representations that opioidswere safe and

      effective for treating chronic pain.

             177. Defendants' false representations were fraudulently made, with the intent or

      purpose that healthcare providers and patients would justifiably rely upon them, leading to the

      prescription, administration, filling, purchasing, and consumption of opioids in Dallas County.

             178. Defendants' deliberate misrepresentations and/or concealment, suppression, and

      omission of material facts as alleged herein include, but are not limited to:

                     a.      Making false and misleading claims regarding the known risks of the
                             addictive nature of opioids and suppressing, failing to disclose, and
                             mischaracterizing the addictive nature of opioids and in concomitant costs,
                             such as overdoses, deaths, and heroin addiction;

                     b.      Making false and misleading written and oral statements that opioids are
                             more effective than traditional pain killers for chronic pain, or effective at
                             all and/or omitting material information showing that opioids are no more
                             effective than other non-addictive drugs for chronic pain;

                     C.      Issuing false and misleading warnings and/or failing to issue adequate
                             warnings concerning the risks and dangers of using opioids;

                     d.      Making false and misleading claims downplaying the risk of addiction
                             when using opioids and/or setting forth guidelines that would purportedly
                             identify addictive behavior; and

                     e.      Making false and misleading misrepresentations concerning the safety,
                             efficacy and benefits of opioids without full and adequate disclosure of the
                             underlying facts which rendered such statements false and misleading.

             179. Defendants willfully, wantonly, and recklessly disregarded their duty to provide
     truthful representations regarding the safety and risk of opioids.
             180. Defendants made these misrepresentations with the intent that the healthcare
     community and patients located wherever these opioid drugs were sold or consumed would rely
      upon them.
             181. Defendants' misrepresentations were made with the intent of defrauding and


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 deceiving the medical community and consumers to induce and encourage the sale of opioids.

        182.    Defendants' fraudulent representations evidence their callous, reckless, willful, and
 depraved indifference to the health, safety, and welfare of consumers living in Dallas County.
        183.    Defendants omitted, misrepresented, suppressed and concealed material facts
 concerning the dangers and risk of injuries associated with the use of opioids, as well as the fact
 that the product was unreasonably dangerous.
        184.    Defendants' purpose was willfully blind to, ignored, downplayed, avoided, and/or
 otherwise understated the serious nature of the risks associated with the use of opioids.
        185.    The treating medical community and consumers in Dallas County did not know that
 Defendants' representations were false and/or misleading and justifiably relied on them.
        186.    Defendants had sole access ,to material facts concerning the dangers and
 unreasonable risks of opioids, which they intentionally concealed.
        187.    As a direct and proximate result of Defendants' fraudulent misrepresentations and
 intentional concealment of facts, upon which the medical community and consumers in Dallas
 County reasonably relied, Dallas County suffered actual and punitive damages.

                VIII. THIRD CAUSE OF ACTION: NEGLIGENCE
          AGAINST MANUFACTURING AND DISTRIBUTING DEFENDANTS

        188.    Dallas County re-alleges and incorporates by reference each of the allegations

 contained in the preceding paragraphs of this Complaint as though fully alleged herein.

        189.    Manufacturing Defendants have a duty to exercise reasonable care in marketing its

 opioids to physicians treating residents of Dallas County and Dallas County residents.

 Manufacturing Defendants have breached their duty by knowingly and fraudulently

 misrepresenting the benefits of, and downplaying the risks of, opioids for chronic pain.

        190.    Manufacturing Defendants have used deceitful marketing ploys, KOLs, Front

 Groups, and other schemes to increase profits at the cost of public health causing an opioid

 epidemic. Manufacturing Defendants have acted willfully, wantonly, and maliciously.




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          1.91. Likewise, Distributor Defendants have a duty to exercise ordinary care in

  distributing opioids. Distributor Defendants have breached their duty by failing to prevent or reduce

  the distribution of opioids, or to report the increase in the distribution and/or sale of opioids.

          192.    Distributor Defendants have intentionally failed to prevent or reduce the distribution

  of opioids, or to report any increases in the sale of opioids, so that they could increase profits and

  receive rebates or kick-backs from Manufacturing Defendants. Distributor Defendants have acted

  willfully, wantonly, and maliciously.

          193.    As a proximate result, Manufacturing and Distributor Defendants and its agents

  have caused Dallas County to incur•excessive costs to treat the opioid epidemic in its county,

  including but not limited to increased costs of social services, health systems, law enforcement,

 judicial system, and treatment facilities.

          194.    Dallas County and its residents are therefore entitled to actual and punitive

 damages.

              IX.  FOURTH CAUSE OF ACTION: GROSS NEGLIGENCE
            AGAINST MANUFACTURING AND DISTRIBUTING DEFENDANTS

          195.   Dallas County incorporates the allegations within all prior paragraphs within this

 Complaint as if they were fully set forth herein.

         196.    Defendants' marketing scheme to optimize profits by misrepresenting and falsely

 touting opioids as the panacea to chronic pain was done intentionally.

         197.    Defendants' hiring of KOLs, Front Groups, and others to spread its fraudulent

 message that opioids were useful and beneficial for chronic pain was grossly negligent and done with

 conscious indifference or reckless disregard for the safety of others.

         198.    Each Defendant's actions and omissions as described herein, singularly or in

 combination with each other, was malicious "resulting in damages and injuries to Dallas County and



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  its residents.

          199.     At every stage, Defendants knew or should have known that their conduct would

  create an unreasonable risk of physical harm to others, including Dallas County and its residents, and.

  should be held liable in punitive and exemplary damages to Dallas County.

                            X.    FIFTH CAUSE OF ACTION:
                        TEXAS CONTROLLED SUBSTANCES ACT ("TCSA")
                      AGAINST DISTRIBUTOR DEFENDANTS, DR. ANDREWS,
                              DR. OKECHUKU, AND DR. PADRON

          200.     Dallas County re-alleges and incorporates by reference each of the allegations

  contained in the preceding paragraphs of this Complaint as though fully alleged herein.

          201.     Distributor Defendants have knowingly distributed, delivered, administered, or

 dispensed a controlled substance in violation of the Texas Controlled Substances Act

  §481.128(a)(1) by . deceiving practitioners into prescribing, dispensing, delivering, or

 administering a controlled substance, or causing a controlled substance to be administered when

 there is no valid medical purpose. Tex. Health & Safety Code §481.071.

          202.     As alleged herein, each Distributor Defendant, at all times relevant to this

 Complaint, violated the Texas Controlled Substance Act by making deceptive representations about

 using opioids to treat chronic pain. Each Distributor Defendant also omitted or concealed material

 facts and failed to correct prior misrepresentations and omissions about the risks and benefits of

 opioids. Each Distributor Defendant's omissions rendered even their seemingly truthful statenients

 about opioids deceptive.

          203.     Distributor Defendants' deceptive representations and concealments were

 reasonably calculated to deceive practitioners treating Dallas County residents into prescribing

 opioids without any valid medical purpose, and Distributor Defendants continue to do so to this

 day.



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          204: Dr. Andrews, Dr. Okechuku, and Dr. Padron prescribed opioids without a valid

  medical purpose in violation of Texas Health & Safety Code Section 481.071(a).

          205.    As a direct and proximate cause of Distributor Defendants' and the physicians'

  deceptive conduct, Dallas County should be awarded civil penalties pursuant to the Texas

  Controlled Substances Act.

                  XI.     SIXTH CAUSE OF ACTION: UNJUST ENRICHMENT
                                AGAINST ALL DEFENDANTS

          206.    Dallas County re-alleges and incorporates by reference each of the allegations

  contained in the preceding paragraphs of this Complaint as though fully alleged herein.

          207.    As an expected and intended result of their conscious wrongdoing as set forth in

  this Complaint, Defendants have profited and benefited from opioid purchases made by Dallas

  County and its residents.

          208.    When Dallas County and its residents purchased opioids, they expected that

  Defendants had provided necessary and accurate information regarding those risks. Instead,

  Defendants had misrepresented the material facts regarding the risks and benefits of opioids.

          209.    Defendants have been unjustly enriched at the expense of.Dallas County, and Dallas

  County is therefore entitled to damages to be determined by the jury.

                                         PRAYER FOR RELIEF

          WHEREFORE, Plaintiff respectfully prays:

                  a.      That the acts alleged herein be adjudged and decreed to be unlawful and that
                          the Court enter a judgment declaring them to be so;

                  b.      That Defendants be enjoined from, directly or indirectly through KOLs,
                          Front Groups or other third parties, continuing to misrepresent the risks and
                          benefits of the use of opioids for chronic pain, and from continuing to
                          violate Texas law;

                  C.      That Plaintiff -recover all measures of damages, including punitive and



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                          exemplary damages, allowable under the law, and that judgment be entered
                          against Defendants in favor of Plaintiff;

                d.        That Plaintiff recover restitution on behalf of Dallas County consumers who
                          paid for opioids for chronic pain;

                e.        That Plaintiff recover the costs and expenses of suit, pre- and post judgment
                          interest, and reasonable attorneys' fees as provided by law; and

                f.        That Defendants be ordered to abate the public nuisance that they created in
                          in violation of Texas common law.


  Date: January 8, 2018

                                         Respectfully Submitted,

                                         THE LANIER LAW FIRM

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  Dallas County District Attorney's Office

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                           CAUSE NO.


   COUNTY OF DALLAS,                        IN THE DISTRICT COURT

         Plaintiff,

   Vs.                                             JUDICIAL DISTRICT

  PURDUE PHARMA L.P.;
  PURDUE PHARMA INC.;
  THE PURDUE FREDERICK COMPANY;
  JOHNSON & JOHNSON;                        DALLAS COUNTY, TEXAS
  JANSSEN PHARMACEUTICALS, INC.;
  ORTHO-MCNEIL-JANSSEN
  PHARMACEUTICALS, INC. n/k/a
  JANSSEN PHARMACEUTICALS, INC.;
  JANSSEN PHARMACEUTICA, INC. n/k/a
  JANSSEN PHARMACEUTICALS, INC.;
  ENDO HEALTH SOLUTIONS INC.;
  ENDO PHARMACEUTICALS, INC.;
  ABBVIE INC.;
  KNOLL PHARMACEUTICAL
  COMPANY, a wholly-owned subsidiary of
  ABBVIE INC.;
  ALLERGAN PLC f/k/a ACTAVIS PLC;
  ALLERGAN FINANCE LLC f/k/a
  ACTAVIS, INC. f/k/a WATSON
  PHARMACEUTICALS, INC.;
  WATSON LABORATORIES, INC.;
  ACTAVIS LLC;
  ACTAVIS PHARMA, INC. f/k/a WATSON
  PHARMA, INC.;
  MCKESSON CORPORATION;
  CARDINAL HEALTH, INC.;
  AMERISOURCEBERGEN
  CORPORATION;
  DR. RICHARD ANDREWS;
  DR. THEODORE OKECHUKU;
  DR. NICOLAS PADRON; and
  DOES 1-100, INCLUSIVE,

         Defendants.
„
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          PLAINTIFF COUNTY OF DALLAS'S FIRST REOUESTS FOR PRODUCTION
                TO DEFENDANT AMERISOURCEBERGEN CORPORATION

            To:     Defendant Amerisourcebergen Corporation

            Plaintiff, COUNTY OF DALLAS, propounds its First Request for Production of

     Documents to Defendant, AMERISOURCEBERGEN CORPORATION, pursuant to Rule 196 of

     the Texas Rules of Civil Procedure, to be answered by each individual Defendant listed above,

     within fifty (50) days of service Defendants are requested to respond fully, in writing, and in

     accordance with Rule 196. You are further advised that you are under a duty to reasonably supplement

     your answer.

                                           Respectfully Submitted,

                                           THE LANIER LAW FIRM

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     CORPORATION                                                                                   Page 2
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                                 CERTIFICATE OF SERVICE

      I hereby certify that on this 8Ih day of January, 2018, a true and correct copy of the foregoing
  document was caused to be served on all counsel of record in accordance with a manner authorized
  by the Texas Rules of Civil Procedure.

                                        /s/W. Mark Lanier
                                        W. Mark Lanier




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 CORPORATION                                                                                    Page 3
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                                              INSTRUCTIONS

             l.      Please produce all documents and tangible things as they are kept in the usual
     course of business or organize and label them to correspond with the categories or numbered
     requests in this set of discovery.

            2.     If any information or material is being withheld under any claim of privilege,
     protections or immunity, please state with specificity the particular privilege, protection or
     immunity asserted.

             3.     If Defendant cannot produce requested information or material because it is not in
     Defendant's possession, custody or control, please identify the information or material, the reason
     the information or material is not in Defendant's possession, custody, or control, and the entity
     currently having possession, custody, or control over the information or material.

             4.     When providing a date, please provide the exact day, month, and year. If the exact
     date is not known, please provide the best approximation of the date and clearly note that the date
     is an approximation.

             5.     If responsive material is in electronic, magnetic, or digital form, Plaintiff
     respectfully requests production of such material in its original format. Plaintiff requests such
     material be provided on CD-ROM. If Defendants cannot produce said material via CD-ROM,
     please confer with Plaintiffls counsel to determine an alternative method to produce said material.

u            6.      In the event a proper and timely objection is filed as to any requested material,
     please nevertheless respond to all portions of the request which do not fall within the scope of the
     objection. For example, if a request is objected to on the ground that is too broad insofar as it seeks
     documents covering years Defendant believes are not relevant to this litigation; please nevertheless
     produce documents for all years which Defendant concedes are relevant.


                                                DEFINITIONS

              1.    "You" and "Your" and "Defendant" mean Amerisourcebergen Corporation, as
     well as other natural persons, businesses or legal entities acting or purporting to act for or on behalf
     of Amerisourcebergen Corporation.

              2.     "Person" and "Witness," means the plural as well as the singular and includes:
     natural persons, governmental agencies, municipalities, departments, units, or any subdivisions,
     corporations, firms, associations, partnerships, joint ventures, or any other form of business entity.

             3.    The terms "and" and "or" as used herein are to be interpreted both disjunctively
     and conjunctively.

            4.     The words "document" or "documents" shall mean the original of the information
     recorded in a tangible form including, but not limited to, information printed, typewritten,



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     CORPORATION                                                                                      Page 4
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 handwritten, photographed, filed, e-mailed, recorded by electronic means upon a tape or disk or
 any other means of recording and shall include (but not be limited to): letters; e-mails; memoranda;
 handwritten notes; agreements; deeds; contracts; promissory notes; books; pamphlets; brochures;
 newspapers; magazines; periodicals; catalogs; price lists; checks; canceled checks; invoices; sales
 receipts; charge receipts; personal receipts; bank records; tapes; computer printouts; data cards;
 programs or other input or output of data processing systems; photographs (positive print or
 negative); transcripts of interviews or testimony before any person, officer, or body whether sworn
 or unsworn; written statements or notes of interview or testimony; diaries; calendars; logs; expense
 records or other financial data; charts; graphs; maps; drawings or other representational depiction;
 telephone records; telegrams; telefax; phonograph records; magnetic tape, drum, or disk records;
 motion picture film; microfilm or microfiche. The terms "document" or "documents" shall also
 mean every copy of a document where such copy is not an identical duplicate of the original, and
 shall include all postscripts, notations, addendums, changes, notations, modifications, alterations
 or revisions of each document or documents.

         5.    "Identify," as used herein with respect to a person, corporation, or other entity,
 means to provide the name, address, and telephone number of such person.

          6.      "Identify," as used herein with respect to a document, means to state with respect
 to such document sufficient detail to permit another party to this lawsuit to locate and identify such
 document. Such information and detail might include for each document: (i) the name of the
 person who prepared it; (ii) the name of the person who signed it, or over whose name it was
 issued; (iii) the name of each person to whom it was addressed and/or sent or distributed; (iv) the
 general type of such documents (e.g., letter, memorandum, contract, etc.); (v) the date of such
 document, or if it bears no date, the date on or about which it was made or prepared, (vi) the
 physical location of such document; and (vii) the name and address of the persons having
 possession, custody, or control of such document. In lieu of providing such information and detail,
 you may attach such document to your answer to these Interrogatories and indicate for which
 Interrogatory each document is applicable.

          7.    The term "regarding", as used herein, shall mean, in an indirect manner, contain,
 record, discuss, mention, note, evidence, memorialize, analyze, describe, comment upon, refer to,
 have any connection with or have any tendency to prove or disprove the matter set forth.

         8.      The term "relate(s) to" or "relating to," as used herein shall mean, in an indirect
 manner, contain, record, discuss, mention, note, evidence, memorialize, analyze, describe,
 comment upon, refer to, have any connection with or have any tendency to prove or disprove the
 matters set forth.

         9.    The word "correspondence" as used herein shall include any and all written
 correspondence, including, but not limited to, electronic mail (e-mail), letters, notes, text messages,
 messages on any social media platforms, and memorandum, and oral communications which were
 recorded or memorialized in any manner, including recorded messages, voicemail messages, notes
 taken during phone conversations, and notes taken during meetings.




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           10. Wherever appropriate, the singular form of a word shall be interpreted as including
  the plural, and the masculine form of a word shall be interpreted as including the feminine.




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                       REOUEST FOR PRODUCTION OF DOCUMENTS

  REOUEST FOR PRODUCTION NO. 1: Please produce any and all documentation relating
  to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
  the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2009.
  This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
  producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
  the year 2009; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
  promoters for the below generic opioid pharmaceuticals for the year 2009; (iii) invoices to or from
  any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
  pharmaceuticals for the year 2009; (iv) promotional materials received from or sent to any
  manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
  pharmaceuticals for the year 2009; (v) marketing materials received from or sent to any
  manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
  pharmaceuticals for the year 2009; (vi) instructions received from or sent to any manufacturers,
  producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
  the year 2009; (vii) training manuals received from or sent to any manufacturers, producers,
  distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
  2009; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
  and/or promoters for the below generic opioid pharmaceuticals for the year 2009; (ix) procedural
  manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
  promoters for the below generic opioid pharmaceuticals for the year 2009; (x) information on sales
  received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
  the below generic opioid pharmaceuticals for the year 2009; and (xi) distribution materials or data
  received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
  the below generic opioid pharmaceuticals for the year 2009.

         A.   Fentanyl
         B.   Oxycodone
         C.   Hydromorphone
         D.   Oxymorphone
         E.   Tramadol
         F.   Hydrocodone


 REQUEST FOR PRODUCTION NO. 2: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2010.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2010; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or


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 promoters for the below generic opioid pharmaceuticals for the year 2010; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2010; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2010; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2010; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2010; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2010; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2010; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2010; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2010; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2010.

        A.   Fentanyl
        B.   Oxycodone
        C.   Hydromorphone
        D.   Oxymorphone
        E.   Tramadol
        F.   Hydrocodone


 REQUEST FOR PRODUCTION NO. 3: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2011.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2011; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2011; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2011; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2011; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2011; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for


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 the year 2011; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2011; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2011; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2011; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2011; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2011.

        A.   Fentanyl
        B.   Oxycodone
        C.   Hydromorphone
        D.   Oxymorphone
        E.   Tramadol
        F.   Hydrocodone


 REOUEST FOR PRODUCTION NO. 4: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2012.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2012; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2012; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2012; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2012; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2012; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2012; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2012; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2012; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2012; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2012; and (xi) distribution materials or data


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 CORPORATION                                                                                   Page 9
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  received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
  the below generic opioid pharmaceuticals for the year 2012.

         A.   Fentanyl
         B.   Oxycodone
         C.   Hydromorphone
         D.   Oxymorphone
         E.   Tramadol
         F.   Hydrocodone


 REQUEST FOR PRODUCTION NO. 5: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid phannaceuticals for the County of Dallas, Texas for the year 2013.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2013; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2013; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2013; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2013; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2013; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2013; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid ,pharmaceuticals for the year
 2013; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2013; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2013; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2013; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2013.

         A.   Fentanyl
         B.   Oxycodone
         C.   Hydromorphone
         D.   Oxymorphone
         E.   Tramadol


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        F. Hydrocodone


 REQUEST FOR PRODUCTION NO. 6: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2014.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2014; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2014; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2014; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2014; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2014; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2014; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2014; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2014; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2014; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2014; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2014.

        A.   Fentanyl
        B.   Oxycodone
        C.   Hydromorphone
        D.   Oxymorphone
        E.   Tramadol
        F.   Hydrocodone


 REQUEST FOR PRODUCTION NO. 7: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2015.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for



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 CORPORATION                                                                                 Page I I
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  the year 2015; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
  promoters for the below generic opioid pharmaceuticals for the year 2015; (iii) invoices to or from
  any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
  pharmaceuticals for the year 2015; (iv) promotional materials received from or sent to any
  manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
  pharmaceuticals for the year 2015; (v) marketing materials received from or sent to any
  manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
  pharmaceuticals for the year 2015; (vi) instructions received from or sent to any manufacturers,
  producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
  the year 2015; (vii) training manuals received from or sent to any manufacturers, producers,
  distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
  2015; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
  and/or promoters for the below generic opioid pharmaceuticals for the year 2015; (ix) procedural
  manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
  promoters for the below generic opioid pharmaceuticals for the year 2015; (x) information on sales
  received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
  the below generic opioid pharmaceuticals for the year 2015; and (xi) distribution materials or data
  received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
  the below generic opioid pharmaceuticals for the year 2015.

         A.   Fentanyl
         B.   Oxycodone
         C.   Hydromorphone
         D.   Oxymorphone
         E.   Tramadol
         F.   Hydrocodone


  REQUEST FOR PRODUCTION NO. 8: Please produce any and all documentation relating
  to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
  the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2016.
  This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
  producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
  the year 2016; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
  promoters for the below generic opioid pharmaceuticals for the year 2016; (iii) invoices to or from
  any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
  pharmaceuticals for the year 2016; (iv) promotional materials received from or sent to any
  manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
  pharmaceuticals for the year 2016; (v) marketing materials received from or sent to any
  manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
  pharmaceuticals for the year 2016; (vi) instructions received from or sent to any manufacturers,


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 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2016; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2016; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2016; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2016; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2016; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2016.

        A.   Fentanyl
        B.   Oxycodone
        C.   Hydromorphone
        D.   Oxymorphone
        E.   Tramadol
        F.   Hydrocodone


 REQUEST FOR PRODUCTION NO. 9: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2017.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2017; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2017; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2017; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2017; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2017; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2017; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2017; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2017; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2017; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for


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 CORPORATION                                                                                  Page 13
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  the below generic opioid pharmaceuticals for the year 2017; and (xi) distribution materials or data
  received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
  the below generic opioid pharmaceuticals for the year 2017.

         A.   Fentanyl
         B.   Oxycodone
         C.   Hydromorphone
         D.   Oxymorphone
         E.   Tramadol
         F.   Hydrocodone




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                          CAUSE NO.


  COUNTY OF DALLAS,                     §   IN THE DISTRICT COURT
                                        §
        Plaintiff,                      §
                                        §
  Vs.                                   §          JUDICIAL DISTRICT
                                        §
  PURDUE PHARMA L.P.;                   §
  PURDUE PHARMA INC.;                   §
  THE PURDUE FREDERICK COMPANY; §
  JOHNSON & JOHNSON;                    §   DALLAS COUNTY, TEXAS
  JANSSEN PHARMACEUTICALS, INC.;        §
  ORTHO-MCNEIL-JANSSEN                  §
  PHARMACEUTICALS, INC. n/k/a           §
  JANSSEN PHARMACEUTICALS, INC.;        §
  JANSSEN PHARMACEUTICA, INC. n/k/a §
  JANSSEN PHARMACEUTICALS, INC.;        §
  ENDO HEALTH SOLUTIONS INC.;           §
  ENDO PHARMACEUTICALS, INC.;           §
  ABBVIE INC.;                          §
  KNOLL PHARMACEUTICAL                  §
  COMPANY, a wholly-owned subsidiary of §
  ABBVIE INC.;                          §
  ALLERGAN PLC f/k/a ACTAVIS PLC;       §
  ALLERGAN FINANCE LLC f/k/a            §
  ACTAVIS, INC. f/k/a WATSON            §
  PHARIVIACEUTICALS, INC.;              §
  WATSON LABORATORIES, INC.;            §
  ACTAVIS LLC;                          §
  ACTAVIS PHARMA, INC. f/k/a WATSON §
  PHARMA, INC.;                         §
  MCKESSON CORPORATION;                 §
  CARDINAL HEALTH, INC.;                §
  AMERISOURCEBERGEN                     §
  CORPORATION;                          §
  DR. RICHARD ANDREWS;                  §
  DR. THEODORE OKECHUKU;                §
  DR. NICOLAS PADRON; and               §
  DOES 1-100, INCLUSIVE,                §
                                        §
        Defendants.                     §
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            PLAINTIFF COUNTY OF DALLAS'S FIRST INTERROGATORIES
              TO DEFENDANT AMERISOURCEBERGEN CORPORATION

        To:     Defendant AmerisourceBergen Corporation

        Plaintiff, COUNTY OF DALLAS, propounds this First Set of Interrogatories to Defendant

 AMERISOURCEBERGEN CORPORATION. Pursuant to Rule 197 of the Texas Rules of Civil

 Procedure, the following interrogatories are submitted to be answered by you. The answers shall

 be signed, and sworn to, by you, and shall be served upon the undersigned within fifty (50) days

 after the date upon which you are served with a copy of these interrogatories.

        You are further advised that you are under duty to supplement your answers to these

 interrogatories in the event you obtain information upon the basis of which (1) you know that the

 response was incorrect or incomplete when made, (2) or you know that the response, though

 correct and complete when made, is no longer true and complete and the circumstances are such

 that the failure to amend the answer is in substance misleading.



                                       Respectfully Submitted,

                                      THE LANIER LAW FIRM

                                      /s/W. Mark Lanier
                                      W. Mark Lanier
                                      TX State Bar No. 11934600
                                      Reagan E. Bradford
                                      TX State Bar No. 24102721
                                      6810 FM 1960 West
                                      Houston, TX 77069
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 PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT AMERISOURCEBERGEN
 CORPORATION                                                                                Page 2
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                                       SIMON GREENSTONE PANATIER BARTLETT,
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 Dallas County District Attorney's Office

 /s/Russell H. Roden
 Russell H. Roden
 Assistant District Attorney
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 Fax: 214-653-5774
 Russell.roden@dallascounty.org


                                CERTIFICATE OF SERVICE

     I hereby certify that on this 8th day of January, 2018, a true and correct copy of the foregoing
 document was caused to be served on all counsel of record in accordance with a manner authorized
 by the Texas Rules of Civil Procedure.

                                       /s/W. Mark Lanier
                                       W. Mark Lanier


 PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT AMERISOURCEBERGEN
 CORPORATION                                                                                   Page 3
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                                            DEFINITIONS

          1.    "You" and "Your" and "Defendant" mean Amerisourcebergen Corporation, as
 well as other natural persons, businesses or legal entities acting or purporting to act for or on behalf
 of Amerisourcebergen Corporation.

          2.     "Person" and "Witness," means the plural as well as the singular and includes:
 natural persons, governmental agencies, municipalities, departments, units, or any subdivisions,
 corporations, firms, associations, partnerships, joint ventures, or any other form of business entity.

         3.    The terms "and" and "or" as used herein are to be interpreted both disjunctively
 and conjunctively.

          4.     The words "document" or "documents" shall mean the original of the information
 recorded in a tangible form including, but not limited to, information printed, typewritten,
 handwritten, photographed, filed, e-mailed, recorded by electronic means upon a tape or disk or
 any other means of recording and shall include (but not be limited to): letters; e-mails; memoranda;
 handwritten notes; agreements; deeds; contracts; promissory notes; books; pamphlets; brochures;
 newspapers; magazines; periodicals; catalogs; price lists; checks; canceled checks; invoices; sales
 receipts; charge receipts; personal receipts; bank records; tapes; computer printouts; data cards;
 programs or other input or output of data processing systems; photographs (positive print or
 negative); transcripts of interviews or testimony before any person, officer, or body whether sworn
 or unsworn; written statements or notes of interview or testimony; diaries; calendars; logs; expense
 records or other financial data; charts; graphs; maps; drawings or other representational depiction;
 telephone records; telegrams; telefax; phonograph records; magnetic tape, drum, or disk records;
 motion picture film; microfilm or micro.fiche. The terms "document" or "documents" shall also
 mean every copy of a document where such copy is not an identical duplicate of the original, and
 shall include all postscripts, notations, addendums, changes, notations, modifications, alterations
 or revisions of each document or documents.

         5.    "Identify," as used herein with respect to a person, corporation, or other entity,
 means to provide the name, address, and telephone number of such person.

          6.      "Identify," as used herein with respect to a document, means to state with respect
 to such document sufficient detail to permit another party to this lawsuit to locate and identify such
 document. Such information and detail might include for each document: (i) the name of the
 person who prepared it; (ii) the name of the person who signed it, or over whose name it was
 issued; (iii) the name of each person to whom it was addressed andlor sent or distributed; (iv) the
 general type of such documents (e.g., letter, memorandum, contract, etc.); (v) the date of such
 document, or if it bears no date, the date on or about which it was made or prepared, (vi) the
 physical location of such document; and (vii) the name and address of the persons having
 possession, custody, or control of such document. In lieu of providing such information and detail,
 you may attach such document to your answer to these Interrogatories and indicate for which
 Interrogatory each document is applicable.



 PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT AMERISOURCEBERGEN
 CORPORATION                                                                                      Page 4
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           7.    The term "regarding", as used herein, shall mean, in an indirect manner, contain,
  record, discuss, mention, note, evidence, memorialize, analyze, describe, comment upon, refer to,
  have any connection with or have any tendency to prove or disprove the matter set forth.

          8.      The term "relate(s) to" or "relating to," as used herein shall mean, in an indirect
  manner, contain, record, discuss, mention, note, evidence, memorialize, analyze, describe,
  comment upon, refer to, have any connection with or have any tendency to prove or disprove the
  matters set forth.

          9.    The word "correspondence" as used herein shall include any and all written
  correspondence, including, but not limited to, electronic mail (e-mail), letters, notes, text messages,
  messages on any social media platforms, and memorandum, and oral communications which were
  recorded or memorialized in any manner, including recorded messages, voicemail messages, notes
  taken during phone conversations, and notes taken during meetings.

           10. Wherever appropriate, the singular form of a word shall be interpreted as including
  the plural, and the masculine form of a word shall be interpreted as including the feminine.




 PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT AMERISOURCEBERGEN
 CORPORATION                                                                                      Page 5
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                                   INTERROGATORIES

 INTERROGATORY NO. 1: Identify the manufacturers, producers, distributors, sellers, and/or
 promoters for each of the following generic opioid pharmaceutical drugs for each of the years
 2009, 2010, 2011, 2012, 2013, 2014, 2015, 2016, and 2017:

        A.   Fentanyl
        B.   Oxycodone
        C.   Hydromorphone
        D.   Oxymorphone
        E.   Tramadol
        F.   Hydrocodone




 PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT AMERISOURCEBERGEN
 CORPORATION                                                                            Page 6
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                          CAUSE NO.


  COUNTY OF DALLAS,                     §   IN THE DISTRICT COURT
                                        §
        Plaintiff,                      §
                                        §
  vs.                                   §          JUDICIAL DISTRICT
                                        §
  PURDUE PHARMA L.P.;                   §
  PURDUE PHARMA INC.;                   §
  THE PURDUE FREDERICK COMPANY; §
  JOHNSON & JOHNSON;                    §   DALLAS COUNTY, TEXAS
  JANSSEN PHARMACEUTICALS, INC.;        §
  ORTHO-MCNEIL-JANSSEN                  §
  PHARMACEUTICALS, INC. n/k/a           §
  JANSSEN PHARMACEUTICALS, INC.;        §
  JANSSEN PHARMACEUTICA, INC. n/k/a §
  JANSSEN PHARMACEUTICALS, INC.;        §
  ENDO HEALTH SOLUTIONS INC.;           §
  ENDO PHARMACEUTICALS, INC.;           §
  ABBVIE INC.;                          §
  KNOLL PHARMACEUTICAL                  §
  COMPANY, a wholly-owned subsidiary of §
  ABBVIE INC.;                          §
  ALLERGAN PLC f/k/a ACTAVIS PLC;       §
  ALLERGAN FINANCE LLC f/k/a            §
  ACTAVIS, INC. f/k/a WATSON            §
  PHARMACEUTICALS, INC.;                §
  WATSON LABORATORIES, INC.;            §
  ACTAVIS LLC;                          §
  ACTAVIS PHARMA, INC. f/k/a WATSON §
  PHARMA, 1NC.;                         §
  MCKESSON CORPORATION;                 §
  CARDINAL HEALTH, INC.;                §
  AMERISOURCEBERGEN                     §
  CORPORATION;                          §
  DR. RICHARD ANDREWS;                  §
  DR. THEODORE OKECHUKU;                §
  DR. NICOLAS PADRON; and               §
  DOES 1-100, INCLUSIVE,                §
                                        §
        Defendants.                     §
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      PLAINTIFF COUNTY OF DALLAS'S FIRST REQUESTS FOR PRODUCTION
                  TO DEFENDANT CARDINAL HEALTH, INC.

        To:     Defendant Cardinal Health, Inc.

        Plaintiff, COUNTY OF DALLAS, propounds its First Request for Production of

 Documents to Defendant, CARDINAL HEALTH, INC., pursuant to Rule 196 of the Texas Rules

 of Civil Procedure, to be answered by each individual Defendant listed above, within fifly (50)

 days of service Defendants are requested to respond fully, in writing, and in accordance with Rule

 196. You are further advised that you are under a duty to reasonably supplement your answer.

                                      Respectfully Submitted,

                                      THE LANIER LAW FIItM

                                      /s/W. Mark Lanier
                                      W. Mark Lanier
                                      TX State Bar No. 11934600
                                      Reagan E. Bradford
                                      TX State Bar No. 24102721
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                                      acarter@sgpblaw.com




 PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT CARDINAL HEALTH, INC.
                                                                                                Page 2
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  Dallas County District Attorney's Office

 /s/Russell H. Roden
 Russell H. Roden
 Assistant District Attorney
 TX State Bar No. 17132070
 133 N. Riverfront Blvd., LB 19
 Dallas, TX 75207
 Tel: 214-653-3600
 Fax: 214-653-5774
 RusselI.roden@dallascounty.org


                                CERTIFICATE OF SERVICE

      I hereby certify that on this P day of January, 2018, a true and correct copy of the foregoing
  document was caused to be served on all counsel of record in accordance with a manner authorized
  by the Texas Rules of Civil Procedure.

                                       /s/W. Mark Lanier
                                       W. Mark Lanier




  PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT CARDINAL HEALTH, INC.
                                                                                              Page 3
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                                          INSTRUCTIONS

        1.       Please produce all documents and tangible things as they are kept in the usual
 course of business or organize and label them to correspond with the categories or numbered
 requests in this set of discovery.

        2.     If any information or material is being withheld under any claim of privilege,
 protections or immunity, please state with specificity the particular privilege, protection or
 immunity asserted.

         3.     If Defendant cannot produce requested information or material because it is not in
 Defendant's possession, custody or control, please identify the information or material, the reason
 the information or material is not in Defendant's possession, custody, or control, and the entity
 currently having possession, custody, or control over the information or material.

         4.     When providing a date, please provide the exact day, month, and year. If the exact
 date is not known, please provide the best approximation of the date and clearly note that the date
 is an approximation.

         5.     If responsive material is in electronic, magnetic, or digital form, Plaintiff
 respectfully requests production of such material in its original format. Plaintiff requests such
 material be provided on CD-ROM. If Defendants cannot produce said material via CD-ROM,
 please confer with Plaintiff's counsel to determine an alternative method to produce said material.

         6.      In the event a proper and timely objection is filed as to any requested material,
 please nevertheless respond to all portions of the request which do not fall within the scope of the
 objection. For example, if a request is objected to on the ground that is too broad insofar as it seeks
 documents covering years Defendant believes are not relevant to this litigation; please nevertheless
 produce documents for all years which Defendant concedes are relevant.


                                           DEFINITIONS

          1.    "You" and "Your" and "Defendant" mean Cardinal Health, Inc., as well as other
 natural persons, businesses or legal entities acting or purporting to act for or on behalf of Cardinal
 Health, Inc.

          2.     "Person" and "Witness," means the plural as well as the singular and includes:
 natural persons, governmental agencies, municipalities, departments, units, or any subdivisions,
 corporations, firms, associations, partnerships, joint ventures, or any other form of business entity.

         3.    The terms "and" and "or" as used herein are to be interpreted both disjunctively
 and conjunctively.

        4.     The words "document" or "documents" shall mean the original ofthe information
 recorded in a tangible form including, but not limited to, information printed, typewritten,



 PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT CARDINAL HEALTH, INC.
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 handwritten, photographed, filed, e-mailed, recorded by electronic means upon a tape or disk or
 any other means of recording and shall include (but not be limited to): letters; e-mails; memoranda;
 handwritten notes;: agreements; deeds; contracts; promissory notes; books; pamphlets; brochures;
 newspapers; magazines; periodicals; catalogs; price lists; checks; canceled checks; invoices; sales
 receipts; charge receipts; personal receipts; bank records; tapes; computer printouts; data cards;
 programs or other input or output of data processing systems; photographs (positive print or
 negative); transcripts of interviews or testimony before any person, officer, or body whether sworn
 or unsworn; written statements or notes of interview or testimony; diaries; calendars; logs; expense
 records or other financial data; charts; graphs; maps; drawings or other representational depiction;
 telephone records; telegrams; telefax; phonograph records; magnetic tape, drum, or disk records;
 motion picture film; microfilm or microfiche. The terms "document" or "documents" shall also
 mean every copy of a document where such copy is not an identical duplicate of the original, and
 shall include all postscripts, notations, addendums, changes, notations, modifications, alterations
 or revisions of each document or documents.

         5.    "Identify," as used herein with respect to a person, corporation, or other entity,
 means to provide the name, address, and telephone number of such person.

          6.      "Identify," as used herein with respect to a document, means to state with respect
 to such document sufficient detail to permit another party to this lawsuit to locate and identify such
 document. Such information and detail might include for each document: (i) the name of the
 person who prepared it; (ii) the name of the person who signed it, or over whose name it was
 issued; (iii) the name of each person to whom it was addressed and/or sent or distributed; (iv) the
 general type of such documents (e.g., letter, memorandum, contract, etc.); (v) the date of such
 document, or if it bears no date, the date on or about which it was made or prepared, (vi) the
 physical location of such document; and (vii) the name and address of the persons having
 possession, custody, or control ofsuch document. In lieu ofproviding such information and detail,
 you may attach such document to your answer to these Interrogatories and indicate for which
 Interrogatory each document is applicable.

          7.    The term "regarding", as used herein, shall mean, in an indirect manner, contain,
 record, discuss, mention, note, evidence, memorialize, analyze, describe, comment upon, refer to,
 have any connection with or have any tendency to prove or disprove the matter set forth.

         8.      The term "relate(s) to" or "relating to," as used herein shall mean, in an indirect
 manner, contain, record, discuss, mention, note, evidence, memorialize, analyze, describe,
 comment upon, refer to, have any connection with or have any tendency to prove or disprove the
 matters set forth.

         9.    The word "correspondence" as used herein shall include any and all written
 correspondence, including, but not limited to, electronic mail (e-mail), letters, notes, text messages,
 messages on any social media platforms, and memorandum, and oral communications which were
 recorded or memorialized in any manner, including recorded messages, voicemail messages, notes
 taken during phone conversations, and notes taken during meetings.




 PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT CARDINAL HEALTH, INC.
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           10. Wherever appropriate, the singular form of a word shall be interpreted as including
  the plural, and the masculine form of a word shall be interpreted as including the feminine.




 PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT CARDINAL HEALTH, INC.
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                      REQUEST FOR PRODUCTION OF DOCUMENTS

 REQUEST FOR PRODUCTION NO. 1: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2009.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2009; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2009; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2009; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2009; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2009; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2009; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2009; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2009; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2009; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2009; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2009.

        A.   Fentanyl
        B.   Oxycodone
        C.   Hydromorphone
        D.   Oxymorphone
        E.   Tramadol
        F.   Hydrocodone


 REQUEST FOR PRODUCTION NO. 2: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2010.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2010; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or


 PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT CARDINAL HEALTH, INC.
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 promoters for the below generic opioid pharmaceuticals for the year 2010; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2010; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2010; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2010; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2010; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2010; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2010; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2010; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2010; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2010.

        A.   Fentanyl
        B.   Oxycodone
        C.   Hydromorphone
        D.   Oxymorphone
        E.   Tramadol
        F.   Hydrocodone


 REQUEST FOR PRODUCTION NO. 3: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic -opioid pharmaceuticals for the County of Dallas, Texas for the year 2011.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2011; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2011; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2011; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2011; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2011; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for


 PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT CARDINAL HEALTH, INC.
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 the year 2011; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2011; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2011; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2011; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2011; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2011.

        A.   Fentanyl
        B.   Oxycodone
        C.   Hydromorphone
        D.   Oxymorphone
        E.   Tramadol
        F.   Hydrocodone


 REOUEST FOR PRODUCTION NO. 4: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2012.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2012; (ii) contracts with any manufacturers, producers, distributors, sellers, arid/or
 promoters for the below generic opioid pharmaceuticals for the year 2012; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic,opioid
 pharmaceuticals for the year 2012; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2012; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 phannaceuticals for the year 2012; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2012; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the. year
 2012; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2012; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2012; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2012; and (xi) distribution materials or data


 PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT CARDINAL HEALTH, INC.
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 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2012.

        A.   Fentanyl
        B.   Oxycodone
        C.   Hydromorphone
        D.   Oxymorphone
        E.   Tramadol
        F.   Hydrocodone


 REOUEST FOR PRODUCTION NO. 5: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2013.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2013; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2013; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2013; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2013; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2013; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2013; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2013; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2013; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2013; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2013; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2013.

        A.   Fentanyl
        B.   Oxycodone
        C.   Hydromorphone
        D.   Oxymorphone
        E.   Tramadol


 PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT CARDINAL HEALTH, INC.
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        F. Hydrocodone


 REOUEST FOR PRODUCTION NO. 6: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2014.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2014; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2014; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2014; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2014; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2014; (vi) instructions received from or sent to any manufactuxers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2014; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2014; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2014; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2014; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2014; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2014.

        A.   Fentanyl
        B.   Oxycodone
        C.   Hydromorphone
        D.   Oxymorphone
        E.   Tramadol
        F.   Hydrocodone


 REQUEST FOR PRODUCTION NO. 7: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2015.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for



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  the year 2015; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
  promoters for the below generic opioid pharmaceuticals for the year 2015; (iii) invoices to or from
  any manufacturers, producers, distributors, sellers, and/or promoters for the below'generic opioid
  pharmaceuticals for the year 2015; (iv) promotional materials received from or sent to any
  manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
  pharmaceuticals for the year 2015; (v) marketing materials received from or sent to any
  manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
  pharmaceuticals for the year 2015; (vi) instructions received from or sent to any manufacturers,
  producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
  the year 2015; (vii) training manuals received from or sent to any manufacturers, producers,
  distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
  2015; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
  and/or promoters for the below generic opioid pharmaceuticals for the year 2015; (ix) procedural
  manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
  promoters for the below generic opioid pharmaceuticals for the year 2015; (x) information on sales
  received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
  the below generic opioid pharmaceuticals for the year 2015; and (xi) distribution materials or data
  received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
  the below generic opioid pharmaceuticals for the year 2015.

         A.   Fentanyl
         B.   Oxycodone
         C.   Hydromorphone
         D.   Oxymorphone
         E.   Tramadol
         F.   Hydrocodone


  REQUEST FOR PRODUCTION NO. 8: Please produce any and all documentation relating
  to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
  the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2016.
  This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
  producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
  the year 2016; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
  promoters for the below generic opioid pharmaceuticals for the year 2016; (iii) invoices to or from
  any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
  pharmaceuticals for the year 2016; (iv) promotional materials received from or sent to any
  manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
  pharmaceuticals for the year 2016; (v) marketing materials received from or sent to any
  manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
  pharmaceuticals for the year 2016; (vi) instructions received from or sent to any manufacturers,


  PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT CARDINAL HEALTH, INC.
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  producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
  the year 2016; (vii) training manuals received from or sent to any manufacturers, producers,
  distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
  2016; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
  and/or promoters for the below generic opioid pharmaceuticals for the year 2016; (ix) procedural
  manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
  promoters for the below generic opioid pharmaceuticals for the year 2016; (x) information on sales
  received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
  the below generic opioid pharmaceuticals for the year 2016; and (xi) distribution materials or data
  received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
  the below generic opioid pharmaceuticals for the year 2016.

         A.   Fentanyl
         B.   Oxycodone
         C.   Hydromorphone
         D.   Oxymorphone
         E.   Tramadol
         F.   Hydrocodone


 REOUEST FOR PRODUCTION NO. 9: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2017.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2017; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2017; (iii)-invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2017; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2017; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2017; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2017; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2017; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2017; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2017; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for


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  the below generic opioid pharmaceuticals for the year 2017; and (xi) distribution materials or data
  received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
  the below generic opioid pharmaceuticals for the year 2017.

         A.   Fentanyl
         B.   Oxycodone
         C.   Hydromorphone
         D.   Oxymorphone
         E.   Tramadol
         F.   Hydrocodone




 PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT CARDINAL HEALTH, INC.
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                          CAUSE NO.


  COUNTY OF DALLAS,                     §   IN THE DISTRICT COURT
                                        §
        Plaintiff,                      §
                                        §
  vs.                                   §          JUDICIAL DISTRICT
                                        §
  PURDUE PHARMA L.P.;                   §
  PURDUE PHARMA INC.;                   §
  THE PURDUE FREDERICK COMPANY; §
  JOHNSON & JOHNSON;                    §   DALLAS COUNTY, TEXAS
  JANSSEN PHARMACEUTICALS, INC.;        §
  ORTHO-MCNEIL-JANSSEN                  §
  PHARMACEUTICALS, INC. n/k/a           §
  JANSSEN PHARMACEUTICALS, INC.;        §
  JANSSEN PHARMACEUTICA, INC. n/k/a §
  JANSSEN PHARIVIACEUTICALS, INC.;      §
  ENDO HEALTH SOLUTIONS INC.;           §
  ENDO PHARMACEUTICALS, INC.;           §
  ABBVIE INC.;                          §
  KNOLL PHARMACEUTICAL                  §
  COMPANY, a wholly-owned subsidiary of §
  ABBVIE INC.;                          §
  ALLERGAN PLC f/k/a ACTAVIS PLC;       §
  ALLERGAN FINANCE LLC f/k/a            §
  ACTAVIS, INC. fJk/a WATSON            §
  PHARMACEUTICALS, INC.;                §
  WATSON LABORATORIES, INC.;            §
  ACTAVIS LLC;                          §
  ACTAVIS PHARMA, INC. f/k/a WATSON §
  PHARMA, INC.;                         §
  MCKESSON CORPORATION;                 §
  CARDINAL HEALTH, INC.;                §
  AMERISOURCEBERGEN                     §
  CORPORATION;                          §
  DR. RICHARD ANDREWS;                  §
  DR. THEODORE OKECHUKU;                §
  DR. NICOLAS PADRON; and               §
  DOES 1-100, INCLUSIVE,                §
                                        §
        Defendants.                     §
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                                             r
                                                                    Page 345 of 369 PageID 378




            PLAINTIFF COUNTY OF DALLAS'S FIRST INTERROGATORIES
                    TO DEFENDANT CARDINAL HEALTH, INC.

        To:     Defendant Cardinal Health, Inc.

        Plaintiff, COUNTY OF DALLAS, propounds this First Set of Interrogatories to Defendant

 CARDINAL HEALTH, INC. Pursuant to Rule 197 of the Texas Rules of Civil Procedure, the

 following interrogatories are submitted to be answered by you. The answers shall be signed, and

 sworn to, by you, and shall be served upon the undersigned within fifty (50) days after the date

 upon which you are served with a copy of these interrogatories.

        You are further advised that you are under duty to supplement your answers to these

 interrogatories in the event you obtain information upon the basis of which (1) you know that the

 response was incorrect or incomplete when made, (2) or you know that the response, though

 correct and complete when made, is no longer true and complete and the circumstances are such

 that the failure to amend the answer is in substance misleading.



                                      Respectfully Submitted,

                                      lVeiDiil_ViIDRAWEV1'fW-17uI

                                      /s/W. Mark Lanier
                                      W. Mark Lanier
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                                      Reagan E. Bradford
                                      TX State Bar No. 24102721
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 PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT CARDINAL HEALTH, INC.                Page 2
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 Dallas County District Attorney's Oftice

 /s/Russell H. Roden
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                                CERTIFICATE OF SERVICE

     I hereby certify that on this 8Ih day of January, 2018, a true and correct copy of the foregoing
 document was caused to be served on all counsel of record in accordance with a manner authorized
 by the Texas Rules of Civil Procedure.

                                       /s/W. Mark Lanier
                                       W. Mark Lanier



  PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT.CARDINAL HEALTH, INC.                  Page 3
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                                            DEFINITIONS

           1.    "You" and "Your" and "Defendant" mean Cardinal Health, Inc., as well as other
  natural persons, businesses or legal entities acting or purporting to act for or on behalf of Cardinal
  Health, Inc.

          2.     "Person" and "Witness," means the plural as well as the singular and includes:
 natural persons, governmental agencies, municipalities, departments, units, or any subdivisions,
 corporations, firms, associations, partnerships, joint ventures, or any other form of business entity.

         3.    The terms "and" and "or" as used herein are to be interpreted both disjunctively
 and conjunctively.

          4.     The words "document" or "documents" shall mean the original of the information
 recorded in a tangible form including, but not limited to, information printed, typewritten,
 handwritten, photographed, filed, e-mailed, recorded by electronic means upon a tape or disk or
 any other means ofrecording and shall include (but not be limited to): letters; e-mails; memoranda;
 handwritten notes; agreements; deeds; contracts; promissory notes; books; pamphlets; brochures;
 newspapers; magazines; periodicals; catalogs; price lists; checks; canceled checks; invoices; sales
 receipts; charge receipts; personal receipts; bank records; tapes; computer printouts; data cards;
 programs or other input or output of data processing systems; photographs (positive print or
 negative); transcripts of interviews or testimony before any person, officer, or body whether sworn
 or unsworn; written statements or notes of interview or testimony; diaries; calendars; logs; expense
 records or other financial data; charts; graphs; maps; drawings or other representational depiction;
 telephone records; telegrams; telefax; phonograph records; magnetic tape, drum, or disk records;
 motion picture film; microfilm or microfiche. The terms "document" or "documents" shall also
 mean every copy of a document where such copy is not an identical duplicate of the original, and
 shall include all postscripts, notations, addendums, changes, notations, modifications, alterations
 or revisions of each document or documents.

         5.    "Identify," as used herein with respect to a person, corporation, or other entity,
 means to provide the name, address, and telephone number of such person.

          6.      "Identify," as used herein with respect to a document, means to state with respect
 to such document sufficient detail to permit another party to this lawsuit to locate and identify such
 document. Such information and detail might include for each document: (i) the name of the
 person who prepared it; (ii) the name of the person who signed it, or over whose name it was
 issued; (iii) the name of each person to whom it was addressed and/or sent or distributed; (iv) the
 general type of such documents (e.g., letter, memorandum, contract, etc.); (v) the date of such
 document, or if it bears no date, the date on or about which it was made or prepared, (vi) the
 physical location of such document; and (vii) the name and address of the persons having
 possession, custody, or control of such document. In lieu ofproviding such information and detail,
 you may attach such document to your answer to these Interrogatories and indicate for which
 Interrogatory each document is applicable.


 PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT CARDINAL HEALTH, INC.                     Page 4
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           7.    The term "regarding", as used herein, shall mean, in an indirect manner, contain,
  record, discuss, mention, note, evidence, memorialize, analyze, describe, comment upon, refer to,
  have any connection with or have any tendency to prove or disprove the matter set forth.

         8.      The tenn "relate(s) to" or "relating to," as used herein shall mean, in an indirect
 manner, contain, record, discuss, mention, note, evidence, memorialize, analyze, describe,
 comment upon, refer to, have any connection with or have any tendency to prove or disprove the
 matters set forth.

         9.    The word "correspondence" as used herein shall include any and all written
 correspondence, including, but not limited to, electronic mail (e-mail), letters, notes, text messages,
 messages on any social media platforms, and memorandum, and oral communications which were
 recorded or memorialized in any manner, including recorded messages, voicemail messages, notes
 taken during phone conversations, and notes taken during meetings.

          10. Wherever appropriate, the singular form of a word shall be interpreted as including
 the plural, and the masculine form of a word shall be interpreted as including the feminine.




 PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT CARDINAL HEALTH, INC.                     Page 5
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                                   INTERROGATORIES

 INTERROGATORY NO. 1: Identify the manufacturers, producers, distributors, sellers, and/or
 promoters for each of the following generic opioid pharmaceutical drugs for each of the years
 2009, 2010, 2011, 2012, 2013, 2014, 2015, 2016, and 2017:

        A.   Fentanyl
        B.   Oxycodone
        C.   Hydromorphone
        D.   Oxymorphone
        E.   Tramadol
        F.   Hydrocodone




 PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT CARDINAL HEALTH, INC.            Page 6
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                           CAUSE NO.


  COUNTY OF DALLAS,                       §   IN THE DISTRICT COURT
                                          §
        Plaintiff,                        §
                                          §
  vs.                                     §        JUDICIAL DISTRICT
                                          §
  PURDUE PHARMA L.P.;                     §
  PURDUE PHARMA INC.;                     §
  THE PURDUE FREDERICK COMPANY;           §
  JOHNSON & JOHNSON;                      §   DALLAS COUNTY, TEXAS
  JANSSEN PHARMACEUTICALS, INC.;          §
  ORTHO-MCNEIL-JANSSEN                    §
  PHARMACEUTICALS, INC. n/k/a             §
  JANSSEN PHAR.MACEUTICALS, INC.;         §
  JANSSEN PHARMACEUTICA, INC. n/k/a       §
  JANSSEN PHARMACEUTICALS, INC.;          §
  ENDO HEALTH SOLUTIONS INC.;             §
  ENDO PHARMACEUTICALS, INC.;             §
  ABBVIE INC.;                            §
  KNOLL PHARMACEUTICAL                    §
  COMPANY, a wholly-owned subsidiary of   §
  ABBVIE INC.;                            §
  ALLERGAN PLC f/k/a ACTAVIS PLC;         §
  ALLERGAN FINANCE LLC f/k/a              §
  ACTAVIS, INC. f/k/a WATSON              §
  PHARMACEUTICALS, INC.;                  §
  WATSON LABORATORIES, INC.;              §
  ACTAVIS LLC;                            §
  ACTAVIS PHARMA, INC. f/k/a WATSON       §
  PHARMA, INC.;                           §
  MCKESSON CORPORATION;                   §
  CARDINAL HEALTH, INC.;                  §
  AMERISOURCEBERGEN                       §
  CORPORATION;                            §
  DR. RICHARD ANDREWS;                    §
  DR. THEODORE OKECHUKU;                  §
  DR. NICOLAS PADRON; and                 §
  DOES 1-100, INCLUSIVE,                  §
                                          §
        Defendants.                       §
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      PLAINTIFF COUNTY OF DALLAS'S FIRST REOUESTS FOR PRODUCTION
                 TO DEFENDANT MCKESSON CORPORATION

        To:     Defendant McKesson Corporation

        Plaintiff, COUNTY OF DALLAS, propounds its First Request for Production of

 Documents to Defendant, MCKESSON CORPORATION, pursuant to Rule 196 of the Texas

 Rules of Civil Procedure, to be answered by each individual Defendant listed above, within fifty

 (50) days of service Defendants are requested to respond fully, in writing, and in accordance with

 Rule 196. You are further advised that you are under a duty to reasonably supplement your answer.

                                      Respectfully Submitted,

                                      THE LANIER LAW FIRM

                                      /s/W. Mark Lanier
                                      W. Mark Lanier
                                      TX State Bar No. 11934600
                                      Reagan E. Bradford
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 PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT MCKESSON CORPORATION
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 Dallas County District Attorney's Office

 /s/Russell H. Roden
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                                CERTIFICATE OF SERVICE

     I hereby certify that on this 8th day of January, 2018, a true and correct copy of the foregoing
 document was caused to be served on all counsel of record in accordance with a manner authorized
 by the Texas Rules of Civil Procedure.

                                       /s/W. Mark Lanier
                                       W. Mark Lanier




 PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT MCKESSON CORPORATION
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                                          INSTRUCTIONS

        1.       Please produce all documents and tangible things as they are kept in the usual
 course of business or organize and label them to correspond with the categories or numbered
 requests in this set of discovery.

        2.     If any information or material is being withheld under any claim of privilege,
 protections or immunity, please state with specificity the particular privilege, protection or
 immunity asserted.

         3.     If Defendant cannot produce requested information or material because it is not in
 Defendant's possession, custody or control, please identify the information or material, the reason
 the information or material is not in Defendant's possession, custody, or control, and the entity
 currently having possession, custody, or control over the information or material.

         4.     When providing a date, please provide the exact day, month, and year. If the exact
 date is not known, please provide tlie best approximation of the date and clearly note that the date
 is an approximation. -

         5.     If responsive material is in electronic, magnetic, or digital form, Plaintiff
 respectfully requests production of such material in its original format. Plaintiff requests such
 material be provided on CD-ROM. If Defendants cannot produce said material via CD-ROM,
 please confer with Plaintiff's counsel to determine an alternative method to produce said material.

         6.      In the event a proper and timely objection is filed as to any requested material,
 please nevertheless respond to all portions of the request which do not fall within the scope of the
 objection. For example, if a request is objected to on the ground that is too broad insofar as it seeks
 documents covering years Defendant believes are not relevant to this litigation; please nevertheless
 produce documents for all years which Defendant concedes are relevant.




         1.     "You" and "Your" and "Defendant" mean McKesson Corporation, as well as
 other natural persons, businesses or legal entities acting or purporting to act for or on behalf of
 McKesson Corporation.

          2.     "Person" and "Witness," means the plural as well as the singular and includes:
 natural persons, governmental agencies, municipalities, departments, units, or any subdivisions,
 corporations, firms, associations, partnerships, joint ventures, or any other form of business entity.

         3.    The terms "and" and "or" as used herein are to be interpreted both disjunctively
 and conjunctively.

        4.     The words "document" or "documents" shall mean the original of the information
 recorded in a tangible form including, but not limited to, information printed, typewritten,



 PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION TO DEFENDANT MCKESSON CORPORATION
 Page 4
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 handwritten, photographed, filed, e-mailed, recorded by electronic means upon a tape or disk or
 any other means of recording and shall include (but not be limited to): letters; e-mails; memoranda;
 handwritten notes; agreements; deeds; contracts; promissory notes; books; pamphlets; brochures;
 newspapers; magazines; periodicals; catalogs; price lists; checks; canceled checks; invoices; sales
 receipts; charge receipts; personal receipts; bank records; tapes; computer printouts; data cards;
 programs or other input or output of data processing systems; photographs (positive print or
 negative); transcripts of interviews or testimony before any person, officer, or body whether sworn
 or unsworn; written statements or notes of interview or testimony; diaries; calendars; logs; expense
 records or other financial data; charts; graphs; maps; drawings or other representational depiction;
 telephone records; telegrams; telefax; phonograph records; magnetic tape, drum, or disk records;
 motion picture film; microfilm or microfiche. The terms "document" or "documents" shall also
 mean every copy of a document where such copy is not an identical duplicate of the original, and
 shall include all postscripts, notations, addendums, changes, notations, modifications, alterations
 or revisions of each document or documents.

          5.    "Identify," as used herein with respect to a person, corporation, or other entity,
  means to provide the name, address, and telephone number of such person.

          6.      "Identify," as used herein with respect to a document, means to state with respect
 to such document sufficient detail to permit another party to this lawsuit to locate and identify such
 document. Such information and detail might include for each document: (i) the name of the
 person who prepared it; (ii) the name of the person who signed it, or over whose name it was
 issued; (iii) the name of each person to whom it was addressed and/or sent or distributed; (iv) the
 general type of such documents (e.g., letter, memorandum, contract, etc.); (v) the date of such
 document, or if it bears no date, the date on or about which it was made or prepared, (vi) the
 physical location of such document; and (vii) the name and address of the persons having
 possession, custody, or control of such document. In lieu of providing such information and detail,
 you may attach such document to your answer to these Interrogatories and indicate for which
 Interrogatory each document is applicable.

          7.    The term "regarding", as used herein, shall mean, in an indirect manner, contain,
 record, discuss, mention, note, evidence, memorialize, analyze, describe, comment upon, refer to,
 have any connection with or have any tendency to prove or disprove the matter set forth.

         8.      The term "relate(s) to" or "relating to," as used herein shall mean, in an indirect
 manner, contain, record, discuss, mention, note, evidence, memorialize, analyze, describe,
 comment upon, refer to, have any connection with or have any tendency to prove or disprove the
 matters set forth.

         9.    The word "correspondence" as used herein shall include any and all written
 correspondence, including, but not limited to, electronic mail (e-mail), letters, notes, text messages,
 messages on any social media platforms, and memorandum, and oral communications which were
 recorded or memorialized in any manner, including recorded messages, voicemail messages, notes
 taken during phone conversations, and notes taken during meetings.




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          10. Wherever appropriate, the singular form of a word shall be interpreted as including
 the plural, and the masculine form of a word shall be interpreted as including the feminine.




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                       REQUEST FOR PRODUCTION OF DOCUMENTS

  REQUEST FOR PRODUCTION NO. l: Please produce any and all documentation relating
  to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
  the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2009.
  This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
  producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
  the year 2009; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
  promoters for the below generic opioid pharmaceuticals for the year 2009; (iii) invoices to or from
  any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
  pharmaceuticals for the year 2009; (iv) promotional materials received from or sent to any
  manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
  pharmaceuticals for the year 2009; (v) marketing materials received from or sent to any
  manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
  pharmaceuticals for the year 2009; (vi) instructions received from or sent to any manufacturers,
  producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
  the year 2009; (vii) training manuals received from or sent to any manufacturers, producers,
  distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
  2009; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
  and/or promoters for the below generic opioid pharmaceuticals for the year 2009; (ix) procedural
  manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
  promoters for the below generic opioid pharmaceuticals for the year 2009; (x) information on sales
  received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
  the below generic opioid pharmaceuticals for the year 2009; and (xi) distribution materials or data
  received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
  the below generic opioid pharmaceuticals for the year 2009.

         A.   Fentanyl
         B.   Oxycodone
         C.   Hydromorphone
         D.   Oxymorphone
         E.   Tramadol
         F.   Hydrocodone


 REQUEST FOR PRODUCTION NO. 2: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2010.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2010; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or


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 promoters for the below generic opioid pharmaceuticals for the year 2010; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2010; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2010; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2010; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2010; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2010; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2010; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2010; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2010; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2010.

        A.   Fentanyl
        B.   Oxycodone
        C.   Hydromorphone
        D.   Oxymorphone
        E.   Tramadol
        F.   Hydrocodone


 REQUEST FOR PRODUCTION NO. 3: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2011.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2011; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2011; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2011; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2011; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2011; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for


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  the year 2011; (vii) training manuals received from or sent to any manufacturers, producers,
  distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
  2011; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
  and/or promoters for the below generic opioid pharmaceuticals for the year 2011; (ix) procedural
  manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
  promoters for the below generic opioid pharmaceuticals for the year 2011; (x) information on sales
  received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
  the below generic opioid pharmaceuticals for the year 2011; and (xi) distribution materials or data
  received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
  the below generic opioid pharmaceuticals for the year 2011.

         A.   Fentanyl
         B.   Oxycodone
         C.   Hydromorphone
         D.   Oxymorphone
         E.   Tramadol
         F.   Hydrocodone


  REQUEST FOR PRODUCTION NO. 4: Please produce any and all documentation relating
  to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
  the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2012.
  This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
  producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
  the year 2012; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
  promoters for the below generic opioid pharmaceuticals for the year 2012; (iii) invoices to or from
  any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
  pharmaceuticals for the year 2012; (iv) promotional materials received from or sent to any
  manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
  pharmaceuticals for the year 2012; (v) marketing materials received from or sent to any
  manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
  pharmaceuticals for the year 2012; (vi) instructions received from or sent to any manufacturers,
  producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
  the year 2012; (vii) training manuals received from or sent to any manufacturers, producers,
  distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
  2012; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
  and/or promoters for the below generic opioid pharmaceuticals for the year 2012; (ix) procedural
  manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
  promoters for the below generic opioid pharmaceuticals for the year 2012; (x) information on sales
  received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
  the below generic opioid pharmaceuticals for the year 2012; and (xi) distribution materials or data


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 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2012.

        A.   Fentanyl
        B.   Oxycodone
        C.   Hydromorphone
        D.   Oxymorphone
        E.   Tramadol
        F.   Hydrocodone


 REQUEST FOR PRODUCTION NO. 5: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2013.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2013; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2013; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2013; (iv) prornotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2013; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2013; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2013; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2013; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2013; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2013; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2013; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2013.

        A.   Fentanyl
        B.   Oxycodone
        C.   Hydromorphone
        D.   Oxymorphone
        E.   Tramadol


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         F. Hydrocodone


 REQUEST FOR PRODUCTION NO. 6: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2014.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2014; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2014; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2014; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2014; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2014; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2014; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, se.11ers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2014; (viii) warnings received from or sent to any manufacturers; producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2014; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2014; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2014; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2014.

        A.   Fentanyl
        B.   Oxycodone
        C.   Hydromorphone
        D.   Oxymorphone
        E.   Tramadol
        F.   Hydrocodone


 REQUEST FOR PRODUCTION NO. 7: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2015.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for



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 the year 2015; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2015; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2015; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2015; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2015; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2015; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2015; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2015; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2015; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2015; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2015.

        A. Fentanyl
        B..Oxycodone
        C. Hydromorphone
        D. Oxymorphone
        E. Tramadol
        F. Hydrocodone


 REOUEST FOR PRODUCTION NO. 8: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2016.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2016; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2016; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2016; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2016; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2016; (vi) instructions received from or sent to any manufacturers,


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 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2016; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2016; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2016; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2016; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2016; and (xi) distribution materials or data
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
 the below generic opioid pharmaceuticals for the year 2016.

        A.   Fentanyl
        B.   Oxycodone
        C.   Hydromorphone
        D.   Oxymorphone
        E.   Tramadol
        F.   Hydrocodone


 REQUEST FOR PRODUCTION NO. 9: Please produce any and all documentation relating
 to the identity of the manufacturers, producers, distributors, sellers, and/or promoters for each of
 the following generic opioid pharmaceuticals for the County of Dallas, Texas for the year 2017.
 This request includes, but is not limited to, (i) correspondence from or to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2017; (ii) contracts with any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2017; (iii) invoices to or from
 any manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2017; (iv) promotional materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2017; (v) marketing materials received from or sent to any
 manufacturers, producers, distributors, sellers, and/or promoters for the below generic opioid
 pharmaceuticals for the year 2017; (vi) instructions received from or sent to any manufacturers,
 producers, distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for
 the year 2017; (vii) training manuals received from or sent to any manufacturers, producers,
 distributors, sellers, and/or promoters for the below generic opioid pharmaceuticals for the year
 2017; (viii) warnings received from or sent to any manufacturers, producers, distributors, sellers,
 and/or promoters for the below generic opioid pharmaceuticals for the year 2017; (ix) procedural
 manuals received from or sent to any manufacturers, producers, distributors, sellers, and/or
 promoters for the below generic opioid pharmaceuticals for the year 2017; (x) information on sales
 received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for


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  the below generic opioid pharmaceuticals for the year 2017; and (xi) distribution materials or data
  received from or sent to any manufacturers, producers, distributors, sellers, and/or promoters for
  the below generic opioid pharmaceuticals for the year 2017.

         A.   Fentanyl
         B.   Oxycodone
         C.   Hydromorphone
         D.   Oxymorphone
         E.   Tramadol
         F.   Hydrocodone




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                           CAUSE NO.


  COUNTY OF DALLAS,                         IN THE DISTRICT COURT

        Plaintiff,

  Vs.                                              JUDICIAL DISTRICT

  PURDUE PHARMA L.P.;
  PURDUE PHARMA INC.;
  THE PURDUE FREDERICK COMPANY;
  JOHNSON & JOHNSON;                        DALLAS COUNTY, TEXAS
  JANSSEN PHARMACEUTICALS, INC.;
  ORTHO-MCNEIL-JANSSEN
  PHARMACEUTICALS, INC. n/k/a
  JANSSEN PHARMACEUTICALS, INC.;
  JANSSEN PHARMACEUTICA, INC. n/k/a
  JANSSEN PHARMACEUTICALS, INC.;
  ENDO HEALTH SOLUTIONS INC.;
  ENDO PHARMACEUTICALS, INC.;
  ABBVIE INC.;
  KNOLL PHARMACEUTICAL
  COMPANY, a wholly-owned subsidiary of
  ABBVIE INC.;
  ALLERGAN PLC f/k/a ACTAVIS PLC;
  ALLERGAN FINANCE LLC f/k/a
  ACTAVIS, 1NC. f/k/a WATSON
  PHAR.MACEUTICALS, INC.;
  WATSON LABORATORIES, INC.;
  ACTAVIS LLC;
  ACTAVIS PHARMA, INC. f/k/a WATSON
  PHARMA, INC.;
  MCKESSON CORPORATION;
  CARDINAL HEALTH, INC.;
  AMERISOURCEBERGEN
  CORPORATION;
  DR. RICHARD ANDREWS;
  DR. THEODORE OKECHUKU;
  DR. NICOLAS PADRON; and
  DOES 1-100, INCLUSIVE,

        Defendants.
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            PLAINTIFF COUNTY OF DALLAS'S FIRST INTERROGATORIES
                   TO DEFENDANT MCKESSON CORPORATION

         To:    Defendant McKesson Corporation

         Plaintiff, COUNTY OF DALLAS, propounds this First Set of Interrogatories to Defendant

  MCKESSON CORPORATION. Pursuant to Rule 197 of the Texas Rules of Civil Procedure, the

  following interrogatories are submitted to be answered by you. The answers shall be signed, and

 sworn to, by you, and shall be served upon the undersigned within fifty (50) days after the date

  upon which you are served with a copy of these interrogatories.

         You are further advised that you are under duty to supplement your answers to these

  interrogatories in the event you obtain information upon the basis of which (1) you know that the

  response was incorrect or incomplete when made, (2) or you know that the response, though

 correct and complete when made, is no longer true and complete and the circumstances are such

 that the failure to amend the answer is in substance misleading.



                                       Respectfully Submitted,

                                       THE LANIER LAW FIRM

                                       /s/W. Mark Lanier
                                       W. Mark Lanier
                                       TX State Bar No. 11934600
                                       Reagan E. Bradford
                                       TX State Bar No. 24102721
                                       6810 FM 1960 West
                                       Houston, TX 77069
                                       Tel: 713-659-5200
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 PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT MCKESSON CORPORATION Page 2
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                                       SIMON. GREENSTONE PANATIER BARTLETT,
                                       P.C.
                                       Jeffrey B. Simon
                                       TX State Bar No. 00788420
                                       Amy M. Carter
                                       TX State Bar No. 24004580
                                       3232 McKinney Avenue, Suite 610
                                       Dallas, Texas 75204
                                       Tel: 214-276-7680
                                       Fax: 214-276-7699
                                       jsimon@sgpblaw.com
                                       acarter@sgpblaw.com

                                       THE COCHRAN FIRM
                                       Larry F. Taylor, Jr.
                                       TX State Bar No. 24071156
                                       3400 Carlisle Street, Suite 550
                                       Dallas, TX 75204
                                       Tel: 214-651-4260
                                       Fax: 214-651-4261
                                       Itaylor@thecochranfirmdallas.com


 Dallas County District Attorney's Oftice

 /s/Russell H. Roden
 Russell H. Roden
 Assistant District Attorney
 TX State Bar No. 17132070
 133 N. Riverfront Blvd., LB 19
 Dallas, TX 75207
 Tel: 214-653-3600
 Fax: 214-653-5774
 Russell.roden@dallascounty.org


                                CERTIFICATE OF SERVICE

     I hereby certify that on this 8th day of January, 2018, a true and correct copy of the foregoing
 document was caused to be served on all counsel of record in accordance with a manner authorized
 by the Texas Rules of Civil Procedure.

                                       /s/W. Mark Lanier
                                       W. Mark Lanier



 PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT MCKESSON CORPORATION Page 3
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                                           DEFINITIONS

          l.    "You" and "Your" and "Defendant" mean McKesson Corporation, as well as
 other natural persons, businesses or legal entities acting or purporting to act for or on behalf of
 McKesson Corporation.

          2.     "Person" and "Witness," means the plural as well as the singular and includes:
 natural persons, governmental agencies, municipalities, departments, units, or any subdivisions,
 corporations, firms, associations, partnerships, joint ventures, or any other form of business entity.

         3.    The terms "and" and "or" as used herein are to be interpreted both disjunctively
 and conjunctively.

          4.     The words "document" or "documents" shall mean the original of the information
 recorded in a tangible form including, but not limited to, information printed, typewritten,
 handwritten, photographed, filed, e-mailed, recorded by electronic means upon a tape or disk or
 any other means of recording and shall include (but not be limited to): letters; e-mails; memoranda;
 handwritten notes; agreements; deeds; contracts; promissory notes; books; pamphlets; brochures;
 newspapers; magazines; periodicals; catalogs; price lists; checks; canceled checks; invoices; sales
 receipts; charge receipts; personal receipts; bank records; tapes; computer printouts; data cards;
 programs or other input or output of data processing systems; photographs (positive print or
 negative); transcripts of interviews or testimony before any person, officer, or body whether sworn
 or unsworn; written statements or notes of interview or testimony; diaries; calendars; logs; expense
 records or other financial data; charts; graphs; maps; drawings or other representational depiction;
 telephone records; telegrams; telefax; phonograph records; magnetic tape, drum, or disk records;
 motion picture film; microfilm or microfiche. The terms "document" or "documents" shall also
 mean every copy of a document where such copy is not an identical duplicate of the original, and
 shall include all postscripts, notations, addendums, changes, notations, modifications, alterations
 or revisions of each document or documents.

         5.    "Identify," as used herein with respect to a person, corporation, or-other entity,
 means to provide the name, address, and telephone number of such person.

          6.      "Identify," as used herein with respect to a document, means to state with respect
 to such document sufficient detail to permit another party to this lawsuit to locate and identify such
 document. Such information and detail might include for each document: (i) the name of the
 person who prepared it; (ii) the name of the person who signed it, or over whose name it was
 issued; (iii) the name of each person to whom it was addressed and/or sent or distributed; (iv) the
 general type of such documents (e.g., letter, memorandum, contract, etc.); (v) the date of such
 document, or if it bears no date, the date on or about which it was made or prepared, (vi) the
 physical location of such document; and (vii) the name and address of the persons having
 possession, custody, or control of such document. In lieu of providing such information and detail,
 you may attach such document to your answer to these Interrogatories and indicate for which
 Interrogatory each document is applicable.




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          7.    The term "regarding", as used herein, shall mean, in an indirect manner, contain,
 record, discuss, mention, note, evidence, memorialize, analyze, describe, comment upon, refer to,
 have any connection with or have any tendency to prove or disprove the matter set forth.

         8.      The term "relate(s) to" or "relating to," as used herein shall mean, in an indirect
 manner, contain, record, discuss, mention, note, evidence, memorialize, analyze, describe,
 comment upon, refer to, have any connection with or have any tendency to prove or disprove the
 matters set forth.

         9.    The word "correspondence" as used herein shall include any and all written
 correspondence, including, but not limited to, electronic mail (e-mail), letters, notes, text messages,
 messages on any social media platforms, and memorandum, and oral communications which were
 recorded or memorialized in any manner, including recorded messages, voicemail messages, notes
 taken during phone conversations, and notes taken during meetings.

          10. Wherever appropriate, the singular form of a word shall be interpreted as including
 the plural, and the masculine form of a word shall be interpreted as including the feminine.




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                                   INTERROGATORIES

 INTERROGATORY NO. 1: Identify the manufacturers, producers, distributors, sellers, and/or
 promoters for each of the following generic opioid pharmaceutical drugs for each of the years
 2009, 2010, 2011, 2012, 2013, 2014, 2015, 2016, and 2017:


        A.   Fentanyl
        B.   Oxycodone
        C.   Hydromorphone
        D.   Oxymorphone
        E.   Tramadol
        F.   Hydrocodone




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